              Case
                Case
                   21-05072-gs
                      3:22-cv-00257
                                 Doc Document
                                     100 Entered
                                              1-1 06/07/22
                                                   Filed 06/07/22
                                                           12:02:03Page
                                                                      Page
                                                                        1 of1223
                                                                              of 223

NVB 5011 (Rev. 5/16)


                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEVADA


 IN RE:                                                         BK−19−50102−gs
                                                                CHAPTER 7
 DOUBLE JUMP, INC. ,
                                    Debtor(s)
                                                                Adversary Proceeding:                   21−05072−gs


 CHRISTINA W. LOVATO
                                    Plaintiff(s)                TRANSMITTAL OF
                                                                MOTION OF WITHDRAWAL OF
 vs                                                             THE REFERENCE

 NIXON PEABODY LLP
                                    Defendant(s)



 Nixon Peabody, LLC
                                    Movant(s)

 vs

 Christina Lovato, Trustee
                                    Respondent(s)




To:         U.S. District Court
            Bruce R. Thompson Federal Building,
            400 Virginia Street,
            Reno, NV 89501


Withdrawal of Reference Filed in the Same Bankruptcy Case                            not yet assigned
or in a Related ADV Case


Movant(s) and Respondent(s) are to file all matters relating to the Motion to Withdraw the Reference with the Clerk
of the District Court. All documents relating to other matters in this case shall continue to be filed with the Clerk of
the Bankruptcy Court.



Dated: 6/7/22


                                                             Mary A. Schott
                                                             Clerk of Court
     Case
       Case
          21-05072-gs
             3:22-cv-00257
                        Doc Document
                            100 Entered
                                     1-1 06/07/22
                                          Filed 06/07/22
                                                  12:02:03Page
                                                             Page
                                                               2 of2223
                                                                     of 223


add note show notes


                                                                                          JRYTRL, WDREF




                                    U.S. Bankruptcy Court
                                   District of Nevada (Reno)
                             Adversary Proceeding #: 21−05072−gs

Assigned to: GARY SPRAKER                                        Date Filed: 10/25/21
Lead BK Case: 19−50102
Lead BK Title: DOUBLE JUMP, INC.
Lead BK Chapter: 7
Demand: $120000000
 Nature[s] of Suit: 13 Recovery of money/property − 548 fraudulent transfer
                    02 Other (e.g. other actions that would have been brought in state court if unrelated to
                       bankruptcy)



Plaintiff
−−−−−−−−−−−−−−−−−−−−−−−
CHRISTINA W. LOVATO                                represented by ALEXANDER E. BRODY
P.O. BOX 18417                                                    MELAND BUDWICK P.A.
RENO, NV 89511                                                    3200 SE FINANCIAL CENTER
(775) 851 1424                                                    200 S. BISCAYNE BLVD., STE 3200
                                                                  MIAMI, FL 33131
                                                                  (305) 358 6300
                                                                  Fax : (305) 358 1221
                                                                  Email: abrody@melandbudwick.com

                                                                   MICHAEL S. BUDWICK
                                                                   MELAND BUDWICK, P.A.
                                                                   200 S BISCAYNE BLVD., STE. 3200
                                                                   MIAMI, FL 33131
                                                                   (305) 358 6363
                                                                   Fax : (305) 358 1221
                                                                   Email: mbudwick@melandbudwick.com
                                                                   LEAD ATTORNEY

                                                                   SOLOMON B. GENET
                                                                   MELAND BUDWICK, P.A.
                                                                   200 SO BISCAYNE BLVD, STE 3200
                                                                   MIAMI, FL 33131
                                                                   (305) 358−6363
                                                                   Fax : (305) 358−1221
                                                                   Email: sgenet@melandbudwick.com

                                                                   JEFFREY L HARTMAN
                                                                   HARTMAN & HARTMAN
                                                                   510 WEST PLUMB LANE, STE B
                                                                   RENO, NV 89509
                                                                   (775) 324−2800
                                                                   Fax : (775) 324−1818
                                                                   Email: notices@bankruptcyreno.com



                                                                                                               1
     Case
       Case
          21-05072-gs
             3:22-cv-00257
                        Doc Document
                            100 Entered
                                     1-1 06/07/22
                                          Filed 06/07/22
                                                  12:02:03Page
                                                             Page
                                                               3 of3223
                                                                     of 223



V.

Defendant
−−−−−−−−−−−−−−−−−−−−−−−
NIXON PEABODY LLP                          represented by LOUIS M BUBALA, III
NA, NA                                                    KAEMPFER CROWELL
                                                          50 W. LIBERTY ST., STE 700
                                                          RENO, NV 89501
                                                          (775) 852 3900
                                                          Fax : (775) 327 2011
                                                          Email: lbubala@kcnvlaw.com

                                                          BAILEY W. HEAPS
                                                          633 BATTERY STREET
                                                          SAN FRANCISCO, CA 94111

                                                          ELLIOT R. PETERS
                                                          KEKER, VAN NEST & PETERS LLP
                                                          633 BATTERY STREET
                                                          SAN FRANCISCO, CA 94111
                                                          (415) 391 5400
                                                          Fax : (415) 397 7188

                                                          BENJAMIN D. ROTHSTEIN
                                                          633 BATTERY STREET
                                                          SAN FRANCISCO, CA 94111

                                                          DEEVA SHAH
                                                          633 BATTERY STREET
                                                          SAN FRANCISCO, CA 94111

                                                          CHRISTINE ZALESKI
                                                          633 BATTERY STREET
                                                          SAN FRANCISCO, CA 94111

 Filing Date      #                                     Docket Text

                      17   Motion for Withdrawal of the Reference . Fee Amount $188. Filed by
                           LOUIS M. BUBALA III on behalf of NIXON PEABODY LLP
                           (Attachments: # 1 Exhibit A, J. Carpoff Plea Agreement # 2 Exhibit B,
                           Nixon Proof of Claim 34 # 3 Exhibit C, Complaint, Solarmore v Nixon # 4
                           Exhibit D, Complaint, Solarmore v Bankruptcy Estate # 5 Exhibit E,
                           Order, Melech v Polhill # 6 Exhibit F, Order, USACM v Compass)
 11/24/2021                (BUBALA, LOUIS) (Entered: 11/24/2021)

                      36   Trustee's Response In Opposition with Certificate of Service Filed by
                           MICHAEL S. BUDWICK on behalf of CHRISTINA W. LOVATO
                           (Related document(s)17 Motion for Withdrawal of the Reference filed by
                           Defendant NIXON PEABODY LLP.) (BUDWICK, MICHAEL) (Entered:
 01/14/2022                01/14/2022)

                      52   Reply Filed by LOUIS M BUBALA III on behalf of NIXON PEABODY
                           LLP (Related document(s)36 Response filed by Plaintiff CHRISTINA W.
                           LOVATO. ) (Attachments: # 1 Exhibit A) (BUBALA, LOUIS). Modified
                           on 2/7/2022 to replace relationship to doc #36 (Hannan, KS). (Entered:
 02/04/2022                02/04/2022)




                                                                                                     2
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page 4 of1 of 22
                                                                   4223 223



 1    KEKER, VAN NEST & PETERS LLP                          KAEMPFER CROWELL
      ELLIOT R. PETERS                                      LOUIS M. BUBALA III - # 8974
 2    epeters@keker.com                                     lbubala@kcnvlaw.com
      ERIC H. MACMICHAEL                                    50 W. Liberty St., Ste. 700
 3    emacmichael@keker.com                                 Reno, NV 89501
      Will comply with LR IA 11-2 within 14 days            Telephone: 775 852 3900
 4    of first appearance on Nov. 19, 2021                  Facsimile: 777 327 2011
      633 Battery Street
 5    San Francisco, CA 94111-1809
      Telephone:     415 391 5400
 6    Facsimile:     415 397 7188
 7
     Attorneys for Defendant Nixon Peabody LLP
 8

 9                                 UNITED STATES BANKRUPTCY COURT

10                                          DISTRICT OF NEVADA

11   In re                                                    Lead Case No. BK-19-50102-gs
                                                              (Chapter 7)
12   DOUBLE JUMP, INC.,
                                                              Jointly Administered with:
13                    Debtor.
                                                              19-50130-gs DC Solar Solutions, Inc.
14                                                            19-50131-gs DC Solar Distribution, Inc.
     X         Affects DC Solar Solutions, Inc.               19-50135-gs DC Solar Freedom, Inc.
15             Affects DC Solar Distributions, Inc.
               Affects DC Solar Freedom, Inc.
16             Affects Double Jump, Inc.
17

18   CHRISTINA W. LOVATO,                                     Adversary Case No.: 21-05072-gs
19                    Plaintiff,                              MOTION TO WITHDRAW
                                                              BANKRUPTCY REFERENCE
20             v.
                                                              JURY TRIAL DEMANDED
21   NIXON PEABODY LLP,
                                                              RELIEF IS SOUGHT FROM A UNITED
22                    Defendant.                              STATES DISTRICT JUDGE
23                                                            Hearing Date: TBD
                                                              Hearing Time: TBD
24                                                            Estimated Time for hearing: TBD
25

26

27

28


                               MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                             Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                            3
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page 5 of2 of 22
                                                                   5223 223



 1                                                     TABLE OF CONTENTS

 2                                                                                                                                       Page

 3   I.       INTRODUCTION ...............................................................................................................1

 4   II.      BACKGROUND .................................................................................................................2

 5             A.       DC Solar’s Ponzi Scheme collapses. .......................................................................2

 6             B.       DC Solar’s bankruptcy and the appointment of the Trustee. ...................................3

 7             C.       The Trustee’s adversary proceeding against Nixon Peabody. .................................4

 8             D.       Related actions pending in the Eastern District of California..................................5
 9   III.     ARGUMENT .......................................................................................................................6
10             A.       Claims That Are Non-Core and Otherwise Not Finally Decidable by a
                         Bankruptcy Court Predominate................................................................................7
11
                         1.        The claims at the heart of the Trustee’s Complaint are non-core. ...............7
12
                         2.        Two of the trustee’s remaining claims must also be tried before an
13                                  Article III court, weighing in favor of withdrawal. .....................................9
14                       3.        The Trustee’s disallowance claim is moot. ..................................................9
15             B.       Each factor concerning withdrawal of the bankruptcy reference favors
                         granting Nixon Peabody’ motion. ..........................................................................10
16
                         1.        Judicial Efficiency .....................................................................................10
17
                         2.        Cost and Delay ...........................................................................................14
18
                         3.        Administration of the bankruptcy estate ....................................................14
19
                         4.        Forum-shopping .........................................................................................15
20
     IV.      CONCLUSION ..................................................................................................................15
21

22

23

24

25

26

27

28
                                                               i
                                    MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                                  Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                                                                        4
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page 6 of3 of 22
                                                                   6223 223



 1
                                                       TABLE OF AUTHORITIES
 2
                                                                                                                                             Page(s)
 3
     Federal Cases
 4

 5   In re 610 W. 142 Owners Corp.,
         219 B.R. 363 (Bankr. S.D.N.Y. 1998) .......................................................................................8
 6
     In re ACI-HDT Supply Co.,
 7       205 B.R. 231 (B.A.P. 9th Cir. 1997)......................................................................................7, 8
 8   In re Addison,
         240 B.R. 47 (C.D. Cal. 1999) ..................................................................................................14
 9
     In re Align Strategic Partners LLC,
10
         No. 16-35702, 2019 WL 2524938 (Bankr. S.D. Tex. Mar. 5, 2019) .......................................10
11
     Bagley v. Locke Lord LLP (In re Desert Capital REIT, Inc.),
12      No. 2:13-cv-01114-JAD, 2014 U.S. Dist. LEXIS 28949 (D. Nev. March 6,
        2014) ........................................................................................................................................13
13
     Battle Ground Plaza, LLC v. Ray (In re Ray),
14      624 F.3d 1124 (9th Cir. 2010) ...................................................................................................7
15
     In re Bellingham Ins. Agency, Inc.,
16       702 F.3d 533 (9th Cir. 2012) .....................................................................................................9

17   In re Cinematronics, Inc.,
         916 F.2d 1444 (9th Cir. 1990) ...........................................................................................11, 15
18
     In re Double Jump, Inc.,
19       No. 19-50102-gs (Bankr. D. Nev. Filed Jan. 30, 2019) .........................................................3, 4
20   In re Eastport Assocs.,
21       935 F.2d 1071 (9th Cir. 1991) ...................................................................................................7

22   Everett v. Art Brand Studios, LLC,
        556 B.R. 437 (N.D. Cal. 2016) ..........................................................................................14, 15
23
     Krohn v. Stipp (In re Plise),
24      No. 2:13-cv-00169-JAD-PAL, 2015 WL 4997296 (D. Nev. Aug. 19, 2015) .........................12
25   Mahoney v. Sessions,
       871 F.3d 873 (9th Cir. 2017) .....................................................................................................3
26

27   Melech v. Polhill (In re American Pacific Financial Corp.),
        No. 2:13-cv-01113-JCM (PAL) (D. Nev. Feb. 5, 2014)..........................................................13
28
                                                                  ii
                                       MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                                     Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                                                                               5
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page 7 of4 of 22
                                                                   7223 223



 1   Nelson v. XL America, Inc. (In re Ameri-Dream Realty, LLC),
        No. 2:16-cv-00060-JAD-GWF, 2016 U.S. Dist. LEXIS 157788 (D. Nev. Nov.
 2      14, 2016) ............................................................................................................................11, 13
 3
     In re O’Hanneson,
 4       No. 5:12-cv-04068 EJD, 2013 WL 655158 (N.D. Cal. Feb. 21, 2013) ...................................14

 5   Off. Comm.. of Unsecured Creditors v. Marini (In re Windspire Energy, Inc.),
         No. 3:13-cv-10-RCJ-WGC, 2013 U.S. Dist. LEXIS 46727 (D. Nev. April 1,
 6       2013) ........................................................................................................................................13
 7   In re Rosales,
         No. 13-cv-01316-LHK, 2013 WL 5962007 (N.D. Cal. Nov. 7, 2013)..............................14, 15
 8

 9   Rosenberg v. Harvey A. Bookstein,
        479 B.R. 584 (D. Nev. 2012) ...................................................................................................12
10
     Schultze v. Chandler,
11      765 F.3d 945 (9th Cir. 2014) .....................................................................................................7
12   Sec. Farms v. Int’l Brotherhood of Teamsters, Chauffeurs, Warehousemen &
        Helpers,
13
        124 F.3d 999 (9th Cir. 1997) ...............................................................................................6, 10
14
     SEC v. Bayliss,
15      No. 2:19-CV-2140-JAM-DB (E.D. Cal. filed Oct. 22, 2019) ...................................................5

16   SEC v. Carpoff,
        No. 2:20-CV-00180-JAM-AC (E.D. Cal. filed Jan. 24, 2020) ..................................................5
17
     SEC v. Karmann,
18      No. 2:19-CV-2531-JAM-DB (E.D. Cal. filed Dec. 17, 2019) ...................................................5
19
     Shengdatech Liquidating Tr. v. Hansen, Barnett, & Maxwell, P.C.,
20      No. 3:13-CV-00563-RCJ, 2013 WL 6408518 (D. Nev. Nov. 26 2013) ........................7, 10, 13

21   In re Shoe Pavilion, Inc.,
         No. 2:13-CV-01245- CJC, 2013 WL 12113232 (C.D. Cal. May 30, 2013) ............................10
22
     In re Solano,
23       No. CV 17-2158 FMO, 2017 WL 8180597 (C.D. Cal. June 19, 2017) .....................................7
24   Solarmore Mgmt. Servs., Inc. v. Bankr. Est. of DC Solar Sols., Inc.,
25      No. 2:19-cv-02544-JAM-DB (E.D. Cal. filed Dec. 17, 2019).............................................6, 11

26   Solarmore Mgmt. Svc., Inc. v. Nixon Peabody, LLP,
        No. 2:20-cv-02446-JAM-DB (E.D. Cal. filed Nov. 3, 2020) ..............................................6, 12
27
     Stern v. Marshall,
28       564 U.S. 462 (2011) ...................................................................................................................9
                                                                 iii
                                       MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                                     Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                                                                                6
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page 8 of5 of 22
                                                                   8223 223



 1   In re Summers,
         320 B.R. 630 (Bankr. E.D. Mich. 2005) ....................................................................................8
 2
     In re Transcon Lines,
 3
         121 B.R. 837 (C.D. Cal. 1990) ................................................................................................11
 4
     United States v. 5383 Stonehurst Drive, Martinez, California,
 5      No. 2:19-CV-00636-JAM-DB (E.D. Cal. filed Apr. 15, 2019) .................................................5

 6   United States v. 725 Main Street, Martinez, California,
        No. 2:19-CV-00247-JAM-DB (E.D. Cal. filed Feb. 8, 2019) ...................................................5
 7
     United States v. Approximately $6,567,897.50 Seized from CTBC Bank, Account
 8      Number 380019196,
 9      No. 2:19-CV-00485-JAM-DB (E.D. Cal. filed Mar. 18, 2019).................................................5

10   United States v. Bayliss,
        19-cr-00182-JAM-2 (E.D. Cal. filed Oct. 21, 2019) .................................................................5
11
     United States v. Guidry,
12      20-cr-00003-JAM-1 (E.D. Cal. filed Jan. 6, 2020) ....................................................................5
13   United States v. Hansen,
14      20-cr-00016-JAM-1 (E.D. Cal. filed Jan. 21, 2020) ..................................................................5

15   United States v. Jeff Carpoff,
        20-cr-00017-JAM-1 (E.D. Cal. filed Jan. 22, 2020) ..............................................................3, 5
16
     United States v. Karmann,
17      19-cr-00222-JAM-1 (E.D. Cal. filed Dec. 12, 2019) .................................................................5
18   United States v. Paulette Carpoff,
        20-cr-00018-JAM-1 (E.D. Cal. filed Jan. 22, 2020) ..................................................................5
19

20   United States v. Roach,
        19-cr-00182-JAM-1 (E.D. Cal. filed Oct. 21, 2019) .................................................................5
21
     USACM Liquidating Trust v. Compass USA SPE (In re USA Commercial
22     Mortgage Co.),
       No. 2:14-cv-00455-RCJ-PAL (D. Nev. May 28, 2014) ..........................................................13
23
     In re Zante, Inc.,
24       No. 3:10-CV-00231-RCJ-RAM, 2010 WL 5477768 (D. Nev. Dec. 29, 2010) .................6, 8, 9
25
     Federal Statutes
26
     11 U.S.C. § 548 ................................................................................................................................8
27
     28 U.S.C. § 157(b)(2)(A), (O) .........................................................................................................7
28
     28 U.S.C. § 157(c)(1).....................................................................................................................10
                                                                iv
                                      MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                                    Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                                                                             7
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page 9 of6 of 22
                                                                   9223 223



 1   28 U.S.C. § 157(d) .......................................................................................................................1, 6
 2   Rules
 3   Fed. R. Bankr. P. 3006 .....................................................................................................................3
 4
     Fed. R. Bankr. P. 7008(a) ................................................................................................................4
 5
     Fed. R. Evid. 201 .............................................................................................................................3
 6
     E.D. Cal. Local Rule 123 ...............................................................................................................11
 7
     D. Nev. Bankr. Local Rule 5011(b) .................................................................................................2
 8
     D. Nev. Bankr. Local Rule 7026(b) ...............................................................................................12
 9
     Constitutional Provisions
10
     United States Constitution Article III .................................................................................... passim
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                 v
                                      MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                                    Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                                                                            8
      Case
     Case
       Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257
                        Doc  17 Entered
                                 Entered
                            Document
                            100          11/24/21
                                     1-1 06/07/22  14:59:07
                                          Filed 06/07/22
                                                  12:02:03   Page
                                                          Page
                                                             Page  7 223
                                                               10 of
                                                                  10 of
                                                                      of22
                                                                         223



 1   I.        INTRODUCTION

 2             Defendant Nixon Peabody LLP submits this motion under 28 U.S.C. § 157(d) to withdraw

 3   reference of an adversary proceeding. Courts in this district and circuit regularly withdraw

 4   bankruptcy references at the pre-trial stage where, as here, the claims that predominate arise

 5   under state law and require a jury trial. Here, the Bankruptcy Court cannot enter final judgment

 6   or conduct a jury trial on six of the Trustee’s eight claims—including the common law claims that

 7   represent over 99% of the damages the Trustee seeks, and which comprise the overwhelming

 8   majority of the factual allegations in the complaint. Thus, all factors for permissive withdrawal of

 9   a bankruptcy reference support granting Nixon Peabody’s motion.

10             First, considerations of judicial efficiency favor withdrawal. The Bankruptcy Court may

11   neither enter a final judgment nor preside over a jury trial on the predominant state-law claims. A

12   District Court is thus better positioned to manage pre-trial matters that will inevitably shape any

13   potential trial. Moreover, the allegations in the Trustee’s complaint encompass conduct far

14   broader than the bankruptcy petitions; the bankruptcy court’s prior knowledge regarding DC

15   Solar’s assets and bankruptcy petition will have limited value in this matter, which spans eight

16   years of pre-petition conduct and claims and defenses arising under California law that are

17   currently pending before another District Court. Second, withdrawing the bankruptcy reference

18   would conserve costs and avoid delay. Costs would be saved if the pre-trial matters on non-core

19   matters were consolidated in one forum, rather than bifurcated, avoiding unnecessary appeals to

20   the District Court. Withdrawal would not create any delay because the Bankruptcy Court has not

21   conducted any pre-trial proceedings. Third, withdrawing the bankruptcy reference would not

22   interfere with administration of the bankruptcy estate, as the core claims are limited and Nixon

23   Peabody consents to the bankruptcy court’s enforcement of any potential judgment that would

24   impact the bankruptcy plan. Fourth, withdrawal does not present a forum-shopping problem

25   because only a District Court may enter final judgment, including a jury verdict, on the

26   predominant claims and an appropriate District Court venue already exists.

27             Ultimately, as also set forth in Nixon Peabody’s contemporaneously filed motion to

28   transfer, this case should be heard in the Eastern District of California, where two highly similar
                                                         1
                              MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                                9
      Case
     Case
       Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257
                        Doc  17 Entered
                                 Entered
                            Document
                            100          11/24/21
                                     1-1 06/07/22  14:59:07
                                          Filed 06/07/22
                                                  12:02:03   Page
                                                          Page
                                                             Page  8 223
                                                               11 of
                                                                  11 of
                                                                      of22
                                                                         223



 1   civil suits—as well as the many criminal prosecutions—arising out of DC Solar’s fraud are

 2   currently being litigated, including a case brought by the other party that Nixon Peabody

 3   represented in these same transactions along with DC Solar. In every relevant investment

 4   transaction involving DC Solar, Nixon Peabody’s limited scope of representation as tax counsel

 5   involved only two, related parties: DC Solar and the managing member of the particular

 6   investment fund. Nixon Peabody is already litigating in the Eastern District of California against

 7   the managing member, Solarmore Management (“Solarmore”), in a case that raises substantially

 8   all of the same facts and claims—and identical underlying transactions—as those set forth in the

 9   Trustee’s complaint. In another related case in the Eastern District of California, Solarmore also

10   brought suit against DC Solar’s bankruptcy estate and over 40 other advisors to and entities

11   related to DC Solar. Through all of this litigation arising from DC Solar’s Ponzi scheme, the

12   Eastern District has developed significant subject-matter expertise in DC Solar’s underlying

13   misconduct and the role that professional advisors, including—but not limited to—Nixon

14   Peabody did (and did not) play in DC Solar’s fraud. Concentrating litigation there avoids the risk

15   of inconsistent judgments—a risk that is more than theoretical, given the important legal

16   questions surrounding duty, privilege, knowledge, causation, and in pari delicto that will be

17   litigated in each of these actions. And the court in the Eastern District of California, as an Article

18   III court, is empowered to oversee this Adversary Proceeding in a manner that the Bankruptcy

19   Court is not. This matter should thus be transferred, and its reference withdrawn.1

20   II.       BACKGROUND
21             A.     DC Solar’s Ponzi Scheme collapses.
22             DC Solar and its related entities (“DC Solar”) were founded around 2009, and its business
23

24   1
       Because this is fundamentally an Eastern District of California case, Nixon Peabody
     respectfully suggests that the transfer motion be decided first. The transferee court can then
25
     consider the motion to withdraw the reference if necessary. Nixon Peabody brings this motion
26   now, however, to comply with L.R. 5011(b). This motion is timely under that rule and the
     stipulated order extending the briefing period. Order on Stip. To Extend Deadline for Nixon
27   Peabody LLP to Respond to Compl., Dkt. No. 11 (entered Nov. 22, 2021).
28
                                                         2
                              MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                              10
      Case
     Case
       Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257
                        Doc  17 Entered
                                 Entered
                            Document
                            100          11/24/21
                                     1-1 06/07/22  14:59:07
                                          Filed 06/07/22
                                                  12:02:03   Page
                                                          Page
                                                             Page  9 223
                                                               12 of
                                                                  12 of
                                                                      of22
                                                                         223



 1   model entailed creating investment funds to sell mobile solar generators to investors, who would

 2   receive substantial tax benefits. See Adversary Complaint ¶¶ 1–2, 10, 16 (“Compl.”), Dkt. No. 1.

 3   DC Solar would then lease the generators from the investment funds and to third parties, like

 4   arenas and concert venues, from whom DC Solar would collect lease payments. Id. ¶¶ 16–17.

 5   DC Solar retained Nixon Peabody for the limited purpose of providing an opinion explaining the

 6   tax consequence for investors. Id. ¶¶ 50, 106.

 7             DC Solar’s scheme collapsed in December 2018 when the FBI raided the company’s

 8   headquarters. Id. ¶ 39. Most high-ranking DC Solar employees—including the owners, Jeff and

 9   Paulette Carpoff—have since pleaded guilty to wire fraud, money laundering, and similar charges

10   and are currently being sentenced. See, e.g., Ex. A (Carpoff Plea Agreement, United States v. Jeff

11   Carpoff, No. 2:20-cr-00017-JAM (E.D. Cal. filed Jan. 22, 2020), Dkt. No. 10).2 The Carpoffs

12   admitted in their plea agreements that they “operated DC Solar as a Ponzi-like scheme” and
13   “knowingly misrepresented the existence of lease revenue from third parties.” Id. at 23. They
14   further acknowledged that “[o]ver 90% of the money Distribution claimed as lease revenue . . .
15   was actually derived from transfers of cash contributed to Solutions by later investors in tax-
16   equity and other transactions. . . . Thus, DC Solar merely paid obligations due to older investors
17   with money raised from those investors and later investors.” Id.
18             B.     DC Solar’s bankruptcy and the appointment of the Trustee.
19             Shortly after the FBI raid, the DC Solar entities filed for bankruptcy in this Court. Compl.
20   ¶ 42. After the cases were converted to Chapter 7 petitions, the Trustee was appointed and
21   stepped into the shoes of the Debtor corporations. See id. ¶ 43; In re Double Jump, Inc., No. 19-
22   50102-gs (Bankr. D. Nev. Filed Jan. 30, 2019), Dkt. Nos. 390, 439. Nixon Peabody then filed a
23   proof of claim against DC Solar Solutions’ estate based on legal services that Nixon Peabody
24   provided prior to the FBI raid. See Ex. B (March 4, 2019 Nixon Peabody Proof of Claim 34-1).
25   Nixon Peabody has since moved to withdraw the claim under Fed. R. Bankr. P. 3006. See Dkt.
26
     2
       Pursuant to Fed. R. Evid. 201, courts “may take judicial notice of court filings and other matters
27   of public record.” Mahoney v. Sessions, 871 F.3d 873, 877 (9th Cir. 2017). Nixon Peabody
     requests that the Court take judicial notice of the filings and pleadings attached to this motion and
28   otherwise cited herein.
                                                          3
                               MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                             Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                              11
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page    10
                                                               13 of of 22
                                                                  13223 223



 1   No. 2985, In re Double Jump, Inc., No. 19-50102-gs (Bankr. D. Nev. filed Nov. 19, 2021).

 2   Separately—and unrelated to the proof of claim—Nixon Peabody produced its entire DC Solar

 3   case file to the Trustee in 2019 and firm partner Forrest Milder sat for a Rule 2004 examination

 4   the following year. Declaration of Eric MacMichael (“MacMichael Decl.”) ¶¶ 2–3.

 5             C.     The Trustee’s adversary proceeding against Nixon Peabody.

 6             The Trustee filed the Adversary Complaint against Nixon Peabody on October 25, 2021,

 7   alleging that the law firm somehow should have prevented DC Solar’s criminal fraud. The

 8   Trustee asserts four directly non-core, state-law claims—legal malpractice, breach of fiduciary

 9   duty, conspiracy, and aiding and abetting breach of fiduciary duty. The premise of these claims is

10   remarkable: relying on tort law, the Trustee seeks hundreds of millions of dollars in damages for a

11   fraud that DC Solar itself committed, on the theory that Nixon Peabody—who was hired for the

12   limited purpose of providing tax advice—failed to investigate and prevent DC Solar’s own

13   criminal misconduct. Ignoring the limited role Nixon Peabody had in these transactions, the

14   Adversary Complaint alleges that Nixon breached its professional duties, thereby allowing

15   Carpoff to encumber his own company with “obligations and liabilities, . . . misuse [] company

16   assets, . . . loot[ ] company assets, . . . aggravat[e] company insolvency and wrongfully prolong[]

17   its life.” Compl. ¶¶ 260, 273. The scope of the tortious misconduct alleged is vast: The

18   Adversary Complaint contends that Nixon Peabody is implicated in “[a]ll (or nearly all)” of the

19   over thirty investment deals, amounting to “more than $2 billion.” Id. ¶¶ 3, 122–24. The Trustee

20   alleges that Nixon Peabody is jointly and severally liable for all of the damages DC Solar caused

21   on the theory that it conspired with Carpoff to perpetrate the DC Solar Ponzi scheme by “staying

22   silent.” Id. ¶¶ 301, 304.

23             The trustee’s remaining claims—disallowance, fraudulent transfer, and avoidance—

24   amount to approximately $100,000 and do not rely on nearly any of the allegations otherwise

25   made in the Trustee’s 53-page complaint. In the Adversary Complaint, the Trustee “consents to

26   the entry of final orders and judgments by [the Bankruptcy Court].” Compl. ¶¶ 13–14. The

27   Adversary Proceeding has not moved past the pleading stage. Pursuant to Fed. R. Bankr.

28   P. 7008(a), Nixon Peabody does not consent to the entry of final orders or judgments by the
                                                         4
                              MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                               12
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page    11
                                                               14 of of 22
                                                                  14223 223



 1   bankruptcy judge if it is determined that the bankruptcy judge, absent consent of the parties,

 2   cannot enter final orders or judgments on any or all claims consistent with Article III of the

 3   United States Constitution.3

 4             D.     Related actions pending in the Eastern District of California

 5             The Ponzi scheme perpetrated by DC Solar has thus far resulted in seven federal criminal

 6   prosecutions, all in the United States District Court for the Eastern District of California before

 7   Judge John A. Mendez.4 Each defendant has pleaded guilty to crimes relating to their role in

 8   perpetrating the DC Solar Ponzi scheme, and Judge Mendez is in the process of sentencing those

 9   defendants for their pre-petition conduct in perpetrating DC Solar’s fraud.5 Judge Mendez has

10   also presided over a number of civil actions for forfeiture brought by the United States and the
11   Securities and Exchange Commission against the owners of DC Solar.6
12             In addition to those criminal actions, Judge Mendez is presiding over two civil actions that
13   are strikingly similar to this Adversary Proceeding and involve these parties. The managing
14   member of some of the DC Solar investment funds, Solarmore Management (“Solarmore”), has
15

16   3
       Nixon Peabody’s demand for a jury trial on all eligible claims, including the state law and
     fraudulent transfer claims, will be filed contemporaneously with this motion.
17
     4
      See United States v. Jeff Carpoff, 20-cr-00017-JAM-1 (E.D. Cal. filed Jan. 22, 2020); United
18   States v. Paulette Carpoff, 20-cr-00018-JAM-1 (E.D. Cal. filed Jan. 22, 2020); United States v.
19   Roach, 19-cr-00182-JAM-1 (E.D. Cal. filed Oct. 21, 2019); United States v. Bayliss, 19-cr-
     00182-JAM-2 (E.D. Cal. filed Oct. 21, 2019); United States v. Karmann, 19-cr-00222-JAM-1
20   (E.D. Cal. filed Dec. 12, 2019); United States v. Guidry, 20-cr-00003-JAM-1 (E.D. Cal. filed Jan.
     6, 2020); United States v. Hansen, 20-cr-00016-JAM-1 (E.D. Cal. filed Jan. 21, 2020).
21
     5
       J. Carpoff, 20-cr-00017-JAM-1, Dkt. No. 11; P. Carpoff, 20-cr-00018-JAM-1, Dkt. No. 11;
22
     Roach, 19-cr-00182-JAM-1, Dkt. No. 8; Bayliss, 19-cr-00182-JAM-2, Dkt. No. 8; Karmann, 19-
23   cr-00222-JAM-1 Dkt. No. 12; Guidry, 20-cr-00003-JAM-1, Dkt. No. 8; Hansen, 20-cr-00016-
     JAM-1, Dkt. No. 17.
24
     6
       See, e.g. SEC v. Carpoff, No. 2:20-CV-00180- JAM-AC (E.D. Cal. filed Jan. 24, 2020; United
25   States v. 725 Main Street, Martinez, California, No. 2:19-CV-00247-JAM-DB (E.D. Cal. filed
     Feb. 8, 2019); United States v. Approximately $6,567,897.50 Seized from CTBC Bank, Account
26
     Number 380019196, No. 2:19-CV-00485-JAM-DB (E.D. Cal. filed Mar. 18, 2019); United States
27   v. 5383 Stonehurst Drive, Martinez, California, No. 2:19-CV-00636-JAM-DB (E.D. Cal. filed
     Apr. 15, 2019); SEC v. Bayliss, No. 2:19-CV-2140-JAM-DB (E.D. Cal. filed Oct. 22, 2019); and
28   SEC v. Karmann, No. 2:19-CV-2531-JAM-DB (E.D. Cal. filed Dec. 17, 2019).
                                                         5
                              MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                               13
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page    12
                                                               15 of of 22
                                                                  15223 223



 1   sued Nixon Peabody and firm partner Forrest Milder on the same operative facts and many of the

 2   same claims regarding the exact same transactions that are at issue here. See Ex. C, Solarmore II

 3   Complaint (Solarmore Mgmt. Svc., Inc. v. Nixon Peabody, LLP (“Solarmore II”), No. 2:20-cv-

 4   02446-JAM-DB, Dkt. No. 1-2 (E.D. Cal. filed Nov. 3, 2020) (Mendez, J.)). As here, Nixon

 5   Peabody’s former client, Solarmore, alleges that Nixon Peabody should have somehow uncovered

 6   and stopped DC Solar’s misconduct. Id. ¶¶ 137–163. And as here, Solarmore alleges claims

 7   under California tort law, including breach of fiduciary duty, malpractice, and misrepresentation.

 8   Id. ¶¶ 111–121; 137–154.

 9             Additionally, in a separate (and earlier-filed) case likewise pending before Judge Mendez,

10   Solarmore sued the Trustee and over a dozen of DC Solar’s other professional advisors. See Ex.

11   D, Solarmore I Complaint (Solarmore Mgmt. Servs., Inc. v. Bankr. Est. of DC Solar Sols., Inc.

12   (“Solarmore I”), No. 2:19-cv-02544-JAM-DB (E.D. Cal. filed Dec. 17, 2019) (Mendez, J.), Dkt.

13   No. 1). Although the Trustee is no longer named in the amended complaint, she consented to that

14   suit being filed outside of bankruptcy court; given the existence of the many criminal and SEC

15   matters, the case was filed in the Eastern District of California and also assigned to Judge

16   Mendez. Discovery in Solarmore I and Solarmore II will overlap substantially with discovery in

17   this case given the overlap in the underlying transactions, allegations, relevant witnesses and

18   document custodians.

19   III.      ARGUMENT

20             This Court should exercise its discretion to withdraw the bankruptcy reference. Upon

21   timely motion, this Court “may withdraw, in whole . . . any case or proceeding referred . . . for

22   cause shown.” 28 U.S.C. § 157(d). To determine if cause exists, courts look principally to

23   whether the claims asserted are core or non-core. See, e.g., In re Zante, Inc., No. 3:10-CV-00231-

24   RCJ-RAM, 2010 WL 5477768, at *6 (D. Nev. Dec. 29, 2010). Where non-core claims

25   predominate, withdrawal of the reference is favored. Id. Courts also consider inter alia “[1] the

26   efficient use of judicial resources, [2] delay and costs to the parties, [3] uniformity of bankruptcy

27   administration, [4] the prevention of forum shopping, and [5] other related factors.” Sec. Farms

28   v. Int’l Brotherhood of Teamsters, Chauffeurs, Warehousemen & Helpers, 124 F.3d 999, 1008
                                                         6
                              MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                                 14
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page    13
                                                               16 of of 22
                                                                  16223 223



 1   (9th Cir. 1997). The movant bears the burden of persuasion. In re Solano, No. CV 17-2158

 2   FMO, 2017 WL 8180597, at *2 (C.D. Cal. June 19, 2017). Here, all factors favor withdrawal of

 3   the reference.

 4             A.     Claims That Are Non-Core and Otherwise Not Finally Decidable by a
                      Bankruptcy Court Predominate.
 5

 6             The central inquiry on a motion to withdraw a reference is whether the bankruptcy court

 7   can preside over an eventual trial and render a final judgment. Where claims that must be heard

 8   by an Article III tribunal predominate, courts are particularly willing to grant withdrawal. Just so

 9   here.

10                    1.      The claims at the heart of the Trustee’s Complaint are non-core.
11             A “core proceeding is one that invokes a substantive right provided by title 11 or a

12   proceeding that, by its nature, could arise only in the context of a bankruptcy case.” Battle

13   Ground Plaza, LLC v. Ray (In re Ray), 624 F.3d 1124, 1131 (9th Cir. 2010) (quotations and

14   citation omitted). Core proceedings include “matters concerning the administration of the estate”

15   and “other proceedings affecting the liquidation of the assets of the estate or the adjustment of the

16   debtor-creditor or the equity security holder relationship, except personal injury tort or wrongful

17   death claims.” 28 U.S.C. § 157(b)(2)(A), (O). By contrast, “[i]f the proceeding does not invoke a

18   substantive right created by the federal bankruptcy law and is one that could exist outside of

19   bankruptcy[,] it is not a core proceeding.” In re Eastport Assocs., 935 F.2d 1071, 1076 (9th Cir.

20   1991) (quoting In re Wood, 825 F.2d 90, 97 (5th Cir. 1987)); see also Schultze v. Chandler, 765

21   F.3d 945, 948 (9th Cir. 2014) (holding that the proper inquiry is whether the claims would have

22   any “existence outside of the bankruptcy”).

23             Four claims—one for legal malpractice (Count I) and three for breach of fiduciary duty

24   (Counts II–IV)—dominate the Trustee’s Adversary Complaint and are the sole basis for the

25   Trustee’s request for “hundreds of millions of dollars in damages.” Compl. at 2. The factual

26   allegations underlying these four claims comprise 45 pages of the 53-page Complaint. These four

27   central claims are all indisputably non-core. See, e.g., In re ACI-HDT Supply Co., 205 B.R. 231,

28   237 (B.A.P. 9th Cir. 1997); Shengdatech Liquidating Tr. v. Hansen, Barnett, & Maxwell, P.C.,
                                                          7
                               MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                             Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                               15
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page    14
                                                               17 of of 22
                                                                  17223 223



 1   No. 3:13-CV-00563-RCJ, 2013 WL 6408518 at *2 (D. Nev. Nov. 26, 2013) (claims for

 2   professional negligence and malpractice focused on pre-petition advice were not core claims).

 3   Not only are these legal claims typically considered non-core claims, the factual allegations

 4   underlying the claims occurred years before the DC Solar entities filed for bankruptcy and are

 5   unrelated to administration of the estate. See ACI-HDT, 205 B.R. at 237 (distinguishing between

 6   malpractice adversary proceedings concerning post-petition conduct, which may be core, and pre-

 7   petition conduct, which is likely non-core); see also In re 610 W. 142 Owners Corp., 219 B.R.

 8   363, 370 (Bankr. S.D.N.Y. 1998) (“Here, these state law causes of action for breach of fiduciary

 9   duty and negligence arose prepetition. They do not involve the application of bankruptcy law and

10   are therefore non-core.”). All four claims also carry a jury trial right and must be decided by an

11   Article III court.

12             The Trustee’s remaining claims—disallowance (Count VIII), avoidance (Count VII), and

13   fraudulent transfer (Counts V–VI)—are ancillary at best. The proof of claim that gives rise to the

14   disallowance claim totals just over $100,000 and pales in comparison to the damages the Trustee

15   seeks for her non-core, state-law claims. Moreover, the Trustee’s avoidance and fraudulent

16   transfer claims are plagued by irremediable defects that underscore the claims’ lack of

17   predominance. First, as Nixon Peabody will explain in its forthcoming motion to dismiss, the

18   Trustee does not have the standing to pursue most of these claims. The transfers underlying these

19   three claims were “for the payment of legal fees,” Compl. ¶¶ 310, 317; however, as the Trustee is

20   aware, DC Solar did not directly pay for most of these services and thus cannot recover for

21   payments that it did not make. See MacMichael Decl. ¶ 2; see In re Summers, 320 B.R. 630,

22   648–49 (Bankr. E.D. Mich. 2005) (holding that no cause of action exists under 11 U.S.C. § 548

23   for fraudulent transfer of assets that never belonged to the debtor); cf. In re Zante, Inc., 2010 WL

24   5477768, at *6 (noting in predominance analysis that the one claim that arises under the

25   bankruptcy code is invalid). Second, even if the Trustee has standing to pursue the avoidance and

26   fraudulent transfer claims, these claims will be miniscule compared to the non-core claims

27   discussed above, for which the Trustee seeks damages that amount to over one hundred times

28   any arguably core claims.
                                                        8
                             MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                           Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                                16
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page    15
                                                               18 of of 22
                                                                  18223 223



 1                    2.      Two of the trustee’s remaining claims must also be tried before an
                              Article III court, weighing in favor of withdrawal.
 2

 3             Not only are the four claims that will occupy the vast majority of the parties’ efforts non-

 4   core, but the Trustee’s two fraudulent transfer claims are akin to non-core claims. In Stern v.

 5   Marshall, the Supreme Court held that Article III prohibits bankruptcy courts from entering final

 6   judgements on certain core claims, even where Congress has authorized the bankruptcy court to

 7   hear those claims. 564 U.S. 462, 482 (2011). For such claims—commonly referred to as “Stern

 8   claims”—the Bankruptcy Court can only issue proposed findings, which are subject to de novo

 9   review by the District Court. See In re Bellingham Ins. Agency, Inc., 702 F.3d 533, 565–66 (9th

10   Cir. 2012), aff’d sub nom. Executive Benefits Ins. Agency v. Arkison, 573 U.S. 25 (2014). The

11   Ninth Circuit has held that Stern applies to both state and federal claims for fraudulent transfer,

12   prohibiting bankruptcy courts from entering final judgment on such claims without the consent of

13   all parties. See id., 702 F.3d at 561–62. Thus, without Nixon Peabody’s consent—which it has

14   not granted—these claims are functionally the same as the non-core claims. They too confer a

15   jury trial right and are subject to de novo review by the District Court, strongly supporting

16   withdrawal of the reference.

17                    3.      The Trustee’s disallowance claim is moot.

18             Nixon Peabody has moved to withdraw its proof of claim against DC Solar Solutions. If

19   the Bankruptcy Court allows Nixon Peabody to withdraw its proof of claim, the Trustee’s

20   disallowance claim will be moot; even if the Bankruptcy Court does not rule on Nixon Peabody’s

21   motion immediately, the act of filing the motion has practically mooted those claims in the

22   Adversary Proceeding already. Nixon Peabody has neither litigated nor conducted discovery

23   regarding its proof of claim, nor does Nixon Peabody intend to pursue it further.

24                                                      ***

25             As evidenced by the Complaint itself, the crux of the Trustee’s allegations involves issues

26   of (California) common law, which constitutionally belong before a jury and thus an Article III

27   court. Four of the Trustee’s seven live claims are decidedly non-core and six must be tried to an

28   Article III court. That “weighs very heavily in favor of withdrawal.” In re Zante, Inc., 2010 WL

                                                          9
                               MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                             Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                                  17
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page    16
                                                               19 of of 22
                                                                  19223 223



 1   5477768, at *6.

 2             B.     Each factor concerning withdrawal of the bankruptcy reference favors
                      granting Nixon Peabody’ motion.
 3

 4             The remaining factors courts consider on a motion to withdraw the reference likewise

 5   favor Nixon Peabody.

 6                    1.      Judicial Efficiency

 7             Judicial efficiency strongly supports withdrawing the bankruptcy reference. This

 8   Adversary Case has only just been filed; Nixon Peabody has not yet responded to the Complaint;

 9   and the Bankruptcy Court has not yet been required to familiarize itself with the California-state-

10   law professional malpractice and breach of fiduciary duty claims that dominate the case or the in

11   pari delicto defense that hangs over them. See, e.g., In re Align Strategic Partners LLC, No. 16-

12   35702, 2019 WL 2524938, at *3 (Bankr. S.D. Tex. Mar. 5, 2019) (finding withdrawal warranted

13   where Bankruptcy “Court has not gained any in-depth familiarity with the underlying facts in the

14   Adversary Proceeding”). To be sure, the Bankruptcy Court is familiar with the DC Solar entities

15   and their various bankruptcy petitions. But that does not preserve judicial resources here, because

16   the conduct underlying this case occurred entirely pre-petition and has not been raised in any

17   significant detail in other motions or pleadings filed in the Bankruptcy Court.

18             Moreover, efficiency is better served when the parties need not resort to District Court

19   review of the Bankruptcy Court’s proposed findings of fact and conclusions of law. Indeed, it

20   would be a poor use of resources for both the Bankruptcy Court and the District Court if Nixon

21   Peabody’s Rule 12(b)(6) motion and any possible future Rule 56 motion would need to be

22   considered anew by both courts. 28 U.S.C. § 157(c)(1); see, e.g., In re Shoe Pavilion, Inc., No.

23   2:13-CV-01245- CJC, 2013 WL 12113232, at *1 (C.D. Cal. May 30, 2013) (adopting bankruptcy

24   court’s recommendation to grant defendant’s motions for summary judgment). A court within

25   this district ruled in a similar case involving pre-petition malpractice claims that “judicial

26   efficiency weighs in favor of withdrawal to this Court since the District Court would have to

27   review all dispositive recommendations as to non-core issues de novo, increasing costs and

28   causing delay.” Shengdatech, 2013 WL 6408518, at *2; Sec. Farms, 124 F.3d at 1008 (district
                                                         10
                               MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                             Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                              18
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page    17
                                                               20 of of 22
                                                                  20223 223



 1   court appropriately withdraws a bankruptcy reference when “non-core issues predominate”).

 2   Similarly, because any jury trial must take place in District Court, judicial efficiency is best

 3   served by having the District Court conduct pre-trial proceedings. “[S]everal courts have

 4   concluded that where,” as here, “a jury trial is required and the parties refuse to consent to

 5   bankruptcy jurisdiction, withdrawal of the case to the district court is appropriate.” In re

 6   Cinematronics, Inc., 916 F.2d 1444, 1451 (9th Cir. 1990). When a “District Court Judge must

 7   eventually preside over the jury trial in this matter, it would constitute a tremendous waste of

 8   judicial resources to permit the bankruptcy judge to continue to maintain jurisdiction over the

 9   issues presented in this litigation.” In re Transcon Lines, 121 B.R. 837, 838 (C.D. Cal. 1990)

10   (emphasis added); Nelson v. XL America, Inc. (In re Ameri-Dream Realty, LLC), No. 2:16-cv-

11   00060-JAD-GWF, 2016 U.S. Dist. LEXIS 157788, at *3 (D. Nev. Nov. 14, 2016) (concluding

12   that “[e]ither way, this case is coming back” to the district court, and denying withdrawal “would

13   duplicate [the bankruptcy court’s] efforts”).

14             Indeed, as set forth in Nixon Peabody’s contemporaneously filed transfer motion, the best

15   use of resources would be for this case to be heard in the Eastern District of California, where two

16   strikingly similar cases are already pending.7 First, as to the substance, there’s no good reason

17   for two different courts to consider the exact same facts and underlying transactions, and to
18   decide the same legal issues—such as the scope of Nixon Peabody’s duty to its clients and its in
19   pari delicto defense against DC Solar—especially when there is a chance that the two courts
20   could reach different conclusions on the same question. The issues that will arise in this
21   Adversary Case have been at the heart of the numerous criminal and civil matters pending in the
22   7
       This motion has been filed contemporaneously with a motion to transfer the case to the United
23   States District Court for the Eastern District of California. Should this case be transferred to the
     Eastern District, Nixon Peabody will immediately file a Notice of Related Case, pursuant to
24   Eastern District of California Local Rule 123, to relate this case to the pending actions in the
     Eastern District, which will ensure that the case is coordinated with the pending DC Solar cases.
25
     To the extent there are any post-trial collection issues, Nixon Peabody agrees that those limited
26   concerns—which are unlikely to arise—could be litigated before the Bankruptcy Court in the
     District of Nevada, a procedural condition on which the Trustee already predicated her consent to
27   the filing of Solarmore I in the Eastern District of California.
28
                                                        11
                              MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                             19
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page    18
                                                               21 of of 22
                                                                  21223 223



 1   Eastern District of California.

 2             Second, discovery in the Eastern District of California would increase judicial efficiency,

 3   allow for coordination between all relevant parties, and avoid duplicating efforts. The Trustee

 4   will invariably argue that it has filed over 40 adversary proceedings in this Court and this case is

 5   no different. And the Bankruptcy Court here may want to conduct discovery in 180 days, as

 6   Local Rule 7026(b) recommends. But the Trustee’s Adversary Complaint against Nixon Peabody

 7   is entirely unlike the conventional, cookie-cutter complaints in her other adversary proceedings,

 8   which generally allege fraudulent transfer claims for which six months of discovery would be

 9   more than enough. The Trustee’s state-law claims and allegations here are far broader: The

10   Adversary Complaint spans almost a decade of conduct, alleging that Nixon Peabody either

11   assisted, aided, abetted, or failed to detect the Carpoffs’ fraudulent conduct in over 35

12   transactions involving at least nine different investors. Not only will the Solarmore cases involve

13   the exact same facts and underlying transactions, as discussed above, but they will require

14   coordinating discovery with the same 40+ parties to limit discovery disputes and repetitive

15   depositions. The issues at the core of this Adversary Complaint would be difficult to resolve with

16   only 180 days of discovery, and such a schedule would effectively prohibit coordination of

17   discovery with the Solarmore cases and require duplicative discovery. Moreover, it would be far

18   more efficient for the same court to manage discovery—and the inevitable discovery disputes—in

19   these similar actions, instead of requiring this court to take a sliver of the Solarmore cases and

20   repeat the entire discovery process here.

21             Nixon Peabody acknowledges that courts within this district have reached different

22   decisions regarding whether to withdraw the bankruptcy reference in the early stages or just

23   before trial. Many of the cases denying an early withdrawal of the reference, however, are easily

24   distinguishable from this Adversary Complaint for three reasons. First, many of those cases

25   involve only fraudulent transfer claims, which may “routinely arise in the context of bankruptcy,

26   and are often integrally tied to core proceedings.” Rosenberg v. Harvey A. Bookstein, 479 B.R.

27   584, 590 (D. Nev. 2012); see also Krohn v. Stipp (In re Plise), No. 2:13-cv-00169-JAD-PAL,

28   2015 WL 4997296 (D. Nev. Aug. 19, 2015). Here, not only are there significant non-core claims
                                                         12
                               MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                             Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                                 20
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page    19
                                                               22 of of 22
                                                                  22223 223



 1   other than the fraudulent transfer claims, the non-core claims do not predominate and are not

 2   integrally tied to the core proceedings. Second, cases denying withdrawal often have virtually

 3   identical adversary complaints already pending before the bankruptcy court, frequently for

 4   fraudulent transfer claims. Here, the Trustee’s Adversary Complaint against Nixon Peabody is

 5   unique in its individualized, tort-based claims and allegations, which comprise almost the entirety

 6   of the Complaint. Third, cases denying withdrawal until trial frequently conclude that the

 7   bankruptcy court is “the court most familiar with the parties and issues.” Bagley v. Locke Lord

 8   LLP (In re Desert Capital REIT, Inc.), No. 2:13-cv-01114-JAD, 2014 U.S. Dist. LEXIS 28949, at

 9   *8 (D. Nev. March 6, 2014); see also Ex. E (Order Denying Motion to Withdraw Reference,

10   Melech v. Polhill (In re American Pacific Financial Corp.), No. 2:13-cv-01113-JCM (PAL) (D.

11   Nev. Feb. 5, 2014), Dkt. No. 34 (same)). Here, the Eastern District of California—not the

12   bankruptcy court—is “the court most familiar” with the parties, the claims, and the underlying

13   pre-petition conduct at issue. The very same claims and defenses will be litigated before that

14   court, which already has familiarity with many of the criminal and civil cases related to DC

15   Solar’s downfall.

16             The facts here are far more analogous to cases within this district that have withdrawn the

17   bankruptcy reference at an early stage. See Shengdatech, 2013 WL 6408518, at *2–3

18   (withdrawing reference where non-core issues predominated and adjudication would likely not

19   impact the bankruptcy administration); see also Off. Comm.. of Unsecured Creditors v. Marini (In

20   re Windspire Energy, Inc.), No. 3:13-cv-10-RCJ-WGC, 2013 U.S. Dist. LEXIS 46727, at *2–3

21   (D. Nev. April 1, 2013) (withdrawing reference in case involving breach of fiduciary duty and

22   fraudulent transfer because of judicial economy and on recommendation of the bankruptcy

23   judge); Nelson, 2016 U.S. Dist. LEXIS 157788 (withdrawing reference to avoid duplicating

24   efforts); see also Ex. F (USACM Liquidating Trust v. Compass USA SPE (In re USA Commercial

25   Mortgage Co.), No. 2:14-cv-00455-RCJ-PAL (D. Nev. May 28, 2014), Dkt. No. 4 (withdrawing

26   reference on recommendation of the bankruptcy judge because the parties would be litigating the

27   same issues related to another action pending before the District Court)). Unlike the Trustee’s

28   other adversary complaints, this Complaint is different in that it is focused almost entirely on
                                                        13
                              MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                             21
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page    20
                                                               23 of of 22
                                                                  23223 223



 1   individualized, California tort claims that will eventually end up before a District Court. There is

 2   no efficiency in having the bankruptcy court adjudicate the very same claims and issues that are

 3   already before the Eastern District of California.

 4             Judicial efficiency would best be served by withdrawing the bankruptcy reference and

 5   transferring this case.

 6                    2.       Cost and Delay
 7             For similar reasons, considerations of cost and delay also favor withdrawing the reference.

 8   The process of repeatedly submitting the Bankruptcy Court’s proposed findings of fact and

 9   conclusions of law to the District Court for de novo review would impose significant costs and

10   could cause repeated delays, neither of which is necessary here. In re Addison, 240 B.R. 47, 50

11   (C.D. Cal. 1999) (granting withdrawal of reference because constant back-and-forth would cause

12   unnecessary delay); see also In re O’Hanneson, No. 5:12-cv-04068 EJD, 2013 WL 655158, at *4

13   (N.D. Cal. Feb. 21, 2013) (“[A]llowing pretrial matters to proceed in [District Court] . . . prevents

14   delay and saves costs since the parties will have dealt with one court rather than two.”). And

15   withdrawal would not itself cause delay. The parties have not moved past the pleading stage, and

16   the Bankruptcy Court has not taken any action on the merits of the complaint or scheduled any

17   hearings. Thus, “withdrawal will prevent delay and added costs to the parties by placing the non-

18   core claims in [the district court], which can render final judgment.” Everett v. Art Brand

19   Studios, LLC, 556 B.R. 437, 445 (N.D. Cal. 2016) (quoting In re Rosales, No. 13-cv-01316-LHK,

20   2013 WL 5962007 at *7 (N.D. Cal. Nov. 7, 2013)).

21                    3.       Administration of the bankruptcy estate
22             Withdrawal would not harm the administration of the bankruptcy estate. See In re

23   Rosales, 2013 WL 5962007, at *7. Here, however, Nixon Peabody has already moved for leave

24   to withdraw its proof of claim, which it will no longer pursue; thus, the disallowance claim does

25   not weigh heavily on this factor. And as discussed above, the Trustee’s avoidance claim suffers

26   from significant standing issues. Any argument that withdrawal of the reference would affect the

27   administration of the bankruptcy estate must take into account the deficiencies of those two

28   claims. Finally, even if withdrawal did result in slight disruption to the administration of the
                                                        14
                              MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                             22
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page    21
                                                               24 of of 22
                                                                  24223 223



 1   bankruptcy estate, it “is outweighed by the efficiency that will result in withdrawing the Trustee’s

 2   non-core claims to this court.” Everett, 556 B.R. at 446.8

 3                    4.      Forum-shopping
 4             Forum shopping is not a concern here as only the District Court has the power to enter

 5   final judgment. Even if the Bankruptcy Court adjudicated the Trustee’s non-core claims, this

 6   Court would have to conduct de novo review and oversee a jury trial. In re Cinematronics, Inc.,

 7   916 F.2d at 1451. Moreover, as Nixon Peabody’s transfer motion shows, the courts should

 8   concentrate the suits and claims that go to the conduct of DC Solar’s professional advisors before

 9   a single court that has developed significant subject-matter expertise regarding such matters—in

10   this case, the Eastern District of California. That’s not forum shopping: it’s a sensible allocation

11   of the parties’ and the judiciary’s resources.

12             All factors therefore favor withdrawal, and this Court should exercise its discretion to

13   withdraw the bankruptcy reference.

14   IV.       CONCLUSION
15             For the foregoing reasons, this Court should withdraw the bankruptcy reference of the

16   entire Adversary Proceeding.

17

18

19

20

21

22

23

24

25
     8
       If this Court prefers to leave the two core claims—avoidance and disallowance—in Bankruptcy
26
     Court, the Court can sever the six non-core and Stern claims and withdraw the reference only as
27   to those six claims. When “[u]niform administration of the bankruptcy estate is the sole factor
     that favors not withdrawing the reference,” courts have severed non-core claims and allowed only
28   core claims to proceed before the Bankruptcy Court. In re Rosales, 2013 WL 5962007, at *7.
                                                         15
                               MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                             Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                                23
      Case
     Case
       Case21-05072-gs
          21-05072-gs    DocDocument
             3:22-cv-00257
                        Doc  17 Entered
                            100      1-1 11/24/21
                                         06/07/22 14:59:07
                                          Filed 06/07/22    Page
                                                  12:02:03Page    22
                                                               25 of of 22
                                                                  25223 223



 1   Dated: November 24, 2021                              KEKER, VAN NEST & PETERS LLP

 2
                                                    By:    /s/ Elliot R. Peters
 3
                                                           ELLIOT R. PETERS
 4                                                         ERIC H. MACMICHAEL

 5   Dated: November 24, 2021                              KAEMPFER CROWELL
 6

 7                                                  By:    /s/ Louis M. Bubala III
                                                           LOUIS M. BUBALA III
 8
                                                           Attorneys for Defendant Nixon Peabody
 9                                                         LLP

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                   16
                         MOTION TO WITHDRAW BANKRUPTCY REFERENCE
                       Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
     1762685                                                                                       24
 Case
Case  21-05072-gs
   Case
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  17-1 Entered
                       100    Entered 11/24/21
                                 1-1 06/07/22
                                      Filed     14:59:07
                                            06/07/22
                                              12:02:03PagePage
                                                         Page 261223
                                                           26 of  of 223
                                                                  of 28




                       EXHIBIT A




                                                                           25
 Case
Case  21-05072-gs
   Case
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  17-1 Entered
                       100    Entered 11/24/21
                                 1-1 06/07/22
                                      Filed     14:59:07
                                            06/07/22
                                              12:02:03PagePage
                                                         Page 272223
                                                           27 of  of 223
                                                                  of 28
  Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 1 of 27




                                                                           26
 Case
Case  21-05072-gs
   Case
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  17-1 Entered
                       100    Entered 11/24/21
                                 1-1 06/07/22
                                      Filed     14:59:07
                                            06/07/22
                                              12:02:03PagePage
                                                         Page 283223
                                                           28 of  of 223
                                                                  of 28
  Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 2 of 27




                                                                           27
 Case
Case  21-05072-gs
   Case
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  17-1 Entered
                       100    Entered 11/24/21
                                 1-1 06/07/22
                                      Filed     14:59:07
                                            06/07/22
                                              12:02:03PagePage
                                                         Page 294223
                                                           29 of  of 223
                                                                  of 28
  Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 3 of 27




                                                                           28
 Case
Case  21-05072-gs
   Case
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  17-1 Entered
                       100    Entered 11/24/21
                                 1-1 06/07/22
                                      Filed     14:59:07
                                            06/07/22
                                              12:02:03PagePage
                                                         Page 305223
                                                           30 of  of 223
                                                                  of 28
  Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 4 of 27




                                                                           29
 Case
Case  21-05072-gs
   Case
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  17-1 Entered
                       100    Entered 11/24/21
                                 1-1 06/07/22
                                      Filed     14:59:07
                                            06/07/22
                                              12:02:03PagePage
                                                         Page 316223
                                                           31 of  of 223
                                                                  of 28
  Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 5 of 27




                                                                           30
 Case
Case  21-05072-gs
   Case
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  17-1 Entered
                       100    Entered 11/24/21
                                 1-1 06/07/22
                                      Filed     14:59:07
                                            06/07/22
                                              12:02:03PagePage
                                                         Page 327223
                                                           32 of  of 223
                                                                  of 28
  Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 6 of 27




                                                                           31
 Case
Case  21-05072-gs
   Case
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  17-1 Entered
                       100    Entered 11/24/21
                                 1-1 06/07/22
                                      Filed     14:59:07
                                            06/07/22
                                              12:02:03PagePage
                                                         Page 338223
                                                           33 of  of 223
                                                                  of 28
  Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 7 of 27




                                                                           32
 Case
Case  21-05072-gs
   Case
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  17-1 Entered
                       100    Entered 11/24/21
                                 1-1 06/07/22
                                      Filed     14:59:07
                                            06/07/22
                                              12:02:03PagePage
                                                         Page 349223
                                                           34 of  of 223
                                                                  of 28
  Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 8 of 27




                                                                           33
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  10
                                                          35 of
                                                             35  ofof223
                                                                223   28
  Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 9 of 27




                                                                           34
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  11
                                                          36 of
                                                             36  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 10 of 27




                                                                           35
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  12
                                                          37 of
                                                             37  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 11 of 27




                                                                           36
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  13
                                                          38 of
                                                             38  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 12 of 27




                                                                           37
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  14
                                                          39 of
                                                             39  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 13 of 27




                                                                           38
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  15
                                                          40 of
                                                             40  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 14 of 27




                                                                           39
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  16
                                                          41 of
                                                             41  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 15 of 27




                                                                           40
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  17
                                                          42 of
                                                             42  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 16 of 27




                                                                           41
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  18
                                                          43 of
                                                             43  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 17 of 27




                                                                           42
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  19
                                                          44 of
                                                             44  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 18 of 27




                                                                           43
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  20
                                                          45 of
                                                             45  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 19 of 27




                                                                           44
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  21
                                                          46 of
                                                             46  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 20 of 27




                                                                           45
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  22
                                                          47 of
                                                             47  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 21 of 27




                                                                           46
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  23
                                                          48 of
                                                             48  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 22 of 27




                                                                           47
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  24
                                                          49 of
                                                             49  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 23 of 27




                                                                           48
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  25
                                                          50 of
                                                             50  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 24 of 27




                                                                           49
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  26
                                                          51 of
                                                             51  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 25 of 27




                                                                           50
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  27
                                                          52 of
                                                             52  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 26 of 27




                                                                           51
Case
Case 21-05072-gs
  Case
     21-05072-gs   Doc Document
        3:22-cv-00257
                   Doc 17-1 Entered
                       100   Entered 11/24/21
                                1-1 06/07/22  14:59:07
                                     Filed 06/07/22
                                             12:02:03PagePage
                                                        Page  28
                                                          53 of
                                                             53  ofof223
                                                                223   28
 Case 2:20-cr-00017-JAM Document 10 Filed 01/24/20 Page 27 of 27




                                                                           52
 Case
Case
  Case21-05072-gs
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  17-2 Entered
                       100     Entered 11/24/21
                                 1-1 06/07/22
                                      Filed     14:59:07
                                            06/07/22
                                              12:02:03
                                                     Page  Page
                                                         Page 541
                                                           54 of  ofof223
                                                                 223   5




                        EXHIBIT B




                                                                            53
 Case
Case
  CaseCase
      21-05072-gs
           19-50130-gs
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  17-2
                         Claim
                       100     Entered
                               34-1
                             Entered  Filed
                                       11/24/21
                                            03/04/19
                                 1-1 06/07/22
                                      Filed      14:59:07
                                            06/07/22  Page
                                               12:02:03
                                                      Page  Page
                                                            1 ofof
                                                          Page
                                                            55   42
                                                                55  ofof223
                                                                   223   5




                                                                              54
 Case
Case
  CaseCase
      21-05072-gs
           19-50130-gs
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  17-2
                         Claim
                       100     Entered
                               34-1
                             Entered  Filed
                                       11/24/21
                                            03/04/19
                                 1-1 06/07/22
                                      Filed      14:59:07
                                            06/07/22  Page
                                               12:02:03
                                                      Page  Page
                                                            2 ofof
                                                          Page
                                                            56   43
                                                                56  ofof223
                                                                   223   5




                                                                              55
 Case
Case
  CaseCase
      21-05072-gs
           19-50130-gs
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  17-2
                         Claim
                       100     Entered
                               34-1
                             Entered  Filed
                                       11/24/21
                                            03/04/19
                                 1-1 06/07/22
                                      Filed      14:59:07
                                            06/07/22  Page
                                               12:02:03
                                                      Page  Page
                                                            3 ofof
                                                          Page
                                                            57   44
                                                                57  ofof223
                                                                   223   5




                                                                              56
 Case
Case
  CaseCase
      21-05072-gs
           19-50130-gs
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  17-2
                         Claim
                       100     Entered
                               34-1
                             Entered  Filed
                                       11/24/21
                                            03/04/19
                                 1-1 06/07/22
                                      Filed      14:59:07
                                            06/07/22  Page
                                               12:02:03
                                                      Page  Page
                                                            4 ofof
                                                          Page
                                                            58   45
                                                                58  ofof223
                                                                   223   5




                                                                              57
 Case
Case  21-05072-gs
   Case
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  17-3 Entered
                       100    Entered 11/24/21
                                 1-1 06/07/22
                                      Filed     14:59:07
                                            06/07/22
                                              12:02:03PagePage
                                                         Page 591223
                                                           59 of  of 223
                                                                  of 28




                       EXHIBIT C




                                                                           58
 Case
Case  21-05072-gs
   Case
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  17-3 Entered
                       100    Entered 11/24/21
                                 1-1 06/07/22
                                      Filed     14:59:07
                                            06/07/22
                                              12:02:03PagePage
                                                         Page 602223
                                                           60 of  of 223
                                                                  of 28
Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 1 of 27




                       EXHIBIT A




                                                                           59
                      Case
                     Case  21-05072-gs
                        Case
                          21-05072-gs
                               3:22-cv-00257      DocDocument
                                                 Doc      17-3 Entered
                                                        100         Entered
                                                                 20STCV32546   11/24/21
                                                                       1-1 06/07/22
                                                                              Filed           14:59:07
                                                                                       06/07/22
                                                                                            12:02:03    Page  Page
                                                                                                           Page   613223
                                                                                                               61 of  of 223
                                                                                                                      of 28
                     Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 2 of 27
                         Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Mark Mooney




Electronically FILED by Superior Court of California, County of Los Angeles on 08/26/2020 11:28 AM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Barel,Deputy Clerk



       1

       2
       3

       4

       5
        Brian J. Foster, Arizona Bar Number 012143 (pro hac vice pending)
      6 Ross P. Meyer, Arizona Bar Number 028473 (pro hac vice pending)

      7 admin@wb-law.com
        Attorneys for Plaintiffs
      8
        Howard King, California Bar Number 77012
      9 John Snow, California Bar Number 280790
        KING, HOLMES, PATERNO & SORIANO, LLP
     10 1900 Avenue of the Stars

     11 Twenty Fifth Floor
        Los Angeles, CA 90067
     12 Phone: 310-282-8989
        Email: JSnow@kphslaw.com
     13

     14                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
     15                          COUNTY OF LOS ANGELES, CENTRAL JUDICIAL DISTRICT
     16
              SOLARMORE MANAGEMENT                                                          Case No.
     17       SERVICES, INC., a California
              corporation; CARL AND BARBARA                                                 COMPLAINT
     18       JANSEN, a married couple,
                                                                                            (Breach of Fiduciary Duty, Breach of
     19                              Plaintiffs,                                            Contract, Unjust Enrichment, Negligent
                                                                                            Misrepresentation, Legal Malpractice, and
     20
                         vs.                                                                Aiding and Abetting)
     21
              NIXON PEABODY, LLP, a New York                                                (Jury Trial Requested)
     22       limited liability partnership; FORREST
              DAVID MILDER, a married individual,
     23
                                     Defendants.
     24

     25
            5609.060/1609186.1                                                                                                                                               60
             Case
            Case  21-05072-gs
               Case
                 21-05072-gs    DocDocument
                    3:22-cv-00257
                               Doc  17-3 Entered
                                   100    Entered 11/24/21
                                             1-1 06/07/22
                                                  Filed     14:59:07
                                                        06/07/22
                                                          12:02:03PagePage
                                                                     Page 624223
                                                                       62 of  of 223
                                                                              of 28
            Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 3 of 27




 1                                    PRELIMINARY STATEMENT
 2            Plaintiffs’ claims arise from a fraud scheme that eventually resulted in the losses of $2
 3 billion to innocent purchasers, who thought they had purchased mobile solar energy generators

 4 qualifying for valid and significant tax benefits.

 5            One scheme provided that DC Solar Solutions would build and sell mobile solar
 6 generators (“MSGs”) to Funds, which were invested in by Purchasing Members. The Purchasing

 7 Members provided the Funds with money that equaled $150,000 for each MSG the Fund would

 8 purchase from DC Solar Solutions. Typically, the Fund would make a thirty percent down
 9 payment to DC Solar Solutions, which Nixon Peabody and Forrest Milder stated would qualify

10 for alternative energy tax credits. The Funds would then execute a Promissory Note in favor of

11 DC Solar Solutions, which would be paid over the course of twenty years, during which the
12 Funds would be permitted to depreciate the MSGs on favorable tax terms. However, the sale of

13 the MSGs and resulting tax credits proved to be a sham. In reality, there was no true market for

14 the MSGs sold to the Fund and the $150,000 sale price was grossly overstated.

15            Nixon Peabody and Forrest Milder were directly involved in the DC Solar scheme by
16 providing Tax Opinions to the Funds, including the Purchasing Member, to encourage them to

17 execute the agreements that enabled the transactions described above. As Solarmore
18 Management’s attorneys, Nixon Peabody and Forrest Milder owed the Plaintiffs a fiduciary

19 duty. Nixon Peabody and Forrest Milder were aware that the stated value of the MSGs was less

20 than presented to the Funds because the Internal Revenue Service initiated an audit of some of
21 the Funds as early as 2013. However, rather than alert each of the involved parties, including

22 their clients, the Plaintiffs, Nixon Peabody and Forrest Milder, in conjunction with DC Solar

23 Affiliates and the Principals, took steps to ensure Carl Jansen would become the hundred
24 percent owner of Solarmore Management, which was the manager of and held an interest in the

25
     5609.060/1609186.1                                 2                                             61
             Case
            Case  21-05072-gs
               Case
                 21-05072-gs    DocDocument
                    3:22-cv-00257
                               Doc  17-3 Entered
                                   100    Entered 11/24/21
                                             1-1 06/07/22
                                                  Filed     14:59:07
                                                        06/07/22
                                                          12:02:03PagePage
                                                                     Page 635223
                                                                       63 of  of 223
                                                                              of 28
            Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 4 of 27




 1 Funds. The Defendants wanted Jeff Carpoff to no longer be associated with Solarmore

 2 Management so the Tax Opinions could state that an uninterested third party, Carl Jansen, was
 3 the sole owner of Solarmore Management, rather than Jeff Carpoff or Paulette Carpoff, which

 4 were the owners of DC Solar and its affiliates. However, this action did not resolve the issues

 5 surrounding the manufactured sales price of the MSGs, the lack of lease revenues, or the

 6 inability of the Funds to receive the benefit of the Tax Credits.

 7            As a result, Nixon Peabody and Milder were able to continue to generate substantial legal
 8 fees as a result of continuing the DC Solar schemes and cause enormous damages to the
 9 Plaintiffs. Plaintiffs, for its complaint against Defendants, allege as follows:

10                                                THE PARTIES
11            1.          Solarmore Management Services, Inc. (“Solarmore Management”) is a
12 California corporation authorized to do and doing business in California in the county of Los

13 Angeles. Solarmore Management is currently owned and managed by Carl Jansen (“Jansen”)

14 (Solarmore and Jansen are collectively the “Plaintiffs”).

15            2.          Jansen and Barbara Jansen (“Jansen’s Wife”) are a married couple residing in
16 Illinois and doing business in the state of California in the county of Los Angeles.

17            3.          Until December 12, 2019, Solarmore Management was the managing member of
18 the following California limited liability companies, which are collectively referred to as the

19 “Solar Funds” or the “Purchasers” and generally referred to as the “Funds.”

20                 a. Solar Eclipse Investment Fund V, LLC

21                 b. Solar Eclipse Investment Fund VI, LLC

22                 c. Solar Eclipse Investment Fund VII, LLC
                   d. Solar Eclipse Investment Fund VIII, LLC
23
                   e. Solar Eclipse Investment Fund X, LLC
24
                   f. Solar Eclipse Investment Fund XI, LLC
25
     5609.060/1609186.1                                  3                                            62
             Case
            Case  21-05072-gs
               Case
                 21-05072-gs    DocDocument
                    3:22-cv-00257
                               Doc  17-3 Entered
                                   100    Entered 11/24/21
                                             1-1 06/07/22
                                                  Filed     14:59:07
                                                        06/07/22
                                                          12:02:03PagePage
                                                                     Page 646223
                                                                       64 of  of 223
                                                                              of 28
            Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 5 of 27




 1                 g. Solar Eclipse Investment Fund XII, LLC

 2                 h. Solar Eclipse Investment Fund XIV, LLC

 3                 i. Solar Eclipse Investment Fund XV, LLC
                   j. Solar Eclipse Investment Fund XVI, LLC
 4
                   k. Solar Eclipse Investment Fund XVII, LLC
 5
                   l. Solar Eclipse Investment Fund XVIII, LLC
 6
                   m. Solar Eclipse Investment Fund XIX, LLC
 7
                   n. Solar Eclipse Investment Fund XXI, LLC
 8
                   o. Solar Eclipse Investment Fund XXII, LLC
 9
                   p. Solar Eclipse Investment Fund XXIII, LLC
10                 q. Solar Eclipse Investment Fund XXIV, LLC
11                 r. Solar Eclipse Investment Fund XXVI, LLC
12                 s. Solar Eclipse Investment Fund XXVIII, LLC
13                 t. Solar Eclipse Investment Fund XXXI, LLC

14            4.          Solarmore Management is currently the 1% owner in each of the Solar Funds

15 except for Solar Eclipse Investment Fund V, Solar Eclipse Investment Fund VI, Solar Eclipse

16 Investment Fund VII, Solar Eclipse Investment Fund X, Solar Eclipse Investment Fund XI, and

17 Solar Eclipse Investment Fund XII in which Solarmore is the 95% owner.
18            5.          The Solar Funds are tax-equity funds permitted under the Internal Revenue Code

19 (the “Code” or “IRC”), created specifically for the purpose of owning mobile solar generators

20 (“MSGs”).
21            6.          Along with the managing member of the Solar Funds, which was Solarmore

22 Management up to December 12, 2019, each Fund has a purchasing member or members, which

23 provided money to purchase the MSGs.
24            7.          As of December 18, 2019, Solarmore Management consented to resignation as

25 managing member of the Funds but remains a member of the Funds.
     5609.060/1609186.1                                  4                                             63
             Case
            Case  21-05072-gs
               Case
                 21-05072-gs    DocDocument
                    3:22-cv-00257
                               Doc  17-3 Entered
                                   100    Entered 11/24/21
                                             1-1 06/07/22
                                                  Filed     14:59:07
                                                        06/07/22
                                                          12:02:03PagePage
                                                                     Page 657223
                                                                       65 of  of 223
                                                                              of 28
            Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 6 of 27




 1            8.          Nixon Peabody LLP (“Nixon”) is a New York limited liability partnership doing
 2 business in California in the county of Los Angeles.
 3            9.          Forrest David Milder (“Milder”) is an attorney and partner of Nixon at its Boston,
 4 Massachusetts office and doing business in California in the county of Los Angeles.

 5                                           JURISDICTION & VENUE
 6            10.         This Court has subject-matter jurisdiction over Plaintiffs’ claims because the
 7 claims arise under the laws of the State of California.

 8            11.         This Court has personal-matter jurisdiction, as each of the Parties are either
 9 California entities or persons doing business in California in the county of Los Angeles.

10            12.         Without limiting the generality of the foregoing, each Defendant (directly or
11 through agents who were at the time acting with actual and/or apparent authority and within the
12 scope of such authority) has:

13                  a. Transacted business in California in the county of Los Angeles;
14                  b. Contracted to supply or obtain services in California in the county of Los Angeles;
15                  c. Availed themselves intentionally of the benefits of doing business in California in
16 the county of Los Angeles;

17                  d. Produced, promoted, sold, and/or distributed their products or services in
18 California in the county of Los Angeles, and thereby have purposefully profited from their

19 access to markets in California in the county of Los Angeles; and

20                  e. Caused tortious damage by act or omission in California in the county of Los
21 Angeles.

22            13.         Venue is proper in this Court under Code of Civil Procedure section (“§”) 395.5.
23 . . .
24 . . .

25
     5609.060/1609186.1                                    5                                                 64
             Case
            Case  21-05072-gs
               Case
                 21-05072-gs    DocDocument
                    3:22-cv-00257
                               Doc  17-3 Entered
                                   100    Entered 11/24/21
                                             1-1 06/07/22
                                                  Filed     14:59:07
                                                        06/07/22
                                                          12:02:03PagePage
                                                                     Page 668223
                                                                       66 of  of 223
                                                                              of 28
            Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 7 of 27




 1                                          FACTUAL ALLEGATIONS
 2            14.         Mike Silva (“Silva”) formed DC Solar Solutions Mfg., Inc. on or around July 30,
 3 2009 in California.

 4            15.         Jeff Carpoff (“Carpoff”) and Paulette Carpoff (collectively the “Carpoffs”)
 5 formed DC Solar Solutions, Inc. on or around September 29, 2010 in California.

 6            16.         The Carpoffs were involved with DC Solar Solutions Mfg., Inc. from its inception.
 7            17.         On or around March 5, 2012, DC Solar Solutions Mfg., Inc. changed its name to
 8 DC Solar Solutions, Inc. (each is referred to as “DC Solar Solutions”) and filed documents with
 9 the California Secretary of State stating that Carpoff was its president and Paulette Carpoff was

10 its secretary.

11            18.         The Carpoffs incorporated DC Solar Distribution, Inc. (“DC Solar Distribution”)
12 in California on or around September 29, 2010.

13            19.         In or about 2010, DC Solar Solutions created the first Funds, Solar Eclipse
14 Investment Fund, LLC and Solar Eclipse Investment Fund III, LLC, each California limited

15 liability companies, to own MSGs and solicit MSG purchases for tax benefits.

16            20.         Solarmore Management Services, Inc. (“Solarmore Management”) is a
17 California corporation that was formed on or around November 7, 2013, by Carpoff.
18            21.         Around the time of Solarmore Management’s formation, Carl Jansen (“Jansen”)
19 came to hold a twenty-one percent membership interest, while Carpoff continued to hold the

20 remaining seventy-nine percent.
21       1. Nixon and Carpoff’s Method Behind the Solar Eclipse Investment Funds
22            A. Generally
23            22.         The Carpoffs would create investment funds (e.g., Solar Eclipse Investment Fund
24 V-VIII, X-XII, XIV-XIX, XXI-XXIV, XXVI, XXVIII, XXXI) (generally referred to as the

25
     5609.060/1609186.1                                    6                                              65
             Case
            Case  21-05072-gs
               Case
                 21-05072-gs    DocDocument
                    3:22-cv-00257
                               Doc  17-3 Entered
                                   100    Entered 11/24/21
                                             1-1 06/07/22
                                                  Filed     14:59:07
                                                        06/07/22
                                                          12:02:03PagePage
                                                                     Page 679223
                                                                       67 of  of 223
                                                                              of 28
            Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 8 of 27




 1 “Fund”), which would permit the investors to own a significant portion of the Fund

 2 (“Purchasing Member(s)”), and would purchase MSGs from DC Solar Solutions that were
 3 then leased to DC Solar Distribution, which would allegedly re-lease the MSGs to generate

 4 revenue, which would pay the Fund for the lease that would repay the loan from DC Solar

 5 Solutions.

 6            23.         After the first few Funds were established, Solarmore Management was created to
 7 manage the Funds that purchased MSGs.

 8            24.         In managing the Funds, Solarmore Management would own 1% of each Fund,
 9 while the Purchasing Member would own the remaining 99% of the Fund. After five years, and

10 the expiration of the tax benefits, the ownership would flip and Solarmore Management would

11 own 95% of the Fund (“Flip Event”).
12            25.         For its 1% interest in each Fund, Solarmore Management paid DC Solar Solutions
13 valuable consideration.

14            B. The Process for Ensuring Investment into the Solar Eclipse Investment Funds
15            26.         The Purchasing Member would typically make a 30% down payment of the total
16 purchase amount to DC Solar Solutions on the MSG, through the Fund entity, which were sold

17 for $150,000 each. For example, if a $28,800,000 total purchase price was negotiated for the
18 MSGs, the Purchasing Member would originally make a down payment in the amount of

19 $7,200,000 to the individual fund, which was provided to DC Solar Solutions, and then hold a

20 $21,600,000 promissory note, which was payable over different terms to DC Solar Solutions.
21            27.         Purchasing Members could then, immediately, claim a dollar-for-dollar tax credit
22 based upon 30% of the $150,000 price. Purchasing Members could also claim depreciation for

23 each MSG for the next five years. These tax benefits were significant and amounted to hundreds
24 of millions of dollars across the Funds.

25
     5609.060/1609186.1                                   7                                              66
            Case
            Case 21-05072-gs
               Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  10
                                                                      68 of
                                                                         68  ofof223
                                                                            223   28
            Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 9 of 27




 1            28.         In arranging the transactions, Purchasing Members executed a standard package of
 2 agreements, including: (i) a Limited Liability Company Agreement (“LLC Agreement”); (ii) a
 3 Solar Equipment Purchase Agreement (“Purchase Agreement”); (iii) a Secured Promissory

 4 Note (“Promissory Note”); and (iv) a Mobile Solar Equipment Lease (“Equipment Lease”)

 5 (together the “Fraud Contracts”).

 6            29.         Nixon prepared tax opinion letters (generally referred to as “Tax Opinion(s)”)
 7 confirming that the MSGs qualified for the “Energy Credit” under IRC § 48 to be provided to

 8 the Purchasing Member prior to execution of the Fraud Contracts.
 9            30.         IRC § 48 allows for a thirty percent tax credit for certain energy-related
10 investments (hereinafter, the “Tax Credit” or the “Credit”).

11            31.         Thus, Purchasing Members expected to be able to take a Tax Credit for roughly
12 the same amount as their cash contribution to the Fund.

13            32.         The Tax Opinions indicated that the proposed structure and agreements would
14 provide the Purchasing Member five years of Tax Credits.

15            33.         The Tax Opinions each stated “that the allocations of income, gain, deduction, loss
16 and credit as set forth in the Company Agreement, including the shift from 99:1 to 5:95, should

17 be considered neither shifting nor transitory and should pass an ‘overall substantiality’ test
18 within the meaning of Section 1.704-1(b)(2)(iii) of the Regulations and should therefore be

19 considered to have substantial economic effect and should therefore be respected.”

20            34.         Further, the Tax Opinions provided “we are of the view that such diligent efforts
21 [to lease the MSGs] should ensure that the Mobile Solar Facilities continue to be eligible for the

22 Energy Credits (and thus, not subject to recapture), notwithstanding that such Mobile Solar

23 Facilities are not continuously in use.”
24

25
     5609.060/1609186.1                                    8                                                67
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  11
                                                                      69 of
                                                                         69  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 10 of 27




 1            35.         Nixon and Milder were aware and knew that the Tax Opinions would be provided
 2 to the Purchasing Members to ensure they were comfortable with the prospect of the Tax Credits
 3 and to indicate that the benefits were available to the Purchasing Members.

 4            36.         The Tax Opinions provided that “For the period beginning after the Flip Date (the
 5 end of the year which is the fifth anniversary of the Company placing all the Mobile Solar

 6 Facilities in service), the allocations of profits, losses and tax credits to the [Purchasing

 7 Member] will be changed to 5% of profits, losses and tax credits for all income of the Company

 8 and 95% to [Solarmore Management].”
 9            37.         The Tax Opinions stated Nixon was counsel or acted as counsel to Solarmore
10 Management, DC Solar Solutions, and DC Solar Distribution.

11            38.         Nixon and Milder invoiced Solarmore Management at least $608,016 for its
12 preparation of the Tax Opinions.

13            39.         Solarmore Management paid these invoices to its attorneys at Nixon.
14            40.         Through the Fraud Contracts, DC Solar Distribution promised that it would
15 arrange to sub-lease the MSGs to end-users.

16            41.         The revenue from these sub-leases was essential for the Funds to be able to repay
17 the Promissory Notes to DC Solar Solutions and to justify the $150,000 purchase price of each
18 MSG.

19            42.         While the Fraud Contracts were executed, Carpoff would execute the Purchase
20 Agreement on behalf of DC Solar Solutions, while Paulette Carpoff would execute the
21 Equipment Leases on behalf of DC Solar Distribution.

22            43.         While certain documents of the Fraud Contracts had minor variations in wording,
23 all of the Fraud Contracts largely contained the same substantive terms.
24

25
     5609.060/1609186.1                                    9                                              68
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  12
                                                                      70 of
                                                                         70  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 11 of 27




 1            44.         Under the terms of the LLC Agreements, an investor became the Purchasing
 2 Member of an individual Fund, a special purpose LLC entity created specifically for the
 3 purchase of MSGs.

 4            45.         The Fund then purchased MSGs from DC Solar Solutions at a price of $150,000
 5 per MSG under the Purchase Agreement.

 6            46.         The Purchase Agreement specified the total number of MSGs being purchased in
 7 that specific transaction, as well as the total purchase price.

 8            47.         An Exhibit to the Purchase Agreement contained a blank space for the VINs for
 9 the MSGs or stated that “VIN for each Generator [MSG] to be Supplied at Delivery.”

10            48.         In exchange for the specified payment, DC Solar Solutions agreed to deliver the
11 MSGs by a certain date or dates and warranted “to Buyer that all Equipment shall be in good
12 working order in conformity with the Specifications for a period” of five or ten years.

13            49.         The delivery dates of the MSGs specified in the Purchase Agreements were
14 occasionally scheduled in tranches.

15            50.         The Purchase Agreements dictated that payments would be due to DC Solar
16 Solutions in tranches according to a schedule in part dictated by capital contributions being

17 made by the Purchasing Member under the terms of the LLC Agreement.
18            51.         Those capital contributions were contingent on the Purchasing Members receiving
19 confirmation that the Generators were “Placed in Service” as evidenced by an “IE [Independent

20 Engineer] Certificate.”
21            52.         Purchasing Members generally contributed about thirty percent (30%) of the
22 purchase price in cash and financed the balance pursuant to a Promissory Note(s) executed by

23 the Fund in favor of DC Solar Solutions.
24            53.         The Promissory Note was an exhibit to the Purchase Agreement.
25
     5609.060/1609186.1                                  10                                             69
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  13
                                                                      71 of
                                                                         71  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 12 of 27




 1            C. Knowledge of the Fraud
 2            54.         Forrest Milder (“Milder”) is an attorney of Nixon, based in its Boston,
 3 Massachusetts office, and one of its “lead tax partners when it comes to tax credits and other

 4 tax-advantaged investments.”

 5            55.         Milder works “hard to stay at the forefront of the industries in which [he is]
 6 involved. For example [he is] very active in the Solar Energy Industry Association’s Tax

 7 Committee, and [he] authored part of its recent proposal to the IRS on the solar tax credit

 8 regulations.”
 9            56.         Milder was often with Carpoff and the DC Solar affiliates in California, including
10 Los Angeles.

11            57.         During this time in Los Angeles, California, Nixon and Milder worked to
12 determine the best legal course for Carpoff and the DC Solar affiliates.

13            58.         Starting as early as 2013, red flags began emerging in the DC Solar affiliates’
14 operations.

15            59.         For example, during this time DC Solar Solutions, the Funds, and the Carpoffs
16 individually became subject of audits by the Internal Revenue Service (“IRS”) and the State of

17 California regarding income, sales, and franchise taxes.
18            60.         At the latest, Nixon was made aware of the 2013 IRS Audit in 2013, which raised
19 significant issues with the structure and likelihood of the Purchasing Members and Funds

20 receiving the Tax Credits.
21            61.         Milder responded to learning this information by stating, “An audit from the IRS?
22 Is this even old enough to be audited?”

23            62.         In subsequent emails to the Carpoffs and others, (collectively, including Milder,
24 the “Principals”), Milder informed the parties that he had spoken with Cherly Meder (“Meder”)

25
     5609.060/1609186.1                                   11                                               70
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  14
                                                                      72 of
                                                                         72  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 13 of 27




 1 of the IRS in an attempt to prevent a full fledged audit. Milder expressed that he and Meder had

 2 concerns about $25 million of tax deductions, while the company had no income.
 3            63.         As of 2013, Nixon and Milder were aware that DC Solar Distribution had created
 4 or reported minimal revenue from the purported leases.

 5            64.         The Principals then scheduled for Meder to visit the DC Solar affiliates’ facilities.
 6            65.         After the IRS investigation and 2013 Audit, the IRS issued a report on or around
 7 August 18, 2016 (the “Report”). The Report provided that “[t]he partnership entity that is the

 8 subject of this audit, Solar Eclipse Investment Fund III (Solar Eclipse) is a sham because it does
 9 not involve any meaningful risk or opportunity for gains. Similarly, The Sherwin-Williams

10 Company was not a bona fide partner. Under both theories, substantially all items of credit and

11 deduction are re-allocated to the managing partner, Solarmore Investments, Inc.”
12            66.         The Report further provides, “This appraisal presents only a FMV valuation, and
13 does not address cost basis. Because the latter is the only value allowable under these

14 circumstances the A&M appraisal is categorically not applicable for calculating the IRC § 48

15 Tax Credit. Even if the FMV were allowable in this case, the A&M appraisal is unacceptable.

16 The taxpayer (Solar Eclipse Investment Fund III, LLC) used a related-party circular transaction

17 and an unacceptable appraisal to overstate the value of its energy property. The taxpayer
18 purchased the property from a related party in a non-arms-length transaction. The purported

19 purchase price was seller-financed and the repayment on the loan was financed by leases to

20 parties related to the seller. Taxpayer’s repayment of the loan does not represent a genuine
21 economic outlay, and thus does not reflect an arms-length purchase price. The IRS has adjusted

22 the taxpayer’s basis in the energy.”

23            67.         In discussing the actual basis, the IRS Report stated, “The taxpayer used its
24 related-party purchase price of $150,000 per unit to calculate the tax credit. An IRS engineer has

25
     5609.060/1609186.1                                     12                                                    71
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  15
                                                                      73 of
                                                                         73  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 14 of 27




 1 made an independent estimate of the taxpayer’s costs basis for one of these mobile solar

 2 generators. Exam estimates the taxpayer’s cost basis of one unit was less than $25,000 per unit
 3 in that year. The IRS revenue agent and engineer have also looked for the best information of

 4 the property’s cost basis, and find a credible cost basis for the set of 152 trailer units to be

 5 $2,496,000-or approximately $13,000 each, a lower unit cost due to economies of scale.”

 6            68.         While knowing this and that the 2013 Audit was under investigation and ongoing,
 7 Nixon and Milder continued to issue Tax Opinions with the same framework as the ones in

 8 question under the Report.
 9            69.         For example, on November 29, 2016, Nixon and Milder issued a Tax Opinion with
10 regards to Solar Eclipse Investment Fund XXVI, LLC. Within this opinion, Nixon stated “there

11 is no litigation or governmental proceeding pending or threatened against or involving the
12 Mobile Solar Facilities, the Company, the Managing Member, the Sponsor, the Lessee, the

13 Investor Member, or any Affiliates of the foregoing, that would materially adversely affect the

14 business of the Company or the condition of the Mobile Solar Facilities.”

15            D. Nixon and Milder’s Sleight of Hand to Skirt the Report
16            70.         Nixon and Milder were made aware of significant issues through the 2013 Audit,
17 which required a modification of the parties’ relationship. The modification removed Carpoff as
18 a 79% owner of Solarmore Management and had Jansen take this interest. The change permitted

19 the Tax Opinions to state that the sponsor, DC Solar Solutions, Inc., was owned 100% by

20 Carpoff, the Lessee, DC Solar Distribution, Inc., was owned 100% by Paulette Carpoff, and the
21 Managing Member, Solarmore Management Services, Inc., was owned 100% by Jansen,

22 “someone who is completely unrelated to the other parties to the transaction.”

23            71.         On information and belief, Nixon and Milder were critical in ensuring this
24 modification to the Solarmore Management occurred.

25
     5609.060/1609186.1                                  13                                             72
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  16
                                                                      74 of
                                                                         74  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 15 of 27




 1            72.         This change occurred after the 2013 IRS Audit investigation began.
 2            73.         Essentially, the Principals, including Nixon, attempted to ensure an unrelated party
 3 to the transactions by having Jansen become the hundred percent owner of Solarmore

 4 Management, which was the Managing Member of the Funds.

 5            74.         On information and belief, Ronald Roach (“Roach”), the CPA and Accountant for
 6 the DC Solar enterprise, and Nixon and Milder, the attorneys for the DC Solar affiliates,

 7 evaluated the investigations of the 2013 IRS Audit and understood the problems associated with

 8 Carpoff being associated on nearly all sides of the transactions.
 9            75.         On information and belief, Nixon and Milder formulated a plan for a third party,
10 which ended up being Jansen, to become the 100% owner of Solarmore Management so that the

11 Tax Opinions could state, Solarmore Management was owned 100% by Jansen, “someone who
12 is completely unrelated to the other parties to the transaction.”

13            76.         Roach approached Jansen in or around December 2014, and indicated that he
14 should take over Solarmore Management, as the one-hundred percent owner.

15            77.         On information and belief, Nixon and Milder were aware of Roach’s approach as
16 an attempt for the DC Solar affiliates to skirt the issues presented in the Report.

17            78.         Jansen inquired as to the value of the MSGs because he was aware that Solarmore
18 Management would be responsible for the remaining balance of the Promissory Notes at the Flip

19 Event.

20            79.         Jansen was told that the MSGs would retain a significant amount of their value
21 after the Flip Event, which was above the loan balance still owed to DC Solar Solutions.

22            80.         The Principals ensured that Jansen was informed that the MSGs had a value in
23 excess of the remaining balance on the Promissory Notes plus $10,000 for each MSG.
24

25
     5609.060/1609186.1                                    14                                                73
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  17
                                                                      75 of
                                                                         75  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 16 of 27




 1            81.         Therefore, of the 7,000 units the Funds would own, Jansen expected to be the
 2 owner of units, which would have a net value of $70,000,000.
 3            82.         Unbeknownst to Jansen, however, Nixon and Milder were aware that the MSGs
 4 were not being leased at the rates as indicated in the Fraud Documents.

 5            83.         Based on the representations made to Jansen by the Principals, Jansen agreed to
 6 become the 100% owner of Solarmore Management.

 7            84.         Without payment of these Promissory Notes from true third-party leases, all of DC
 8 Solar affiliates would come crashing down, which eventually occurred.
 9            85.         Determining a method in which the Carpoffs could continue deploying their
10 scheme was in the best interest of each of the Principals, but not Jansen, as each of the Principals

11 continued to be paid substantial amounts of their fees as long as new Fraud Documents were
12 executed and new funds were created.

13            86.         During 2016 and 2017, as some of the Funds began nearing the Flip Event, Jansen,
14 believing Solarmore Management would soon be the majority member of those Funds and

15 effective owner of thousands of MSGs, began asking questions of the Carpoffs and other

16 involved parties regarding potential tax implications and other ownership-related effects.

17            87.         Nixon and Milder knew the Lease revenues from end-users of the MSGs were
18 critical to the legitimacy of the businesses of DC Solar Solutions and DC Solar Distribution

19 because it was to provide the money that DC Solar Distribution needed to make lease payments

20 to the Funds, and those payments were critical to the Funds’ ability to make payments on the
21 Promissory Notes to DC Solar Solutions.

22            88.         While Jansen was asking questions to Nixon and Milder, Milder responded to
23 Jansen stating, “Now you know why you are the hundred percent owner of Solarmore
24 Management.”

25
     5609.060/1609186.1                                   15                                              74
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  18
                                                                      76 of
                                                                         76  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 17 of 27




 1            89.         Because Jansen had begun asking questions and seeking additional information
 2 that he realized he was not being provided, to conceal their actions, the Principals initiated the
 3 creation of Halo in 2016, with Roselli as the managing member.

 4            90.         Upon information and belief, Roselli was or is a personal friend of the Carpoffs
 5 and had a previous business relationship with Paulette Carpoff.

 6            91.         After Halo was formed, it took the previous place of Solarmore Management, as
 7 the managing member of the new funds.

 8            92.         This insured that the Principals could continue perpetuating their scheme and
 9 ensuring additional Fraud Documents would be completed and funded.

10            93.         Although DC Solar Distribution purported to be earning millions each month in
11 lease revenue from end-users of the MSGs, bank records demonstrate that DC Solar Distribution
12 generated minimal lease revenue from subleases to end-users.

13            94.         Email records demonstrate that the sublease revenue was $138,138.64 for 2012,
14 $278,179.74 for 2013, $321,717.06 for 2014, and $1,419,570.80 for 2015, for a grand total over

15 four years of $2,157,606.24.

16            95.         The actual cash requirement from the subleases of the MSGs under DC Solar
17 Distribution’s lease program over that same four-year period – stated as a percentage of
18 promised utilization – was a dismal 3.78%.

19            96.         The failure of the sublease program also endangered the touted tax benefits of the
20 MSG transactions.
21            97.         This failure of the sublease program also invalidated the stated appraisal value of
22 MSGs for ongoing or new purchaser transactions.

23
24

25
     5609.060/1609186.1                                    16                                               75
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  19
                                                                      77 of
                                                                         77  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 18 of 27




 1            98.         On information and belief, Nixon was aware of the lagging sublease revenues
 2 while continuing to execute the Tax Opinions, ensuring additional Fraud Documents and Funds
 3 were created.

 4            99.         On or about 2017, SolarSense, a solar energy provider, began negotiations to buy
 5 MSGs from an existing Fund.

 6            100.        However, rather than taking a promissory note carryback note to DC Solar
 7 Solutions, SolarSense attempted to arrange financing for its purchase of MSGs through

 8 KeyBank.
 9            101.        During KeyBank’s due diligence, KeyBank requested, among other things, a list
10 of end-user/subleases, pro forma financials for DC Solar Distribution, samples of subleases, and

11 DC Solar Distribution’s QuickBooks.
12            102.        On information and belief, SolarSense and KeyBank closed their transaction in
13 reliance on the Principals’ representation and promise of information to be delivered.

14            103.        On information and belief, KeyBank began to suspect, after closing, the claimed
15 subleases and claimed sublease revenues were false.

16            104.        The Principals informed Jansen of the sale of the MSGs from the existing Fund,
17 which made him ecstatic because it showed that his risk of becoming the 100% owner of
18 Solarmore Management was validated by a third party. However, Jansen and the third-party

19 were not aware of the fraud perpetuated on SolarSense and KeyBank, which made the

20 excitement short lived.
21            105.        In December 2018, law enforcement agents executed federal search warrants at
22 DC Solar’s headquarters and other locations, seizing over $60 million in assets.

23            106.        On January 30, 2019, the first DC Solar company filed for Chapter 11 bankruptcy.
24

25
     5609.060/1609186.1                                   17                                                 76
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  20
                                                                      78 of
                                                                         78  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 19 of 27




 1            107.        Thereafter, additional DC Solar-affiliated companies filed for Chapter 11
 2 bankruptcy.
 3            108.        Subsequently all the DC Solar Chapter 11 cases were converted to Chapter 7
 4 liquidation.

 5            109.        In learning the information that Nixon and Milder were aware of, as early as 2013,
 6 the Plaintiffs incurred substantial costs and damages in an attempt to correct the damages caused

 7 by Nixon and Milder.

 8            110.        For example, the Plaintiffs were required to pay legal fees in order to enter the
 9 tolling agreement associated with this action, make advances to and for the benefit of the Funds,

10 operating expenses of Solarmore Management and the Funds, expenses to locate the actual

11 MSGs that existed, attorneys’ fees to benefit the Funds, at least one million dollars of penalties
12 and interests to the IRS, which Nixon and Milder determined would be avoided because of the

13 Tax Credits for the benefit Solarmore Management, and the loss of its expectation profits from

14 the sale of the MSGs (the “Additional Damages”).

15                                             CLAIMS FOR RELIEF
16                                                     COUNT I
17                                            (Breach of Fiduciary Duty)
18            111.        Plaintiffs repeat, reallege, and incorporate each and every prior factual allegation
19 in the preceding paragraphs as if fully set forth herein.

20            112.        Solarmore Management became a client of Nixon and Milder on or around its
21 formation in November 2013.

22            113.        Nixon stated, in each of the Tax Opinions, that it was the counsel for Solarmore
23 Management.
24

25
     5609.060/1609186.1                                    18                                                77
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  21
                                                                      79 of
                                                                         79  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 20 of 27




 1            114.        As an attorney for Solarmore Management, Nixon and Milder owed Solarmore
 2 Management a fiduciary duty, which includes a duty of loyalty.
 3            115.        Nixon and Milder owed Jansen a fiduciary duty when Jansen was a twenty-one
 4 percent and one-hundred percent owner of Solarmore Management.

 5            116.        Nixon and Milder breached the fiduciary duty by failing to provide Solarmore
 6 Management or Jansen, the information it had related to the lack of justification for the Tax

 7 Opinions.

 8            117.        Nixon and Milder breached their fiduciary duty by choosing the interests of the
 9 Principals, including the Carpoffs, over those of Solarmore Management and Jansen.

10            118.        Nixon and Milder breached their fiduciary duty by failing to provide Solarmore
11 Management or Jansen information it knew, which caused substantial risk and damage to Jansen
12 in becoming a one hundred percent owner of Solarmore Management.

13            119.        In addition, upon information and belief, Nixon and Milder breached their
14 fiduciary duties to Solarmore Management and Jansen in ways that are currently unknown to

15 Plaintiffs but will be learned during discovery.

16            120.        Nixon and Milder’s breaches of their fiduciary duty proximately caused the
17 damages suffered by Solarmore and Jansen.
18            121.        While Solarmore Management and Jansen will prove their damages at trial, their
19 damages include, but are not limited to, attorneys fees paid to Nixon and Milder, costs of

20 acquiring the hundred percent ownership in Solarmore Management, the cost of acquiring one
21 percent in each of the Funds, the Additional Damages, and any damages that result from the

22 personal guarantees that were required in each of the Fraud Documents.

23
24

25
     5609.060/1609186.1                                  19                                             78
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  22
                                                                      80 of
                                                                         80  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 21 of 27




 1                                                     COUNT II
 2                                               (Breach of Contract)
 3            122.        Plaintiffs repeat, reallege, and incorporate each and every prior factual allegation
 4 in the preceding paragraphs as if fully set forth herein.

 5            123.        Solarmore Management and Nixon entered into a contract to provide legal
 6 services relating to its interest in each of the Funds.

 7            124.        Solarmore Management paid Nixon’s invoices for these legal services under the
 8 contract.
 9            125.        Under the contract, Nixon and Milder were to provide Solarmore Management and
10 Jansen legal advice that was accurate and complete, as well as advise their clients on issues

11 relating to the DC Solar affiliates that could effect their interest in the Funds.
12            126.        Defendants breached the contract by providing legal advice that it knew or should
13 have known was incorrect.

14            127.        Solarmore Management relied on this legal advice, to its detriment.
15            128.        Specifically, Nixon and Milder incorrectly advised Solarmore Management and
16 Jansen that the Tax Credits would be authorized and that Solarmore Management would become

17 the owner of numerous MSGs, which had a value in excess of the Promissory Notes that were
18 due by the Funds to DC Solar Solutions.

19            129.        As a result of Nixon and Milder’s breach of the contract, Solarmore Management
20 and Jansen have suffered damages that will be proven at trial, which will include, but not be
21 limited to, attorneys fees paid to Nixon and Milder, costs of acquiring the hundred percent

22 ownership in Solarmore Management, the cost of acquiring one percent in each of the Funds,

23 and any damages that result from the personal guarantees that were required in each of the Fraud
24 Documents.

25
     5609.060/1609186.1                                    20                                                79
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  23
                                                                      81 of
                                                                         81  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 22 of 27




 1            130.        Plaintiff is entitled to an award of its reasonable attorneys’ fees and costs pursuant
 2 to Code of Civil Procedure §§ 1021, 1717, as the contract between Plaintiffs and Nixon awards
 3 attorneys’ fees to the prevailing party in an action related to a breach of that contract.

 4                                                     COUNT III
 5                                  (Unjust Enrichment brought in the alternative)
 6            131.        Plaintiffs repeat, reallege, and incorporate each and every prior factual allegation
 7 in the preceding paragraphs as if fully set forth herein.

 8            132.        In the alternative to Plaintiffs’ breach of contract claim, Plaintiffs’ allege Nixon
 9 and Milder were unjustly enriched at the expense of Solarmore Management and Jansen.

10            133.        Nixon and Milder benefited from of hundreds of thousands of dollars from
11 Solarmore Management, to continue executing Fraud Documents, which it knew were premised
12 on false assumptions.

13            134.        Solarmore Management and Jansen were deprived of the Solarmore Management
14 funds that were paid to Nixon and Milder.

15            135.        Nixon and Milder knew that if Solarmore Management and Jansen knew the truth,
16 they would not continue participating in the Funds.

17            136.        As a result Solarmore Management and Jansen were damaged in an amount to be
18 proven at trial, which will include, but not be limited to, the attorneys fees paid to Nixon and

19 Milder by Solarmore Management, and any other funds Nixon and Milder acquired related to

20 the Funds, Fraud Documents, and Tax Opinions.
21                                                     COUNT IV
22                                           (Negligent Misrepresentation)
23            137.        Plaintiffs repeat, reallege, and incorporate each and every prior factual allegation
24 in the preceding paragraphs as if fully set forth herein.

25
     5609.060/1609186.1                                     21                                                 80
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  24
                                                                      82 of
                                                                         82  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 23 of 27




 1            138.        Nixon and Midler misrepresented significant amounts of representations
 2 throughout their representation of Solarmore Management.
 3            139.        Specifically, Nixon and Midler misrepresented the value of the MSGs in the Tax
 4 Opinions.

 5            140.        Nixon and Midler misrepresented that the Fraud Documents and transactions
 6 related to the Funds were under audit by the IRS and the impact these audits would have on the

 7 Funds.

 8            141.        Nixon and Midler were Solarmore Management’s attorneys and had a duty to
 9 disclose the truth to their clients.

10            142.        By ensuring that Solarmore Management and Jansen would not believe that there
11 were any significant problems, Nixon and Midler achieved their intent, to prevent Solarmore
12 Management and Jansen from inquiring further about the ongoing transactions, and to ensure

13 that additional Funds were created.

14            143.        Nixon and Midler knew that Solarmore Management and Jansen did not know the
15 truth about the lease revenues and the audits of the Funds.

16            144.        Solarmore Management and Jansen had an expectation to believe that their
17 attorneys, they were paying hundreds of thousands of dollars to, would alert them or inform
18 them of concerns relating to the Fraud Documents and audits by governmental agencies.

19            145.        Because Solarmore Management and Jansen did not know the truth, which Nixon
20 and Midler knew, they continued to operate as the Manager of new Funds, and continued to pay
21 Nixon’s attorneys’ fees and invoices, and continued to purchase a one-percent membership

22 interest in each of the Funds.

23            146.        The specific amount of damages will be proven at trial.
24

25
     5609.060/1609186.1                                    22                                          81
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  25
                                                                      83 of
                                                                         83  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 24 of 27




 1                                                     COUNT V
 2                                                (Legal Malpractice)
 3            147.        Plaintiffs repeat, reallege, and incorporate each and every prior factual allegation
 4 in the preceding paragraphs as if fully set forth herein.

 5            148.        Solarmore Management was a client of Nixon and Milder.
 6            149.        As a client, Nixon and Milder owed a duty to use the skill, prudence, and diligence
 7 as commonly exercised by other members of the legal profession.

 8            150.        Nixon and Midler breached this duty by perpetuating the Fraud Documents,
 9 including the Tax Opinions, and the Funds’ transactions to the detriment of their client,

10 Solarmore Management.

11            151.        Nixon and Midler further breached this duty by putting their clients’, DC Solar
12 Distribution, DS Solar Solutions, and the Carpoffs, interests ahead of Solarmore Management,

13 also their clients.

14            152.        In putting other clients’ interests ahead of Solarmore Management’s interest, the
15 Plaintiffs were damaged an amount to be proven at trial, which includes, but is not limited to,

16 attorneys’ fees paid to Nixon and Midler for legal services that were not in their best interest, for

17 purchasing and becoming the 100% owner of Solarmore Management when the Principals and
18 Nixon knew that the lease revenues were substantially lower than expected or necessary to

19 create value for the Funds, and for purchasing a one-percent membership interest in each of the

20 Funds.
21            153.        Had Nixon and Midler performed their duty, as commonly exercised by other
22 lawyers, Nixon and Midler would have advised Solarmore Management and Jansen to seek

23 independent counsel that was not also counsel to the related parties or that had an interest in the
24 Fraud Documents and Tax Opinions.

25
     5609.060/1609186.1                                    23                                                82
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  26
                                                                      84 of
                                                                         84  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 25 of 27




 1            154.        Further, Nixon and Midler should have been able to advise Solarmore
 2 Management and Jansen to ask specific questions related to the sufficiency of the leases of the
 3 first operating Funds. Instead, Nixon and Midler concealed information from and ensured that

 4 Solarmore Management and Jansen were not informed about certain information, to ensure

 5 additional Funds would be created to grow their revenue.

 6                                                    COUNT VII
 7                               (Aiding and Abetting Negligent Misrepresentation)
 8            155.        Plaintiffs repeat, reallege, and incorporate each and every prior factual allegation
 9 in the preceding paragraphs as if fully set forth herein.

10            156.        Nixon and Milder were aware of the problems caused by the relationship between
11 Solarmore Management, the DC Solar affiliates, and the Principals.
12            157.        DC Solar affiliates and the Principals owed Solarmore Management and Jansen a
13 duty through its contractual relationships and as business partners and investors in the Funds.

14            158.        Nixon and Milder knew that the execution of the Fraud Documents and the
15 strategy for Jansen to become the one-hundred percent owner of Solarmore Management

16 constituted a breach of these duties by the DC Solar affiliates and the Principals.

17            159.        Nixon and Milder provided substantial assistance and encouragement by issuing
18 and continuing to issue the Tax Opinions after knowing the structure would not result in the Tax

19 Credits and that the purported lease revenues were significantly lower than originally indicated.

20            160.        This action caused Solarmore Management to continue to invest in the Funds.
21            161.        These actions caused Jansen to become the one-hundred percent owner of
22 Solarmore Management.

23            162.        These actions were done for the benefit of the DC Solar affiliates and the
24 Principals to ensure Nixon and Milder would continue to receive attorneys’ fees and revenue

25
     5609.060/1609186.1                                    24                                                83
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  27
                                                                      85 of
                                                                         85  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 26 of 27




 1 from the work related to the DC Solar affiliates and the Principals. Without the creation of new

 2 funds, Nixon and Milder knew the DC Solar affiliates would implode.
 3            163.        Nixon and Milder owed a duty to Solarmore Management and Jansen to
 4 competently advise their clients and put their clients’ interests ahead of their own. By

 5 encouraging the actions that were taken, Nixon and Milder breached their duties to Solarmore

 6 Management and Jansen.

 7            WHEREFORE, Plaintiffs request this Court to enter judgment in their favor and against
 8 the Defendants as follows:
 9            A.          Awarding the Plaintiffs compensatory damages in an amount to be proven at trial;
10            B.          Awarding the Plaintiffs punitive damages in an amount to be proven at trial;
11            C.          Awarding the Plaintiffs damages for their pain and suffering in an amount to be
12 proven at trial;

13            D.          Awarding the Plaintiffs their attorneys’ fees and costs pursuant to Code of Civil
14 Procedure §§ 1021, 1717.

15            E.          Awarding the Plaintiffs interest on all sums awarded, said interest calculated at the
16 maximum rate allowed by law from the time of judgment until paid in full; and

17            F.          Granting the Plaintiffs such other relief as the Court may deem appropriate under
18 the circumstances.

19            RESPECTFULLY SUBMITTED this 26th day of August, 2020.
20                                       /s/ John Snow
                                         Howard King, Esq.
21
                                         John Snow, Esq.
22                                       KING, HOLMES, PATERNO & SORIANO, LLP
                                         1900 Avenue of the Stars
23                                       Twenty Fifth Floor
                                         Los Angeles, CA 90067
24

25
     5609.060/1609186.1                                     25                                                84
            Case
            Case 21-05072-gs
              Case
                 21-05072-gs   Doc Document
                    3:22-cv-00257
                               Doc 17-3 Entered
                                   100   Entered 11/24/21
                                            1-1 06/07/22  14:59:07
                                                 Filed 06/07/22
                                                         12:02:03PagePage
                                                                    Page  28
                                                                      86 of
                                                                         86  ofof223
                                                                            223   28
           Case 2:20-cv-02446-TLN-JDP Document 1-2 Filed 11/03/20 Page 27 of 27




                                 /s/ Brian J. Foster
1
                                 Brian J. Foster, Esq.
2                                Ross P. Meyer, Esq.
                                 WILENCHIK & BARTNESS, PC
3                                2810 N. 3rd Street
                                 Phoenix, Arizona 85004
4
                                 Attorneys for Plaintiffs
5

6
  ORIGINAL electronically filed this
7 _______ day of August, 2020 using the
  Courts E-Filing Online website.
8
9

10
     By:
11
12

13

14

15

16

17
18

19

20
21

22

23
24

25
     5609.060/1609186.1                            26                                  85
 Case
Case  21-05072-gs
   Case
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  17-4 Entered
                       100    Entered 11/24/21
                                 1-1 06/07/22
                                      Filed     14:59:07
                                            06/07/22
                                              12:02:03PagePage
                                                         Page 871223
                                                           87 of  of 223
                                                                  of 56




                       EXHIBIT D




                                                                           86
                                                     Case
                                                    Case  21-05072-gs
                                                       Case
                                                         21-05072-gs    DocDocument
                                                            3:22-cv-00257
                                                                       Doc  17-4 Entered
                                                                           100    Entered 11/24/21
                                                                                     1-1 06/07/22
                                                                                          Filed     14:59:07
                                                                                                06/07/22
                                                                                                  12:02:03PagePage
                                                                                                             Page 882223
                                                                                                               88 of  of 223
                                                                                                                      of 56
                                                     Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 1 of 55

                                                1 Nathan G. Kanute (CA Bar No. 300946)
                                                  SNELL & WILMER L.L.P.
                                                2 50 West Liberty Street, Suite 510
                                                  Reno, Nevada 89501
                                                3 Telephone: 775-785-5440
                                                  E-Mail: nkanute@swlaw.com
                                                4
                                                    Don Bivens (pro hac vice pending)
                                                5   (AZ Bar No. 005134)
                                                    Donald L. Gaffney (pro hac vice pending)
                                                6   (AZ Bar No. 005717)
                                                    SNELL & WILMER L.L.P.
                                                7   One Arizona Center, Suite 1900
                                                    400 East Van Buren Street
                                                8   Phoenix, AZ 85004-2202
                                                    Telephone: (602) 382-6000
                                                9   Facsimile: (602) 382-6070
                                                    Email: dbivens@swlaw.com
                                               10          dgaffney@swlaw.com
                                               11   Attorneys for Plaintiff
                                               12
                                                                         IN THE UNITED STATES DISTRICT COURT
Snell & Wilmer
             50 W. Liberty Street, Suite 510




                                               13
                                                                              EASTERN DISTRICT OF CALIFORNIA
                 Reno, Nevada 89501
                    LAW OFFICES




                                               14
                     775-785-5440
                          L.L.P.




                                                    SOLARMORE MANAGEMENT
                                               15   SERVICES, INC., a California corporation,      Case No.

                                               16                     Plaintiff,                   COMPLAINT

                                               17   v.                                             (JURY TRIAL DEMANDED)

                                               18   Bankruptcy Estate of DC SOLAR
                                                    SOLUTIONS, INC. dba DC SOLAR
                                               19   SOLUTIONS MFG, INC. dba DC SOLAR
                                                    SOLUTIONS MANUFACTURING, INC., a
                                               20   California corporation; Bankruptcy Estate of
                                                    DC SOLAR DISTRIBUTION, INC., a
                                               21   California corporation; Bankruptcy Estate of
                                                    DC SOLAR FREEDOM, INC., a California
                                               22   corporation; MATTHEW CARPOFF, an
                                                    individual; LAUREN CARPOFF, an
                                               23   individual; ROBERT V. AMATO and
                                                    PRISCILLA AMATO, husband and wife;
                                               24   ROBERT KARMANN, an individual;
                                                    RONALD J. ROACH, an individual;
                                               25   SEBASTIAN JANO, an individual; STEVE
                                                    WILDE, an individual; RYAN GUIDRY, an
                                               26   individual; PATRICK MOORE, an
                                                    individual; HALO MANAGEMENT
                                               27   SERVICES LLC, a Nevada limited liability
                                                    company; SCOTT WENTZ, an individual;
                                               28   RAINA YEE, an individual; MONTAGE



                                                                                                                               87
                                                     Case
                                                    Case  21-05072-gs
                                                       Case
                                                         21-05072-gs    DocDocument
                                                            3:22-cv-00257
                                                                       Doc  17-4 Entered
                                                                           100    Entered 11/24/21
                                                                                     1-1 06/07/22
                                                                                          Filed     14:59:07
                                                                                                06/07/22
                                                                                                  12:02:03PagePage
                                                                                                             Page 893223
                                                                                                               89 of  of 223
                                                                                                                      of 56
                                                     Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 2 of 55

                                                1   SERVICES, INC., a California corporation;
                                                    VISTRA INTERNATIONAL EXPANSION
                                                2   (USA) INC., fka RADIUS GGE (USA),
                                                    INC., fka HIGH STREET PARTNERS INC.,
                                                3   a Maryland corporation; JULIE MURACO,
                                                    an individual; Praeditis Group LLC, a
                                                4   Delaware limited liability company; THE
                                                    STRAUSS LAW FIRM, LLC, a South
                                                5   Carolina limited liability company; PETER
                                                    STRAUSS, an individual; DIANA
                                                6   KERSHAW, an individual; HERITAGE
                                                    BANK OF COMMERCE, a California
                                                7   Corporation; CARSON TRAILER, INC., a
                                                    California corporation; DAVID ENDRES, an
                                                8   individual; ALVAREZ & MARSAL
                                                    VALUATION SERVICES, LLC, a Delaware
                                                9   limited liability company; BARRY
                                                    HACKER, an individual; MARSHAL &
                                               10   STEVENS, INC.; MARCELO BERMUDEZ,
                                                    an individual; COHNREZNICK, LLP, a New
                                               11   Jersey limited liability partnership; RADIUS
                                                    GGE (USA), INC., fka HIGH STREET
                                               12   PARTNERS INC., a Maryland corporation;
                                                    PANDA BEAR INTERNATIONAL, LTD., a
Snell & Wilmer
             50 W. Liberty Street, Suite 510




                                               13   Hong Kong corporation; PANDA SOLAR
                                                    SOLUTIONS LLC, a Nevada limited liability
                 Reno, Nevada 89501
                    LAW OFFICES




                                               14   corporation; DC SOLAR
                     775-785-5440
                          L.L.P.




                                                    INTERNATIONAL, INC., a Nevis
                                               15   corporation; BAYSHORE SELECT
                                                    INSURANCE, a Bahamian Corporation;
                                               16   CHAMPION SELECT INSURANCE, a
                                                    Bahamian Corporation; JPLM DYNASTY
                                               17   TRUST, a Cook Island Trust; BILLIE JEAN
                                                    TRUST, a Cook Island Trust; SOUTHPAC
                                               18   INTERNATIONAL, INC., a Cook Islands
                                                    Corporation, AHERN RENTALS INC., a
                                               19   Nevada corporation,
                                               20                        Defendants.
                                               21

                                               22

                                               23

                                               24

                                               25

                                               26

                                               27

                                               28



                                                                                                                               88
                                                     Case
                                                    Case  21-05072-gs
                                                       Case
                                                         21-05072-gs    DocDocument
                                                            3:22-cv-00257
                                                                       Doc  17-4 Entered
                                                                           100    Entered 11/24/21
                                                                                     1-1 06/07/22
                                                                                          Filed     14:59:07
                                                                                                06/07/22
                                                                                                   12:02:03
                                                                                                          PagePage
                                                                                                             Page 904223
                                                                                                               90 of  of 223
                                                                                                                      of 56
                                                     Case 2:19-cv-02544-JAM-DB Document
                                                                                 TABLE OF1CONTENTS
                                                                                               Filed 12/17/19 Page 3 of 55
                                                                                                                                                                                          Page
                                                1
                                                    I.     PRELIMINARY STATEMENT......................................................................................... 1
                                                2   II.    PARTIES ............................................................................................................................ 2
                                                3          A.         PLAINTIFF ............................................................................................................. 2

                                                4          B.         DEFENDANTS ...................................................................................................... 3
                                                                      1)         THE CORE DEFENDANTS ...................................................................... 3
                                                5
                                                                      2)         “SCHEME AIDERS/ ABETTORS” ........................................................... 5
                                                6
                                                                      3)         ASSET HIDERS ......................................................................................... 8
                                                7   III.   JURISDICTION & VENUE ............................................................................................. 10
                                                8   IV.    FACTUAL ALLEGATIONS ........................................................................................... 11
                                                           A.         INTRODUCTION ................................................................................................ 11
                                                9
                                                           B.         THE CREATION OF THE MSGS ....................................................................... 15
                                               10
                                                           C.         THE FIRST FUNDS ............................................................................................. 16
                                               11          D.         THE BEGINNING OF THE FUNDS ................................................................... 17
                                               12          E.         THE FUNDS’ BASIC STRUCTURE .................................................................. 17
                                                           F.         GENERAL BACKGROUND - DEFENDANTS CAUSING OR
Snell & Wilmer
             50 W. Liberty Street, Suite 510




                                               13
                                                                      CONTRIBUTING TO PLAINTIFF’S INJURIES................................................ 23
                 Reno, Nevada 89501
                    LAW OFFICES




                                               14
                     775-785-5440




                                                           G.         THE FIRST SIGN OF TROUBLE (THE AUDITS) & THE APPRAISALS ...... 25
                          L.L.P.




                                               15          H.         THE PHASEOUT OF SOLARMORE ................................................................. 27
                                               16          I.         THE COLLAPSE OF DC SOLAR ....................................................................... 28
                                                           J.         THE CARPOFFS’ PREPARATIONS FOR ESCAPE ......................................... 32
                                               17
                                                    V.     ALLEGATIONS RELATED TO RICO VIOLATIONS.................................................. 33
                                               18
                                                           A.         ENTERPRISE ....................................................................................................... 33
                                               19          B.         OPERATION OF THE RICO ENTERPRISE ...................................................... 35
                                               20          C.         PREDICATE ACTS ............................................................................................. 35
                                               21          D.         VIOLATIONS OF 18 U.S.C. § 1343.................................................................... 36
                                                           E.         PATTERN OF RACKETEERING ACTIVITY ................................................... 39
                                               22
                                                    VI.    DAMAGES ....................................................................................................................... 40
                                               23
                                                    VII.   CLAIMS FOR RELIEF .................................................................................................... 40
                                               24          COUNT I (FEDERAL RICO - 18 U.S.C. §1962(C) – CORE DEFENDANTS) ............. 40
                                               25          COUNT II (FEDERAL RICO - 18 U.S.C. §1962(D) – CORE DEFENDANTS) ........... 42

                                               26          COUNT III (FRAUD: INTENTIONAL MISREPRESENTATION – CORE
                                                               DEFENDANTS) ................................................................................................... 43
                                               27          COUNT IV (FRAUD: INTENTIONAL CONCEALMENT – CORE
                                               28              DEFENDANTS) ................................................................................................... 44


                                                                                                                    -i-                                                  COMPLAINT
                                                                                                                                                                                                    89
                                                     Case
                                                    Case  21-05072-gs
                                                       Case
                                                         21-05072-gs    DocDocument
                                                            3:22-cv-00257
                                                                       Doc  17-4 Entered
                                                                           100    Entered 11/24/21
                                                                                     1-1 06/07/22
                                                                                          Filed     14:59:07
                                                                                                06/07/22
                                                                                                   12:02:03
                                                                                                          PagePage
                                                                                                             Page 915223
                                                                                                               91 of  of 223
                                                                                                                      of 56
                                                     Case 2:19-cv-02544-JAM-DB Document
                                                                                 TABLE OF1CONTENTS
                                                                                               Filed 12/17/19 Page 4 of 55
                                                                                                                                                                              Page
                                                1           COUNT V (FRAUD IN THE INDUCEMENT- CORE DEFENDANTS) ...................... 44
                                                2           COUNT VI (CONVERSION- CORE DEFENDANTS) .................................................. 45
                                                            COUNT VII (CIVIL CONSPIRACY – CORE DEFENDANTS AND SCHEME
                                                3
                                                                AIDERS/ABETTORS) ......................................................................................... 45
                                                4           COUNT VIII (UNJUST ENRICHMENT – CORE DEFENDANTS AND HALO) ........ 46
                                                5           COUNT IX (INTENTIONAL INTERFERENCE WITH CONTRACTUAL
                                                                RELATIONSHIP OR BUSINESS EXPECTANCY – CORE
                                                6               DEFENDANTS) ................................................................................................... 47
                                                7           COUNT X (NEGLIGENCE – ALVAREZ & MARSAL)................................................ 47
                                                            COUNT XI (NEGLIGENT MISREPRESENTATION – ALVAREZ & MARSAL) ...... 47
                                                8
                                                            COUNT XII (PROFESSIONAL NEGLIGENCE – ROACH) ......................................... 48
                                                9
                                                            COUNT XIII (BREACH OF FIDUCIARY DUTY – ROACH) ...................................... 49
                                               10           COUNT XIV (PROFESSIONAL NEGLIGENCE – WENTZ, YEE, MONTAGE,
                                               11               & RADIUS/VISTRA) ........................................................................................... 49
                                                            COUNT XV (BREACH OF FIDUCIARY DUTY- WENTZ, YEE, MONTAGE &
                                               12               RADIUS/VISTRA) ............................................................................................... 50
Snell & Wilmer
             50 W. Liberty Street, Suite 510




                                               13           COUNT XVI (NEGLIGENT MISREPRESENTATION – ALL DEFENDANTS)......... 50
                 Reno, Nevada 89501




                                                    VIII.   PRAYER FOR RELIEF.................................................................................................... 51
                    LAW OFFICES




                                               14
                     775-785-5440
                          L.L.P.




                                                    IX.     DEMAND FOR JURY TRIAL......................................................................................... 51
                                               15

                                               16

                                               17

                                               18

                                               19

                                               20

                                               21

                                               22

                                               23

                                               24

                                               25

                                               26

                                               27

                                               28


                                                                                                               - ii -                                         COMPLAINT
                                                                                                                                                                                       90
                                                     Case
                                                    Case  21-05072-gs
                                                       Case
                                                         21-05072-gs    DocDocument
                                                            3:22-cv-00257
                                                                       Doc  17-4 Entered
                                                                           100    Entered 11/24/21
                                                                                     1-1 06/07/22
                                                                                          Filed     14:59:07
                                                                                                06/07/22
                                                                                                  12:02:03PagePage
                                                                                                             Page 926223
                                                                                                               92 of  of 223
                                                                                                                      of 56
                                                     Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 5 of 55

                                                1                              I.   PRELIMINARY STATEMENT
                                                2          Plaintiff’s claims arise from two parallel fraud schemes that wrested over $910
                                                3   million from innocent purchasers, who thought they had purchased mobile solar energy
                                                4   generators which qualified for valid and significant tax benefits.
                                                5          Scheme One: From 2011 to 2018, Defendants named below built and sold mobile
                                                6   solar generators (“MSGs”) to purchasers. Purchasers bought the MSGs for $150,000, with
                                                7   (a) a down payment of $45,000, which supposedly qualified for alternative energy tax
                                                8   credits; and (b) a promissory note for the balance due over twenty years, during which
                                                9   purchasers could depreciate their MSGs on favorable tax terms. But, in reality, the
                                               10   Defendants’ sale of MSGs proved a sham.
                                               11          Scheme Two: The same purchasers were told that Defendants would generate
                                               12   substantial lease revenues from third parties, which would more than cover the balance
Snell & Wilmer
             50 W. Liberty Street, Suite 510




                                               13   purchasers owed on their promissory notes. But in reality, the Defendants’ promised lease
                 Reno, Nevada 89501
                    LAW OFFICES




                                               14   revenues proved to be a sham.
                     775-785-5440
                          L.L.P.




                                               15          In reality, there was no true market for the MSGs sold to purchasers. Indeed, some
                                               16   purchasers paid for MSGs that were never manufactured. In reality, there was also no true
                                               17   market for the touted leases. The majority of the promised subleases never materialized. In
                                               18   reality, the Defendants perpetrated a fraud on the purchasers, by pretending to have sublease
                                               19   revenue, when in fact the purported sublease revenue was really cash from later purchasers
                                               20   that was transferred from DC Solar to DC Distribution, either directly or through the use of
                                               21   third parties. Defendants’ touted sale and leasing transactions of MSGs were business
                                               22   failures that never made money. As a result, the purchasers grossly overpaid for the MSGs
                                               23   and the transactions may not qualify for the promised tax benefits promised. Further, the
                                               24   transactions never generated the promised lease income.
                                               25          Defendants tried as long as possible to hide and conceal the true facts from
                                               26   purchasers. Among other things, Defendants lied about and tried to conceal that some MSGs
                                               27   sold to purchasers were never manufactured. The Defendants also lied about and tried to
                                               28   conceal that the MSGs failed to generate lease revenues. Among other things, the

                                                                                                 1                               COMPLAINT

                                                                                                                                                91
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page 937223
                                                                                                      93 of  of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 6 of 55

                                       1   Defendants moved money between companies in ways intended to disguise the fact that the
                                       2   MSG transactions were fraudulent failures.
                                       3         Defendants fall into three main categories: Defendants who were core schemers,
                                       4   Defendants who were scheme aiders/abettors, and Defendants who facilitated hiding money
                                       5   and MSGs (or lack thereof).
                                       6         Plaintiff, for its complaint against the Defendants, alleges as follows:
                                       7                                        II.     PARTIES
                                       8                                              A. Plaintiff
                                       9         1.     Solarmore Management Services, Inc. (“Solarmore” or “Plaintiff”) is a
                                      10   California corporation authorized to do and doing business in California. Solarmore is
                                      11   owned and managed by Carl Jansen (“Jansen”).
Snell & Wilmer




                                      12         2.     Until December 12, 2019, Solarmore was the managing member of the
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           following California limited liability companies, which are collectively referred to as the
                   Suite 510




                                      13
                    L.L.P.




                                      14   “Funds” or the “Purchasers.”
                                      15                a.     Solar Eclipse Investment Fund V, LLC
                                      16                b.     Solar Eclipse Investment Fund VI, LLC
                                      17                c.     Solar Eclipse Investment Fund VII, LLC
                                      18                d.     Solar Eclipse Investment Fund VIII, LLC
                                      19                e.     Solar Eclipse Investment Fund X, LLC
                                      20                f.     Solar Eclipse Investment Fund XI, LLC
                                      21                g.     Solar Eclipse Investment Fund XII, LLC
                                      22                h.     Solar Eclipse Investment Fund XIV, LLC
                                      23                i.     Solar Eclipse Investment Fund XV, LLC
                                      24                j.     Solar Eclipse Investment Fund XVI, LLC
                                      25                k.     Solar Eclipse Investment Fund XVII, LLC
                                      26                l.     Solar Eclipse Investment Fund XVIII, LLC
                                      27                m.     Solar Eclipse Investment Fund XIX, LLC
                                      28                n.     Solar Eclipse Investment Fund XXI, LLC

                                                                                         2                              COMPLAINT

                                                                                                                                     92
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page 948223
                                                                                                      94 of  of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 7 of 55

                                       1                o.     Solar Eclipse Investment Fund XXII, LLC
                                       2                p.     Solar Eclipse Investment Fund XXIII, LLC
                                       3                q.     Solar Eclipse Investment Fund XXIV, LLC
                                       4                r.     Solar Eclipse Investment Fund XXVI, LLC
                                       5                s.     Solar Eclipse Investment Fund XXVIII, LLC
                                       6                t.     Solar Eclipse Investment Fund XXXI, LLC
                                       7         3.     Solarmore is currently the 1% owner in each of the Funds except for Fund V
                                       8   and Fund VI, in which Solarmore is the 95% owner.
                                       9         4.     The Funds are tax-equity investment funds permitted under the Internal
                                      10   Revenue Code (the “Code”), created specifically for the purpose of owning MSGs.
                                      11         5.     Along with the managing member of the Funds, which was Solarmore up to
Snell & Wilmer




                                      12   December 12, 2019, each Fund has a purchasing member or members (as further defined
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           below, the “Purchasing Member”), which provided the money to purchase the MSGs.
                   Suite 510




                                      13
                    L.L.P.




                                      14         6.     As of December 18, 2019, Solarmore consented to resignation as managing
                                      15   member of the Funds.
                                      16                                          B. Defendants
                                      17                                     1) The Core Defendants
                                      18         7.     DC Solar Solutions, Inc. (on information and belief, dba DC Solar Solutions
                                      19   MFG, Inc. dba DC Solar Solutions Manufacturing, Inc.) is a California corporation
                                      20   headquartered in Benicia, California (“DC Solar Solutions”).
                                      21         8.     DC Solar Distribution, Inc. is a California corporation headquartered in
                                      22   Benicia, California (“DC Solar Distribution”).
                                      23         9.     DC Solar Freedom, Inc. is a California corporation headquartered in Benicia,
                                      24   California (“DC Solar Freedom”) (together with DC Solar Solutions and DC Solar
                                      25   Distribution, “DC Solar”). The DC Solar entities are owned by Jeff Carpoff (“Carpoff”)
                                      26   and Paulette Carpoff (together, the “Carpoffs”), except that Lauer, Muraco, and Roach also
                                      27   owned equity in DC Solar Freedom.
                                      28         10.    The DC Solar entities are currently debtors in the jointly administered Chapter

                                                                                       3                               COMPLAINT

                                                                                                                                      93
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page 959223
                                                                                                      95 of  of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 8 of 55

                                       1   7 bankruptcy proceedings pending in the United States Bankruptcy Court, District of
                                       2   Nevada (“Bankruptcy Court”) under the lead case styled In re Double Jump, Inc., Case
                                       3   No. 19-50102-gs (“Bankruptcy Case”). Christine W. Lovato (“Lovato” or “Trustee”) is
                                       4   the duly appointed Chapter 7 Trustee for the DC Solar entities’ bankruptcy estates (the
                                       5   “Estates”).
                                       6           11.     The Estates are named as Defendants in this Complaint only for purposes of
                                       7   determination of liability, or determination of forms of legal or equitable relief; pursuant to
                                       8   the court-approved stay relief stipulation between the Plaintiff and the Trustee in the
                                       9   Bankruptcy Case filed with the Bankruptcy Court on December 16, 2019. Any enforcement
                                      10   or collection actions against the Estates will occur within the context of the Bankruptcy
                                      11   Case.
Snell & Wilmer




                                      12           12.     Matthew and Lauren Carpoff (the “Carpoff Children”) are the adult children
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           of Jeff and Paulette Carpoff and, upon information and belief, reside in California.
                   Suite 510




                                      13
                    L.L.P.




                                      14           13.     The Carpoff Children received funds and/or wages from DC Solar.
                                      15           14.     Upon information and belief, Lauren Carpoff was involved in the process of
                                      16   keeping track of VINs for MSGs that did not exist by assisting in the preparation of a master
                                      17   list of VINs.
                                      18           15.     Robert V. Amato is Paulette Carpoff’s brother. Robert worked for DC Solar.
                                      19   Robert’s wife is Priscilla Amato (together, the “Amatos”). The Amatos were also on DC
                                      20   Solar’s payroll, and, upon information and belief, Priscilla managed some of the real
                                      21   properties that were purchased with funds obtained by DC Solar from the Purchasers. Upon
                                      22   information and belief, the Amatos reside in California.
                                      23           16.     According to the DOJ Seizure document (infra), Robert V. Amato had planted
                                      24   GPS devices that were supposed to be attached to MSGs in locations so that it appeared that
                                      25   the MSGs existed at these locations on the GPS tracking program.
                                      26           17.     Robert Karmann (“Karmann”) is an accountant and, upon information and
                                      27   belief, resides in California. Karmann worked for DC Solar as controller or CFO from
                                      28   around 2014 through the companies’ closing.

                                                                                         4                                COMPLAINT

                                                                                                                                         94
                                           Case
                                           Case 21-05072-gs
                                              Case
                                                21-05072-gs   Doc Document
                                                   3:22-cv-00257
                                                              Doc 17-4 Entered
                                                                  100   Entered 11/24/21
                                                                           1-1 06/07/22  14:59:07
                                                                                Filed 06/07/22
                                                                                        12:02:03PagePage
                                                                                                   Page  10
                                                                                                     96 of
                                                                                                        96  ofof223
                                                                                                           223   56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 9 of 55

                                       1          18.    On December 12, 2019, Karmann was charged by Information with felony
                                       2   charges of conspiracy to commit an offense against the United States and securities fraud.
                                       3   See Case No. 2:19-cr-00222-JAM. Karmann has pled guilty.
                                       4          19.    Ronald J. Roach (“Roach”) is an accountant and, upon information and
                                       5   belief, resides in California. Roach runs a company known as Ronald J. Roach Accountancy
                                       6   Corp., and performed accounting services for, among others, DC Solar and Plaintiff.
                                       7          20.    On October 21, 2019, Roach was charged by Information with felony charges
                                       8   of conspiracy to commit an offense against the United States and securities fraud. On the
                                       9   same day, Joseph Bayliss was charged by Information with a felony charge of conspiracy
                                      10   to commit an offense against the United States. See Case No. 2:19-cr-00182-JAM. Roach
                                      11   and Bayliss pled guilty to those counts on October 22, 2019 and are set for sentencing on
Snell & Wilmer




                                      12   January 28, 2020. The charges and guilty pleas are related to their roles in the DC Solar
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           fraud and enterprise.
                   Suite 510




                                      13
                    L.L.P.




                                      14          21.    Sebastian Jano (“Jano”) is a former employee of DC Solar, and, upon
                                      15   information and belief, resides in California.
                                      16          22.    Steve Wilde (“Wilde”) is an accountant the former controller of DC Solar
                                      17   Solutions and, upon information and belief, resides in California.
                                      18          23.    The Defendants listed in paragraphs 7 through 22, supra, shall hereinafter be
                                      19   referred to collectively as the “Core Defendants.”
                                      20          24.    Additional Defendants may be included as Core Defendants as investigation
                                      21   and discovery proceeds in this or related estates.
                                      22                                   2) “Scheme Aiders/ Abettors”
                                      23          25.    Ryan Guidry (“Guidry”) was involved in operations of DC Solar from at least
                                      24   early 2012, and, upon information and belief, resides in California.
                                      25          26.    Upon information and belief, Guidry operated and/or administered the DC
                                      26   Solar sublease scheme which involved the misrepresentation of MSGs, and third party
                                      27   rentals.
                                      28          27.    Patrick Moore (“Moore”) is or was the 21% minority owner of Solarmore

                                                                                        5                             COMPLAINT

                                                                                                                                     95
                                           Case
                                           Case 21-05072-gs
                                             Case
                                                21-05072-gs   Doc Document
                                                   3:22-cv-00257
                                                              Doc 17-4 Entered
                                                                  100   Entered 11/24/21
                                                                           1-1 06/07/22  14:59:07
                                                                                Filed 06/07/22
                                                                                        12:02:03PagePage
                                                                                                   Page  11
                                                                                                     97 of
                                                                                                        97  ofof223
                                                                                                           223   56
                                           Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 10 of 55

                                       1   Investments, Inc. (“Solarmore Investments”), which was the managing member of the first
                                       2   funds purchasing MSGs from DC Solar. Upon information and belief, he resides in
                                       3   California.
                                       4          28.    According to the DOJ Seizure Document (infra), an informant tipster
                                       5   contacted the FBI and told the FBI that Moore admitted that he was part of a fraudulent
                                       6   scheme involving MSGs with the Carpoffs.
                                       7          29.    Halo Management Services LLC (“Halo”) is a Nevada limited liability
                                       8   company which is or was managed by Peter Roselli (“Roselli”). Halo was the managing
                                       9   member of the final funds purchasing MSGs from DC Solar.
                                      10          30.    Alvarez & Marsal Valuation Services, LLC is a Delaware limited liability
                                      11   company with its principal place of business in New York, NY (“Alvarez & Marsal”).
Snell & Wilmer




                                      12          31.    Alvarez & Marsal completed appraisals of MSGs for DC Solar validating the
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           alleged value of the MSGs, which were presented to Purchasers.
                   Suite 510




                                      13
                    L.L.P.




                                      14          32.    Barry Hacker (“Hacker”) was a broker and sometimes senior officer at
                                      15   Marshall & Stevens, Inc. and, upon information and belief, resides in California.
                                      16          33.    Hacker brokered some MSG purchases, worked directly with Alvarez &
                                      17   Marsal in establishing value for the MSGs, promoted DC Solar as a potential borrower, and
                                      18   assisted in the Carpoffs activities to move assets and and/or operations to Nevis Island.
                                      19          34.    Upon information and belief, Marcelo Bermudez (“Bermudez”) is a broker
                                      20   at Shokunin, Inc. and, upon information and belief, resides in California who assisted
                                      21   Hacker and DC Solar.
                                      22          35.    Upon information and belief, Bermudez brokered some MSG purchases and
                                      23   may have worked directly with Alvarez & Marsal in establishing value representations for
                                      24   the MSGs.
                                      25          36.    CohnReznick LLP (“CohnReznick”) is New Jersey limited liability
                                      26   partnership and consulting firm with its principal place of business in New York, NY.
                                      27          37.    CohnReznick and its employees brokered some MSG purchases and worked
                                      28   directly with Alvarez & Marsal in establishing value for the MSGs.

                                                                                        6                               COMPLAINT

                                                                                                                                       96
                                           Case
                                           Case 21-05072-gs
                                             Case
                                                21-05072-gs   Doc Document
                                                   3:22-cv-00257
                                                              Doc 17-4 Entered
                                                                  100   Entered 11/24/21
                                                                           1-1 06/07/22  14:59:07
                                                                                Filed 06/07/22
                                                                                        12:02:03PagePage
                                                                                                   Page  12
                                                                                                     98 of
                                                                                                        98  ofof223
                                                                                                           223   56
                                           Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 11 of 55

                                       1            38.     Scott Wentz (“Wentz”) is an accountant and another Defendant who resides
                                       2   in California.
                                       3            39.     Wentz performed tax work, oversaw or participated in an audit or financial
                                       4   compilation, and acted directly and helped DC Solar create international companies built to
                                       5   keep assets and income outside of the United States.
                                       6            40.     Raina Yee (“Yee”) is an accountant and, upon information and belief, resides
                                       7   in California. Yee was in charge of handling many of the various taxing authority audits of
                                       8   DC Solar, the Funds, and/or the Carpoffs individually.
                                       9            41.     Vistra International Expansion (USA) Inc., fka Radius GGE (USA), Inc., fka
                                      10   High Street Partners Inc., is a Maryland corporation headquartered in Massachusetts
                                      11   (“Vistra”) that acquired Radius GGE (USA).
Snell & Wilmer




                                      12            42.     Radius GGE (USA), Inc., fka High Street Partners Inc., is a Maryland
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           corporation headquartered in Massachusetts (“Radius”).
                   Suite 510




                                      13
                    L.L.P.




                                      14            43.     Radius was acquired by Vistra on or about May 2018. Radius and Vistra
                                      15   provided, among other things, tax work and other services to DC Solar, Solarmore, and the
                                      16   Funds.
                                      17            44.     Montage Services, Inc. is a California corporation based in San Francisco
                                      18   (“Montage”).
                                      19            45.     Some of Montage’s assets were acquired by Radius on or about June 2016
                                      20   and entered into contractual agreements with Montage including the cooperative sharing of
                                      21   employees and, facilities, and equipment.
                                      22            46.     Heritage Bank of Commerce (“Heritage”) is a California Corporation
                                      23   primarily operating in California.
                                      24            47.     Diana Kershaw (“Kershaw”) is or was an officer or employee or former
                                      25   employee of Heritage Bank and, upon information and belief, resides in California.
                                      26            48.     Upon information and belief, as an officer or employee Kershaw cooperated
                                      27   with the Carpoffs to conceal or restrict information from Solarmore regarding its bank
                                      28   accounts at Heritage.

                                                                                          7                              COMPLAINT

                                                                                                                                       97
                                           Case
                                           Case 21-05072-gs
                                             Case
                                                21-05072-gs   Doc Document
                                                   3:22-cv-00257
                                                              Doc 17-4 Entered
                                                                  100   Entered 11/24/21
                                                                           1-1 06/07/22  14:59:07
                                                                                Filed 06/07/22
                                                                                        12:02:03PagePage
                                                                                                   Page  13
                                                                                                     99 of
                                                                                                        99  ofof223
                                                                                                           223   56
                                           Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 12 of 55

                                       1             49.   Carson Trailer, Inc. (“Carson”) is a California corporation with its principal
                                       2   place of business in Gardena, California. Carson produced and sold the physical trailers
                                       3   upon which the MSGs were built.
                                       4             50.   Ahern Rentals, Inc. is a Nevada corporation headquartered in Las Vegas (“Ahern”).
                                       5             51.   David Endres (“Endres”) is a former employee of Carson and DC Solar and,
                                       6   upon information and belief, resides in California.
                                       7             52.   Upon information and belief, Endres cooperated with the Carpoffs and DC
                                       8   Solar to provide VINs without corresponding trailers, and began working directly for DC
                                       9   Solar in the summer of 2018.
                                      10             53.   The Defendants listed in paragraphs 25 through 52, supra, shall hereinafter be
                                      11   referred to collectively as the “Scheme Aiders/Abettors.”
Snell & Wilmer




                                      12             54.   Additional Defendants may be included as Scheme Aiders/Abettors as
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           investigation and discovery proceeds in this or related estates.
                   Suite 510




                                      13
                    L.L.P.




                                      14                                             3) Asset Hiders
                                      15             55.   Julie Muraco (“Muraco”) is a financial advisor at Praeditis Group LLC, and,
                                      16   upon information and belief, resides in New York.
                                      17             56.   Muraco is or was an owner and on the board of directors of DC Solar Freedom
                                      18   and provided investment advice to the Carpoffs and/or DC Solar, as well as the direction of
                                      19   assets to offshore companies.
                                      20             57.   Praeditis Group LLC (“Praeditis”) is a Delaware limited liability company
                                      21   that was utilized by Muraco in her activities for DC Solar, some of the DC solar affiliates,
                                      22   and the Carpoffs in concealing and/or of assisting in the movement of assets.
                                      23             58.   The Strauss Law Firm (“Strauss Firm”) is a law firm located in Hilton Head,
                                      24   South Carolina. The Strauss Firm helped the Carpoffs and/or DC Solar to conceal or move
                                      25   assets.
                                      26             59.   Peter Strauss (“Strauss”) is an attorney and, upon information and belief,
                                      27   resides in South Carolina. Strauss is the principal/owner of the Strauss Firm.
                                      28             60.   Panda Bear International, Ltd. (“Panda International”) is an international

                                                                                           8                                COMPLAINT

                                                                                                                                           98
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  14223
                                                                                                      100100
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 13 of 55

                                       1   Hong Kong corporation. That was utilized in the movement of funds in and out of Hong
                                       2   Kong and the China Bank and Trust.
                                       3          61.    Panda Solar Solutions LLC (“Panda Solutions”) is a Nevada limited liability
                                       4   company, and entirely owned by the Carpoffs.
                                       5          62.    Upon information and belief, Panda International was formed by DC Solar
                                       6   with assistance from Wentz supposedly for the purpose of purchasing batteries for MSGs,
                                       7   to keep profits out of the United States and avoid U.S. income taxation.
                                       8          63.    Panda Solutions was the sole owner of Panda International.
                                       9          64.    DC Solar International, Inc. (“DC Solar International”) is an international
                                      10   Nevis corporation. DC Solar International was formed by DC Solar with assistance from
                                      11   Lauer, Strauss and Hacker, among others, to be the seller in certain sale-leaseback deals,
Snell & Wilmer




                                      12   designed to move profits out of the United States and tax-free.
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                                  65.    Bayshore Select Insurance is a Bahamian company, and acts as a captive
                   Suite 510




                                      13
                    L.L.P.




                                      14   insurance company for DC Solar.
                                      15          66.    Champion Select Insurance is a Bahamian company, and acts as a captive
                                      16   insurance company for DC Solar.
                                      17          67.    JPLM Dynasty Trust is a Cook Island trust administered in the Cook Islands
                                      18   with Southpac Trust International, Inc. a Cook Island corporation as its Trustee.
                                      19          68.    Billie Jean Trust is a trust administered in the Cook Islands with Southpac
                                      20   Trust International, Inc. a Cook Island corporation as its Trustee
                                      21          69.    The Defendants listed in paragraphs 55 through 68, supra, are described
                                      22   collectively as the “Asset Hiders.”
                                      23          70.    The Core Defendants, Scheme Aiders/Abbetors, and the Asset Hiders shall
                                      24   hereinafter be referred to collectively as the “Defendants.”
                                      25          71.    Additional Defendants may be added to these categories as further
                                      26   investigation or discovery proceed in this or related cases.
                                      27

                                      28

                                                                                        9                              COMPLAINT

                                                                                                                                    99
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  15223
                                                                                                      101101
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 14 of 55

                                       1                                 III.   JURISDICTION & VENUE
                                       2          72.       This Court has subject-matter jurisdiction over Plaintiff’s claims under 28
                                       3   U.S.C. § 1331 and/or 28 U.S.C. § 1337, because the claims arise under the laws of the
                                       4   United States, including the Racketeer Influenced and Corrupt Organization Act (“RICO”),
                                       5   18 U.S.C. § 1961 et. seq.
                                       6          73.      This Court has supplemental jurisdiction over Plaintiff’s claims arising out of
                                       7   state law pursuant to 28 U.S.C. § 1367, because those claims form part of the same case or
                                       8   controversy as Plaintiff’s claims brought under federal law.
                                       9          74.      Plaintiff also asserts that jurisdiction is also present due to 28 U.S.C.157.
                                      10          75.      Personal jurisdiction comports with due process under the United States
                                      11   Constitution, the long-arm statutes of California, and the provisions of 18 U.S.C. § 1965(b)
Snell & Wilmer




                                      12   and (d).
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                                  76.      Without limiting the generality of the foregoing, each Defendant (directly or
                   Suite 510




                                      13
                    L.L.P.




                                      14   through agents who were at the time acting with actual and/or apparent authority and within
                                      15   the scope of such authority) has:
                                      16                a. Transacted business in California;
                                      17                b. Contracted to supply or obtain services in California;
                                      18                c. Availed themselves intentionally of the benefits of doing business in
                                      19                   California;
                                      20                d. Produced, promoted, sold, marketed, and/or distributed their products or
                                      21                   services in California and, and thereby, have purposefully profited from their
                                      22                   access to markets in California;
                                      23                e. Caused tortious damage by act or omission in California;
                                      24                f. Caused tortious damage in California by acts or omissions committed outside
                                      25                   California while (i) regularly doing business or soliciting business in
                                      26                   California, and/or (ii) engaging in other persistent courses of conduct within
                                      27                   California, and/or (iii) deriving substantial revenue from goods used or
                                      28                   consumed or services rendered in California;

                                                                                          10                                COMPLAINT

                                                                                                                                           100
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  16223
                                                                                                      102102
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 15 of 55

                                       1                g. Committed acts and omissions which Defendants knew or should have known
                                       2                   would cause damage (and, in fact, did cause damage) in California to Plaintiff
                                       3                   while (i) regularly doing or soliciting business in California, and/or (ii)
                                       4                   engaging in other persistent courses of conduct within California , and/or (iii)
                                       5                   deriving substantial revenue from goods used or consumed or services
                                       6                   rendered in California;
                                       7                h. Engaged in a conspiracy with others doing business in California that caused
                                       8                   tortious damage in California; and/or
                                       9                i. Otherwise had the requisite minimum contacts with California such that,
                                      10                   under the circumstances, it is fair and reasonable to require Defendants to
                                      11                   come before this Court to defend this action.
Snell & Wilmer




                                      12          77.      Pursuant to 11 U.S.C. § 362 and to allow and Plaintiff to pursue its claims the
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           Trustee has stipulated to relief from the automatic stay in the Bankruptcy Case to allow
                   Suite 510




                                      13
                    L.L.P.




                                      14   Plaintiff to liquidate the nature and amount of its claims against the Estates as a Defendant;
                                      15   however, Plaintiff may not proceed with any collection or other enforcement of any such
                                      16   determination except through the Bankruptcy case.
                                      17          78.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a
                                      18   substantial part of the events or omissions giving rise to Plaintiff’s claims occurred in
                                      19   Benicia, California, which is located in this judicial district.
                                      20                                IV.    FACTUAL ALLEGATIONS
                                      21                                             A. Introduction
                                      22          79.      This case involves two parallel fraud schemes which bilked purchasers out of
                                      23   nearly a billion dollars (together, the “Schemes”).
                                      24          80.      The Carpoffs orchestrated the Schemes through companies they controlled
                                      25   (DC Solar), and the Carpoffs used the Schemes to enrich themselves personally at Plaintiff’s
                                      26   expense.
                                      27          81.      The Defendants in this action each played an important role in the Schemes.
                                      28          82.      In 2011, the Carpoffs began the selling of MSGs through their privately-held

                                                                                          11                               COMPLAINT

                                                                                                                                         101
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  17223
                                                                                                      103103
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 16 of 55

                                       1   alternative energy company, DC Solar Solutions.
                                       2           83.   Through December 2018, DC Solar raised around $910 million from sales of
                                       3   MSGs. DC Solar described the sales to interested parties as transactions that qualified for
                                       4   alternative energy tax credits.
                                       5           84.   To that end, Purchasers purchased MSGs from DC Solar Solutions and then
                                       6   immediately leased the MSGs to DC Solar Distribution.
                                       7           85.   DC Solar Distribution then supposedly sub-leased the MSGs to end-users.
                                       8           86.   The sale price for east MSG was $150,000.
                                       9           87.   Purchasers typically made a 30% cash down payment to DC Solar Solutions
                                      10   on the MSGs, which were sold for $150,000 apiece, because the associated tax credits were
                                      11   based upon 30% of the $150,000 sales price.
Snell & Wilmer




                                      12           88.   This down payment was typically made by the Purchasing Member.
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           Purchasers could immediately claim a dollar-for-dollar tax credit for the total they paid in
                   Suite 510




                                      13
                    L.L.P.




                                      14   cash to DC Solar Solutions per MSG.
                                      15           89.   Thereafter, the Purchasers could also claim depreciation for each MSG for
                                      16   five years.
                                      17           90.    These cumulative tax benefits were significant to Plaintiff and the
                                      18   Purchasers.
                                      19           91.   To complete the transactions, Purchasers paid the remaining amount owed to
                                      20   DC Solar Solutions for the MSGs by a carryback promissory note with a twenty (20) year
                                      21   term.
                                      22           92.   The Carpoffs and other Defendants told Purchasers that the cash to pay the
                                      23   note payments was supposed to be generated by lease revenues received by DC Solar
                                      24   Distribution from its supposed subleases of the MSGs to end users.
                                      25           93.   Additionally, the Purchasers (and the LLC members) were to receive some
                                      26   income from the subleases, over and above amounts needed to pay the carryback notes.
                                      27           94.   The sublease revenue payable to Purchasers from DC Solar Distribution was
                                      28   a critical component of the transactions, maximizing the tax benefits while minimizing debt

                                                                                       12                              COMPLAINT

                                                                                                                                     102
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  18223
                                                                                                      104104
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 17 of 55

                                       1   and expenses.
                                       2          95.    Without the mechanism, the alleged $150,000 value of the MSGs would be
                                       3   difficult to sustain, thus jeopardizing the maximum value of the tax credits.
                                       4          96.    When the Funds were created, Solarmore owned 1% of each Fund, with the
                                       5   primary Purchasing Member owning the remaining 99% interest.
                                       6          97.    After five (5) years, which was the recapture period for the MSG tax credit,
                                       7   the equity ownership in the Funds would flip, with Solarmore owning 95% and the
                                       8   Purchasing Member owning 5%.
                                       9          98.    After the 5-year period, Solarmore had a call option to acquire the Purchasing
                                      10   Member’s equity in the Funds for an amount that is significantly less than the amount of
                                      11   the Purchasing Member’s downpayment.
Snell & Wilmer




                                      12          99.    DC Solar touted itself as a major player in its industry, with thousands of
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           MSGs in the field, lucrative contracts with big customers yielding a track record of major
                   Suite 510




                                      13
                    L.L.P.




                                      14   revenues, and extensive experience in making and maintaining the MSGs, and finding
                                      15   customers to lease or purchase MSGs.
                                      16          100.   The sublease program and the major lease revenue promotion were a sham.
                                      17          101.   DC Solar manufactured and put into service far fewer MSGs than it claimed
                                      18   to Purchasers, and DC Solar made hardly any of its revenue from leasing MSGs.
                                      19          102.   In fact, DC Solar Solutions did not actually manufacture or receive about two-
                                      20   thirds of the MSGs that it purportedly sold to Purchasers.
                                      21          103.   Intensive efforts by Plaintiff to locate the MSGs have identified roughly 6,800
                                      22   of the approximately 18,400 MSGs that DC Solar sold to Purchasers.
                                      23          104.   Simply put, Purchasers paid over one billion dollars for MSGs that never
                                      24   existed or been delivered.
                                      25          105.   Further, legitimate lease income from actual end-users of the MSGs
                                      26   represented a tiny fraction -- less than 5% -- of DC Solar Distribution’s alleged revenue.
                                      27          106.   The vast majority of DC Solar Distribution’s revenue was actually comprised
                                      28   of money transferred from DC Solar Solutions derived from downpayments from later

                                                                                       13                                  COMPLAINT

                                                                                                                                        103
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  19223
                                                                                                      105105
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 18 of 55

                                       1   purchasers.
                                       2          107.   In reality, the vast majority of DC Solar’s money was used to manufacture,
                                       3   place into service, or to maintain the thousands of MSGs that the DC Solar “sold” to
                                       4   Purchasers.
                                       5          108.   Instead the Carpoffs pilfered the money to cover-up losses by DC
                                       6   Distribution, and to support a lavish lifestyle that included buying numerous luxury and
                                       7   collector vehicles, a baseball team, a NASCAR Raceteam, expensive real estate within and
                                       8   without the United States, and the use of private jets.
                                       9          109.   Generally, the Defendants perpetrated two fraud Schemes, the first relating to
                                      10   the existence of MSGs.
                                      11          110.   The second relating to the movement of money from DC Solar to DC
Snell & Wilmer




                                      12   Distribution to hide the failed sublease program.
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                                  111.   A later third fraud scheme developed from the first two in the after-the-fact
                   Suite 510




                                      13
                    L.L.P.




                                      14   effort to prop up bogus $150,000 valuation of MSGs sold to Purchasers.
                                      15          112.   In the first Scheme, the Defendants falsely certified and represented to
                                      16   Purchasers the existence of non-existent or undelivered MSGs.
                                      17          113.   Plaintiff relied on Defendants’ certificates and representations, although the
                                      18   claimed MSGs never existed or were delivered.
                                      19          114.   In the second Scheme, the Defendants tried to hide the lack of legitimate lease
                                      20   revenue by moving money between and among different Defendants to conceal the failed
                                      21   sublease program.
                                      22          115.   Defendants made representations to Plaintiff that the subleasing of the MSGs
                                      23   started slowly, but then became robust, resulting in the sublease of most of the MSGs and
                                      24   the generation of significant rental revenue.
                                      25          116.   Defendants showed Plaintiff a few leases for a large number of MSGs to third
                                      26   parties.
                                      27          117.   Then, Defendants represented to Plaintiff that Defendants had many other-
                                      28   such leases that produced significant revenue for DC Distribution.

                                                                                           14                           COMPLAINT

                                                                                                                                      104
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  20223
                                                                                                      106106
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 19 of 55

                                       1          118.   In reality, the overwhelming majority of DC Distribution’s supposed
                                       2   “revenue” consisted of cash transfers from DC Solar Solutions to DC Solar Distribution
                                       3   derived from initial down payments of later Purchasers.
                                       4          119.   Between March 2011 and December 18, 2019, approximately thirty-four (34)
                                       5   Funds entered into transactions with DC Solar Solutions to purchase MSGs, resulting in the
                                       6   deposit of approximately $759,000,000 by interstate transfer into the Funds’ bank accounts
                                       7   by Purchasing Members for Defendants’ MSG transactions.
                                       8          120.   Other Purchasers transferred approximately $136,000,000 to DC Solar
                                       9   Solutions as part of related transactions for the purchase and lease of MSGs.
                                      10          121.   In total, DC Solar Solutions closed transactions with Funds and others
                                      11   involving approximately 18,400 MSGs at approximately $2.7 billion in purported value.
Snell & Wilmer




                                      12          122.   These deals had face values of more than $2.7 billion because Purchasers
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           financed approximately 70 percent of the amount of the MSGs’ purchase price through
                   Suite 510




                                      13
                    L.L.P.




                                      14   promissory notes.
                                      15          123.   DC Solar, directly and indirectly, solicited purchasers through brokers and
                                      16   salespeople using various methods, including email, conference calls and in-person
                                      17   meetings. DC Solar offered and sold Fund Contracts (defined below) through interstate
                                      18   commerce to purchasers across the United States.
                                      19          124.   The Core Defendants were in the process of attempting to close additional
                                      20   large transactions by the end of 2018 on in early 2019 but were stopped by the federal
                                      21   government’s raid and seizures.
                                      22                                  B. The Creation of the MSGs
                                      23          125.   Carpoff started DC Solar Solutions in or about 2009, when he began
                                      24   designing and creating the first MSGs.
                                      25          126.   Carpoff wholly owned the company after the departure of John Messer, a
                                      26   former 21% owner.
                                      27          127.   A typical MSG consisted of photovoltaic (“PV”) modules, PV inverters,
                                      28   batteries, a trailer and other miscellaneous ancillary components.

                                                                                       15                              COMPLAINT

                                                                                                                                   105
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  21223
                                                                                                      107107
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 20 of 55

                                       1            128.   According to an appraisal of 1,140 MSGs dated August 19, 2015 (“GEICO
                                       2   Appraisal”) by Alvarez & Marsal, which is nearly identical to the other Appraisals (defined
                                       3   below) provided to all of the Funds, DC Solar Solutions “is a clean energy company that
                                       4   designs, manufactures and deploys solar energy solutions which are eligible for federal,
                                       5   state and local renewable energy incentives.”
                                       6            129.   Alvarez & Marshall initially was requested to produce retroactive appraisals
                                       7   to bolster an earlier appraisal by a less prestigious appraiser.
                                       8            130.   The GEICO Appraisal describes the MSGs as DC Solar Solutions’ “signature
                                       9   product… available in 5, 10, 15, 20 and 25.5 kW power capacities… in use throughout the
                                      10   United States where an MSG is a more desirable alternative than a diesel-powered
                                      11   generator. MSGs are capable of operating anywhere they can be transported…”
Snell & Wilmer




                                      12            131.   The GEICO Appraisal further describes the MSGs as follows: “The MSGs
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           utilize two PV arrays of Talesun Solar USA panels made up of a total of ten PV modules.
                   Suite 510




                                      13
                    L.L.P.




                                      14            132.   The PV modules are framed or attached together by struts in a panel structure.
                                      15   Each panel structure contains five solar modules which are about 16 feet in length.
                                      16            133.   The PV Arrays are grouped so that the panels can be deployed at multiple
                                      17   angles for maximum exposure to the Sun.
                                      18            134.   The MSGs also contained a battery backup system, a battery management
                                      19   system and a charge controller.
                                      20            135.   At the beginning, the cost of production for one MSG was purportedly
                                      21   approximately $78,000, however this “cost” was comprised largely of overhead and labor
                                      22   costs.
                                      23                                          C. The First Funds
                                      24            136.   In or about 2010, DC Solar Solutions created the first fund to own MSGs and
                                      25   solicit MSG purchases for tax benefits.
                                      26            137.   The early funds created by the Carpoffs to own MSGs were managed by
                                      27   Solarmore Investments, an entity controlled by Carpoff and owned by Carpoff and Moore.
                                      28            138.   Purchasers typically made a 30% down payment to DC Solar Solutions on the

                                                                                         16                              COMPLAINT

                                                                                                                                       106
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  22223
                                                                                                      108108
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 21 of 55

                                       1   MSGs, which were sold for $150,000 apiece.
                                       2          139.    Purchasers could then immediately claim a dollar-for-dollar tax credit based
                                       3   upon 30% of the $150,000 price. Purchasers also claim depreciation for each MSG for five
                                       4   (5) years. These tax benefits were significant and amounted in hundreds of millions of
                                       5   dollars.
                                       6                                  D. The Beginning of the Funds
                                       7          140.    Solarmore was formed in 2013 by Lauer and was initially owned 79% by
                                       8   Carpoff and 21% by Jansen.
                                       9          141.    Currently, Jansen owns 100% of Solarmore.
                                      10          142.    Solarmore was formed to manage certain of the Funds who purchased MSGs.
                                      11          143.    As compensation for Solarmore’s management of certain Funds, Defendants
Snell & Wilmer




                                      12   promised a payment equal to 1% of the tax credits for the Funds, and the later ability to
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           indirectly own through Solarmore entity 95% of the MSGs after the ownership of the Funds
                   Suite 510




                                      13
                    L.L.P.




                                      14   “flip” after 5 years.
                                      15          144.    Defendants represented to Jansen that the MSGs would retain significant
                                      16   value after 5 years that exceeded the loan balance still owed to DC Solar at such time.
                                      17          145.    Nixon Peabody LLP (“Nixon”), is a law firm headquartered in New York and
                                      18   operating in additional states and issued tax opinion letters to Plaintiff Purchasers, and the
                                      19   Funds opining to the valid tax benefits to Purchasers of MSGs.
                                      20                                  E. The Funds’ Basic Structure
                                      21          146.    The basic structure of the MSG sales was as follows: DC Solar offered
                                      22   Purchase Agreements and Equipment Leases (defined below), under which Purchasers paid
                                      23   to purchase MSGs from DC Solar Solutions, while in turn simultaneously leasing them to
                                      24   DC Solar Distribution.
                                      25          147.    DC Solar Distribution then promised that it would arrange to sub-lease the
                                      26   MSGs to end-users.
                                      27          148.    Purchasers executed a standard package of agreements, including: (i) a
                                      28   Limited Liability Company Agreement (“LLC Agreement”); (ii) a Solar Equipment

                                                                                        17                               COMPLAINT

                                                                                                                                       107
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  23223
                                                                                                      109109
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 22 of 55

                                       1   Purchase Agreement (“Purchase Agreement”); (iii) a Secured Promissory Note
                                       2   (“Promissory Note”); and (iv) a Mobile Solar Equipment Lease (“Equipment Lease”)
                                       3   (together the “Fund Contracts”).
                                       4          149.   The documents were executed at or around the same time, with Jeff Carpoff
                                       5   signing the Purchase Agreements on behalf of DC Solar Solutions and Paulette Carpoff
                                       6   typically signing the Equipment Leases on behalf of DC Solar Distribution.
                                       7          150.   While certain contracts had minor variations in wording, all of the Fund
                                       8   Contracts largely contained the same substantive terms.
                                       9          151.   Under the terms of the LLC Agreements, an investor became the Purchasing
                                      10   Member of an individual Fund, a special purpose LLC entity created specifically for the
                                      11   purchase of MSGs.
Snell & Wilmer




                                      12          152.   The Fund then purchased MSGs from DC Solar Solutions at a price of
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           $150,000 per MSG under a Purchase Agreement.
                   Suite 510




                                      13
                    L.L.P.




                                      14          153.   The Purchase Agreement specified the total number of MSGs being
                                      15   purchased in that specific transaction, as well as the total purchase price.
                                      16          154.   An Exhibit to the Purchase Agreement contained a blank space for the
                                      17   Vehicle Identification Numbers (“VINs”) for the MSGs or stated that “VIN for each
                                      18   Generator [MSG] to be Supplied at Delivery.”
                                      19          155.   In exchange for the specified payment, DC Solar Solutions agreed to deliver
                                      20   the MSGs by a certain date or dates and warranted “to Buyer that all Equipment shall be in
                                      21   good working order in conformity with the Specifications for a period” of five or ten years.
                                      22          156.   The delivery dates for tranches of MSGs specified in the Purchase
                                      23   Agreements were occasionally scheduled in stages.
                                      24          157.   Likewise, the Purchase Agreements dictated that payments would be due to
                                      25   DC Solar Solutions in stages according to a schedule in part dictated by capital contributions
                                      26   being made by the Purchasing Member under the terms of the LLC Agreement.
                                      27          158.   Those capital contributions were contingent on Purchasers receiving
                                      28   confirmation that the Generators were “Placed in Service” as evidenced by an “IE

                                                                                        18                                COMPLAINT

                                                                                                                                       108
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  24223
                                                                                                      110110
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 23 of 55

                                       1   [Independent Engineer] Certificate.”
                                       2           159.     Purchasing Members generally contributed about thirty percent (30%) of the
                                       3   purchase price in cash and financed the balance pursuant to a Promissory Note or Notes
                                       4   executed by the Fund in favor of DC Solar Solutions.
                                       5           160.     The Promissory Note was an exhibit to the Purchase Agreement.
                                       6           161.     The physical location of all of The Promissory Notes is currently under
                                       7   investigation.
                                       8           162.     DC Solar told Purchasers, and arranged for a tax opinion letter from Nixon
                                       9   confirming, that the MSGs qualified for the “Energy Credit” under Internal Revenue Code
                                      10   § 48.
                                      11           163.     IRS Code § 48 allows for a thirty percent tax credit for certain energy-related
Snell & Wilmer




                                      12   investments (hereafter, the “Tax Credit” or the “Credit”).
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                                   164.     Thus, Purchasing Members expected to be able to take a Tax Credit for
                   Suite 510




                                      13
                    L.L.P.




                                      14   roughly the same amount as their cash contribution to the Fund.
                                      15           165.     Under the Fund Contracts, the MSG business was left entirely to DC Solar.
                                      16           166.     At the same time the Funds executed the Purchase Agreements with DC Solar
                                      17   Solutions, the Funds also executed Equipment Leases with DC Solar Distribution for at
                                      18   least the first batch of MSGs being purchased.
                                      19           167.     Depending on the size of the transaction, as additional tranches of MSGs were
                                      20   manufactured, additional Equipment Leases were executed.
                                      21           168.     Under the Equipment Leases, the Funds leased their MSGs to DC Solar
                                      22   Distribution for terms ranging up to 120 months.
                                      23           169.     The Equipment Leases provided that DC Solar Distribution shall use “the
                                      24   Solar Equipment in a careful and proper manner” and “shall comply with all laws,
                                      25   regulations and ordinances.”
                                      26           170.     Moreover, the Equipment Leases stated that DC Solar Distribution shall be
                                      27   “solely responsible for the maintenance and repair of the Solar Equipment” and “shall
                                      28   ensure the Solar Equipment is operational and capable of producing solar energy at all

                                                                                          19                               COMPLAINT

                                                                                                                                         109
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  25223
                                                                                                      111111
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 24 of 55

                                       1   times.”
                                       2            171.   The Equipment Leases required DC Solar Distribution to “obtain, maintain
                                       3   and keep” insurance coverage on the MSGs in the amount of the replacement cost as well
                                       4   as “liability insurance.”
                                       5            172.   In addition, the Equipment Leases required DC Solar Distribution to
                                       6   “promptly pay when due, all license fees, registration fees, sales taxes, use and property
                                       7   taxes, assessments, charges and other taxes” imposed upon the MSGs.
                                       8            173.   The Equipment Leases further provided for a set amount of “Base Rent” to
                                       9   be paid to the Fund in advance in monthly installments for the term of the lease as well as
                                      10   payment to the Fund of “Additional Rent” or “Variable Rent” to the extent DC Solar
                                      11   Distribution received revenue from subleasing the MSGs in excess of a certain amount.
Snell & Wilmer




                                      12            174.   The amount of additional or variable rent due to the Fund varied depending
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           on the deal and the calculation was specified in the Equipment Lease.
                   Suite 510




                                      13
                    L.L.P.




                                      14            175.   The Fund Contracts were structured such that there was a flow of money
                                      15   between the Funds and DC Solar, all of which, in a legitimate business model, would have
                                      16   been contingent on the MSGs generating significant sub-lease revenue from legitimate end-
                                      17   users.
                                      18            176.   DC Solar Distribution owed monthly lease payments to the Funds purportedly
                                      19   to be paid with the sub-lease revenue it received from third-party customers.
                                      20            177.   The Funds would then use the lease payments they received from DC Solar
                                      21   Distribution under the terms of the Equipment Leases to make monthly payments due to
                                      22   DC Solar Solutions under the terms of the Promissory Notes.
                                      23            178.   Purchasers expected several benefits under the arrangement, including the
                                      24   30% Tax Credit and the ability to claim significant depreciation on the MSGs.
                                      25            179.   In addition, Purchasers were entitled to receive some cash distributions from
                                      26   the Funds.
                                      27            180.   In general, the LLC Agreements stated that “Distributable Cash,” defined as
                                      28   the amount of cash from lease revenue remaining after loan payments and operating

                                                                                         20                             COMPLAINT

                                                                                                                                      110
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  26223
                                                                                                      112112
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 25 of 55

                                       1   expenses, would be paid out to Purchasers on an annual basis.
                                       2          181.   Specifically, Purchasers expected to, and promised by DC Solar and other
                                       3   Defendants that they would, profit from the Fund Contracts due to Tax Credits, depreciation
                                       4   on the MSGs, lease payments, and ownership of the MSGs.
                                       5          182.   Purchasers thus played an entirely passive role under the DC designed
                                       6   structure.
                                       7          183.   The success of the venture, and thus the profits to Purchasers and DC Solar,
                                       8   turned entirely on the efforts of DC Solar to make, maintain, market, and lease the MSGs.
                                       9          184.   DC Solar marketed itself as having extensive experience and capabilities in
                                      10   the renewable energy field and in executing successful transactions for purchasers.
                                      11          185.   For example, pitch-books for Purchasers, which were prepared by, among
Snell & Wilmer




                                      12   others, Hacker, Bermudez and CohnReznick, and other brokers working on behalf of DC
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           Solar using information provided by DC Solar, emphasized that DC Solar had thousands of
                   Suite 510




                                      13
                    L.L.P.




                                      14   MSGs deployed and manufacturing capabilities of 900 MSGs per month.
                                      15          186.   These brokers and other parties highlighted that DC Solar had closed many
                                      16   prior funds with “headline” or “notable” Purchasing Members, including funds with fair
                                      17   market values near or over $100 million, and that the “performance of each of the funds
                                      18   remains in good standing.”
                                      19          187.   In addition, the materials claimed DC Solar had “customer relationships with
                                      20   leading companies in the telecommunications, entertainment and construction industries”
                                      21   and provided case studies of the established leasing arrangements with many of those
                                      22   customers.
                                      23          188.   Finally, certain of the pitch-books provided a “Summary of Investor Returns”
                                      24   with estimated internal rates of return ranging from 40 to as high as 50 percent.
                                      25          189.   One such lease touted, was a lease with Ahern Rentals, which purchasers were
                                      26   not told was backstopped by an agreement from DC Solar Solutions in favor of Ahern.
                                      27          190.   For example, in an email dated July 11, 2018 from Bermudez to Karmann,
                                      28   Hacker and Carpoff, an attached lease schedule claims a 94.31% MSG “utilization rate”,

                                                                                       21                               COMPLAINT

                                                                                                                                    111
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  27223
                                                                                                      113113
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 26 of 55

                                       1   with 12,164 units allegedly being subleased as of December 31, 2017 out of 12,898 Fund-
                                       2   owned MSGs.
                                       3          191.   By design, Purchasers never physically took possession of the MSGs that they
                                       4   purchased because the MSGs were leased to DC Solar Distribution upon purportedly being
                                       5   placed in service.
                                       6          192.   Pursuant to the terms of the Purchase Agreements and LLC Agreements,
                                       7   Purchasers made payments to DC Solar Solutions for the MSGs in installments after
                                       8   receiving proof that the MSGs had been placed in service as evidenced by the delivery of
                                       9   the “IE Certificate.”
                                      10          193.   The LLC Agreements defined “IE Certificate” as “a certificate to be issued
                                      11   by the Independent Engineer” with respect to the MSGs “upon achievement of Placement
Snell & Wilmer




                                      12   in Service.” Beginning in 2014, the LLC Agreements further stated that “‘Independent
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           Engineer’ means “Joseph Bayliss of Bayliss Innovative Services.”
                   Suite 510




                                      13
                    L.L.P.




                                      14          194.   Jeff Carpoff arranged for Bayliss and his firm to serve as the “Independent
                                      15   Engineer.”
                                      16          195.   The Bayliss arrangement deceived Purchasers, because Bayliss was neither
                                      17   independent nor an engineer.
                                      18          196.   While Bayliss holds general contractor and electrical licenses from the State
                                      19   of California, he was never a licensed engineer.
                                      20          197.   Bayliss has known Jeff Carpoff and Paulette Carpoff since high school.
                                      21          198.   In fact, the Company and Jeff Carpoff hired Bayliss to perform various
                                      22   projects for DC Solar and other businesses owned by Jeff Carpoff.
                                      23          199.   DC Solar purported to sell more than 18,400 MSGs from its inception.
                                      24          200.   Bayliss executed IE Certificates, titled “IE Commissioning Reports,” for
                                      25   nearly all of the sold MSGs from 2014 through 2018.
                                      26          201.   In thousands of instances, Bayliss admittedly signed IE Commissioning
                                      27   Reports for MSGs without inspecting them, and without any basis for making the
                                      28   representations in the IE Certificates.

                                                                                       22                             COMPLAINT

                                                                                                                                    112
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  28223
                                                                                                      114114
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 27 of 55

                                       1          202.    Further, Purchasers routinely requested financial statements from DC Solar
                                       2   Distribution and DC Solar Solutions before purchasing MSGs.
                                       3          203.    In response, DC Solar and Defendants often provided Purchasers with
                                       4   putative financial statements.
                                       5          204.    Roach issued “Accountants’ Compilation Reports” for DC Solar Distribution
                                       6   and DC Solar Solutions covering various periods between 2011 through July 2018.
                                       7          205.    Roach signed these reports on the letterhead of his firm, Ronald J. Roach
                                       8   Accountancy Corporation.
                                       9          206.    The financial statements accompanying Roach’s compilation reports included
                                      10   a statement of income in each.
                                      11          207.    Roach prepared these reports at the direction of the Carpoffs and provided
Snell & Wilmer




                                      12   them to Lauer, despite knowing of the circular flow of funds between DC Solar Solutions
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           and DC Solar Distribution.
                   Suite 510




                                      13
                    L.L.P.




                                      14          F. General Background - Defendants Causing or Contributing to Plaintiff’s
                                      15                                                   Injuries
                                      16          208.    On information and belief, Wilde knew or should have known of the financial failure
                                      17   of the sublease program and the lack of existence or continued production of MSGs. On information
                                      18   and belief, Wilde assisted in presenting false or misleading information to Plaintiff and others or
                                      19   concealing information from Plaintiff and others.
                                      20          209.    On information and belief, Guidry knew or should have known of the financial
                                      21   failure of the sublease program and the lack of existence or continued production of MSGs. On
                                      22   information and belief, Guidry assisted in presenting false or misleading information to Plaintiff
                                      23   and others or concealing information from Plaintiff and others.
                                      24          210.    On information and belief, Moore knew of the substantial problems with DC Solar
                                      25   and acted as a party who collected money for the Carpoffs from difficult individuals.
                                      26          211.    Montage, Wentz, Yee, on information and belief, performed tax work, oversaw or
                                      27   participated in an audit or financial compilation, and acted directly and helped DC Solar create
                                      28   international companies built to keep assets and income outside of the United States.

                                                                                          23                                 COMPLAINT

                                                                                                                                            113
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  29223
                                                                                                      115115
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 28 of 55

                                       1          212.    Upon information and belief, among other work, Montage audits of DC Solar, the
                                       2   Funds, and/or the Carpoffs were performed by Montage through its employees and the employees
                                       3   of Radius.
                                       4          213.    Upon information and belief, Montage, Wentz, Yee, Radius, and Vistra knew or
                                       5   should have known of misrepresentations regarding the financial status of DC Solar.
                                       6          214.    Montage, Wentz, Yee, Radius, and Vistra, however, performed tax work and audits
                                       7   or financial compilations for DC Solar and provided that information to Plaintiff and others with
                                       8   knowledge that it would be relied upon.
                                       9           215. At some point Yee, Wentz, and Montage learned of significant transfers of
                                      10   cash from DC Solar Solutions to DC Solar Distribution in multiple years as part of
                                      11   preparation of certified audited financial statements for DC Solar Solutions.
Snell & Wilmer




                                      12          216.    Despite this information, the certified audited financial statements for DC
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           Solar Solutions did not reflect or accurately reflect these payments
                   Suite 510




                                      13
                    L.L.P.




                                      14          217.    On information and belief, Ahern assisted DC Solar in the creation of an invalid or
                                      15   improper sublease that it knew or should have known would be presented to Plaintiff and others to
                                      16   rely upon.
                                      17          218.    Upon information and belief, Carson only made approximately 6,800 trailers, but
                                      18   gave DC Solar over 17,000 VINs used by DC Solar to falsify commissioning reports with non-
                                      19   existent MSGs and corresponding VINs, even after it became clear that DC Solar had no intent to
                                      20   acquire more trailers.
                                      21          219.    On information and belief, Carson knew or should have known that DC Solar was
                                      22   providing the VINs to Plaintiff and other purchasers and that Plaintiff and other purchasers would
                                      23   rely upon the existence of a VIN to establish the existence of an MSG.
                                      24          220.    On information and belief, Endres knew or should have known that DC Solar was
                                      25   providing the VINs to Plaintiff and other purchasers and that Plaintiff and other purchasers would
                                      26   rely upon the existence of a VIN to establish the existence of an MSG.
                                      27          221.    On information and belief, Alvarez & Marsal did not have a sufficient basis upon
                                      28   which to base its appraisals, the appraisals were negligently prepared, the appraisals were not

                                                                                          24                                COMPLAINT

                                                                                                                                           114
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  30223
                                                                                                      116116
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 29 of 55

                                       1   properly adjusted over time, and the appraisals did not meet professional and industry standards.
                                       2          222.    Halo, despite being the managing member of multiple funds, took no actions to
                                       3   protect or preserve the MSGs owned by the funds it was managing.
                                       4          223.    Plaintiff, at the request of members in Halo-managed funds and at its own expense,
                                       5   assisted by advancing money or services relating to the Halo-managed funds and Halo has not
                                       6   provided compensation to Plaintiff for those efforts.
                                       7                    G. The First Sign of Trouble (the Audits) & the Appraisals
                                       8          224.    Starting as early as 2013, red flags began emerging in the DC operations.
                                       9          225.    DC Solar, the Funds and the Carpoffs individually became subject of audits
                                      10   by the Internal Revenue Service (“IRS”) and the State of California regarding income, sales
                                      11   and franchise taxes.
Snell & Wilmer




                                      12          226.    As of 2018, the potential tax liability with respect to these audits was hundreds
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           of millions of dollars.
                   Suite 510




                                      13
                    L.L.P.




                                      14          227.    Specifically, the IRS questioned the $150,000 valuation of each MSG.
                                      15          228.    The IRS also determined that DC Solar was not properly recognizing the
                                      16   income from the “sale” of the MSGs.
                                      17          229.    On information and belief, DC Solar only paid taxes on the 30% down
                                      18   payment received from the Purchasers for the MSGs. DC Solar did not pay taxes on the
                                      19   Promissory Notes held by DC Solar Solutions.
                                      20          230.    Over the course of the IRS audit, the aggregate amount owed on the notes
                                      21   held by DC Solar Solutions was approximately $1.2 billion, resulting in a significant tax
                                      22   liability to the Carpoffs.
                                      23          231.    DC Solar was taxable as an S corporation for federal income tax purposes.
                                      24          232.    This corporation status meant that DC Solar did not pay federal income tax,
                                      25   but rather passed through the taxable income to the Carpoffs as shareholders of DC Solar.
                                      26          233.    The IRS was contesting the $150,000 valuation of the MSGs in at least 5
                                      27   separate federal income tax audits of tax equity funds.
                                      28          234.    To support the $150,000 claimed value of each MSG, DC Solar retained

                                                                                           25                                COMPLAINT

                                                                                                                                           115
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  31223
                                                                                                      117117
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 30 of 55

                                       1   Alvarez & Marsal, a well-known valuation firm, to create appraisals (collectively, the
                                       2   “Appraisals”) validating that price.
                                       3          235.   The brokers sometimes worked directly with Alvarez & Marsal in producing
                                       4   a final draft of the Appraisals.
                                       5          236.   The Appraisals were based on the Carpoffs’ and other Core Defendants’
                                       6   representations of a 95% sublease utilization rate, average rents of $700-$1000/month per
                                       7   unit, and projections for additional long term leases and related future cash flow.
                                       8          237.   Alvarez and Marsal continued to use its initial valuation of the MSGs for
                                       9   years, even after learning of the IRS fund audits, without following up on the accuracy of
                                      10   the Appraisals or the underlying data that purportedly supported the Appraisals.
                                      11          238.   Upon information and belief, Alvarez and Marsal never changed its $150,000
Snell & Wilmer




                                      12   initial valuation to include new information about actual leases, nor did Alvarez and Marsal
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           investigate to determine if the valuation should change for a number of reasons including
                   Suite 510




                                      13
                    L.L.P.




                                      14   obsolete technology.
                                      15          239.   Upon information and belief, Alvarez and Marsal never received actual copies
                                      16   of the subleases, and did not investigate if alleged lease revenue was legitimate or even
                                      17   existed.
                                      18          240.   Upon information and belief, Alvarez & Marsal never questioned the
                                      19   exorbitant markup of the MSGs over the cost of production.
                                      20          241.   Upon information and belief, DC Solar initially retained Montage, Wentz and
                                      21   Yee in 2013, to respond to the California sales tax audits.
                                      22          242.   Wentz and Yee learned about the structure whereby DC Distribution was
                                      23   supposed to sublease the MSGs as part of representing DC Solar with respect to the
                                      24   California sales tax audit.
                                      25          243.   Wentz and Yee sent information regarding the subleases to the State of
                                      26   California demonstrating small amounts of sublease revenue.
                                      27          244.   Wentz and Yee expanded their workload beyond the California sales tax
                                      28   audits by providing certified audited financial statements for DC Solar, Solarmore, and

                                                                                        26                              COMPLAINT

                                                                                                                                     116
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  32223
                                                                                                      118118
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 31 of 55

                                       1   certain Funds.
                                       2          245.   Montage was later acquired by Radius in 2016, and Radius in turn acquired
                                       3   by Vistra.
                                       4          246.   Plaintiff also retained Wentz and Montage to complete tax returns and
                                       5   certified audited financial statements.
                                       6          247.      Upon information and belief, in cooperation with the Carpoffs and DC Solar,
                                       7   Montage, and Wentz concealed requested financial and tax documents and information
                                       8   from Solarmore.
                                       9          248.   Some key employees of Montage or “Legacy Montage” worked for both
                                      10   Montage, and Radius or Vistra, simultaneously during 2016 through 2018.
                                      11                                    H. The Phaseout of Solarmore
Snell & Wilmer




                                      12          249.   Halo was created in 2016, with Roselli as the managing member.
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                                  250.   Upon information and belief, Roselli was or is a personal friend of the
                   Suite 510




                                      13
                    L.L.P.




                                      14   Carpoffs, and had a previous business relationship with Paulette Carpoff.
                                      15          251.   During 2016 and 2017, as some of the Funds began nearing the five-year
                                      16   equity flip benchmark, Jansen, believing Plaintiff would soon be the majority member of
                                      17   those Funds and effective owner of thousands of MSGs, began asking questions of the
                                      18   Carpoffs and other Core Defendants regarding potential tax implications and other
                                      19   ownership-related effects on Plaintiff.
                                      20          252.   Further, Jansen attempted to ask Kershaw questions on behalf of Plaintiff
                                      21   about the Plaintiff’s bank account at Heritage Bank. Upon information and belief, Kershaw
                                      22   acting in her capacity as an officer of Heritage Bank would not give the requested
                                      23   information to Jansen, and would instead email the Carpoffs informing them of Jansen’s
                                      24   contact and questions even though Jansen was the primary account signer and party.
                                      25          253.   Soon thereafter, in or about 2017, rather than reveal the ongoing Schemes to
                                      26   Jansen and Plaintiff, the Carpoffs stopped using Solarmore and instead used Halo as the
                                      27   manager of funds created from that point forward from late 2016 through 2018.
                                      28

                                                                                        27                              COMPLAINT

                                                                                                                                     117
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  33223
                                                                                                      119119
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 32 of 55

                                       1                                   I. The Collapse of DC Solar
                                       2          254.   As early as mid-2016, the Core Defendants knew that the sublease program
                                       3   was a huge financial failure, and that DC Solar had a massive cash shortfall from lack of
                                       4   real lease revenues.
                                       5          255.   Lease revenue from end-users of the MSGs was critical to the legitimacy of
                                       6   the businesses of DC Solar Solutions and DC Solar Distribution because it was supposed to
                                       7   provide the money that DC Solar Distribution needed to make lease payments to the Funds,
                                       8   and those payments were critical to the Funds’ ability to make payments on the Promissory
                                       9   Notes to DC Solar Solutions.
                                      10          256.   Although DC Solar Distribution purported to be earning millions each month
                                      11   in lease revenue from end-users of the MSGs, bank records demonstrate that DC Solar
Snell & Wilmer




                                      12   Distribution generated minimal lease revenue from subleases to end-users.
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                                  257.   To further illustrate, in an email dated July 18, 2016 from Roach to Carpoff
                   Suite 510




                                      13
                    L.L.P.




                                      14   and Lauer, Roach attached five spreadsheets summarizing the sublease activity for DC Solar
                                      15   from 2012-2015.
                                      16          258.   The 2016 Roach documents reflect sublease revenue of $138,138.64 for 2012,
                                      17   $278,179.74 for 2013, $321,717.06 for 2014, and $1,419,570.80 for 2015, for a grand total
                                      18   over four years of $2,157,606.24.
                                      19          259.   The actual cash requirement from the subleases of the MSGs under DC
                                      20   Solar’s lease program over that four-year time period – stated as a percentage of promised
                                      21   utilization-- was a dismal 3.78%.
                                      22          260.   This failure of the sublease program also endangered the touted tax benefits
                                      23   of the Defendants’ MSG transactions.
                                      24          261.   This failure of the sublease program also invalidated the stated appraisal value
                                      25   of MSGs for ongoing or new purchaser transactions.
                                      26          262.   In an email dated March 2, 2017 from Roach to Lauer and various individuals
                                      27   at Nixon and major accounting firms Hays, Foley and Deloitte, provides the same
                                      28   information for 2013-2015 , adding the $2,071,664.85 in sublease revenues for 2016.

                                                                                        28                               COMPLAINT

                                                                                                                                       118
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  34223
                                                                                                      120120
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 33 of 55

                                       1          263.   Roach also stated in his 2017 email that following amounts were paid by DC
                                       2   Solar Solutions to DC Solar Distribution on a “re-rent” basis for each of those years:
                                       3                 2013 - $1,595,370
                                       4                 2014 - $13,975,770
                                       5                 2015 - $30,562,024
                                       6                 2016 - $61,545,737
                                       7          264.   On information and belief, the Core Defendants knew about the foregoing.
                                       8          265.   Over the time periods, the Core Defendants began taking drastic measures to
                                       9   conceal the financial failure of the MSG transactions, and to conceal the fact that the Core
                                      10   Defendants had masked that financial failure by moving money received from new
                                      11   purchasers from DC Solutions to DC Distribution, and falsely representing the new
Snell & Wilmer




                                      12   purchasers’ money as revenues received from subleases of MSGs to end users.
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                                  266.   The Core Defendants created fake subleases, circular subleases, and dummy
                   Suite 510




                                      13
                    L.L.P.




                                      14   third party sublessors to make the sublease program appear legitimate.
                                      15          267.   To hide the fact that insufficient money was coming in from subleases, the
                                      16   Core Defendants circulated new monies received by DC Solar Solutions to DC Solar
                                      17   Distribution, which then paid the Funds with alleged “lease revenues.” Most of the supposed
                                      18   lease revenue paid to the Funds were actually recirculations of later down payments paid
                                      19   by later Purchasing Members under later Purchase Agreements.
                                      20          268.   For example, during the period of January 2013 through December 2018, a
                                      21   total of about $409,930,000 was deposited to DC Solar Distribution’s bank accounts.
                                      22          269.   Of that amount, approximately $383,347,000 -- or 93.5% -- consisted of
                                      23   transfers from DC Solar Solutions’ bank accounts. And, another $8,268,000 -- or 2.0% --
                                      24   consisted of transfers from the bank accounts of different Funds.
                                      25          270.   At most, $18,316,000 -- or 4.5% -- of the deposits to DC Solar Distribution’s
                                      26   bank accounts during the time period represented sub-lease payments from end-users of the
                                      27   MSGs.
                                      28          271.   Yet, during this period, DC Solar Distribution paid about $347,800,000 to

                                                                                       29                              COMPLAINT

                                                                                                                                     119
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  35223
                                                                                                      121121
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 34 of 55

                                       1   various Funds and purchasers, mostly of which took the form of circular “lease payments”
                                       2   owed by DC Solar Distribution under the operative Equipment Leases.
                                       3           272.   Accordingly, DC Solar Distribution’s payments were not funded by
                                       4   legitimate sub-lease revenue, but instead by investor funds cycled through DC Solar
                                       5   Solutions.
                                       6           273.   Wentz and Yee were informed of these large payments prior to the completion
                                       7   of the 2017 certified audited financial statements, and on information and belief as early as
                                       8   2016.
                                       9           274.   The Core Defendants prepared and disseminated false financial statements
                                      10   and compilation reports falsely stating that DC Solar Distribution generated hundreds of
                                      11   millions of dollars of revenues in “Rental Income.”
Snell & Wilmer




                                      12           275.   In reality, the overwhelming majority of purported “Rental Income” consisted
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           of intercompany transfers from DC Solar Solutions.
                   Suite 510




                                      13
                    L.L.P.




                                      14           276.   The cash infusions of hundreds of millions of dollars from DC Solar Solutions
                                      15   to DC Solar Distribution were hidden in the “Direct Costs” category of DC Solar Solutions’
                                      16   income statements.
                                      17           277.   These putative Direct Cost payments had nothing to do with the costs of
                                      18   manufacturing the MSGs.
                                      19           278.   The Core Defendants began storing and stashing away MSGs they failed to
                                      20   sublease, which were stacking up, in some cases incurring significant storage costs.
                                      21           279.   The Core Defendants started giving away MSGs for free through DC Solar
                                      22   Freedom and essentially using the MSGs as advertising props in an attempt to attract
                                      23   attention.
                                      24           280.   Starting in 2016, DC Solar stopped buying and manufacturing MSGs
                                      25   altogether.
                                      26           281.   In fact, DC Solar never manufactured or received delivery of the majority of
                                      27   the MSGs that it “sold” to Purchasers.
                                      28           282.   Recent intensive efforts by Plaintiff to locate those MSGs turned up roughly

                                                                                        30                              COMPLAINT

                                                                                                                                      120
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  36223
                                                                                                      122122
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 35 of 55

                                       1   6,800 MSGs of the approximately 18,400 MSGs for which Bayliss provided IE
                                       2   Commissioning Reports.
                                       3          283.    The Core Defendants began putting new VIN numbers on old units, or
                                       4   misrepresenting VINs in order to conceal the fact that new MSGs were not being produced
                                       5   and older units were never subleased.
                                       6          284.    The VIN subterfuge was made possible by Carson’s willingness to provide
                                       7   DC Solar Solutions with reserved VINs before building the associated trailers reserved for
                                       8   the VINs.
                                       9          285.    At times, DC Solar Solutions sold the same MSG to different Purchasers, but
                                      10   with changed VINs, with no awareness of either the old or new Purchasers.
                                      11          286.    The Core Defendants made false representations to Plaintiff and others
Snell & Wilmer




                                      12   regarding production of MSGs, alleged lease revenue, and other lies or misrepresentations
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           as part of the Schemes.
                   Suite 510




                                      13
                    L.L.P.




                                      14          287.    The Core Defendants knew when making those representations that MSGs
                                      15   were no longer being produced or received, and that the Core Defendants did not intend to
                                      16   produce or receive MSGs on any timely basis.
                                      17          288.    The Core Defendants directed each other, and others including but not limited
                                      18   to the other Defendants, to lie and present false information to perpetuate and/or cover up
                                      19   the Schemes.
                                      20          289.    On or about 2017, SolarSense, a solar energy provider, began negotiations to
                                      21   buy MSGs from DC Solar Solutions.
                                      22          290.    However, rather than taking a promissory note carryback note to DC Solar
                                      23   Solutions (as was the usual structure for most of the DC Solar tax equity transactions)-
                                      24   SolarSense attempted to arrange financing for its purchase of MSGs through KeyBank.
                                      25          291.    During KeyBank’s due diligence review for the deal, KeyBank requested,
                                      26   among other things, a list of end-user/sublessees, pro forma financials for DC Solar
                                      27   Distribution, samples of subleases, and DC Solar Distribution’s’ QuickBooks.
                                      28          292.    On information and belief, KeyBank began to suspect, after closing, the

                                                                                        31                             COMPLAINT

                                                                                                                                     121
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  37223
                                                                                                      123123
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 36 of 55

                                       1   claimed subleases and claimed sublease revenues were false.
                                       2          293.    On information and believe, Carpoff and Lauer instructed Jano, a former
                                       3   employee of DC Solar who was putting together the SolarSense/Keybank deal, to shut down
                                       4   the deal, knowing that the KeyBank’s requested data would reveal the fraud underlying the
                                       5   Schemes.
                                       6          294.    On information and belief, SolarSense and KeyBank closed their transaction
                                       7   in reliance on Defendants representation and promise of information to be delivered.
                                       8          295.    Jano subsequently resigned his employment with DC Solar, and sent a letter
                                       9   through counsel to the Carpoffs in February 2018, providing specific details about the
                                      10   Schemes, and threatening to expose the Schemes if he was not paid $5 million.
                                      11          296.    In December 2018, law enforcement agents executed federal search warrants
Snell & Wilmer




                                      12   at DC Solar Solutions’ headquarters and other locations, seizing over $60 million in assets.
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                                  297.    On January 30, 2019, the first DC Solar company filed for Chapter 11
                   Suite 510




                                      13
                    L.L.P.




                                      14   bankruptcy.
                                      15          298.    Thereafter, additional DC Solar-affiliated companies filed for Chapter 11
                                      16   bankruptcy.
                                      17          299.    Subsequently all of the DC Solar Chapter 11 cases were converted to Chapter
                                      18   7 Liquidation Bankruptcy cases.
                                      19                            J. The Carpoffs’ Preparations for Escape
                                      20          300.    In or about 2018, the Carpoffs in various ways began withdrawing large
                                      21   amounts of money from DC Solar, including a payment of $20,000,000 to Panda.
                                      22          301.    In May 2018, the Carpoffs held extensive discussion with Strauss about
                                      23   obtaining citizenship in Nevis Island, a well-known asset shelter in the Caribbean.
                                      24          302.    Later in August 2018 the Carpoffs bought property in Nevis for $5 million
                                      25   and used DC Solar International, a Nevis affiliation to undertake a sale leaseback
                                      26   transaction.
                                      27          303.    Upon information and belief, The Carpoffs also started making plans to flee
                                      28   the United States if necessary which included an expedited renewal of their passports.

                                                                                       32                              COMPLAINT

                                                                                                                                     122
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  38223
                                                                                                      124124
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 37 of 55

                                       1          304.   Strauss, the Strauss Firm, Muraco, and Praeditis, assisted in the creation of
                                       2   the Nevis transactions and had already created offshore accounts, offshore trusts, and
                                       3   captive insurance companies such as Bayshore and Champion Select that permitted the
                                       4   Carpoffs to hide assets outside of the United States. [expand]
                                       5          305.   For example, the Carpoffs created a Cook Islands trust in 2016, utilizing
                                       6   Wentz, the Strauss Firm, Muraco, and Praeditis.
                                       7          306.   As part of this scheme, the Carpoffs were to execute a statement of solvency,
                                       8   which was at that time, completely untrue.
                                       9          307.   The Carpoffs also instructed Wentz to create Panda, a company located in
                                      10   Hong Kong, to purportedly purchase batteries for the MSGs, which allowed for funds to be
                                      11   effectively parked outside of the United States.
Snell & Wilmer




                                      12          308.   Upon information and belief, the over $20,000,000 that had been placed in
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           the Panda account was removed by the Asset Hiders.
                   Suite 510




                                      13
                    L.L.P.




                                      14          309.   With assistance from Lauer, the Strauss Firm, Strauss and Hacker, among
                                      15   others, the Carpoffs also created DC Solar International a Nevis Island International
                                      16   Corporation in Nevis, a notorious off-shore tax shelter, to be party to certain sale-leaseback
                                      17   deals rather than DC Solar Solutions, in order to keep income out of the United States.
                                      18          310.   During the time that the Carpoffs were setting up offshore, in August 2018,
                                      19   Jeffrey Carpoff pushed to collect more funds and involved Moore in a collection matter
                                      20   where the debtor feared for his family’s safety.
                                      21                 V.    ALLEGATIONS RELATED TO RICO VIOLATIONS
                                      22          311.   Plaintiff is a “person” within the meaning of 18 U.S.C. § 1964(c).
                                      23          312.   At all times relevant hereto, Plaintiff and the Defendants were and are
                                      24   “persons” within the meaning of 18 U.S.C. §1961(3).
                                      25                                            A. Enterprise
                                      26          313.   An enterprise need not be a specific legal entity but rather may be “any union
                                      27   or group of individuals associated in fact although not a legal entity.”
                                      28          314.   In this case, the enterprise (“RICO”) for RICO purposes consists of DC Solar

                                                                                        33                               COMPLAINT

                                                                                                                                       123
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  39223
                                                                                                      125125
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 38 of 55

                                       1   Companies.
                                       2          315.   These Defendants individually and through their agents represented to their
                                       3   victims that these purchases qualified for an “Energy Credit” under Internal Revenue Code
                                       4   § 48, as well as depreciation.
                                       5          316.   However, on information and belief, these purchases’ qualifications for the
                                       6   Tax Credit under the Code is unclear, as most of the MSGs purportedly sold to Purchasers
                                       7   were never manufactured or delivered to the RICO Enterprise.
                                       8          317.   The Schemes were devised solely to generate significant funds thereafter
                                       9   consumed by the Core Defendants for personal purposes or to pay off earlier Purchasers,
                                      10   rather than to manufacture or pay for delivery of the promised new MSGs.
                                      11          318.   Because the terms of the Fund Contracts tied the fortunes of the Purchasers
Snell & Wilmer




                                      12   to those of DC Solar and its ability to manufacture and then sub-lease them at optimal or
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           above true-market value rates, Purchasers were investing in a common enterprise.
                   Suite 510




                                      13
                    L.L.P.




                                      14          319.   Because the terms of the Fund Contracts made Purchasers entirely dependent
                                      15   on DC Solar to manufacture, operate and maintain their purported MSGs, DC Solar and the
                                      16   Core Defendants’ efforts were essential to the failure or success of the common enterprise.
                                      17          320.   Purchasers also had an expectation of profits from the tax benefits and
                                      18   payment stream to be generated from the enterprise.
                                      19          321.   The Core Defendants engaged in a common plan, transaction and course of
                                      20   conduct described herein in connection with the solicitation of purchases of MSGs, pursuant
                                      21   to which they knowingly or recklessly engaged in acts, transactions, practices and a course
                                      22   of business that operated as a fraud upon the Plaintiff, the primary purpose and effect of
                                      23   which was to generate significant income by fraudulently selling and subleasing MSGs.
                                      24          322.   The Core Defendants sought out large, prominent Purchasing Members with
                                      25   high visibility and high taxable income in order to carry out the Schemes.
                                      26          323.   While the Core Defendants participated in the RICO Enterprise and were a
                                      27   part of it, the Core Defendants also had an existence separate and distinct from the
                                      28   Enterprise.

                                                                                       34                               COMPLAINT

                                                                                                                                    124
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  40223
                                                                                                      126126
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 39 of 55

                                       1          324.   The Core Defendants maintained an interest in and control of the RICO
                                       2   Enterprise and also conducted or participated in the conduct of the affairs of the Enterprise
                                       3   through a pattern of racketeering activity.
                                       4          325.   The Core Defendants’ control and participation in the RICO Enterprise were
                                       5   necessary for the successful operation of the Core Defendants’ Schemes.
                                       6          326.   The RICO Enterprise had an ascertainable structure separate and apart from
                                       7   the pattern of racketeering activity in which the Core Defendants engaged.
                                       8                              B. Operation of the RICO Enterprise
                                       9          327.   The Core Defendants perpetrated the Schemes described in detail above.
                                      10          328.   Each of the Core Defendants were vital to the implementation of the Schemes,
                                      11   played an important role in the RICO Enterprise, and either controlled the Enterprise or
Snell & Wilmer




                                      12   knowingly implemented the decisions of others in the Enterprise.
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                                  329.   The Core Defendants intended to commit wire and/or mail fraud in
                   Suite 510




                                      13
                    L.L.P.




                                      14   connection with the promotion and operation of the Schemes based on the significant
                                      15   evidence uncovered in this case.
                                      16          330.   The Core Defendants’ racketeering activity in creating, designing,
                                      17   establishing, promoting, and vouching for the Schemes involved numerous false and
                                      18   misleading misrepresentations and omissions that amount to a scheme or artifice to defraud.
                                      19          331.   Plaintiff relied on the Core Defendants’ representations in perpetrating the
                                      20   Schemes, and have been damaged by the Core Defendants’ actions.
                                      21                                         C. Predicate Acts
                                      22          332.   With respect to the activities alleged herein, the Core Defendants acted at all
                                      23   times with malice toward the Plaintiff, intending to engage in the conduct complained of
                                      24   for the benefit of Defendants and with knowledge that such conduct was unlawful.
                                      25          333.   The conduct of the Core Defendants was done with actionable wantonness
                                      26   and reckless disregard for the rights of Plaintiff, as well as the laws to which the Core
                                      27   Defendants are subject, the same amounting to actionable wantonness.
                                      28          334.   With respect to the activities alleged herein, each Core Defendant agreed to

                                                                                         35                             COMPLAINT

                                                                                                                                      125
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  41223
                                                                                                      127127
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 40 of 55

                                       1   the operation of the transaction or artifice to deprive Plaintiff of property interests.
                                       2          335.   In furtherance of these agreements, each Core Defendant also agreed to
                                       3   interfere with, obstruct, delay or affect interstate commerce by attempting to obtain and/or
                                       4   actually obtaining property interests to which the Core Defendants were not entitled.
                                       5          336.   With respect to the overt acts and activities alleged herein, each Core
                                       6   Defendant conspired with each other to violate 18 U.S.C. §1962(c), in violation of 18 U.S.C.
                                       7   §1962(d).
                                       8          337.   Each Core Defendant also agreed and conspired with each other Core
                                       9   Defendant to participate, directly or indirectly, in interfering with, obstructing, delaying or
                                      10   affecting commerce by attempting to obtain and/or actually obtaining property interests to
                                      11   which the Core Defendants were not entitled.
Snell & Wilmer




                                      12          338.   The numerous predicate acts of wire and/or mail fraud in addition to other
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           fraudulent acts, are part of separate fraudulent transactions by the Core Defendants designed
                   Suite 510




                                      13
                    L.L.P.




                                      14   to defraud the Plaintiff of money and property interests under false pretenses.
                                      15          339.   As a victim of these unlawful patterns of illegal activity, Plaintiff has and
                                      16   continues to suffer losses as a result of these activities. The acts which caused injuries to
                                      17   the Plaintiff were performed for financial gain.
                                      18          340.   In carrying out the overt acts and fraudulent transactions described above, the
                                      19   Core Defendants engaged in, inter alia, conduct in violation of federal laws, including 18
                                      20   U.S.C. §§1343-1346, and 18 U.S.C. §1961 et seq.
                                      21          341.   Section 1961(1) of RICO provides that “racketeering activity” means any act
                                      22   indictable under any of the following provisions of Title 18, United States Code: §1343
                                      23   (relating to wire fraud) and §1346 (relating to scheme or artifice to defraud).
                                      24                                  D. Violations of 18 U.S.C. § 1343
                                      25          342.   Plaintiff repeats, realleges and incorporates each and every prior factual
                                      26   allegation in the preceding paragraphs as if fully set forth herein.
                                      27          343.   For the purpose of executing and/or attempting to execute their transaction to
                                      28   defraud and to obtain money by means of false pretenses, representations or promises, the

                                                                                         36                                COMPLAINT

                                                                                                                                        126
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  42223
                                                                                                      128128
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 41 of 55

                                       1   Core Defendants, in violation of 18 U.S.C. § 1343, transmitted and received by wire and/or
                                       2   mail matter and things therefrom including but not limited to contracts, instructions,
                                       3   correspondence, funds, and other interstate transmittals and transfers.
                                       4          344.   The Core Defendants’ violations of 18 U.S.C. § 1343 are subject to continuing
                                       5   investigation and revaluation.
                                       6          345.   However, the acts described supra, provide, by way of illustration but not
                                       7   limitation, representative examples of the Core Defendants’ 18 U.S.C. § 1343 violations.
                                       8          346.   Each of the documents, invoices, letters, emails, applications, and/or tax
                                       9   forms that the Core Defendants sent by wire and/or mail to Plaintiff served at least two roles
                                      10   in the RICO Enterprise.
                                      11          347.   First, these documents, standing alone, were fraudulent. The Core Defendants
Snell & Wilmer




                                      12   knew that the vast majority of MSGs allegedly being sold were not in existence or being
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           subleased.
                   Suite 510




                                      13
                    L.L.P.




                                      14          348.   Second, in addition to being fraudulent standing alone, these documents were
                                      15   used to advance the fraudulent Schemes that the Core Defendants perpetrated on Plaintiff.
                                      16          349.   In those matters and things sent or delivered by wire, through other interstate
                                      17   electronic media, and/or by mail the Core Defendants and their co-conspirators falsely and
                                      18   fraudulently misrepresented and fraudulently suppressed material facts from Plaintiff as
                                      19   described above, in violation of 18 U.S.C. § 1343.
                                      20          350.   The Core Defendants’ fraudulent statements and omissions include
                                      21   insufficient demand in the market for the MSGs, i.e., that the MSGs would all be leased and
                                      22   would retain sufficient value after five years to repay the Promissory Notes to DC Solar
                                      23   Solutions and return additional revenue to the relevant Fund.
                                      24          351.   The Core Defendants’ fraudulent statements and omissions include that DC
                                      25   Solar had subleased thousands of MSGs to legitimate third-party lessees for amounts that
                                      26   would support each MSG’s $150,000 valuation.
                                      27          352.   The Core Defendants’ fraudulent statements and omissions includes that DC
                                      28   Solar Solutions, or one of the other Core Defendants, had separate agreements with the

                                                                                        37                               COMPLAINT

                                                                                                                                       127
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  43223
                                                                                                      129129
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 42 of 55

                                       1   major sublessees which negated or paid the lease payments that DC Solar Distribution
                                       2   owed.
                                       3           353.   The Core Defendants’ fraudulent statements and omissions include that all
                                       4   MSGs sold had been built and were “placed in service” as of the closing date of each
                                       5   Purchase Agreement, or any subsequent dated provided therein.
                                       6           354.   The Core Defendants’ fraudulent statements and omissions include that
                                       7   Bayliss was an independent engineer who had viewed and tested all of the MSGs sold.
                                       8           355.   On information and belief, the predicate acts, including the predicate acts of
                                       9   wire fraud, are continuing.
                                      10           356.   The Core Defendants, on their own and as part of a common fraudulent
                                      11   scheme and conspiracy, defrauded Plaintiff as set out above.
Snell & Wilmer




                                      12           357.   The Core Defendants intentionally and knowingly made these material
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           misrepresentations and intentionally and knowingly suppressed material facts from
                   Suite 510




                                      13
                    L.L.P.




                                      14   Plaintiff, for the purpose of deceiving it and thereby obtaining financial gain.
                                      15           358.   The Core Defendants either knew or recklessly disregarded that the
                                      16   misrepresentations and omissions described above were material. Plaintiff was injured as a
                                      17   result of the misrepresentations.
                                      18           359.   The Core Defendants made continual use of wire transmissions, in addition
                                      19   to communications made outside the interstate wire systems, to effectuate their fraudulent
                                      20   Schemes. In addition to using in person, telephonic, and other means of communication to
                                      21   make fraudulent statements, the Core Defendants transmitted numerous specific fraudulent
                                      22   statements to Plaintiff through the mail, by fax, and/or by email.
                                      23           360.   The Core Defendants intentionally and knowingly made these material
                                      24   misrepresentations and intentionally and knowingly suppressed material facts from
                                      25   Plaintiff, for the purpose of deceiving it and thereby obtaining financial gain.
                                      26           361.   The Core Defendants either knew or recklessly disregarded that the
                                      27   misrepresentations and omissions described above were material. Plaintiff was injured as a
                                      28   result of the misrepresentations.

                                                                                        38                               COMPLAINT

                                                                                                                                      128
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  44223
                                                                                                      130130
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 43 of 55

                                       1          362.   As set forth above, there are numerous specific examples of the predicate acts
                                       2   of fraud, including wire fraud, committed by the Core Defendants pursuant to their
                                       3   transactions to defraud Plaintiff.
                                       4          363.   Plaintiff has therefore been injured in its business or property as a result of
                                       5   the Core Defendants’ overt acts and racketeering activities.
                                       6                                E. Pattern of Racketeering Activity
                                       7          364.   Plaintiff repeats, realleges and incorporates each and every prior factual
                                       8   allegation in the preceding paragraphs as if fully set forth herein.
                                       9          365.   As set forth above, the Core Defendants have engaged in a “pattern of
                                      10   racketeering activity,” as defined in §1961(5) of RICO by committing and/or conspiring to
                                      11   commit at least two such acts of racketeering activity, as described above, within the past
Snell & Wilmer




                                      12   ten years.
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                                  366.   Each such act of racketeering activity was related, had similar purposes,
                   Suite 510




                                      13
                    L.L.P.




                                      14   involved the same or similar participants and methods of commission, and had similar
                                      15   results impacting upon similar victims, including Plaintiff.
                                      16          367.   The multiple acts of racketeering activity committed and/or conspired to by
                                      17   Defendants, as described above, were related to each other and amount to and pose a threat
                                      18   of continued racketeering activity, and, therefore, constitute a “pattern of racketeering
                                      19   activity,” as defined in 18 U.S.C. §1961(5). Plaintiff alleges that the course of conduct
                                      20   engaged in by the Core Defendants constituted both “continuity” and “relatedness” of the
                                      21   racketeering activity, thereby constituting a pattern of racketeering activity, as that term is
                                      22   defined in 18 U.S.C. §1961(5).
                                      23          368.   Plaintiff can show the relatedness prong because the predicate acts have
                                      24   “similar purposes, results, participants, or methods of commission or are related to the
                                      25   affairs of the Enterprise.” All predicate acts had the same purpose of utilizing the Enterprise
                                      26   to misrepresent the nature of the transactions underlying the schemes so that the Core
                                      27   Defendants could defraud Plaintiff. Plaintiff alleges that the continuity of the pattern of
                                      28   racketeering activity is “closed-ended” inasmuch as a series of related predicate offenses

                                                                                         39                               COMPLAINT

                                                                                                                                        129
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  45223
                                                                                                      131131
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 44 of 55

                                       1   extended since at least 2011 (a substantial period of time).
                                       2          369.   Moreover, the continuity of the pattern of racketeering can also be established
                                       3   under “open-ended continuity” as the predicate offenses are part of the Enterprise’s regular
                                       4   way of doing business, and the predicates are attributed to the Core Defendants’ operations
                                       5   as part of a long-term association that existed for criminal purposes. Further, the last act of
                                       6   racketeering activity that is alleged as the basis of Plaintiff’s claims occurred within four
                                       7   years of a prior act of racketeering.
                                       8          370.   Three key individuals that assisted with the operations of the RICO Enterprise
                                       9   have plead guilty to federal felonies.
                                      10          371.   Plaintiff therefore has been injured in its business or property as a result of
                                      11   the Core Defendants’ overt acts and racketeering activities as described above and
Snell & Wilmer




                                      12   throughout this Complaint.
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                                                                   VI.    DAMAGES
                   Suite 510




                                      13
                    L.L.P.




                                      14          372.   Plaintiff was damaged by all Defendants in various ways.
                                      15          373.   First, Plaintiff suffered costs for the presumptive value of the MSGs
                                      16   purchased by Funds but never delivered.
                                      17          374.   Second, Plaintiff incurred significant costs related to closing the deals to
                                      18   purchase the MSGs, as well as to locate and store MSGs after the Schemes were uncovered.
                                      19          375.   Third, Plaintiff was deprived of the benefit of its bargain, specifically the
                                      20   value of promised Tax Credit, depreciation, rental, and management income.
                                      21          376.   Fourth, Plaintiff paid for services not rendered, and those amounts should be
                                      22   disgorged.
                                      23                                VII.       CLAIMS FOR RELIEF
                                      24                                                 Count I
                                      25                   (Federal RICO - 18 U.S.C. §1962(c) – Core Defendants)
                                      26          377.   Plaintiff repeats, realleges and incorporates each and every prior factual
                                      27   allegation in the preceding paragraphs as if fully set forth herein.
                                      28          378.   Section 1962(c) of RICO provides that it “shall be unlawful for any person

                                                                                           40                             COMPLAINT

                                                                                                                                        130
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  46223
                                                                                                      132132
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 45 of 55

                                       1   employed by or associated with any enterprise engaged in, or the activities of which affect,
                                       2   interstate or foreign commerce, to conduct or participate, directly or indirectly, in the
                                       3   conduct of such enterprise’s affairs through a pattern of racketeering activity or collection
                                       4   of unlawful debt.”
                                       5          379.   Plaintiff incorporates, as though fully set out herein, its allegations regarding
                                       6   Enterprise.
                                       7          380.   Plaintiff incorporates, as if fully set forth herein, its allegations that the Core
                                       8   Defendants have engaged in a pattern of racketeering activity.
                                       9          381.   The Core Defendants, who are associated with and are part of the Enterprise,
                                      10   conduct and have conducted the Enterprise’s affairs through a pattern of racketeering
                                      11   activity, as set forth in this Complaint.
Snell & Wilmer




                                      12          382.   Through the fraudulent and wrongful conduct described in this Complaint,
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           the Core Defendants seek and have sought to deprive Plaintiff of money and property rights.
                   Suite 510




                                      13
                    L.L.P.




                                      14          383.   To successfully execute their Schemes in the manner set forth in this
                                      15   Complaint, the Core Defendants must have a system that allows Core Defendants to access
                                      16   their victims in a manner to effectuate the fraudulent transactions. The Enterprise allows
                                      17   the Defendants this access.
                                      18          384.   With respect to the activities alleged herein, the Core Defendants have acted
                                      19   at all times with malice toward Plaintiff in their efforts to acquire and maintain an interest
                                      20   in an Enterprise that affects interstate commerce.
                                      21          385.   In carrying out the overt acts and fraudulent scheme described above, the Core
                                      22   Defendants have engaged in conduct in violation of federal laws, including inter alia 18
                                      23   U.S.C. §§ 1343 and 1346, and 18 U.S.C. §1961, et seq. as set forth more fully above.
                                      24          386.   Therefore, the Core Defendants have each engaged in “racketeering activity”
                                      25   which is defined in §1961(1) of RICO to mean “any act which is indictable under any of
                                      26   the following provisions of 18 U.S.C. §1343 (relating to wire fraud) ....”
                                      27          387.   As a proximate result of the Core Defendants’ unlawful pattern of illegal
                                      28   fraudulent conduct as described above, Plaintiff has been injured in its business or property

                                                                                         41                                COMPLAINT

                                                                                                                                          131
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  47223
                                                                                                      133133
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 46 of 55

                                       1   as described above.
                                       2                                                 Count II
                                       3                   (Federal RICO - 18 U.S.C. §1962(d) – Core Defendants)
                                       4          388.   Plaintiff repeats, realleges and incorporates each and every prior factual
                                       5   allegation in the preceding paragraphs as if fully set forth herein.
                                       6          389.   This claim for relief arises under 18 U.S.C. §1964(a) of RICO and seeks relief
                                       7   from the Core Defendants’ activities described herein for violations of 18 U.S.C. §1962(d)
                                       8   for their conspiracy to violate 18 U.S.C. §1962(c).
                                       9          390.   Plaintiff incorporates, as if fully set forth herein, its allegations regarding the
                                      10   Enterprise. Plaintiff incorporates, as if fully set forth herein, its allegations that the Core
                                      11   Defendants have engaged in a pattern of racketeering activity. Absent the Core Defendants’
Snell & Wilmer




                                      12   conspiracy and joint efforts, the Core Defendants’ Schemes would not be successful. Acting
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           jointly, the Core Defendants have and have possessed greater power, have been able to exert
                   Suite 510




                                      13
                    L.L.P.




                                      14   greater influence, have been able to successfully engage in the activities set forth herein,
                                      15   and have had greater ability to conceal their activities.
                                      16          391.   The Core Defendants have also violated §1962(d) by conspiring to violate 18
                                      17   U.S.C. §1962(c). The object of this conspiracy has been and is to conduct or participate in,
                                      18   directly or indirectly, the conduct of the affairs of the §1962(c) Enterprise(s) described
                                      19   previously through a pattern of racketeering activity.
                                      20          392.   As demonstrated in detail above, the Core Defendants have engaged in
                                      21   numerous overt and predicate fraudulent racketeering acts in furtherance of the conspiracy
                                      22   including systemic fraudulent practices designed to defraud the Plaintiff of money and other
                                      23   property interests.
                                      24          393.   The nature of the above described acts, material misrepresentations, and
                                      25   omissions in furtherance of the conspiracy give rise to an inference that Core Defendants
                                      26   not only agreed to the objective of a violation of 18 U.S.C. §1962(d) by conspiring to violate
                                      27   18 U.S.C. §1962(c), but also they were aware that their ongoing fraudulent acts have been
                                      28   and are part of an overall pattern of racketeering activity. The Core Defendants have

                                                                                         42                                COMPLAINT

                                                                                                                                         132
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  48223
                                                                                                      134134
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 47 of 55

                                       1   engaged in the commission of and continue to commit overt acts and the following
                                       2   described unlawful racketeering predicate acts that have and continue to generate income
                                       3   or proceeds received by the Core Defendants from such pattern of racketeering activity,
                                       4   including:
                                       5          394.   Multiple instances of wire fraud violations of 18 U.S.C. § 1343; and
                                       6          395.   Multiple instances of travel in interstate commerce to attempt to and to
                                       7   actually commit mail fraud and wire fraud.
                                       8          396.   As a proximate result of the Core Defendants’ conduct as described above,
                                       9   Plaintiff has been injured in its business or property as described above.
                                      10                                             Count III
                                      11                 (Fraud: Intentional Misrepresentation – Core Defendants)
Snell & Wilmer




                                      12          397.   Plaintiff repeats, realleges and incorporates each and every prior factual
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           allegation in the preceding paragraphs as if fully set forth here.
                   Suite 510




                                      13
                    L.L.P.




                                      14          398.   In perpetrating the Schemes, the Core Defendants represented to the Plaintiff
                                      15   that the Funds would receive certain tax and other monetary benefits, and obtain title to
                                      16   MSGs, from the Funds’ purchase of MSGs from DC Solar Solutions.
                                      17          399.   The Core Defendants’ representation was false.
                                      18          400.   The Core Defendants knew that the representation was false when they made
                                      19   it.
                                      20          401.   The Core Defendants intended that the Plaintiff rely on the representation.
                                      21          402.   Plaintiff reasonably relied on the Core Defendants’ representation.
                                      22          403.   Plaintiff became a member in the Funds and undertook obligations as a managing
                                      23   member based upon the representations of the Core Defendants.
                                      24          404.   Plaintiff was harmed.
                                      25          405.   Plaintiff’s reliance on the Core Defendants’ representation was a substantial
                                      26   factor in causing Plaintiff’s harm.
                                      27

                                      28

                                                                                         43                             COMPLAINT

                                                                                                                                       133
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  49223
                                                                                                      135135
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 48 of 55

                                       1                                                Count IV
                                       2                       (Fraud: Intentional Concealment – Core Defendants)
                                       3          406.    Plaintiff repeats, realleges and incorporates each and every prior factual
                                       4   allegation in the preceding paragraphs as fully set forth here.
                                       5          407.    In perpetrating the Schemes, the Core Defendants intentionally failed to
                                       6   disclose certain facts to Plaintiff, i.e., that the MSGs were not being manufactured or
                                       7   subleased, and that the alleged lease revenues paid to the Funds by DC Solar Distribution
                                       8   were in reality circulated Purchaser monies paid to DC Solar Solutions for new MSGs.
                                       9          408.    The Core Defendants intentionally failed to disclose these and other material
                                      10   facts to Plaintiff, which were known only to the Core Defendants, and prevented Plaintiff
                                      11   from discovering these facts.
Snell & Wilmer




                                      12          409.    Plaintiff did not know the concealed facts.
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                                  410.    The Core Defendants intend to deceive Plaintiff by concealing the facts.
                   Suite 510




                                      13
                    L.L.P.




                                      14          411.    Plaintiff became a member in the Funds and undertook obligations as a
                                      15   managing member based upon the concealment of the Core Defendants.
                                      16          412.    If the omitted information had been disclosed to Plaintiff, Plaintiff would
                                      17   have reasonably acted differently.
                                      18          413.    Plaintiff was harmed.
                                      19          414.    The Core Defendants’ concealment was a substantial factor in causing
                                      20   Plaintiff’s harm.
                                      21                                                 Count V
                                      22                           (Fraud in the Inducement- Core Defendants)
                                      23          415.    Plaintiff repeats, realleges and incorporates each and every prior factual allegation
                                      24   in the preceding paragraphs as if fully set forth here.
                                      25          416.    In perpetrating the Schemes, the Core Defendants represented to the Plaintiff that
                                      26   the Funds would receive certain tax and other monetary benefits, and obtain title to MSGs, from
                                      27   the Funds’ purchase of MSGs from DC Solar Solutions.
                                      28          417.    Further, the Core Defendants represented to the Plaintiff that there were sufficient

                                                                                            44                                COMPLAINT

                                                                                                                                             134
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  50223
                                                                                                      136136
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 49 of 55

                                       1   lease revenues and third-party leases to lease the MSGs being sold to the Funds.
                                       2           418.   Further, the Core Defendants represented to the Plaintiff that the MSGs for each
                                       3   Fund were built and would exist at the end of the five to seven years, when Plaintiff would become
                                       4   the 95% owner of each Fund.
                                       5           419.   The Core Defendants’ representation was false.
                                       6           420.   The Core Defendants knew that the representation was false when they made it.
                                       7           421.   The Core Defendants intended that the Plaintiff rely on the representation.
                                       8           422.   Plaintiff reasonably relied on the Core Defendants’ representation.
                                       9           423.   Plaintiff became a member in the Funds and undertook obligations as a managing
                                      10   member based upon the representations of the Core Defendants.
                                      11           424.   Plaintiff was harmed.
Snell & Wilmer




                                      12           425.   Plaintiff’s reliance on the Core Defendants’ representation was a substantial factor
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices

                   Suite 510




                                      13   in causing Plaintiff’s harm
                    L.L.P.




                                      14                                               Count VI
                                      15                                  (Conversion- Core Defendants)
                                      16           426.   Plaintiff repeats, realleges and incorporates each and every prior factual
                                      17   allegation in the preceding paragraphs as if fully set forth here.
                                      18           427.   As a member of the Funds, Plaintiff holds an ownership interest in the MSGs
                                      19   and/or the money paid to DC Solar Solutions for the purchase of the purportedly-existing
                                      20   MSGs.
                                      21           428.   The Core Defendants substantially interfered with Plaintiff’s property.
                                      22           429.   Plaintiff did not consent.
                                      23           430.   Plaintiff was harmed.
                                      24           431.   The Core Defendants’ conduct was a substantial factor in causing Plaintiff’s
                                      25   harm.
                                      26                                               Count VII
                                      27             (Civil Conspiracy – Core Defendants and Scheme Aiders/Abettors)
                                      28           432.   Plaintiff repeats, realleges and incorporates each and every prior factual allegation

                                                                                           45                                 COMPLAINT

                                                                                                                                             135
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  51223
                                                                                                      137137
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 50 of 55

                                       1   in the preceding paragraphs.
                                       2          433.    The Core Defendants acted in combination.
                                       3          434.    The Core Defendants intended to accomplish an unlawful objective together.
                                       4          435.    The Core Defendants, through their acts or omissions, sought to fraudulently induce
                                       5   Plaintiff to take actions and undertake obligations relating to the Funds, to make fraudulent
                                       6   misrepresentations to Plaintiff, or to fraudulently conceal information from Plaintiff relating to the
                                       7   Funds, the MSGs, and DC Solar.
                                       8          436.    The Core Defendants agreed to a concert of actions to accomplish the objective.
                                       9          437.    The Core Defendants each committed the acts set forth in the preceding paragraphs
                                      10   to accomplish the objective.
                                      11          438.    The Core Defendants intended to accomplish an unlawful objective for the purpose
Snell & Wilmer




                                      12   of harming Plaintiff and others.
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices

                   Suite 510




                                      13          439.    The Core Defendants committed unlawful acts in furtherance of the agreement.
                    L.L.P.




                                      14          440.    Plaintiff suffered damages as a result of the act or acts.
                                      15                                               Count VIII
                                      16                        (Unjust Enrichment – Core Defendants and Halo)
                                      17          441.    Plaintiff repeats, realleges and incorporates each and every prior factual
                                      18   allegation in the preceding paragraphs as fully set forth here.
                                      19          442.    The Core Defendants were enriched as a result of the Plaintiff’s management
                                      20   services, services in locating and moving MSGs, and/or monetary participation in the Core
                                      21   Defendants’ businesses.
                                      22          443.    Halo was enriched by Plaintiff advancing funds and incurring costs by which
                                      23   Halo benefitted, but refused or failed to reimburse for or pay to Plaintiff.
                                      24          444.    The Plaintiff was impoverished as a result of these services and/or
                                      25   participation without promised compensation from the Core Defendants.
                                      26          445.    If no adequate remedy at law is available for Plaintiff’s impoverishment, the
                                      27   Plaintiff is entitled to recover under a theory of unjust enrichment.
                                      28

                                                                                            46                                  COMPLAINT

                                                                                                                                               136
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  52223
                                                                                                      138138
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 51 of 55

                                       1                                             Count IX
                                       2     (Intentional Interference with Contractual Relationship or Business Expectancy –
                                       3                                          Core Defendants)
                                       4           446.   Plaintiff repeats, realleges and incorporates each and every prior factual
                                       5   allegation in the preceding paragraphs as if fully set forth here.
                                       6           447.   There was a contract or contracts between Plaintiff and third parties, or a
                                       7   business expectancy between Plaintiff and third parties.
                                       8           448.   The Core Defendants knew of the contract or business expectancy.
                                       9           449.   The Core Defendants’ conduct prevented performance under the contracts or
                                      10   business expectancy, or made performance more expensive or difficult.
                                      11           450.   The Core Defendants intended to disrupt the performance of this contract or
Snell & Wilmer




                                      12   business expectancy, and/or knew that disruption of performance was certain or
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                           substantially certain to occur.
                   Suite 510




                                      13
                    L.L.P.




                                      14           451.   Plaintiff was harmed.
                                      15           452.   The Core Defendants’ conduct was a substantial factor in causing Plaintiff’s
                                      16   harm.
                                      17                                              Count X
                                      18                                (Negligence – Alvarez & Marsal)
                                      19           453.   Plaintiff repeats, realleges and incorporates each and every prior factual
                                      20   allegation in the preceding paragraphs as if fully set forth here.
                                      21           454.   Alvarez & Marsal owed a duty to the Plaintiff in preparing the Appraisals.
                                      22           455.   Alvarez & Marsal breached its duty and was negligent in preparing the
                                      23   Appraisals.
                                      24           456.   Plaintiff was harmed.
                                      25           457.   Alvarez & Marsal’s conduct caused Plaintiff’s harm.
                                      26                                             Count XI
                                      27                      (Negligent Misrepresentation – Alvarez & Marsal)
                                      28           458.   Plaintiff repeats, realleges and incorporates each and every prior factual

                                                                                         47                            COMPLAINT

                                                                                                                                       137
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  53223
                                                                                                      139139
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 52 of 55

                                       1   allegation in the preceding paragraphs as if fully set forth here.
                                       2          459.   Alvarez & Marsal represented to the Plaintiff that the Appraisals were true
                                       3   and accurate representations of the value of the MSGs.
                                       4          460.   Alvarez & Marsal’s representation was not true.
                                       5          461.   Alvarez & Marsal had no reasonable grounds for believing the representation
                                       6   was true when it made it.
                                       7          462.   Alvarez & Marsal intended that Plaintiff rely on this representation.
                                       8          463.   Plaintiff reasonably relied on Alvarez & Marsal’s representation.
                                       9          464.   Plaintiff was harmed.
                                      10          465.   Plaintiff’s reliance on Alvarez & Marsal’s representation was a substantial
                                      11   factor in causing Plaintiff’s harm.
Snell & Wilmer




                                      12                                            Count XII
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                                                       (Professional Negligence – Roach)
                   Suite 510




                                      13
                    L.L.P.




                                      14          466.   Plaintiff repeats, realleges and incorporates each and every prior factual
                                      15   allegation in the preceding paragraphs as if fully set forth here.
                                      16          467.   Plaintiff retained Roach to provide accounting services and counsel to
                                      17   Plaintiff with respect to the Funds, MSG purchases and related deals.
                                      18          468.   As accountant for Plaintiff, Roach had a duty to exercise reasonable care,
                                      19   skill, and diligence in performing services and providing advice to Plaintiff.
                                      20          469.   Plaintiff reasonably relied on the skill and expertise of Roach to provide
                                      21   advice and counsel consistent with the standards other members of the accounting
                                      22   profession commonly possess and exercise.
                                      23          470.   Roach breached the duty of care owed to Plaintiff by failing to use the skill
                                      24   and care that a reasonably careful accountant would have used in providing services and
                                      25   advice in similar circumstances.
                                      26          471.   Plaintiff was harmed by this breach.
                                      27

                                      28

                                                                                         48                             COMPLAINT

                                                                                                                                    138
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  54223
                                                                                                      140140
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 53 of 55

                                       1                                            Count XIII
                                       2                              (Breach of Fiduciary Duty – Roach)
                                       3          472.   Plaintiff repeats, realleges and incorporates each and every prior factual
                                       4   allegation in the preceding paragraphs as if fully set forth here.
                                       5          473.   Roach was Plaintiff’s accountant, and acted on behalf of Plaintiff with respect
                                       6   to the Funds, MSG purchases and related deals.
                                       7          474.   Roach failed to act as a reasonably careful accountant would have acted under
                                       8   the same or similar circumstances.
                                       9          475.   Plaintiff was harmed by this failure.
                                      10          476.   Roach’s conduct was a substantial factor in causing Plaintiff’s harm.
                                      11                                            Count XIV
Snell & Wilmer




                                      12             (Professional Negligence – Wentz, Yee, Montage, & Radius/Vistra)
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                                  477.   Plaintiff repeats, realleges and incorporates each and every prior factual
                   Suite 510




                                      13
                    L.L.P.




                                      14   allegation in the preceding paragraphs as if fully set forth here.
                                      15          478.   Plaintiff retained Wentz, Yee, Montage and Radius/Vistra employees to
                                      16   provide accounting services and counsel to Plaintiff with respect to the Funds, MSG
                                      17   purchases and related deals.
                                      18          479.   As accountants for Plaintiff, Wentz, Yee, Montage and Radius/Vistra
                                      19   employees had a duty to exercise reasonable care, skill, and diligence in performing services
                                      20   and providing advice to Plaintiff.
                                      21          480.   Plaintiff reasonably relied on the skill and expertise of Wentz, Yee, Montage
                                      22   and Radius/Vistra employees to provide advice and counsel consistent with the standards
                                      23   other members of the accounting profession commonly possess and exercise.
                                      24          481.   Wentz, Yee, Montage and Radius/Vistra employees breached the duty of care
                                      25   owed to Plaintiff by failing to use the skill and care that a reasonably careful accountant
                                      26   would have used in providing services and advice in similar circumstances.
                                      27          482.   Plaintiff was harmed by this breach.
                                      28

                                                                                         49                             COMPLAINT

                                                                                                                                      139
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  55223
                                                                                                      141141
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 54 of 55

                                       1                                               Count XV
                                       2             (Breach of Fiduciary Duty- Wentz, Yee, Montage & Radius/Vistra)
                                       3          483.      Plaintiff repeats, realleges and incorporates each and every prior factual
                                       4   allegation in the preceding paragraphs as if fully set forth here.
                                       5          484.      Wentz, Yee, Montage, and Radius/Vistra employees were Plaintiff’s
                                       6   accountants, and acted on behalf of Plaintiff with respect to the Funds, MSG purchases and
                                       7   related deals.
                                       8          485.      Wentz, Yee, Montage, and Radius/Vistra employees failed to act as
                                       9   reasonably careful accountants would have acted under the same or similar circumstances.
                                      10          486.      Plaintiff was harmed by these failures.
                                      11          487.      Wentz, Yee, Montage, and Radius/Vistra employees conduct was a
Snell & Wilmer




                                      12   substantial factor in causing Plaintiff’s harm.
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                                                                      Count XVI
                   Suite 510




                                      13
                    L.L.P.




                                      14                          (Negligent Misrepresentation – All Defendants)
                                      15          488.      Plaintiff repeats, realleges and incorporates each and every prior factual
                                      16   allegation in the preceding paragraphs as if fully set forth here.
                                      17          489.      All Defendants represented to Plaintiff that certain information was true.
                                      18          490.      All Defendants representations were not true.
                                      19          491.      All Defendants had no reasonable grounds for believing the representations
                                      20   were true when they made it or within the time periods of their involvement.
                                      21          492.      All Defendants intended that Plaintiff rely on these representations.
                                      22          493.      Plaintiff reasonably relied on All Defendants’ representations.
                                      23          494.      Plaintiff was harmed.
                                      24          495.      Plaintiff’s reliance on all Defendants’ representations was a substantial factor
                                      25   in causing its harm.
                                      26          496.      All Defendants failed to disclose information that was known, or should have
                                      27   been known, to be important to the Plaintiff and Purchasers in their transactions.
                                      28          497.      Reservation of Rights. Solarmore hereby reserves and does not waive:

                                                                                           50                               COMPLAINT

                                                                                                                                          140
                                            Case
                                           Case  21-05072-gs
                                              Case
                                                21-05072-gs    DocDocument
                                                   3:22-cv-00257
                                                              Doc  17-4 Entered
                                                                  100    Entered 11/24/21
                                                                            1-1 06/07/22
                                                                                 Filed     14:59:07
                                                                                       06/07/22
                                                                                         12:02:03PagePage
                                                                                                    Page  56223
                                                                                                      142142
                                                                                                          of of 223
                                                                                                             of 56
                                            Case 2:19-cv-02544-JAM-DB Document 1 Filed 12/17/19 Page 55 of 55

                                       1               a. Any and all rights, claims, or remedies against other individuals and/or
                                       2                  entities currently the subject of tolling agreements with Plaintiff;
                                       3               b. To the extent applicable, any and all claims or remedies that are asserted
                                       4                  through Plaintiff’s instant suit, and which might benefit any other Purchasers,
                                       5                  Fund LLCs, and/or other Court-appointed representatives for said Purchasers,
                                       6                  and/ or Fund LLC’s; and/or
                                       7               c. the right to name additional individuals and/or entities and seek additional
                                       8                  claims and/or further remedies based upon ongoing investigations.
                                       9                                 VIII.     PRAYER FOR RELIEF
                                      10          Wherefore, Plaintiff prays for judgment against Defendants as follows:
                                      11          A.      For damages against all Defendants in an amount in excess of $75,000 to be
Snell & Wilmer




                                      12   proven at trial.
             50 West Liberty Street

             Reno, Nevada 89501
                 law offices




                                                  B.      For treble damages under RICO.
                   Suite 510




                                      13
                    L.L.P.




                                      14          C.      For an award of Plaintiff’s reasonable attorneys’ fees in an amount to be
                                      15   proven at trial.
                                      16          D.      For such other relief as the Court may determine.
                                      17                               IX.       DEMAND FOR JURY TRIAL
                                      18          Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a jury trial on all
                                      19   issues in this litigation that are triable to a jury.
                                      20    DATED: December 17, 2019                                SNELL & WILMER L.L.P.
                                      21                                                         By: /s/ Nathan G. Kanute
                                                                                                    Nathan G. Kanute
                                      22                                                            50 W. Liberty Street, Suite 510
                                                                                                    Reno, NV 89501
                                      23
                                                                                                     Don Bivens (pro hac vice pending)
                                      24                                                             Donald L. Gaffney (pro hac vice
                                                                                                     pending)
                                      25                                                             One Arizona Center, Suite 1900
                                                                                                     400 East Van Buren Street
                                      26                                                             Phoenix, AZ 85004-2202
                                                                                                     Attorneys for Plaintiff
                                      27

                                      28

                                                                                            51                               COMPLAINT

                                                                                                                                         141
 Case
Case
  Case 21-05072-gs
     21-05072-gs
        3:22-cv-00257Doc
                   Doc   17-5Entered
                       Document
                       100     Entered  11/24/21
                                 1-1 06/07/22
                                      Filed      14:59:07
                                            06/07/22
                                              12:02:03Page Page
                                                         Page
                                                           143 of1223
                                                              143  of 223
                                                                   of 4




                        EXHIBIT E




                                                                            142
                       Case
                        Case
                      Case  2:13-cv-01113-JCM-PAL
                         Case21-05072-gs
                           21-05072-gs
                              3:22-cv-00257Doc
                                         Doc   17-5Entered
                                                    Document
                                             Document
                                             100     Entered  11/24/21
                                                               3406/07/22
                                                       1-1 06/07/22
                                                            Filed  Filed
                                                                       14:59:07
                                                                         02/05/14
                                                                    12:02:03Page  Page
                                                                               PagePage
                                                                                  144 of2223
                                                                                     144 1of
                                                                                          ofof223
                                                                                              43



                  1
                  2
                  3
                  4
                  5
                                                    UNITED STATES DISTRICT COURT
                  6
                                                               DISTRICT OF NEVADA
                  7
                                                                        2:13-CV-1113 JCM (PAL)
                  8      In Re:

                  9      AMERICAN PACIFIC FINANCIAL
                         CORPORATION,
                10
                11                   Debtor.
                         ________________________________
                12
                         DOTAN Y. MELECH, not individual
                13       but as Chapter 7 trustee of the above
                14       debtor,

                15                       Plaintiff(s),

                16       v.
                17
                         LARRY POLHILL, et al.,
                18
                                         Defendant(s).
                19
                20                                                   ORDER
                21             Presently before the court is movant Larry Polhill’s motion to withdraw reference. (Doc. #
                22     1-1). The appointed trustee, Dotan Melech, has filed an opposition (doc. # 1-1, p. 109-120) and
                23     Polhill has filed a reply (doc. # 3).
                24             This motion arises out of an adversary action in the underlying bankruptcy proceedings. The
                25     complaint contains eleven causes of action for: (1) breach of fiduciary duty; (2) aiding and abetting
                26     breach of fiduciary duty/civil conspiracy; (3) conversion; (4) avoidance of preferential transfers; (5)
                27     avoidance of fraudulent transfers; (6) turnover; (7) unjust enrichment; (8) constructive trust; (9)
                28
James C. Mahan
U.S. District Judge

                                                                                                                            143
                       Case
                        Case
                      Case  2:13-cv-01113-JCM-PAL
                         Case21-05072-gs
                           21-05072-gs
                              3:22-cv-00257Doc
                                         Doc   17-5Entered
                                                    Document
                                             Document
                                             100     Entered  11/24/21
                                                               3406/07/22
                                                       1-1 06/07/22
                                                            Filed  Filed
                                                                       14:59:07
                                                                         02/05/14
                                                                    12:02:03Page  Page
                                                                               PagePage
                                                                                  145 of3223
                                                                                     145 2of
                                                                                          ofof223
                                                                                              43



                  1    equitable lien; (10) breach of contract; and (11) breach of covenant of good faith and fair dealing.
                  2           Polhill asserts that the matter is subject to withdrawal of reference pursuant to 28 U.S.C. §
                  3    157(d). That section provides:
                  4           The district court may withdraw, in whole or in part, any case or
                              proceeding referred under this section, on its own motion or on timely
                  5           motion of any party, for cause shown. The district court shall, on
                              timely motion of a party, so withdraw a proceeding if the court
                  6           determines that resolution of the proceeding requires consideration of
                              both title 11 and other laws of the United States regulating
                  7           organizations or activities affecting interstate commerce.
                  8
                              Polhill has not filed a proof of claim and has asserted a jury demand. Polhill asserts that the
                  9
                       causes of action in the underlying complaint are not listed in 28 U.S.C. §157(b)(2) as core
                10
                       proceedings. In particular, he maintains that “ each [cause of action] involves state law issues and
                11
                       thus is beyond the reach of the bankruptcy court to hear and determine. Such claims should be
                12
                       adjudicated by an Article III court independent of whether a proof of claim has been filed.” (Doc.
                13
                       # 1-1, p. 67) (citing In re Castlerock Properties, 781 F.2d 159, 162 (9th Cir. 1986)).
                14
                              Polhill further asserts that, “[b]ecause this Court will be required to review the bankruptcy
                15
                       court's proposed findings and conclusions of law de novo, judicial efficiency is promoted by
                16
                       withdrawing the reference and holding one hearing instead of two to resolve factual issues.” (Id.).
                17
                       Melech opposes the motion on the grounds that it is “premature” despite conceding the inevitability
                18
                       of the matter being brought to this court.
                19
                              With respect to “non-core” claims, the default practice is for the bankruptcy court to hold
                20
                       proceedings and make proposed findings of fact and conclusions of law, which in turn are reviewed
                21
                       by the District Court. See LR 1001(a); 28 U.S.C. § 157. The Ninth Circuit has held that in
                22
                       considering withdrawal, a "district court should consider the efficient use of judicial resources, delay
                23
                       and costs to the parties, uniformity of bankruptcy administration, the prevention of forum shopping,
                24
                       and other related factors." Sec. Farms v. Int'l Brotherhood of Chauffers, Warehousemen & Helpers,
                25
                       124 F.3d 999,1008 (9th Cir. 1997).
                26
                              The court finds judicial efficiency and the uniformity of bankruptcy administration would
                27
                       be better served by having the bankruptcy court continue to decide the pre-trial motions, including
                28
James C. Mahan
U.S. District Judge                                                     -2-

                                                                                                                            144
                       Case
                        Case
                      Case  2:13-cv-01113-JCM-PAL
                         Case21-05072-gs
                           21-05072-gs
                              3:22-cv-00257Doc
                                         Doc   17-5Entered
                                                    Document
                                             Document
                                             100     Entered  11/24/21
                                                               3406/07/22
                                                       1-1 06/07/22
                                                            Filed  Filed
                                                                       14:59:07
                                                                         02/05/14
                                                                    12:02:03Page  Page
                                                                               PagePage
                                                                                  146 of4223
                                                                                     146 3of
                                                                                          ofof223
                                                                                              43



                  1    discovery related ones, prior to removing the case to this court.
                  2           The bankruptcy court is well-versed in the history and procedural posture of this action. It
                  3    has managed these proceedings over the last several years, and there is no legitimate reason to
                  4    withdraw at this juncture. As the court most familiar with this case, the bankruptcy court is in the
                  5    position to most efficiently manage its course while minimizing delay and costs. Sec. Farms, 124
                  6    F.3d 999. In sum, Polhill has not met his burden of demonstrating why this case warrants immediate
                  7    withdrawal.
                  8           Accordingly,
                  9           IT IS HEREBY ORDERED, ADJUDGED, and DECREED that the motion to withdraw
                10     reference (doc. # 1) be, and the same hereby is, DENIED.
                11            DATED February 5, 2014.
                12
                13
                                                             UNITED
                                                              NIT
                                                               ITED
                                                               IT
                                                                T   STATES
                                                                    S TATES DISTRICT JUDGE
                                                                                     JUDG
                14
                15
                16
                17
                18
                19
                20
                21
                22
                23
                24
                25
                26
                27
                28
James C. Mahan
U.S. District Judge                                                    -3-

                                                                                                                         145
 Case
Case
  Case 21-05072-gs
     21-05072-gs
        3:22-cv-00257Doc
                   Doc   17-6Entered
                       Document
                       100     Entered  11/24/21
                                 1-1 06/07/22
                                      Filed      14:59:07
                                            06/07/22
                                              12:02:03Page Page
                                                         Page
                                                           147 of1223
                                                              147  of 223
                                                                   of 7




                        EXHIBIT F




                                                                            146
           Case
           Case
          Case
            Case2:14-cv-00455-RCJ-PAL
                 21-05072-gs
               21-05072-gs
                  3:22-cv-00257Doc
                             Doc   17-6Entered
                                 Document
                                 100     Document
                                         Entered  11/24/21
                                                    4 06/07/22
                                           1-1 06/07/22
                                                Filed  Filed14:59:07
                                                             05/28/14
                                                         12:02:03Page Page
                                                                       Page
                                                                    Page
                                                                      148 of21223
                                                                         148   of
                                                                                of223
                                                                               of 76




 1

 2

 3
                               UNITED STATES DISTRICT COURT
 4
                                       DISTRICT OF NEVADA
 5

 6   ______________________________________
                                           )
 7   In re USA COMMERCIAL MORTGAGE         )
     CO.,                                  )
 8                                         )
                  Debtor.                  )
                                           )
 9   _____________________________________
                                           )              Case No. 2:14-cv-00455-RCJ-PAL
                                           )              Adv. No. 08-ap-01066-LBR
10   USACM LIQUIDATING TRUST,              )              Bankr. No. 06-bk-10725-LBR
                                           )
11                Plaintiff,               )
                                           )              ORDER
12          vs.                            )
                                           )
13   COMPASS USA SPE, LLC et al.,          )
                                           )
14                Defendants.              )
                                           )
15
            The Bankruptcy Court has recommended withdrawal of the reference in this post-
16
     judgment adversary proceeding. No party has timely objected. For the reasons given herein, the
17
     Court withdraws and stays the proceeding.
18
     I.     FACTS AND PROCEDURAL HISTORY
19
            In February 2008, USACM Liquidating Trust (“USACMLT”) brought a core adversary
20
     proceeding in this district based on the consolidated USA Commercial Mortgage Co.
21
     (“USACM”) bankruptcy case against, inter alia, Republic Title of Texas, Inc. (“RTT”), seeking
22
     an order that RTT turn over to USACMLT a total of $2,153,000 to which it was allegedly
23
     entitled under two escrow agreements as successor to the rights of Debtor USACM. (See Adv.
24

                                                 1 of 6

                                                                                                      147
           Case
           Case
          Case
            Case2:14-cv-00455-RCJ-PAL
                 21-05072-gs
               21-05072-gs
                  3:22-cv-00257Doc
                             Doc   17-6Entered
                                 Document
                                 100     Document
                                         Entered  11/24/21
                                                    4 06/07/22
                                           1-1 06/07/22
                                                Filed  Filed14:59:07
                                                             05/28/14
                                                         12:02:03Page Page
                                                                       Page
                                                                    Page
                                                                      149 of32223
                                                                         149   of
                                                                                of223
                                                                               of 76




 1   Compl., ECF No. 1 in Adv. No. 08-ap-1066). USACMLT also asked the Bankruptcy Court for

 2   certain relief against Compass USA SPE, LLC and Compass Partners, LLC (collectively,

 3   “Compass”). (See id.).

 4          In September 2009, the Bankruptcy Court permitted Debt Acquisition Co. of America V,

 5   LLC (“DACA V”) to intervene, file a complaint in intervention, and substitute itself as Plaintiff

 6   in place of USACMLT. (See Order, ECF No. 67 in Adv. No. 08-ap-1066). The court noted that

 7   once DACA V filed a complaint in intervention, that pleading would be the “sole extant

 8   complaint” in the adversary proceeding. (See id.). DACA V filed the Complaint in Intervention

 9   (“CI”) later that month; the Court will refer to the CI as the Amended Complaint (“AC”),

10   because DACA V has been substituted as the Plaintiff, not merely permitted to intervene,

11   because the pleading is entered as an “Amended Complaint” in the electronic docket, and

12   because the AC is the sole operative complaint. (See Am. Compl., ECF No. 69 in Adv. No. 08-

13   ap-1066). In the AC, DACA V sought a money judgment against Compass in the amount of

14   $476,677.92 plus interest, turnover of a $237,023.29 check held by USACM LT otherwise

15   payable to Compass, and a declaratory judgment that any attorney’s lien of Milbank, Tweed,

16   Hadley & McCloy, LLP (“Milbank”) against the check was inferior to DACA V’s rights to the

17   check. (See id.). When Compass defaulted and Milbank stipulated to split the check with DACA

18   V, the Bankruptcy Court entered judgment, accordingly. (See J., ECF No. 124 in Adv. No. 08-

19   ap-1066).

20          In August 2013, the Clerk of the Bankruptcy Court issued a writ of execution (the

21   “Writ”) to the U.S. Marshal to execute on DACA V’s judgment in the amount of $422,120.54.

22   (See Writ Exec., ECF No. 128 in Adv. No. 08-ap-1066). In January 2014, Platinum Financial

23   Trust, LLC (“PFT”), to whom DACA V has assigned its judgment in May 2013, applied to the

24

                                                   2 of 6

                                                                                                         148
            Case
            Case
           Case
             Case2:14-cv-00455-RCJ-PAL
                  21-05072-gs
                21-05072-gs
                   3:22-cv-00257Doc
                              Doc   17-6Entered
                                  Document
                                  100     Document
                                          Entered  11/24/21
                                                     4 06/07/22
                                            1-1 06/07/22
                                                 Filed  Filed14:59:07
                                                              05/28/14
                                                          12:02:03Page Page
                                                                        Page
                                                                     Page
                                                                       150 of43223
                                                                          150   of
                                                                                 of223
                                                                                of 76




 1   Bankruptcy Court for a judgment against Donna Cangelosi and Margarita Annex SPE for failing

 2   to comply with writs of garnishment. (See Appl., ECF No. 133 in Adv. No. 08-ap-1066). PFT

 3   asked the Bankruptcy Court to reopen the adversary proceeding for post-judgment proceedings

 4   under Bankruptcy Rules 7069 and 7070. (See Mot., ECF No. 134 in Adv. No. 08-ap-1066). The

 5   Bankruptcy Court granted the motion. (See Order, ECF No. 135 in Adv. No. 08-ap-1066). The

 6   Bankruptcy Court then issued an order sua sponte recommending withdrawal of the reference,

 7   which is now pending before the Court.

 8   II.    LEGAL STANDARDS

 9          The Supreme Court has ruled that a bankruptcy court—the judges of which are not

10   afforded the protections of life tenure and irreducible salary given to judges under Article III of

11   the Constitution—cannot enter final judgments on matters traditionally decided by Article III

12   judges, such as contract disputes. See Dunmore v. United States, 358 F.3d 1107, 1114 (9th Cir.

13   2004) (citing N. Pipeline Constr. Co. v. Marathon Pipe Line Co., 458 U .S. 50 (1982)).

14   Congress amended the Bankruptcy Code to conform to this ruling, distinguishing “core”

15   bankruptcy proceedings from “non-core” proceedings. Id. Congress has enumerated what it

16   considers to be core proceedings, see id. (citing 11 U.S.C. § 157(b)(2)), but it has not enumerated

17   non-core proceedings, see id. “Non-core” proceedings are those that “do not depend on the

18   Bankruptcy Code for their existence and ... could proceed in another court.” Id. (citing Sec.

19   Farms v. Int’l Bhd. of Teamsters, 124 F.3d 999, 1008 (9th Cir. 1997)).

20          A bankruptcy court may hear and finally determine bankruptcy cases under Title 11 and

21   proceedings arising under Title 11 or arising in a case under Title 11. See 11 U.S.C. § 157(b)(1).

22   A bankruptcy court may hear a non-core proceeding but must submit proposed findings of fact

23   and conclusions of law to the district court for final determination de novo. Id. § 157(c)(1). The

24

                                                    3 of 6

                                                                                                           149
           Case
           Case
          Case
            Case2:14-cv-00455-RCJ-PAL
                 21-05072-gs
               21-05072-gs
                  3:22-cv-00257Doc
                             Doc   17-6Entered
                                 Document
                                 100     Document
                                         Entered  11/24/21
                                                    4 06/07/22
                                           1-1 06/07/22
                                                Filed  Filed14:59:07
                                                             05/28/14
                                                         12:02:03Page Page
                                                                       Page
                                                                    Page
                                                                      151 of54223
                                                                         151   of
                                                                                of223
                                                                               of 76




 1   Ninth Circuit has adopted the Fifth Circuit’s reasoning in distinguishing three types of

 2   proceedings: (1) those “arising under” Title 11; (2) those “arising in” a case under Title 11; and

 3   (3) those “related to” a case under Title 11, which are the three categories of cases over which

 4   district courts have subject matter jurisdiction pursuant to 28 U.S.C. § 1334(b):

 5          28 U.S.C. § 157(b) defines core proceedings as ones “arising under title 11, or
            arising in a case under title 11,” and gives a nonexhaustive list of types of core
 6          proceedings. “Arising under” and “arising in” are terms of art. They are two of
            the three categories of cases over which district courts have jurisdiction under 28
 7          U.S.C. § 1334(b). The third category includes cases “related to” a case under title
            11. As the Fifth Circuit has explained,
 8
                    Congress used the phrase “arising under title 11” to describe those
 9                  proceedings that involve a cause of action created or determined by a
                    statutory provision of title 11 . . . . The meaning of “arising in”
10                  proceedings is less clear, but seems to be a reference to those
                    “administrative” matters that arise only in bankruptcy cases. In other
11                  words, “arising in” proceedings are those that are not based on any right
                    expressly created by title 11, but nevertheless, would have no existence
12                  outside of the bankruptcy.

13          The court concluded: “If the proceeding does not invoke a substantive right
            created by the federal bankruptcy law and is one that could exist outside of
14          bankruptcy it is not a core proceeding; it may be related to the bankruptcy because
            of its potential effect, but . . . it is an ‘otherwise related’ or non-core proceeding.”
15
     In re Eastport Assocs., 935 F.2d 1071, 107677 (9th Cir. 1991) (citations omitted) (quoting In re
16
     Wood, 825 F.2d 90, 9697 (5th Cir. 1987) (footnotes omitted)).
17          Upon motion or sua sponte, a district court may withdraw, in whole or in part, any case
18   or proceeding under § 157. 11 U.S.C. § 157(d). A district court must upon timely motion

19   withdraw a proceeding if it determines “that resolution of the proceeding requires consideration

20   of both title 11 and other laws of the United States regulating organizations or activities affecting

21   interstate commerce .” Id. The party moving for withdrawal has the burden of persuasion. See In

     re First Alliance Mortg. Co., 282 B.R. 894, 902 (C.D.Cal. 2001).
22
            Although a bankruptcy court may not finally determine non-Title 11 issues, the presence
23
     of such an issue does not mandate withdrawal of the reference. In re Vicars Ins. Agency, 96 F.3d
24

                                                    4 of 6

                                                                                                             150
             Case
             Case
            Case
              Case2:14-cv-00455-RCJ-PAL
                   21-05072-gs
                 21-05072-gs
                    3:22-cv-00257Doc
                               Doc   17-6Entered
                                   Document
                                   100     Document
                                           Entered  11/24/21
                                                      4 06/07/22
                                             1-1 06/07/22
                                                  Filed  Filed14:59:07
                                                               05/28/14
                                                           12:02:03Page Page
                                                                         Page
                                                                      Page
                                                                        152 of65223
                                                                           152   of
                                                                                  of223
                                                                                 of 76




 1
     949, 953 (7th Cir. 1996). Rather, withdrawal is mandatory “in cases requiring material
 2
     consideration of non-bankruptcy federal law.” Sec. Farms, 124 F.3d at 1008. Put differently,
 3   “mandatory withdrawal is required only when those issues require the interpretation, as opposed
 4   to mere application, of the non-title 11 statute, or when the court must undertake analysis of

 5   significant open and unresolved issues regarding the non-title 11 law.” Id. at 954. Permissive

 6   withdrawal is allowed, however, “for cause shown,” 11 U.S.C. § 157(d), which a district court

 7   determines by considering “the efficient use of judicial resources (which is enhanced when non-

     core issues predominate), delay and costs to the parties, uniformity of bankruptcy administration,
 8
     the prevention of forum shopping, and other related factors.” Sec. Farms, 124 F.3d at 1008.
 9
     III.    ANALYSIS
10
             The Bankruptcy Court noted that the garnishees had filed an interpleader complaint in
11
     this Court (previously pending before Judge Gordon, but since transferred to this Court) as to
12
     funds sought to be garnished and reasoned that withdrawal of the reference would be appropriate
13
     because the parties will be litigating over the same funds in the present adversary proceeding and
14   in the interpleader action. Both the efficient use of judicial resources and the avoidance of
15   inconsistent rulings counseled in favor of withdrawal. The Court agrees. The Court will

16   therefore grant the motion to withdraw the reference and stay the case pending the outcome of

17   the interpleader action. The interpleader device is the more efficient method by which to resolve

18   the rights of all parties to the disputed funds. Once the Plaintiff in Interpleader deposits the

19   funds and is dismissed, the garnishment issue will become moot. On the other hand, an earlier

     judgment against the garnishees in the present action could leave them facing rival claims to the
20
     same common funds from other Defendants in Interpleader.
21
     ///
22
     ///
23
     ///
24

                                                     5 of 6

                                                                                                          151
           Case
           Case
          Case
            Case2:14-cv-00455-RCJ-PAL
                 21-05072-gs
               21-05072-gs
                  3:22-cv-00257Doc
                             Doc   17-6Entered
                                 Document
                                 100     Document
                                         Entered  11/24/21
                                                    4 06/07/22
                                           1-1 06/07/22
                                                Filed  Filed14:59:07
                                                             05/28/14
                                                         12:02:03Page Page
                                                                       Page
                                                                    Page
                                                                      153 of76223
                                                                         153   of
                                                                                of223
                                                                               of 76




 1                                        CONCLUSION

 2         IT IS HEREBY ORDERED that the Motion to Withdraw the Reference (ECF No. 1) is

 3   GRANTED.

 4         IT IS FURTHER ORDERED that the case is STAYED.

 5         IT IS SO ORDERED.

 6   Dated This
     Dated: this 28th
                 22nd day
                      day of May,
                             May, 2014.
                                  2014.

 7

 8                                          _____________________________________
                                               _____________________ _ _________________
                                                         ROBERT
                                                         ROBE
                                                            B RT   T C.
                                                                     C. JONES
 9                                                   United States
                                                            State    District
                                                               ttees Di
                                                                     D  strict Judge

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

                                             6 of 6

                                                                                           152
                                              
            Case
         CaseCase21-05072-gs
               21-05072-gs
                  3:22-cv-00257Doc
                             Doc   36 Entered
                                       Entered
                                 Document
                                 100           01/14/22
                                          1-1 06/07/22
                                               Filed     13:38:02
                                                     06/07/22
                                                       12:02:03PagePage
                                                                  Page  1 of
                                                                    154154
                                                                        of  of26
                                                                           223 223




      -HIIUH\/+DUWPDQ(VT       0LFKDHO6%XGZLFN(VT±$GPLWWHGPro Hac Vice
       1HYDGD%DU1R            6RORPRQ%*HQHW(VT±$GPLWWHGPro Hac Vice
      +$570$1 +$570$1              *LO%HQ(]UD(VT±$GPLWWHGPro Hac Vice
      :3OXPE/DQH6XLWH%     0(/$1'%8':,&.3$
       5HQR19                 6RXWKHDVW)LQDQFLDO&HQWHU
      7                6RXWK%LVFD\QH%RXOHYDUG
       )                0LDPL)ORULGD
      QRWLFHV#EDQNUXSWF\UHQRFRP    7  
                                     )  
                                       PEXGZLFN#PHODQGEXGZLFNFRP
                                      VJHQHW#PHODQGEXGZLFNFRP
                                       JEHQH]UD#PHODQGEXGZLFNFRP
                                      
       $WWRUQH\VIRU&KULVWLQD:/RYDWR&KDSWHU7UXVWHH
     
                                81,7('67$7(6%$1.5837&<&2857
                                         ',675,&72)1(9$'$
     ,QUH                                            
                                                              /HDG&DVH1R%.JV
          '28%/(-803,1&                                      &KDSWHU 
                   'HEWRU                                   6XEVWDQWLYHO\&RQVROLGDWHGZLWK
                                                                
    
          ;$IIHFWV'&6RODU6ROXWLRQV,QF                   JV '&6RODU6ROXWLRQV,QF
        ;$IIHFWV'&6RODU'LVWULEXWLRQ,QF                JV '&6RODU'LVWULEXWLRQ,QF
          ;$IIHFWV'&6RODU)UHHGRP,QF





                                                                  JV '&6RODU)UHHGRP,QF
        ;$IIHFWV'RXEOH-XPS,QF                        
                                                              
          &+5,67,1$:/29$72
                                                                $GYHUVDU\1RJV
                   3ODLQWLII                                
                                                                75867((¶65(63216(,123326,7,21
        Y                                                  72027,2172:,7+'5$:
                                                              5()(5(1&(>(&)1R@
          1,;213($%2'<//3
                                                                
                'HIHQGDQW                                  +HDULQJ)HEUXDU\
                                                                7LPHDP
    
               &KULVWLQD/RYDWRWKHWUXVWHH ³Trustee´RU³Plaintiff´ IRUWKHFKDSWHUHVWDWHVRI'&6RODU
        6ROXWLRQV,QF'&6RODU'LVWULEXWLRQ,QF'&6RODU)UHHGRP,QFDQG'RXEOH-XPS,QF ³DC
        Solar´  UHVSRQGV LQ RSSRVLWLRQ WR 1L[RQ 3HDERG\ //3¶V ³Nixon´  PRWLRQ WR ZLWKGUDZ WKH
        UHIHUHQFH ³Motion´ >(&)1R@1HDUO\WKUHH\HDUVDJR1L[RQFRQVHQWHGWRWKH%DQNUXSWF\
        &RXUW¶VH[FOXVLYHHTXLWDEOHMXULVGLFWLRQWRHQWHUILQDORUGHUVLQWKLVDGYHUVDU\SURFHHGLQJ ³Nixon
        AP´ 1L[RQ¶VHIIRUWVWRIRUXPVKRSVKRXOGEHUHMHFWHG



                                                           

                                                                                                             153
                                              
            Case
         CaseCase21-05072-gs
               21-05072-gs
                  3:22-cv-00257Doc
                             Doc   36 Entered
                                       Entered
                                 Document
                                 100           01/14/22
                                          1-1 06/07/22
                                               Filed     13:38:02
                                                     06/07/22
                                                       12:02:03PagePage
                                                                  Page  2 of
                                                                    155155
                                                                        of  of26
                                                                           223 223




             ,      7KH7UXVWHH¶V&ODLPV$JDLQVW1L[RQ3HDERG\
                   1L[RQDWWHPSWVWRGLVWUDFWE\FKDOOHQJLQJWKHPHULWVRIWKH7UXVWHH¶VFRPSODLQW ³Nixon
         Complaint´  0RWLRQ SJV  :KLOH WKH PHULWV DUH QRW DW LVVXH LQ WKH 0RWLRQ WKH 7UXVWHH
         UHVSRQGVLQSDUWDVIROORZV
                   )LUVWWKH1LQWK&LUFXLWLQF.D.I.C. v. O'Melveny & Myers)G WK&LU 
          DGRSWLQJLQUHOHYDQWSDUWLWVRSLQLRQDW)G WK&LU UXOHGWKDWDUHFHLYHUIRUDQ
         HQWLW\ VWDWHG D FODLP DJDLQVW WKH HQWLW\¶V IRUPHU ODZ ILUP IRUPDOSUDFWLFH ZKHUH WKH ODZ ILUP¶V
         SURIHVVLRQDO VHUYLFHV LQFOXGHG DVVLVWLQJ WKH HQWLW\ LQ UDLVLQJ PRQH\ IURP LQYHVWRUV WKURXJK
         V\QGLFDWLRQV DQG 330V 7KH 1LQWK &LUFXLW KHOG WKDW HYHQ WKRXJK WKH HQWLW\¶V LQVLGHUV ZHUH
        ZURQJGRHUV ³>S@DUW DQG SDUFHO RI HIIHFWLYHO\ SURWHFWLQJ D FOLHQW DQG WKXV GLVFKDUJLQJ WKH
        DWWRUQH\¶VGXW\RIFDUHLVWRSURWHFWWKHFOLHQWIURPWKHOLDELOLW\ZKLFKPD\IORZIURPSURPXOJDWLQJ
        DIDOVHRUPLVOHDGLQJRIIHULQJWRLQYHVWRUV´)GDW³>7KHHQWLW\@ZDVWKHFOLHQWKHUHQRW
        >WKHZURQJGRLQJLQVLGHUV@´DQGWKHODZILUPIDLOHGWRSURWHFWLWVHQWLW\FOLHQWIdDW
                  6HFRQGLQDonell v. Nixon Peabody LLP:/ &'&DO6HSW WKH
        GLVWULFWFRXUWUXOHGWKDWWKHUHFHLYHUIRUDQHQWLW\VWDWHGDFODLPDJDLQVWWKHHQWLW\¶VIRUPHUODZILUP





        1L[RQ 3HDERG\ IRU EUHDFK RI ILGXFLDU\ GXW\ DQG PDOSUDFWLFH 7KH UHFHLYHU DOOHJHG WKDW 1L[RQ
        IDLOHGWRSHUIRUPSURSHUGXHGLOLJHQFHDQGZURQJO\KHOSHGWKHHQWLW\¶VLQVLGHUUDLVHPRQH\IURP
        LQYHVWRUVLQDPDQQHUZKLFKYLRODWHGWKHODZDQGUHSUHVHQWDWLRQVWRLQYHVWRUVFDXVLQJWKHHQWLW\
        GDPDJHVLQFOXGLQJE\  LQFXUULQJOLDELOLWLHVWRLQYHVWRUV  GHHSHQLQJWKHHQWLW\¶VLQVROYHQF\
        DQG  KHOSLQJWKHHQWLW\YLRODWHWKHODZIdDW 
                  7KLUG1L[RQFODLPVWKDWWKH7UXVWHHDOOHJHVWKDWLWPHUHO\NHSWVLOHQWDERXWWKH&DUSRII
        3RQ]L6FKHPHWKDWRWKHUSURIHVVLRQDOVDOVRDFWHGZURQJIXOO\DQG1L[RQ¶VPLVFRQGXFWVKRXOGEH
        SDUGRQHGEHFDXVHRIWKHDIILUPDWLYHGHIHQVHRIin pari delicto7KLVLVDOOZURQJ1L[RQGLGQRW
        VLPSO\UHPDLQVLOHQW1L[RQFORVHGKXQGUHGVRIPLOOLRQVRIGROODUVLQWUDQVDFWLRQVNQRZLQJWKH\
        ZRXOGKDUPLWVFOLHQW'&6RODUDQGKHOS&DUSRIIGHFHLYHWKLUGSDUWLHV0RUHRYHUDQ\PLVFRQGXFW
        E\ RWKHUV GRHV QRW FRQGRQH 1L[RQ¶V PLVFRQGXFW $QG ILQDOO\ in pari delicto GRHV QRW H[FXVH
        1L[RQ¶VPLVFRQGXFWDQGLQDQ\HYHQWLVLQDSSOLFDEOHIRUPXOWLSOHOHJDODQGIDFWXDOUHDVRQVWKDWWKH
        7UXVWHHZLOODGGUHVVLQGHWDLOLQGXHFRXUVH



                                                               

                                                                                                                     154
                                              
            Case
         CaseCase21-05072-gs
               21-05072-gs
                  3:22-cv-00257Doc
                             Doc   36 Entered
                                       Entered
                                 Document
                                 100           01/14/22
                                          1-1 06/07/22
                                               Filed     13:38:02
                                                     06/07/22
                                                       12:02:03PagePage
                                                                  Page  3 of
                                                                    156156
                                                                        of  of26
                                                                           223 223




             ,,      ,QWURGXFWLRQ
                    ,Q 0DUFK  1L[RQ ILOHG FODLP QXPEHU  ³Nixon POC´  WR VHHN DQ DIILUPDWLYH
         UHFRYHU\IURPWKH'&6RODUEDQNUXSWF\HVWDWHIRUWKHYDOXHRIWKHSUHSHWLWLRQ³OHJDOVHUYLFHV´LW
         SURYLGHGWR'&6RODU7KH7UXVWHHPHW1L[RQ¶V32&ZLWKFRXQWHUFODLPVVHHNLQJGLVDOORZDQFHRI
         WKH1L[RQ32&UHFRYHU\RIIUDXGXOHQWWUDQVIHUVDQGGDPDJHVLQWRUW7KH7UXVWHH¶VFODLPVDUH
         LQWHUWZLQHGZLWKDQGORJLFDOO\UHODWHGWRWKRVHIRUZKLFK1L[RQVHHNVWRUHFRYHUIURPWKHHVWDWH
                    7KH1L[RQ$3LVVWDWXWRULO\FRUH1L[RQFRQVHQWHGWRWKLV%DQNUXSWF\&RXUW¶VHQWU\RIILQDO
         RUGHUV1L[RQZDLYHGDQ\MXU\WULDOULJKW$QGQRWZLWKVWDQGLQJ1L[RQ¶VGLVPLVVLYHVWDWHPHQWV
         WKLV %DQNUXSWF\ &RXUW KDV \HDUV RI H[SHULHQFH UHJDUGLQJ WKH &DUSRII 3RQ]L 6FKHPH GHILQHG
        EHORZ DQGWKH PDWWHUVLQ WKHVH%DQNUXSWF\&DVHV LQFOXGLQJ RWKHUDGYHUVDU\SURFHHGLQJV 7KH
        7UXVWHHDQGWKH'&6RODUHVWDWHZLOOVXIIHUGHOD\DQGH[SHQVHLIWKHUHIHUHQFHLVZLWKGUDZQ
                   1L[RQKDVIDLOHGWRPHHWLWVEXUGHQDQGWKH0RWLRQVKRXOGEHRYHUUXOHG
            ,,,     7KH1HYDGD'LVWULFW&RXUW¶V/%$ 2UGHULV,QVWUXFWLYH
    
                     1L[RQLVQRWWKHILUVWLQWKHVH%DQNUXSWF\&DVHVWRVHHNWRZLWKGUDZWKHUHIHUHQFH7KH
    
          1HYDGD'LVWULFW&RXUWUHFHQWO\GHQLHGWKDWUHOLHIVRXJKWE\DQRWKHUDGYHUVDU\GHIHQGDQW ³LBA





    
          Order´ See([KLELW:KLOHQRWGLUHFWO\RQSRLQWWKHGLVWULFWFRXUW¶VDQDO\VLVLVLQVWUXFWLYH
    
                     ,QLBA,WKH7UXVWHHEURXJKWDIUDXGXOHQWWUDQVIHUDFWLRQDJDLQVWDGHIHQGDQWWKDWGLGQRW
    
          ILOHDSURRIRIFODLP7KHGHIHQGDQWVRXJKWWRZLWKGUDZWKHUHIHUHQFHLPPHGLDWHO\DQGWKH7UXVWHH
    
          DUJXHGWKDWZLWKGUDZDOZDVDSSURSULDWHZKHQWKHSURFHHGLQJZDVWULDOUHDG\,QWKH/%$2UGHU
    
          WKHGLVWULFWFRXUWGLVFXVVHGExecutive Benefits Ins. Agency v. Arkison86  ZKLFK
    
          DSSURYHGRIWKH³GLYLVLRQRIODERU´EHWZHHQEDQNUXSWF\FRXUWVDQGGLVWULFWFRXUWV1RWLQJILUVW
    
          WKDWWKH7UXVWHHKDGEURXJKWDSternFODLPi.e.,DFODLPZKLFKLVVWDWXWRULO\FRUHEXWFDQQRWEH
    
          DGMXGLFDWHGWRILQDOMXGJPHQWE\WKHEDQNUXSWF\FRXUWZLWKRXWFRQVHQWWKH1HYDGD'LVWULFW&RXUW
    
                                             
        
             1L[RQ FODLPV WKDW ³WKH EDQNUXSWF\ FRXUW¶V SULRU NQRZOHGJH UHJDUGLQJ '& 6RODU¶VDVVHWV DQG
        EDQNUXSWF\SHWLWLRQZLOOKDYHOLPLWHGYDOXHLQWKLVPDWWHU«´0RWLRQ HPSKDVLVDGGHG 
          
            Lovato v. LBA Realty Fund II-Company I, LLC '1HY >(&)1R@
        
            Qsee also In re Swift Air, LLC, :/  %DQNU'$UL]0DU  ³7KH
          &RXUWLQSternPDGHFOHDUWKDWWKHTXHVWLRQSUHVHQWHGLQWKDWFDVH DEDQNUXSWF\FRXUW¶VDXWKRULW\
        WRUXOHRQVWDWHODZFRXQWHUFODLPV ZDVQDUURZDQGWKDWWKHKROGLQJGLGQRWPHDQLQJIXOO\DOWHUWKH
          GLYLVLRQRIODERUEHWZHHQGLVWULFWFRXUWVDQGEDQNUXSWF\FRXUWVXQGHUWKHFXUUHQWVWDWXWH´ 

                                                              

                                                                                                                 155
                                              
            Case
         CaseCase21-05072-gs
               21-05072-gs
                  3:22-cv-00257Doc
                             Doc   36 Entered
                                       Entered
                                 Document
                                 100           01/14/22
                                          1-1 06/07/22
                                               Filed     13:38:02
                                                     06/07/22
                                                       12:02:03PagePage
                                                                  Page  4 of
                                                                    157157
                                                                        of  of26
                                                                           223 223




         IRXQGWKDWWKHUHIHUHQFHVKRXOGUHPDLQXQWLOWKHDGYHUVDU\LVWULDOUHDG\7KH1HYDGD'LVWULFW&RXUW
         UHDVRQHGLQSDUWWKDW
               >%@DQNUXSWF\MXGJHVDUHSDUWLFXODUO\DGHSWDWDGMXGLFDWLQJFRUHEDQNUXSWF\
                FODLPVDQGWKH$UWLFOH,,,FRXUWEHQHILWVIURPWKHLUH[SHUWLVHSee In re EPD
               Inv. Co. LLC&DVH1R&96-2:/DW  &'&DO
               6HSW  ³+DYLQJWKHEDQNUXSWF\FRXUWVXEPLWSURSRVHGILQGLQJVRIIDFWDQG
                FRQFOXVLRQVRIODZLQIUDXGXOHQWFRQYH\DQFHFDVHVµSURPRWHVMXGLFLDOHFRQRP\DQG
               HIILFLHQF\E\PDNLQJXVHRIWKHEDQNUXSWF\FRXUW¶VXQLTXHNQRZOHGJHRI7LWOH
                DQGIDPLOLDULW\ZLWKWKHDFWLRQVEHIRUHWKHP¶´ quoting In re Heathcentral.com
                )G   WK &LU   :KLOH WKHUH PD\ XOWLPDWHO\ EH VRPH
               GXSOLFDWLRQRIHIIRUWVE\OHDYLQJWKHUHIHUHQFHLQSODFHXQWLOWKH$GYHUVDU\LV
                UHDG\IRUILQDODGMXGLFDWLRQWKHUHDUHDOVRFRQVLGHUDEOHEHQHILWVIRUWKHIDLU
               DGPLQLVWUDWLRQ RI WKH $GYHUVDU\ IRU FRUH PDWWHUV WR EH KDQGOHG LQ WKH
                EDQNUXSWF\FRXUW
              
        7KH1HYDGD'LVWULFW&RXUWFRQWLQXHGWKDW  RYHUODSSLQJLVVXHVLQWKH/%$DGYHUVDU\DQGRWKHU

        DGYHUVDULHVSHQGLQJEHIRUHWKH%DQNUXSWF\&RXUWDQG  WKHSROLFLHVRIXQLIRUPLW\RIEDQNUXSWF\

        SURFHHGLQJDQGFHQWUDOL]DWLRQRIGLVSXWHVZHLJKLQIDYRURIGHQ\LQJZLWKGUDZDORIWKHUHIHUHQFH

        XQWLOWKH/%$DGYHUVDU\LVWULDOUHDG\

              ,9    *HQHUDO%DFNJURXQG





                  $ 7KH&DUSRII3RQ]L6FKHPH

    
                    )URPQRODWHUWKDQ&<WKURXJK'HFHPEHU-HII&DUSRIISHUSHWUDWHGDELOOLRQ
    
          GROODUPonziVFKHPHWKURXJKDQGXSRQ'&6RODU ³Carpoff Ponzi Scheme´ &DUSRIISHUSHWUDWHG
    
          WKH&DUSRII3RQ]L6FKHPHLQFRQQHFWLRQZLWKWD[DGYDQWDJHGWUDQVDFWLRQVZKHUH'&6RODURIIHUHG
    
          LQYHVWRUVWKHRSSRUWXQLW\WR³EX\´±ZLWKRXWWDNLQJSRVVHVVLRQ±FHUWDLQPRELOHVRODUJHQHUDWRUV
    
              ³MSGs´ LQH[FKDQJHIRUDQHLJKWRUQLQHILJXUHLQYHVWPHQW
    
                    % 1L[RQ¶V5ROHDV&RXQVHOWR'&6RODU*HQHUDOO\
    
    
    
    
                                        
        
            /%$2UGHUSJ HPSKDVLVDGGHG 
          
            1L[RQ&RPSODLQW2UGHU*UDQWLQJ7UXVWHH¶V0RWLRQIRU6XEVWDQWLYH&RQVROLGDWLRQ>0DLQ
        %DQNUXSWF\&DVH(&)1R@ ³Sub-Con Order´  ILQGLQJD3RQ]LOLNHVFKHPH 
          
            1L[RQ&RPSODLQW6XE&RQ2UGHU

                                                            

                                                                                                            156
                                              
            Case
         CaseCase21-05072-gs
               21-05072-gs
                  3:22-cv-00257Doc
                             Doc   36 Entered
                                       Entered
                                 Document
                                 100           01/14/22
                                          1-1 06/07/22
                                               Filed     13:38:02
                                                     06/07/22
                                                       12:02:03PagePage
                                                                  Page  5 of
                                                                    158158
                                                                        of  of26
                                                                           223 223




                )URP 2FWREHU  WR 'HFHPEHU  1L[RQ ZDV '& 6RODU¶V RXWVLGH FRXQVHO ZLWK D
         EURDGVFRSHRIUHSUHVHQWDWLRQ$PRQJRWKHUWKLQJV
                )URP2FWREHUWR'HFHPEHU1L[RQFRQWLQXRXVO\VHUYHGDV6ROXWLRQV¶
                 DQG'LVWULEXWLRQ¶VRXWVLGHFRXQVHOFORVLQJPRUHWKDQELOOLRQLQWUDQVDFWLRQV/HG
                E\VHQLRUSDUWQHU0U0LOGHUDQDWLRQDOO\UHFRJQL]HGH[SHUWLQWKHELOOLRQGROODU
                PDUNHWSODFH IRU UHQHZDEOH HQHUJ\ WUDQVDFWLRQV 1L[RQ HGXFDWHG FRXQVHOHG DQG
                 GLUHFWHG6ROXWLRQVDQG'LVWULEXWLRQLQFRQQHFWLRQZLWK6ROXWLRQV¶VSRQVRULQJRYHU
                WKLUW\WD[HTXLW\WUDQVDFWLRQVDQGUHODWHGPDWWHUV
          
                6ROXWLRQVDQG'LVWULEXWLRQUHOLHGKHDYLO\RQ1L[RQJLYHQWKHLUODFNRIPHDQLQJIXO
                H[SHULHQFHLQVRSKLVWLFDWHGEXVLQHVVWUDQVDFWLRQVOHWDORQHWKHVSHFLDOL]HGDUHDRI
                 WD[HTXLW\1L[RQ  WDXJKW6ROXWLRQVDQG'LVWULEXWLRQZKDWWRGRDQGKRZWRGR
                LW LQFOXGLQJ VWUXFWXULQJ WKH LQYHVWPHQWV DQG WUDQVDFWLRQV   SHUIRUPHG WD[
                 FRUSRUDWHDQGVHFXULWLHVUHODWHGSURIHVVLRQDOVHUYLFHV  PDUNHWHGWKHLQYHVWPHQW
               RSSRUWXQLW\ WR SRWHQWLDO LQYHVWRUV DQG   YRXFKHG IRU 6ROXWLRQV 'LVWULEXWLRQ
               &DUSRIIDQGWKHLQYHVWPHQWLQWKHPDUNHWSODFH
                 
               7KH7UXVWHHIXUWKHUDOOHJHVLQKHU1L[RQ&RPSODLQW LQVXPPDU\DQGLQSDUW WKDW
                 $ULVLQJIURPWKHDWWRUQH\FOLHQWUHODWLRQVKLS1L[RQRZHG'&6RODUILGXFLDU\GXWLHV
                     DQGGXWLHVRIJRRGIDLWKDQGFDUHDQGRWKHUZLVH
    
                     
                 1L[RQ EUHDFKHG WKRVH GXWLHV LQFOXGLQJ E\ IDLOLQJ WR SURWHFW LWV FOLHQWV KDUPLQJ LWV
                     FOLHQWVDQGYLRODWLQJPDQGDWRU\5XOHVRI3URIHVVLRQDO&RQGXFW





                   
                   1L[RQLGHQWLILHG5HG)ODJVDQGVKRXOGKDYHNQRZQDQGWKHQDFWXDOO\NQHZ E\QRODWHU
    
                     WKDQDVHULHVRIHYHQWVIURP$SULO0DUFK WKDW&DUSRIIZDVLQMXULQJ'&
                   6RODU ± LWV FOLHQWV± WKURXJK WKH FRPSOH[ WD[ HTXLW\ WUDQVDFWLRQV ZKLFK 1L[RQ
                     VWUXFWXUHGWDXJKW'&6RODUWRLPSOHPHQWDQGPDQDJHGDQGRYHUVDZ
                   
                 1L[RQFRPPLWWHGDVVLVWHGDQGMRLQHG&DUSRII¶VZURQJGRLQJE\UHSUHVHQWLQJ'&6RODU
                     LQDQGFORVLQJWD[HTXLW\WUDQVDFWLRQVZKLFK1L[RQNQHZZRXOGKDUP'&6RODUDQG
                   PLVOHDGLQJRWKHUSDUWLHVUHODWHGWRWKHWUDQVDFWLRQV
    
                                       
          
            7KH7UXVWHH¶VFRPSODLQWDOOHJHVWKDW1L[RQ¶VFOLHQWVLQFOXGHG6ROXWLRQVDQG'LVWULEXWLRQ DQG
        RWKHU&DUSRIIDIILOLDWHGHQWLWLHV ,QLWVFRXUWSDSHUV1L[RQLGHQWLILHVLWVFOLHQWVDV³'&6RODU´
          >See e.g.,(&)1RSJ@,QWKHLQWHUHVWVRIEUHYLW\DQGFRQVLVWHQF\WKH7UXVWHHXVHV
        1L[RQ¶VODQJXDJHDQGLGHQWLILHV1L[RQ¶VFOLHQWDV³'&6RODU´
          
          1L[RQ&RPSODLQW GHILQHGEHORZ +HDGLQJ(DQG 
          
            1L[RQ&RPSODLQW 
        
             1L[RQ&RPSODLQW 
          
             1L[RQ&RPSODLQW 
        
             1L[RQ&RPSODLQW+HDGLQJV9) 9* 
          
             1L[RQ&RPSODLQW+HDGLQJ9+ 9, 

                                                              

                                                                                                                    157
                                              
            Case
         CaseCase21-05072-gs
               21-05072-gs
                  3:22-cv-00257Doc
                             Doc   36 Entered
                                       Entered
                                 Document
                                 100           01/14/22
                                          1-1 06/07/22
                                               Filed     13:38:02
                                                     06/07/22
                                                       12:02:03PagePage
                                                                  Page  6 of
                                                                    159159
                                                                        of  of26
                                                                           223 223




                 & 7KH%DQNUXSWF\&DVHV
     
                  )ROORZLQJD'HFHPEHUODZHQIRUFHPHQWUDLGDQGWKHUHPRYDORI&DUSRIIIURPDQ\
     
          GHFLVLRQPDNLQJUROHLQHDUO\'&6RODUILOHGYROXQWDU\SHWLWLRQVFRPPHQFLQJWKHEDQNUXSWF\
     
          FDVHV ³Bankruptcy Cases´ 2Q0DUFKWKLV&RXUWFRQYHUWHGWKHFDVHVWRFKDSWHU
     
          2Q0DUFKWKH7UXVWHHZDVDSSRLQWHG
     
                  7KH %DQNUXSWF\ &RXUW KDV SUHVLGHG RYHU QXPHURXV PDWWHUV GXULQJWKH SDVW WKUHH \HDUV
     
          LQFOXGLQJ   FRQYHUVLRQ RI WKHVH FDVHV   GLVFRYHU\ GLVSXWHV   '& 6RODU¶V LQWHUHVWV LQ
     
          WKRXVDQGVRI06*V  VDOHRI06*VDQGDOORFDWLRQRIWKHVDOHSURFHHGV  HVWDEOLVKPHQWRI
     
          DSURWRFROWRWDNH)5%3H[DPLQDWLRQVUHPRWHO\GXHWR&29,'  OLTXLGDWLRQDQG
    
          DOORZDQFH RI KXQGUHGV RI PLOOLRQV RI GROODUV RI FODLPV RI LQYHVWRUV DQG   FRQVLGHUDWLRQ DQG
    
          DSSURYDOXQGHU)5%3RIWKH7UXVWHH¶VVHWWOHPHQWVRIWRUWRUDYRLGDQFHFODLPVDJDLQVW L 
    
          ILQDQFLDOLQVWLWXWLRQV LL DFFRXQWDQWVDQG LLL '&6RODULQYHVWRUV$QGWKH%DQNUXSWF\&RXUW
    
          FRQVLGHUHGDQGRUGHUHGWKHVXEVWDQWLYHFRQVROLGDWLRQRIWKH'&6RODUHVWDWHVSXUVXDQWWR86&
    
          PDNLQJZLGHUDQJLQJILQGLQJVRIIDFWDQGFRQFOXVLRQVRIODZLQWKHSURFHVV
    
                  ' 7KH1L[RQ32&WKH1L[RQ&RPSODLQWDQG2WKHU$GYHUVDU\3URFHHGLQJV





    
                       7KH1L[RQ32&
    
                1HDUO\ WKUHH \HDUV DJR 1L[RQ ILOHG LWV 32& WR REWDLQ DQ DIILUPDWLYH UHFRYHU\ RI

        IURPWKH'&6RODUHVWDWH1L[RQVWDWHVLQLWV32& SDUWTXHVWLRQ WKDWWKH³basis

        of the claim´LV1L[RQ¶VSUHSHWLWLRQ³legal services´WR'&6RODU

                1L[RQFRPSOHWHGSDUWTXHVWLRQRILWV1L[RQ32&E\DWWDFKLQJGRFXPHQWDU\VXSSRUW

        SXUVXDQW WR )5%3  1L[RQ DWWDFKHG LWV DFFRXQW VWDWHPHQW ³Account Statement´ 

    
                                        
          
           1L[RQ&RPSODLQW6XE&RQ2UGHU
          
             0DLQ&DVH(&)1RV see alsoGRFNHWDQGe.g.,(&)1RVDQG
        
             0DLQ%DQNUXSWF\&DVH(&)1R
          
           0DLQ%DQNUXSWF\&DVH(&)1RV 
          
             See e.g.,0DLQ%DQNUXSWF\&DVH(&)1RV 
        
             0DLQ%DQNUXSWF\&DVH(&)1R
          
             0DLQ%DQNUXSWF\&DVH(&)1RV 
        
             0DLQ%DQNUXSWF\&DVH(&)1RV
          
             0DLQ%DQNUXSWF\&DVH(&)1RV  6XE&RQ2UGHU 

                                                              

                                                                                                                   158
                                              
            Case
         CaseCase21-05072-gs
               21-05072-gs
                  3:22-cv-00257Doc
                             Doc   36 Entered
                                       Entered
                                 Document
                                 100           01/14/22
                                          1-1 06/07/22
                                               Filed     13:38:02
                                                     06/07/22
                                                       12:02:03PagePage
                                                                  Page  7 of
                                                                    160160
                                                                        of  of26
                                                                           223 223




         LGHQWLI\LQJ  WKUHHLQYRLFHVVHQWWR6ROXWLRQV  WKHDPRXQWVELOOHGDQGGXHDQGRZLQJIRUHDFK
         RIWKHWKUHHLQYRLFHV  1L[RQ¶V³Client Attorney´±5LFKDUG&RJHQ(VTDQG  1L[RQ¶V³Client
         No´1L[RQ¶V$FFRXQW6WDWHPHQWVWDWHVWKDW HPSKDVLVLQRULJLQDO ³7+(6(,192,&(6
         $5()25/(*$/6(59,&(6«´
                 1L[RQQHYHUKDGDQ\HQJDJHPHQWDJUHHPHQWZLWK'&6RODU
                      7KH7UXVWHH¶V1L[RQ&RPSODLQW
     
                  2Q2FWREHUDIWHULQYHVWLJDWLQJWKHOHJDOVHUYLFHV1L[RQSURYLGHGWR'&6RODU
     
          WKH 7UXVWHH ILOHG KHU 1L[RQ &RPSODLQW EDVHG RQ 1L[RQ¶V PLVFRQGXFW LQ SURYLGLQJ WKRVH OHJDO
     
          VHUYLFHVDQGLWVDWWRUQH\FOLHQWUHODWLRQVKLS7KH7UXVWHHVHWVIRUWKVSHFLILFDOOHJDWLRQVGHWDLOLQJ
    
          1L[RQ¶V GXWLHV DQG EUHDFK RI GXWLHV LQFOXGLQJ   KRZ DQG ZKHQ 1L[RQ DFTXLUHG DFWXDO
    
          NQRZOHGJHWKDW-HII&DUSRIIZDVGHFHLYLQJLQYHVWRUVDQGKDUPLQJ'&6RODUDQG  KRZDQGZKHQ
    
          1L[RQNQRZLQJO\DQGDFWLYHO\DVVLVWHG-HII&DUSRIILQKLVPLVFRQGXFW
    
                       7KH7UXVWHH¶V2WKHU$GYHUVDU\3URFHHGLQJV
    
                7RGDWHWKH7UXVWHHKDVILOHGDGYHUVDU\SURFHHGLQJVEHIRUHWKH%DQNUXSWF\&RXUWDQG





        LQ WKH %DQNUXSWF\ &DVHV 7KH 7UXVWHH LQWHQGV WR ILOH DGGLWLRQDO FODLPV VRXQGLQJ LQ WRUW DQG

        DYRLGDQFH,QPRVWRIWKHILOHGDGYHUVDU\SURFHHGLQJVWKH7UXVWHH¶VFODLPVVRXQGLQDYRLGDQFHEXW

        VRPHLQFOXGHWRUWFODLPV$OORIWKH7UXVWHH¶VDGYHUVDU\SURFHHGLQJVLQYROYHRYHUODSSLQJIDFWXDO

        LVVXHVVXFKDV  WKH&DUSRII3RQ]L6FKHPHDQGLWVEUHDWKSXUSRVHDQGVFRSH  '&6RODU¶V

        ILQDQFLDOSRVLWLRQDWGLIIHUHQWWLPHV  WKHUROHVRI&DUSRIIDQGRWKHUZURQJGRLQJ DQGLQQRFHQW 

        LQVLGHUVDQGRXWVLGHUVDQG  WKHUROHVRIRXWVLGHSURIHVVLRQDOVDQGDGYLVRUV

                'HIHQGDQWVKDYHDVVHUWHGDZLGHYDULHW\RIGHIHQVHV6RPHDYRLGDQFHGHIHQGDQWVDUJXH

        WKDWWKHLU³JRRGIDLWK´LVHYLGHQFHGE\WKH'&6RODU¶VSURIHVVLRQDOV¶ e.g.1L[RQ LQYROYHPHQWLQ

        WKHWD[HTXLW\WUDQVDFWLRQV

    
                                       
          
             1L[RQ&RPSODLQW
        
             See generallyGRFNHW
          
             See e.g.,$GY&DVH1RJV &RXQW,IRUEUHDFKRIILGXFLDU\GXW\ $GY&DVH1R
        JV &RXQW9IRUFRQYHUVLRQ 
          
             See e.g.,0DLQ&DVH(&)1RSJ

                                                              

                                                                                                                   159
                                              
            Case
         CaseCase21-05072-gs
               21-05072-gs
                  3:22-cv-00257Doc
                             Doc   36 Entered
                                       Entered
                                 Document
                                 100           01/14/22
                                          1-1 06/07/22
                                               Filed     13:38:02
                                                     06/07/22
                                                       12:02:03PagePage
                                                                  Page  8 of
                                                                    161161
                                                                        of  of26
                                                                           223 223




              9       7KH5HIHUHQFH6KRXOG1RW%H:LWKGUDZQ
     
                     $ 1L[RQ¶V32&LV1RW0HUHO\$QDORJRXVWR%XWLQ)DFW([FHHGV1L[RQ¶V)LOLQJRID
                        &RPSODLQW$JDLQVWWKH'&6RODU%DQNUXSWF\(VWDWH
                         
                    ³%\ILOLQJLWV1L[RQ32&1L[RQ³DVVHUWHGDULJKWWREDQNUXSWF\HVWDWHDVVHWV´1L[RQ¶V
         32&LVDQDORJRXVWR1L[RQKDYLQJILOHGDFLYLOFRPSODLQWDJDLQVWWKH'&6RODUEDQNUXSWF\HVWDWH
         DQGWKH7UXVWHH¶V1L[RQ&RPSODLQWLVDQDORJRXVWRDQDQVZHUDQGFRXQWHUFODLP
                    %XW³>I@LOLQJDSURRIRIFODLPLVQRWPHUHO\DVHULHVRIDOOHJDWLRQVEDVHGRQLQIRUPDWLRQDQG
         EHOLHIZKLFKLIWUXHPLJKWVXSSRUWWKHUHOLHIUHTXHVWHG VXFKDVZKHQILOLQJDFRPSODLQW 7KH
         ILOLQJRIDSURRIRIFODLPLVPXFKPRUHVLJQLILFDQWDQGWKHVWDWHPHQWVWKHUHLQDUHSURYLGHGZLWK
        DQGVXEMHFWWRKLJKHUVWDQGDUGV´
                   1L[RQ¶V 32& ZHOO H[FHHGV D VLPSOH FRPSODLQW EHFDXVH   LW ZDV VZRUQWR DNLQ WR D
        YHULILHGFRPSODLQWDQG  1L[RQDWWDFKHGGRFXPHQWDU\VXSSRUWi.e.,WKH$FFRXQW6WDWHPHQW
        VDWLVI\LQJLWVSULPDIDFLHEXUGHQWRSURYHWKHYDOLGLW\DQGDPRXQW1L[RQWRRNDGYDQWDJHRIWKH
        %DQNUXSWF\5XOHV )5%3 WRVHFXUHDQHYLGHQWLDU\SUHVXPSWLRQRIHQWLWOHPHQWWRUHFRYHU\
        IURPWKHHVWDWHVKLIWLQJWKHEXUGHQWRWKH7UXVWHH$QG1L[RQWRRNDGYDQWDJHRIWKH%DQNUXSWF\





        &RGHWRVHFXUHDOORZDQFHRIWKH1L[RQ32&XQOHVVDQGXQWLOREMHFWHGWR86& D 
                   % 7KH6WDQGDUG
                       
                     7KH 86 'LVWULFW &RXUW IRU WKH 'LVWULFW RI 1HYDGD UHIHUV DOO FDVHV DULVLQJ XQGHU LQ RU
    
          UHODWHGWRWKH%DQNUXSWF\&RGHFDVHVXQGHUWKH%DQNUXSWF\&RGHWRWKH86%DQNUXSWF\&RXUW
    
          +HUH1L[RQVHHNVSHUPLVVLYHZLWKGUDZDOi.e.,IRU³FDXVH´XQGHU86& G 
    
                                        
          
           In re Legendary Field Exh., LLC:/  %DQNU:'7H[-DQ 
          
             In re Brosio%5 %$3WK&LU  FLWLQJFDVHV 
          
           In re Borre:/  %DQNU('&DO0DU see also Matter of Wood
          )G WK&LU  ³7KHILOLQJRIWKHSURRI>RIFODLP@LQYRNHVWKHVSHFLDOUXOHVRI
        EDQNUXSWF\FRQFHUQLQJREMHFWLRQVWRWKHFODLPHVWLPDWLRQRIWKHFODLPIRUDOORZDQFHSXUSRVHV
        DQGWKHULJKWVRIWKHFODLPDQWWRYRWHRQWKHSURSRVHGGLVWULEXWLRQ´ 
          
             In re Garner%5 %$3WK&LU  ³,QVKRUWDSURRIRIFODLPH[HFXWHGE\
        DQDWWRUQH\KDVDQHYLGHQWLDU\HIIHFWVLPLODUWRWKDWRIDYHULILHGFRPSODLQW´ 
          
             )5%3Garner%5DW
        
             IdDW 
          
             /RFDO5XOHVRI%DQNUXSWF\3UDFWLFH'1HY ³Local Rules´  E  

                                                                    

                                                                                                                           160
                                              
            Case
         CaseCase21-05072-gs
               21-05072-gs
                  3:22-cv-00257Doc
                             Doc   36 Entered
                                       Entered
                                 Document
                                 100           01/14/22
                                          1-1 06/07/22
                                               Filed     13:38:02
                                                     06/07/22
                                                       12:02:03PagePage
                                                                  Page  9 of
                                                                    162162
                                                                        of  of26
                                                                           223 223




                 ³,QGHWHUPLQLQJZKHWKHUFDXVHH[LVWVDGLVWULFWFRXUWVKRXOGFRQVLGHUWKHHIILFLHQWXVHRI
         MXGLFLDO UHVRXUFHV GHOD\ DQG FRVWV WR WKH SDUWLHV XQLIRUPLW\ RI EDQNUXSWF\ DGPLQLVWUDWLRQ WKH
         SUHYHQWLRQ RI IRUXP VKRSSLQJ DQG RWKHU UHODWHG IDFWRUV´ $OWKRXJK FRXUWV KDG WUDGLWLRQDOO\
         EHJXQWKHDQDO\VLVE\GHWHUPLQLQJZKHWKHUDFODLPLV³FRUH´RU³QRQFRUH´SRVWStern³WKHPRUH
         UHOHYDQWTXHVWLRQLVZKHWKHUWKHEDQNUXSWF\FRXUWKDVWKHFRQVWLWXWLRQDODXWKRULW\WRHQWHUILQDO
         MXGJPHQWRQWKHFODLPDWLVVXH´
                 & 1L[RQ%HDUV7KH%XUGHQRQLWV0RWLRQ
                 1L[RQEHDUVWKHEXUGHQWRVKRZWKDWWKHUHIHUHQFHVKRXOGEHZLWKGUDZQ7KHVWDQGDUGLV
         ³KLJK´DQGUHOLHILVJUDQWHGRQO\³LQDOLPLWHGQXPEHURIFLUFXPVWDQFHV´
                ' 7KH1L[RQ$3LVD&RUH3URFHHGLQJDQGWKH%DQNUXSWF\&RXUW+DVWKH&RQVWLWXWLRQDO
                    $XWKRULW\WR(QWHU)LQDO2UGHUV'XHWR1L[RQ¶V&RQVHQW
                      
                ,QWKH1L[RQ$3WKH7UXVWHHVHHNVWR  GLVDOORZWKH1L[RQ32&  DYRLGDQGUHFRYHU
        IUDXGXOHQWWUDQVIHUVDQG  UHFRYHUIRUVWDWHODZFODLPVDULVLQJIURPZURQJGRLQJLQFRQQHFWLRQ
        ZLWK1L[RQ¶VOHJDOVHUYLFHV7KHVHDUHDOO³FRUH´PDWWHUV
                    x 7KH7UXVWHH¶VFODLPWRGLVDOORZWKH1L[RQ32& &RXQW9,,, LVFRUH





                    x 7KH7UXVWHH¶VDYRLGDQFHFODLPV &RXQWV99,, DUHVWDWXWRULO\FRUH
                         
    
                      x 7KH7UXVWHH¶VWRUWFODLPV &RXQWV,,9 DUHVWDWXWRULO\FRUH
    
    
    
                                         
          
             Hoffman v. Sonoma Specialty Hosp., LLC:/  1'&DO-XQH 
        UHF¶GGHQLHG:/ 1'&DO$XJ 
          
           In re Hoku Corp:/  ',GDKR1RY see also In re White Star
          Petroleum Holdings, LLC, et al.:/  %DQNU:'2NOD'HF 
          
           EPD:/  
          
             Id.DW Mortg. Store%5DW
        
             86& E  % 
          
             86&   E  $  %  &   +  see also White Star  :/  
           IUDXGXOHQWWUDQVIHUFODLPVXQGHU6HFWLRQRIWKH&RGHDQGVWDWHODZDQDORJDUHFRUH 
        
               86&   E  $  %  &   2  see also In re Venoco, LLC  %5  
           %DQNU''HO DII G%5 ''HO DII GVXEQRP)G G&LU
          ³(VWDWH FRXQWHUFODLPV DJDLQVW SHUVRQV ILOLQJ FODLPV LV D FDWHJRU\ HQXPHUDWHG DV
          SURYLGLQJFRUHµDULVLQJLQ¶MXULVGLFWLRQ´  HPSKDVLVDGGHG 

                                                               

                                                                                                                    161
                                             
          Case
         Case  21-05072-gs
            Case
              21-05072-gs    Doc
                 3:22-cv-00257
                            Doc  36 Entered
                                     Entered
                                Document
                                100          01/14/22
                                         1-1 06/07/22  13:38:02
                                              Filed 06/07/22
                                                      12:02:03   Page
                                                              Page
                                                                 Page 10
                                                                   163163 of
                                                                           of26
                                                                       of 223 223




                 $VDFRQVWLWXWLRQDOPDWWHUWKH7UXVWHH¶VVWDWXWRULO\FRUHFODLPVIRUDYRLGDQFHDQGWRUWDUH
         SternFODLPVDQGPD\EHILQDOO\DGMXGLFDWHGE\WKLV%DQNUXSWF\&RXUWZLWKFRQVHQW+HUH1L[RQ
         FRQVHQWHGE\ILOLQJLWV1L[RQ32&See In re EPD Inv. Co., LLC)GQ WK&LU
           5HO\LQJRQWKH6XSUHPH&RXUW¶VGHFLVLRQLQWellness³3RVKRZILOHGDSURRIRIFODLPRQ
         EHKDOIRIWKHWUXVWDQGKDVDFFRUGLQJO\FRQVHQWHGWREDQNUXSWF\FRXUWMXULVGLFWLRQ´ 
                 ,QIn re CBI Holding Co., Inc)G G&LU WKH6HFRQG&LUFXLWKHOGWKDW
         WKHWUXVWHH¶VFODLPV e.g.,SURIHVVLRQDOQHJOLJHQFH DJDLQVWWKHGHEWRUV¶SUHSHWLWLRQSURIHVVLRQDO
         ZHUH³FRUH´EHFDXVHWKHWUXVWHH¶VFODLPIRUGLVDOORZDQFHRIWKHSUHSHWLWLRQSURIHVVLRQDO¶VSURRI
         RIFODLPGLUHFWO\LPSOLFDWHGZKHWKHUWKHILUP¶VSURRIRIFODLPDJDLQVWWKHHVWDWHVKRXOGEHDOORZHG
        RUGLVDOORZHGDQGIXUWKHUWKHWUXVWHH¶VFODLPVZHUHUHODWHGWRWKHSURIHVVLRQDOVHUYLFHVUHQGHUHG
        IRUZKLFKILUPVRXJKWFRPSHQVDWLRQLQLWVSURRIRIFODLP
                6LPLODUO\LQWKH1LQWK&LUFXLWWKHVFRSHRIWKHFODLPDQW¶VFRQVHQWWR%DQNUXSWF\&RXUW
        MXULVGLFWLRQLVJXLGHGE\WKHVFRSHRIWKHFODLPDQW¶VSURRIRIFODLPSeeIn re G.I. Indus., Inc.
        )G WK&LU In re PNP Holdings Corp%5 %$3WK&LU 
        DII G)G WK&LU  ³,WLVZHOOVHWWOHGWKDWDFUHGLWRUFRQVHQWVWRMXULVGLFWLRQRYHU





        UHODWHGFRXQWHUFODLPVE\ILOLQJDSURRIRIFODLP´  FLWLQJFDVHV  
              7KLVSRZHUWRDOORZRUWRGLVDOORZFODLPVLQFOXGHVIXOOSRZHUWRLQTXLUHLQWR
                WKHYDOLGLW\RIDQ\DOOHJHGGHEWRUREOLJDWLRQRIWKHEDQNUXSWXSRQZKLFKD
              GHPDQG RU D FODLP DJDLQVW WKH HVWDWH LV EDVHG 7KLV LV HVVHQWLDO WR WKH
              SHUIRUPDQFHRIWKHGXWLHVLPSRVHGXSRQLW
                
        Katchen v. Landy86   FLWDWLRQVDQGTXRWDWLRQVRPLWWHGHPSKDVLVDGGHG 
                ,Q G.I. Indus. WKH 1LQWK &LUFXLW UXOHG WKDW D FODLPDQW¶V SURRI RI FODLP DWWDFKLQJ WKH
        DJUHHPHQWEHWZHHQWKHFODLPDQWDQGWKHGHEWRUFRQYHUWHGDQRQFRUHEUHDFKRIFRQWUDFWFODLPLQWR
        D FRUH SURFHHGLQJ 7KH FODLPDQW WULJJHUHG WKH FODLPVDOORZDQFH SURFHVV DQ H[HUFLVH RI WKH
                                       
          
             Wellness Int’l Network, Ltd. v. Sharif86  
        
             See also S.E.C. v. Ross)G WK&LU  ³>7@KHSDUWLHVPD\FRQVHQWWR
        MXULVGLFWLRQWKURXJK«ILOLQJDSURRIRIFODLPLQDEDQNUXSWF\SURFHHGLQJ«  FLWDWLRQVRPLWWHG 
          In re MacGibbon:/  %$3WK&LU2FW  ³2QFHDFUHGLWRUILOHVD
        SURRIRIFODLPKHYROXQWDULO\VXEPLWVKLPVHOIWRWKHFRUHMXULVGLFWLRQRIWKHEDQNUXSWF\FRXUW´ 
          
             See alsoIn re McClelland%5 %DQNU6'1< In re Frost, Inc%5
         %DQNU:'0LFK 
          
             )G

                                                              

                                                                                                                   162
                                             
          Case
         Case  21-05072-gs
            Case
              21-05072-gs    Doc
                 3:22-cv-00257
                            Doc  36 Entered
                                     Entered
                                Document
                                100          01/14/22
                                         1-1 06/07/22  13:38:02
                                              Filed 06/07/22
                                                      12:02:03   Page
                                                              Page
                                                                 Page 11
                                                                   164164 of
                                                                           of26
                                                                       of 223 223




         EDQNUXSWF\FRXUW¶VFRUHMXULVGLFWLRQWRGHWHUPLQHWKHFODLP¶VYDOLGLW\DQGDPRXQWZKLFKH[WHQGHG
         WR³H[DPLQLQJWKHFRQWUDFWLWVHOIDQGWKHFLUFXPVWDQFHVVXUURXQGLQJLWVIRUPDWLRQ´
                7KXVWKHGLVWULFWFRXUWFRUUHFWO\FRQFOXGHGWKDWWKHGHWHUPLQDWLRQRIWKHYDOLGLW\RI
                 WKHFRQWUDFWIRUWKHSXUSRVHVRIGLVDOORZLQJWKH J EDVHGFODLPLVEDVLFDOO\D
                QRQFRUH LVVXH RI VWDWH EUHDFK RI FRQWUDFW EHLQJ VXEVXPHG LQWR D FRUH
                SURFHHGLQJ UHJDUGLQJ DOORZDQFH RI FODLP  DQG WKHUHE\ FRPLQJ XQGHU WKH
                 MXULVGLFWLRQRIWKHEDQNUXSWF\FRXUW
                
          )GDW HPSKDVLVDGGHG see alsoTa Chong Bank Ltd. v. Hitachi High Techs. Am., Inc
     
          )G WK&LU  ³,IWKHFUHGLWRUVXEPLWVDQDJUHHPHQWZLWKLWVSURRIRIFODLP
     
          WRSURYLGHHYLGHQWLDU\VXSSRUWRIWKHFODLPWKHQWKDWDJUHHPHQWLVVXEMHFWWRWKHEDQNUXSWF\FRXUW¶V
     
          MXULVGLFWLRQ´ Maring v. PG Alaska Crab Inv. Co., LLC:/  :':DVK2FW
    
            ³:KHQ>WKHGHIHQGDQW@ILOHGSURRIVRIFODLPZLWKWKHEDQNUXSWF\FRXUWDVVHUWLQJFODLPV
    
          EDVHGRQERWKWKH/RDQ$JUHHPHQWVDQGWKHIDLOHG6HWWOHPHQW$JUHHPHQWLWYROXQWDULO\VXEMHFWHG
    
          WKHTXHVWLRQRIWKHYDOLGLW\RIWKRVHFODLPVWRWKHMXULVGLFWLRQRIWKHEDQNUXSWF\FRXUW´DQGWKXV
    
          WKH GHIHQGDQW ³KDV QR 6HYHQWK $PHQGPHQW ULJKW WR D MXU\ WULDO LQ WKH EDQNUXSWF\ FRXUW RQ WKH
    
          YDOLGLW\RIWKH$JUHHPHQWVDQGWKHFLUFXPVWDQFHVVXUURXQGLQJWKHLUIRUPDWLRQLangenkamp
    
          86DWKatchen86DW±In re G.I. Industries, Inc)GDW±´ 





    
                  +HUH1L[RQILOHGLWV1L[RQ32&VZRUQWRDQGZLWKWKH$FFRXQW6WDWHPHQWVHHNLQJDQ
    
          DIILUPDWLYHUHFRYHU\IURPWKH'&6RODUEDQNUXSWF\HVWDWHEDVHGRQLWVDWWRUQH\FOLHQWUHODWLRQVKLS
    
          ZLWKDQGOHJDOVHUYLFHVUHQGHUHGWR'&6RODU1L[RQFRQVHQWHGWRWKH%DQNUXSWF\&RXUWHQWHULQJ
    
          ILQDORUGHUVRQWKLVVXEMHFWPDWWHUZKLFKHQFRPSDVVHVWKH7UXVWHH¶V1L[RQ$3
    
                  ( 1L[RQ¶V0RWLRQ,JQRUHV1L[RQ¶V&RQVHQWWR%DQNUXSWF\&RXUW-XULVGLFWLRQ
    
                1L[RQ¶V0RWLRQLJQRUHVLWVFRQVHQW,I1L[RQ¶VUHSO\VHHNVIRUWKHILUVWWLPHWRDGGUHVVWKLV

        SODLQGHILFLHQF\WKH7UXVWHHUHVHUYHVWKHULJKWWRUHVSRQG:KLOH1L[RQDVVHUWVWKDWWKH7UXVWHH¶V

        IRXUWRUWFODLPV³DUHDOOLQGLVSXWDEO\QRQFRUH´ 0RWLRQSJ 1L[RQGLVUHJDUGV86&

         E  $  %  &   2 DQGWKHORQJOLQHRIMXULVSUXGHQFHDGGUHVVLQJFRQVHQW

    
                                        
          
             G.I. Indus.)GDW
        
             See also In re Roman Catholic Archbishop of Portland:/  %DQNU'2U
          -DQ  ³>7@KHHIIHFWRIILOLQJWKHSURRIRIFODLPZDVWRWXUQWKLVLQWRDFRUHSURFHHGLQJ´ 

                                                              

                                                                                                                    163
                                             
          Case
         Case  21-05072-gs
            Case
              21-05072-gs    Doc
                 3:22-cv-00257
                            Doc  36 Entered
                                     Entered
                                Document
                                100          01/14/22
                                         1-1 06/07/22  13:38:02
                                              Filed 06/07/22
                                                      12:02:03   Page
                                                              Page
                                                                 Page 12
                                                                   165165 of
                                                                           of26
                                                                       of 223 223




                 1L[RQDUJXHVWKDWWKH7UXVWHH¶VDYRLGDQFHFODLPVDUH³DQFLOODU\DWEHVW´0RWLRQSJ
         7KLVLVGLVLQJHQXRXVDWEHVW)LUVW1L[RQZDVDGYLVHGE\VRSKLVWLFDWHGEDQNUXSWF\FRXQVHODQG
         FRXOG QRW KDYH FRQVLGHUHG WKH FODLPVDOORZDQFH SURFHVV LQFOXGLQJ  86&   G  WR EH
         PHUHO\ ³DQFLOODU\´ ZKHQ LW ILOHG LWV 32& XQGHU RDWK VHHNLQJ HVWDWH DVVHWV 1L[RQ¶V EDQNUXSWF\
         FRXQVHOWKDWVLJQHGWKH32&KDVOLWLJDWHGWKHVHLVVXHV1L[RQNQHZWKHFODLPVDOORZDQFHSURFHVV
         LVDQHVVHQWLDOIXQFWLRQRIWKH%DQNUXSWF\&RXUW
                 6HFRQG1L[RQ¶VDUJXPHQWWKDWWKH7UXVWHH¶VFRXQWHUFODLPVVHHNDODUJHUUHFRYHU\IURP
         1L[RQWKDQ1L[RQVHHNVIURPWKHEDQNUXSWF\HVWDWHLVDUHGKHUULQJ$TXDQWLWDWLYHDUJXPHQWKDV
         QRSODFHLQWKLVTXDOLWDWLYH MXULVGLFWLRQDODQGFRQVHQW DQDO\VLV,QGHHGLQCBI¸ GLVFXVVHGDERYH
        WKH 6HFRQG&LUFXLWFRQVLGHUHGDQGUHMHFWHGGHIHQGDQWFODLPDQW( <¶VDUJXPHQWWKDWWKHHVWDWH¶V
        HLJKWILJXUH FRXQWHUFODLPV ZHUH ³GLVSURSRUWLRQDWH WR ( <¶V  IHHV FODLP´ DQG WKXV
        DIIHFWHGWKHDQDO\VLVLQVRPHZD\
                ,QVKRUWIRUP1L[RQFLWHVWRWKH6XSUHPH&RXUW¶VGHFLVLRQVLQSternDQGExec. BenefitsLQ
        LWVVHFWLRQUHJDUGLQJWKH7UXVWHH¶VIUDXGXOHQWWUDQVIHUFODLPV0RWLRQSJ,JQRULQJWKHIDFWV
        DQGODZ1L[RQEROGO\VWDWHVLWKDVQRWFRQVHQWHGWRILQDODGMXGLFDWLRQE\WKLV%DQNUXSWF\&RXUW





        ³Nixon’s consent – which it has not granted.´0RWLRQSJ%XWQHDUO\WKUHH\HDUVDJR
        1L[RQILOHGLWV32&DQGKDVVWRRGEHKLQGDQGPDLQWDLQHGLWVLQFH
    
                                            
        
             See In re CHC Grp. Ltd.:/  %DQNU1'7H[0DU  LGHQWLI\LQJ
        1L[RQ¶VFRXQVHO5REHUW&KULVWPDV(VTDVGHIHQGDQW¶VFRXQVHODQG$WWRUQH\&KULVWPDV¶EULHILQ
          VXSSRUWRIDPRWLRQWRGLVPLVVIRUODFNRIMXULVGLFWLRQDFNQRZOHGJLQJ³Courts recognize that by
        filing a proof of claim a creditor may submit itself to personal jurisdiction for counterclaims
          asserted by the debtor´ $GY &DVH 1R  %DQNU 1' 7H[  >(&) 1R  SJ @
         HPSKDVLVDGGHG see also 5HSO\EULHI>(&)1RSJQ @
          
           In re NW Terr. Mint, LLC:/  :':DVK)HE see also Travellers
          Int'l AG v. Robinson)G G&LU  ³:KHUHDVLQWKLVFDVHDFUHGLWRUKDVILOHG
        DFODLPHYHQWKRXJKWKHFODLPLVFRXFKHGLQSURWHFWLYHODQJXDJHDQGLVFRQWLQJHQWWKDWFUHGLWRU
          KDVVXEPLWWHGWRWKHEDQNUXSWF\FRXUW¶VHTXLWDEOHMXULVGLFWLRQDQGZDLYHGDQ\6HYHQWK$PHQGPHQW
        ULJKWWRDMXU\WULDO´ see also MacGibbon:/  %$3WK&LU2FW 
         ³+HUH 5LFKDUG ZLOOLQJO\ VXEMHFWHG KLPVHOI WR WKH EDQNUXSWF\ FRXUW¶V MXULVGLFWLRQ E\ ILOLQJ KLV
          FODLPV 2QFH KH KDG GRQH VR KH WULJJHUHG WKH FODLPV DOORZDQFH SURFHVV WKHUHE\ VXEPLWWLQJ
        KLPVHOIWRWKHEDQNUXSWF\FRXUW¶VDXWKRULW\6LPSO\EHFDXVH5LFKDUGZRXOGQRWUHFHLYHDVKDUH
          RIWKHGLVWULEXWLRQXQGHUWKHSODQIURPIXQGVUHFRYHUHGIURPWKH7UXVW$FFRXQWGRHVQRW
        PHDQWKDWWKHEDQNUXSWF\FRXUW¶VMXULVGLFWLRQVXGGHQO\WHUPLQDWHG´  HPSKDVLVDGGHG 
          
             CBI)GDW

                                                              

                                                                                                                    164
                                             
          Case
         Case  21-05072-gs
            Case
              21-05072-gs    Doc
                 3:22-cv-00257
                            Doc  36 Entered
                                     Entered
                                Document
                                100          01/14/22
                                         1-1 06/07/22  13:38:02
                                              Filed 06/07/22
                                                      12:02:03   Page
                                                              Page
                                                                 Page 13
                                                                   166166 of
                                                                           of26
                                                                       of 223 223




                 1L[RQVWDWHVHOVHZKHUHLQLWV0RWLRQWKDWWKH³DFWRIILOLQJ>LWVPRWLRQWRZLWKGUDZLWVSURRI
         RIFODLP@KDVSUDFWLFDOO\PRRWHG´LWVILOLQJRIWKH1L[RQ32&0RWLRQSJ7KLVLVXQWUXH
         1L[RQDYDLOHGLWVHOIRIWKLV%DQNUXSWF\&RXUWDQGWKHEDQNUXSWF\UXOHVDQGVWDWXWHVZKLFKJRYHUQ
         IRU LWV RZQ ILQDQFLDO EHQHILW 1L[RQ FDQQRW QRZ HVFDSH WKH DFFRPSDQ\LQJ FRQVHTXHQFHV See
         Katchen86DWQ ³>+@HZKRLQYRNHVWKHDLGRIWKHEDQNUXSWF\FRXUWE\RIIHULQJD
         SURRI RI FODLP DQG GHPDQGLQJ LWV DOORZDQFH PXVW DELGH WKH FRQVHTXHQFHV RI WKDW SURFHGXUH´ 
          QRWDWLRQVRPLWWHG In re Levoy%5 %$3WK&LU  ³$FUHGLWRUZKRRIIHUV
         SURRIRIKLVFODLPDQGGHPDQGVLWVDOORZDQFHVXEMHFWVKLPVHOIWRWKHGRPLQLRQRIWKHFRXUWDQG
         PXVWDELGHWKHFRQVHTXHQFHV´  TXRWDWLRQVRPLWWHG PNP%5DW ³$FUHGLWRUFDQQRW
        UHDVRQDEO\H[SHFWWRLQYRNHWKRVHSRUWLRQVRIWKHEDQNUXSWF\FRGHWKDWDOORZLWWRUHFRYHURQLWV
        FODLPVDQG\HWDYRLGWKHOHJDOHIIHFWRIRWKHUVHFWLRQVWKDWGRQRWZRUNLQLWVIDYRU´ 
                1L[RQFKRVHWKH%DQNUXSWF\&RXUWDVWKHDGMXGLFDWRUDQGIDFWILQGHUIRUWKHSURSULHW\RIWKH
        1L[RQ'&6RODUDWWRUQH\FOLHQWUHODWLRQVKLSDQG1L[RQ¶VOHJDOVHUYLFHV1L[RQFRQVHQWHGWRWKLV
        %DQNUXSWF\&RXUW¶VHTXLWDEOHMXULVGLFWLRQIRUWKLVVXEMHFWPDWWHU7KLV%DQNUXSWF\&RXUWKDVWKH
        VWDWXWRU\DQGFRQVWLWXWLRQDODXWKRULW\WRHQWHUILQDORUGHUVDQGMXGJPHQWV





                )LQDOO\ZKLOHWKH1L[RQ$3DVVHUWVFRUHFODLPVDQGWKLV&RXUWKDVFRQVWLWXWLRQDODXWKRULW\
        WR HQWHU ILQDO RUGHUV FRXUWV LQ WKLV GLVWULFW KDYH UHMHFWHG D GHIHQGDQW¶V UHTXHVW WR ZLWKGUDZ WKH
        UHIHUHQFHHYHQZKHQWKDWLVQRWWKHFDVH
                ) -XGLFLDO(FRQRP\$QG'HOD\$QG&RVWV
                ,Q EPD WKH &DOLIRUQLD GLVWULFW FRXUW GHQLHG WKH GHIHQGDQW¶V PRWLRQ WR ZLWKGUDZ WKH
        UHIHUHQFHLQDQDYRLGDQFHDFWLRQUHDVRQLQJLQSDUWWKDW
                >+@HDULQJ FRUH PDWWHUV LQ D GLVWULFW FRXUW FRXOG EH DQ LQHIILFLHQW DOORFDWLRQ RI
                  MXGLFLDOUHVRXUFHVJLYHQWKDWWKHEDQNUXSWF\FRXUWJHQHUDOO\ZLOOEHPRUHIDPLOLDU
                ZLWK WKH IDFWV DQG LVVXHV +DYLQJ WKH EDQNUXSWF\ FRXUW VXEPLW SURSRVHG
                ILQGLQJV RI IDFW DQG FRQFOXVLRQV RI ODZ LQ IUDXGXOHQW FRQYH\DQFH FDVHV
                  SURPRWHVMXGLFLDO HFRQRP\DQGHIILFLHQF\E\PDNLQJXVHRI WKH EDQNUXSWF\
    
                                          
          
          See e.g., In re Access Ins. Servs., Inc:/  '1HY1RY  ³$VLWLV
          XQGLVSXWHGWKDWVRPHRIWKH7UXVWHH VFODLPVDUHFRUHFODLPVWKDWDULVHXQGHUWLWOHDQGDVWKH
        &RXUWGHWHUPLQHVWKDWWKHEDQNUXSWF\FRXUWPD\H[HUFLVHVXSSOHPHQWDOMXULVGLFWLRQRYHU3ODLQWLIIV¶
          UHPDLQLQJFODLPVHIILFLHQWXVHRIMXGLFLDOUHVRXUFHVDQGXQLIRUPLW\RIEDQNUXSWF\DGPLQLVWUDWLRQ
        VXSSRUWOHDYLQJWKHUHIHUHQFHLQSODFHVRWKDWDOOFODLPVPD\SURFHHGLQWKHEDQNUXSWF\FRXUW´ 
          citing Sec. Farms v. Int’l Bhd. of Teamsters)G WK&LU 

                                                                 

                                                                                                                         165
                                             
          Case
         Case  21-05072-gs
            Case
              21-05072-gs    Doc
                 3:22-cv-00257
                            Doc  36 Entered
                                     Entered
                                Document
                                100          01/14/22
                                         1-1 06/07/22  13:38:02
                                              Filed 06/07/22
                                                      12:02:03   Page
                                                              Page
                                                                 Page 14
                                                                   167167 of
                                                                           of26
                                                                       of 223 223




                FRXUW¶VXQLTXHNQRZOHGJHRI7LWOHDQGIDPLOLDULW\ZLWKWKHDFWLRQVEHIRUH
                 WKHP
         
                 7KHEPDFRXUWUHMHFWHGWKDWGHIHQGDQW¶VDUJXPHQWWKDWXQQHFHVVDU\FRVWVDUHDYRLGHGE\
     
          ZLWKGUDZDORIWKHUHIHUHQFHEHFDXVHRIWKHGLVWULFWFRXUW¶VUHYLHZUHDVRQLQJWKDW³DQ\LQHIILFLHQF\
     
          FUHDWHGE\WKHQHHGIRUGHQRYRUHYLHZLVRXWZHLJKHGE\RWKHUHIILFLHQFLHVJDLQHGLQOHDYLQJWKH
     
          SURFHHGLQJVLQEDQNUXSWF\FRXUW´See also/%$2UGHU
     
                 7KDWLVHYHQPRUHWUXHKHUH7KH1L[RQ$3EULQJVFRUHFODLPVRYHUZKLFKWKLV&RXUWKDV
     
          WKHH[FOXVLYHMXULVGLFWLRQDQGFRQVWLWXWLRQDODXWKRULW\WRHQWHUILQDORUGHUV(IILFLHQFLHVDUHJDLQHG
     
          DQGFRVWVDQGGHOD\DUHVDYHGE\KDYLQJWKLV&RXUWKHDUDQGGHFLGHWKHVHPDWWHUV
     
                 1L[RQ GLVPLVVHV WKH WLPH DQG UHVRXUFHV LQYHVWHG E\ WKLV %DQNUXSWF\ &RXUW LQ WKHVH
    
          %DQNUXSWF\&DVHV+RZHYHUWKLV%DQNUXSWF\&RXUWKDVSUHVLGHGRYHUPDQ\ZLGHUDQJLQJPDWWHUV
    
          IRU\HDUVUXOLQJRQDUDQJHRILVVXHVUHODWLQJWRWKH&DUSRII3RQ]L6FKHPHDGYHUVDU\SURFHHGLQJV
    
          VXEVWDQWLYHFRQVROLGDWLRQVHWWOHPHQWDSSURYDOVDQGWKHHVWDWH¶VFUHGLWRUERG\7KLV%DQNUXSWF\
    
          &RXUWLVZHOOH[SHULHQFHGDQGIDPLOLDUZLWKWKHVH%DQNUXSWF\&DVHVWKHSOD\HUVDQGWKHIDFWV,W
    
          LVIDUPRUHHIILFLHQWIRUWKLV&RXUWWRFRQWLQXHWRSUHVLGHRYHUWKHVHLVVXHV
    
                 * 8QLIRUPLW\2I%DQNUXSWF\$GPLQLVWUDWLRQ





    
               7KHSROLF\RIXQLIRUPLW\RIEDQNUXSWF\DGPLQLVWUDWLRQIDYRUVGHQLDORIWKH1L[RQ¶VUHTXHVW

        WRZLWKGUDZWKHUHIHUHQFH7KH7UXVWHHDVVHUWVLQWKLV1L[RQ$3±QHDULGHQWLFDOWRWKH7UXVWHH¶V

        DVVHUWLRQVLQWKHRWKHUDGYHUVDU\SURFHHGLQJVVKHKDVEURXJKWLQWKHVH%DQNUXSWF\&DVHV±

        WKDW&DUSRIISHUSHWUDWHGWKH&DUSRII3RQ]L6FKHPHDQGFHUWDLQWUDQVIHUVDUHDYRLGDEOHDQGFDQEH

        UHFRYHUHGIRUWKHEHQHILWRIWKHHVWDWH+HUHDQGLQPDQ\RIWKRVHRWKHUDGYHUVDU\SURFHHGLQJVWKH

        7UXVWHHLQWHQGVWRXWLOL]HWKH³3RQ]LSUHVXPSWLRQ´RILQVROYHQF\

    
    
                                          
        
             In re EPD Inv.:/  &'&DO6HSW  TXRWDWLRQVRPLWWHGHPSKDVLV
        DGGHG see alsoIn re We Ins. Servs., Inc:/   6'&DO6HSW 
          
             EPD, :/  QRWDWLRQVRPLWWHG see also Healthcentral.com, )GDW±
         KDYLQJWKHEDQNUXSWF\FRXUWKHDUWKHVHDFWLRQV³SURPRWHVMXGLFLDOHFRQRP\DQGHIILFLHQF\E\
          PDNLQJXVHRIWKHEDQNUXSWF\FRXUW¶VXQLTXHNQRZOHGJHRI7LWOHDQGIDPLOLDULW\ZLWKWKHDFWLRQV
        EHIRUHWKHP´ Access:/ 
          
             See e.g., In re Nat'l Consumer Mortg., LLC:/  '1HY-DQ 

                                                            

                                                                                                              166
                                             
          Case
         Case  21-05072-gs
            Case
              21-05072-gs    Doc
                 3:22-cv-00257
                            Doc  36 Entered
                                     Entered
                                Document
                                100          01/14/22
                                         1-1 06/07/22  13:38:02
                                              Filed 06/07/22
                                                      12:02:03   Page
                                                              Page
                                                                 Page 15
                                                                   168168 of
                                                                           of26
                                                                       of 223 223




                 %HFDXVH  WKH%DQNUXSWF\&RXUWKDVDOUHDG\FRQVLGHUHGPDWWHUVUHODWHGWRWKH7UXVWHH¶V
         FODLPVLQWKLV1L[RQ$3DQGLVRWKHUZLVHH[SHULHQFHGZLWKWKHXQLTXHLVVXHVLQWKHVH%DQNUXSWF\
         &DVHV  WKH7UXVWHHLVSURVHFXWLQJRWKHUDGYHUVDU\SURFHHGLQJVLQWKH%DQNUXSWF\&RXUWZLWK
         RYHUODSSLQJIDFWVDQGFODLPVDQG  WKH7UXVWHH¶VDYRLGDQFHFODLPVZRXOGQRWH[LVWDEVHQWWKH
         EDQNUXSWF\ ³XQLIRUPLW\ RI EDQNUXSWF\ DGPLQLVWUDWLRQ´ IDYRUV GHQLDO RI 1L[RQ¶V UHTXHVW WR
         ZLWKGUDZWKHUHIHUHQFH,QGHHG³ZKHQWKHEDQNUXSWF\KDVSURFHHGHGIRUVHYHUDO\HDUVZLWKGUDZDO
         PD\XQGHUPLQHWKHXQLIRUPDGPLQLVWUDWLRQRIEDQNUXSWF\SURFHHGLQJV´
                 + )RUXP6KRSSLQJ
                 1L[RQLVIRUXPVKRSSLQJ1HDUO\WKUHH\HDUVDJR1L[RQILOHGLWV32&VHHNLQJWRKDYHWKLV
        %DQNUXSWF\&RXUWDZDUGDQDIILUPDWLYHUHFRYHU\RIHVWDWHDVVHWVEDVHGRQWKHTXDOLW\RIWKHSUH
        SHWLWLRQOHJDOVHUYLFHVLWSURYLGHGWR'&6RODU1L[RQ±WKURXJKEDQNUXSWF\FRXQVHO±VZRUHWRWKH
        WUXWKRILWV1L[RQ32&PDNLQJLWDNLQWRDYHULILHGFRPSODLQWSee In re Garner%5
         %$3WK&LU  ³,QVKRUWDSURRIRIFODLPH[HFXWHGE\DQDWWRUQH\KDVDQHYLGHQWLDU\
        HIIHFWVLPLODUWRWKDWRIDYHULILHGFRPSODLQW´ 1L[RQDWWDFKHGGRFXPHQWDU\VXSSRUWWRLWV1L[RQ
        32&SXUVXDQWWR)5%3JDLQLQJDSUHVXPSWLRQDVWRHQWLWOHPHQWDQGDPRXQW





                7KH7UXVWHHKDVREMHFWHGWKURXJKKHU1L[RQ&RPSODLQWDVGLUHFWHGE\)5%3 E 
        7KH1L[RQ&RPSODLQWLVDFRXQWHUFODLPWRWKH1L[RQ32&DQGFHQWHUVRQWKHLGHQWLFDOVXEMHFW
        PDWWHU 1L[RQ SODFHG EHIRUH WKLV &RXUW LQ LWV 32& %RWK SDUWLHV DW WKDW WLPH DJUHHG WR WKLV
        %DQNUXSWF\&RXUWDVWKHIRUXPIRUDGMXGLFDWLQJWKHSURSULHW\RI1L[RQ¶VOHJDOVHUYLFHV
                7KDW1L[RQQRZVWUDWHJLFDOO\SUHIHUVWRKDYHWKLVPDWWHUDGMXGLFDWHGHOVHZKHUHLVRIQR
        PRPHQW1L[RQVRXJKWWKHDLGRIWKH%DQNUXSWF\&RXUWZKHQLWVXEPLWWHGWKH1L[RQ32&WRREWDLQ
        '&6RODUHVWDWHDVVHWV,QVHFXULQJWKHEHQHILWVSURYLGHGE\ODZ e.g.,86&DQG)5%3
          1L[RQ FRQVHQWHG WR WKH %DQNUXSWF\ &RXUW VHUYLQJ DV WKH IRUXP DQG DGMXGLFDWRU 1L[RQ
        VKRXOGQRWEHSHUPLWWHGWRIRUXPVKRS
    
                                        
          
             See e.g., 6XE&RQ2UGHUDQG(&)1RV 
        
             Bryanna Cooper:/ . 
          
             We Ins. Servs.:/ 
        
             )5%3 I Garner%5DW
          
             In re Brosio%5 %$3WK&LU  FLWLQJFDVHV 

                                                              

                                                                                                                    167
                                             
          Case
         Case  21-05072-gs
            Case
              21-05072-gs    Doc
                 3:22-cv-00257
                            Doc  36 Entered
                                     Entered
                                Document
                                100          01/14/22
                                         1-1 06/07/22  13:38:02
                                              Filed 06/07/22
                                                      12:02:03   Page
                                                              Page
                                                                 Page 16
                                                                   169169 of
                                                                           of26
                                                                       of 223 223




                 , &HQWUDOL]DWLRQ2I'LVSXWHV
                 7KHUH LV VWURQJ SXEOLF SROLF\ IDYRULQJ FHQWUDOL]DWLRQ RI GLVSXWHV EHIRUH WKH %DQNUXSWF\
         &RXUW 1L[RQ¶V UHTXHVWHG UHOLHI UXQV FRQWUDU\ WR WKLV ZHOOVHWWOHG UXOH -XVW DV WKH 7UXVWHH LV
         OLWLJDWLQJRWKHUGLVSXWHVEHIRUHWKH%DQNUXSWF\&RXUWWKH1L[RQ$3VKRXOGUHPDLQWKHUHDVZHOO
         7KLVLQFUHDVHVHIILFLHQF\DQGUHGXFHVH[SHQVHWRWKHHVWDWHDQGWKHULVNRILQFRQVLVWHQWUXOLQJV
                 - 1L[RQ+DV1R5LJKWWRD-XU\7ULDO,Q7KH$OWHUQDWLYH7KH5HIHUHQFH6KRXOG%H
                     :LWKGUDZQ2QO\:KHQ7KH1L[RQ$3,V7ULDO5HDG\
                      
                 :KLOH1L[RQILOHGDGHPDQGIRUMXU\WULDO>(&)1R@WKH7UXVWHHKDVPRYHGWRVWULNHLW

         DV1L[RQIRUIHLWHGDQ\MXU\WULDOULJKWE\ILOLQJLWV32&See6HFWLRQV9' 9(DERYHDQGWKH

        7UXVWHH¶VFRQWHPSRUDQHRXVO\ILOHGPRWLRQWRVWULNHZKLFKGLVFXVVWKDW  WKHWLPHRIILOLQJUXOH

        GLUHFWVWKDWWKLV&RXUW¶VMXULVGLFWLRQLVGHWHUPLQHGDVRIWKHFRPPHQFHPHQWRIWKH1L[RQ$3DQG

          1L[RQIRUIHLWHGDQ\MXU\WULDOULJKWE\ILOLQJLWV32&VHHNLQJDUHFRYHU\IURPWKH'&6RODU

        EDQNUXSWF\HVWDWHRQWKHVDPHRUUHODWHGVXEMHFWPDWWHUDVWKH7UXVWHH¶V1L[RQ$3

                %XWHYHQLI1L[RQKDGQRWILOHGLWV32&WKUHH\HDUVDJRDQGIRUIHLWHGDQ\MXU\WULDOULJKW

        WKDWZRXOGPHUHO\GHPRQVWUDWH³FDXVH´WRZLWKGUDZWKHUHIHUHQFHwhen the matter is trial-ready





        QRWLQLWVHDUOLHUVWDJHV)LUVWWKH/RFDO5XOHVKDYHVHWDSURFHGXUHIRUMXVWWKLVVLWXDWLRQZKHUHE\

        WKLV%DQNUXSWF\&RXUWKDQGOHVDOOPDWWHUVLQDQDGYHUVDU\XQWLOLWLVUHDG\IRUDMXU\WULDO

                 &RQVHQW DQG ZLWKGUDZDO 8SRQ WKH FRXUW¶V GHWHUPLQDWLRQWKDW WKH GHPDQG ZDV
                   WLPHO\PDGHDQGWKHSDUW\KDVDULJKWWRDMXU\WULDODQGLIDOOSDUWLHVKDYHQRWILOHG
                                         
          
           In re Eber)G WK&LU  Balboa Cap. Corp. v. Siddiqui Transitions
          MHT LLC:/  &'&DO$XJ  LGHQWLI\LQJWKH³VWURQJSXEOLFSROLF\
        IDYRULQJFHQWUDOL]DWLRQRIEDQNUXSWF\SURFHHGLQJVLQDEDQNUXSWF\FRXUW´ 
          
             Grupo Dataflux v. Atlas Glob. Grp., L.P.86±  In re Casamont Invs.,
        Ltd  %5   %$3 WK &LU   ³-XULVGLFWLRQ LV GHWHUPLQHG DV RI WKH
        FRPPHQFHPHQW RI WKH DFWLRQ´  citing In re Fietz  )G  Q WK &LU   see also
          Double Eagle Energy Servs., LLC v. MarkWest Utica EMG, LLC)G WK&LU
          Sec. Inv. Prot. Corp. v. Bernard L. Madoff Inv. Sec. LLC  %5   %DQNU
          6'1<   OHDYHWR DSSHDO GHQLHG VXE QRP  %5  6'1<   D FODLPDQW¶V
        ZLWKGUDZDO RI D SURRI RI FODLP DIWHU WKH WUXVWHH ILOHV DQ DGYHUVDU\ SURFHHGLQJ FRXQWHUFODLP 
        DJDLQVWWKDWFODLPDQWKDVQRHIIHFWRQWKH%DQNUXSWF\&RXUW¶VMXULVGLFWLRQ  FLWLQJPDQ\FDVHV 
          
             Langenkamp v. Culp86  Katchen v. Landy86±  In
        re G.I. Industries  )G   WK &LU   In re Advanced Rods, Inc  :/
           %$3WK&LU-XQH In re Smith%5 %DQNU'1HY 
        see also In re CBI Holding Co., Inc)G G&LU In re GYPC, Inc:/
           %DQNU6'2KLR2FW Madoff%5

                                                                

                                                                                                                       168
                                             
          Case
         Case  21-05072-gs
            Case
              21-05072-gs    Doc
                 3:22-cv-00257
                            Doc  36 Entered
                                     Entered
                                Document
                                100          01/14/22
                                         1-1 06/07/22  13:38:02
                                              Filed 06/07/22
                                                      12:02:03   Page
                                                              Page
                                                                 Page 17
                                                                   170170 of
                                                                           of26
                                                                       of 223 223




                 DZULWWHQFRQVHQWRUFRQVHQWHGRQWKHUHFRUGWRDMXU\WULDOLQWKHEDQNUXSWF\FRXUW
                  WKHEDQNUXSWF\FRXUWZLOOFHUWLI\WKHPDWWHUWRWKHGLVWULFWFRXUW8SRQFHUWLILFDWLRQ
                 WKHGLVWULFWFRXUWZLOORSHQDQHZFLYLOPDWWHUDQGZLOODVVLJQDGDWHIRUWULDO8QOHVV
                  WKH DVVLJQHG MXGJH RUGHUV RWKHUZLVH DOO SURFHHGLQJV ZLOO FRQWLQXH LQ WKH
                 EDQNUXSWF\FRXUWXQWLOWKHPDWWHULVUHDG\IRUWULDO
                  
                 6HFRQG1LQWK&LUFXLWODZFRQWHPSODWHVDQGDSSURYHVWKDWWKHUHIHUHQFHLVDSSURSULDWHO\
         ZLWKGUDZQZKHQWKHDGYHUVDU\LVWULDOUHDG\,QHealthcentral.comWKH1LQWK&LUFXLWFRQFOXGHG
         ³8QLYHUVDOO\WKHVHFRXUWVKDYHDOOUHDFKHGWKHVDPHKROGLQJWKDWLVD6HYHQWK$PHQGPHQWMXU\
         WULDOULJKWGRHVQRWPHDQWKDWEDQNUXSWF\FRXUWVPXVWLQVWDQWO\JLYHXSMXULVGLFWLRQDQGWKDWWKH
         FDVH PXVW EH WUDQVIHUUHG WR WKH GLVWULFW FRXUW´ 5DWKHU WKH EDQNUXSWF\ FRXUW VKRXOG UHWDLQ
         MXULVGLFWLRQRYHUWKHSUHWULDOSURFHHGLQJVUHDVRQLQJDVIROORZV
                )LUVW DOORZLQJ WKH EDQNUXSWF\ FRXUW WR UHWDLQ MXULVGLFWLRQ RYHU SUHWULDO PDWWHUV
                  GRHVQRWDEULGJHDSDUW\¶V6HYHQWK$PHQGPHQWULJKWWRDMXU\WULDO«$EDQNUXSWF\
                FRXUW¶VSUHWULDOPDQDJHPHQWZLOOOLNHO\LQFOXGHPDWWHUVRI³GLVFRYHU\´³SUHWULDO
                  FRQIHUHQFHV´ DQG URXWLQH ³PRWLRQV´ ZKLFK REYLRXVO\ GR QRW GLPLQLVK D SDUW\ V
                ULJKW WR D MXU\ WULDO 0RUHRYHU HYHQ LI D EDQNUXSWF\ FRXUW ZHUH WR UXOH RQ D
                GLVSRVLWLYHPRWLRQLWZRXOGQRWDIIHFWDSDUW\¶V6HYHQWK$PHQGPHQWULJKWWRDMXU\
                  WULDODVWKHVHPRWLRQVPHUHO\DGGUHVVZKHWKHUWULDOLVQHFHVVDU\DWDOO
                
                  6HFRQGUHTXLULQJWKDWDQDFWLRQEHLPPHGLDWHO\WUDQVIHUUHGWRGLVWULFWFRXUWVLPSO\
                EHFDXVHRIDMXU\WULDOULJKWZRXOGUXQFRXQWHUWRRXUEDQNUXSWF\V\VWHP8QGHU
                  RXUFXUUHQWV\VWHP&RQJUHVVKDVHPSRZHUHGWKHEDQNUXSWF\FRXUWVWR³KHDU´7LWOH





                 DFWLRQV DQG LQ PRVW FDVHV HQWHU UHOHYDQW ³RUGHUV´ $V KDV EHHQ H[SODLQHG
                  EHIRUHWKLVV\VWHPSURPRWHVMXGLFLDOHFRQRP\DQGHIILFLHQF\E\PDNLQJXVHRI
                WKHEDQNUXSWF\FRXUW¶VXQLTXHNQRZOHGJHRI7LWOHDQGIDPLOLDULW\ZLWKWKH
                  DFWLRQVEHIRUHWKHP$FFRUGLQJO\LIZHZHUHWRUHTXLUHDQDFWLRQ¶VLPPHGLDWH
                WUDQVIHUWRGLVWULFWFRXUWVLPSO\EHFDXVHWKHUHLVDMXU\WULDOULJKWZHZRXOG
                  HIIHFWLYHO\ VXEYHUW WKLV V\VWHP 2QO\ E\ DOORZLQJ WKH EDQNUXSWF\ FRXUW WR
                UHWDLQMXULVGLFWLRQRYHUWKHDFWLRQXQWLOWULDOLVDFWXDOO\UHDG\GRZHHQVXUHWKDW
                  RXUEDQNUXSWF\V\VWHPLVFDUULHGRXW
                
                                                       &21&/86,21
    
                7KH7UXVWHHKDVWKHH[FOXVLYHDXWKRULW\WREULQJWKH1L[RQ$3IRUWKHEHQHILWRIWKHHVWDWH

        6KHFRPPHQFHGWKH1L[RQ$3LQWKLV%DQNUXSWF\&RXUWFKDOOHQJLQJ1L[RQ¶V32&KHDGRQ1L[RQ

        KDVFRQVHQWHGWRWKLV&RXUW¶VHQWU\RIILQDORUGHUVLQWKH1L[RQ$3DVWDWXWRULO\FRUHSURFHHGLQJV

        IRUZKLFKWKH%DQNUXSWF\&RXUWKDVFRQVWLWXWLRQDODXWKRULW\WRILQDOO\DGMXGLFDWH$QG1L[RQKDV

        QRMXU\WULDOULJKW

                                          
          
             /RFDO5XOH H  HPSKDVLVDGGHG 
        
             )G WK&LU  FLWLQJFDVHVHPSKDVLVDGGHG 
          
             Id LQWHUQDOFLWDWLRQVRPLWWHGDQGHPSKDVLVDGGHG 

                                                               

                                                                                                                   169
                                             
          Case
         Case  21-05072-gs
            Case
              21-05072-gs    Doc
                 3:22-cv-00257
                            Doc  36 Entered
                                     Entered
                                Document
                                100          01/14/22
                                         1-1 06/07/22  13:38:02
                                              Filed 06/07/22
                                                      12:02:03   Page
                                                              Page
                                                                 Page 18
                                                                   171171 of
                                                                           of26
                                                                       of 223 223




                0RUHRYHU WKH 7UXVWHH KDV DVVHUWHG GR]HQV RI RWKHU DGYHUVDU\ SURFHHGLQJV LQ WKH
         %DQNUXSWF\&RXUWVHHNLQJRYHUODSSLQJUHOLHIDQGDGGUHVVLQJRYHUODSSLQJIDFWXDOFLUFXPVWDQFHV
         7KH%DQNUXSWF\&RXUWKDVSUHVLGHGRYHUDZLGHUDQJHRIRWKHU'&6RODUUHODWHGPDWWHUVRYHUWKH
         SDVWWKUHH\HDUVGHYHORSLQJXQLTXHDQGVSHFLDOL]HGIDPLOLDULW\RYHUWKHVHDQGRWKHUEDQNUXSWF\
         LVVXHVLQHQWHULQJVXEVWDQWLYHDQGSURFHGXUDOUXOLQJV
                1L[RQIDLOVWRVDWLVI\LWVKHDY\EXUGHQWRZLWKGUDZWKHUHIHUHQFHDQGLWVHIIRUWVWRIRUXP
         VKRSVKRXOGEHGHQLHG
                :+(5()25( 3ODLQWLII UHVSHFWIXOO\ UHTXHVWV WKDW WKH &RXUW GHQ\ 1L[RQ¶V UHTXHVW WR
         ZLWKGUDZWKHUHIHUHQFHRULQWKHDOWHUQDWLYHGHQ\WKHUHTXHVWXQWLOWKH1L[RQ$3LVWULDOUHDG\
        DQGJUDQWIXUWKHUUHOLHIDVWKH&RXUWGHHPVMXVWDQGSURSHU
               '$7('-DQXDU\
                                                +$570$1 +$570$1
          
                                                /s/ Jeffrey L. Hartman             
                                                -HIIUH\/+DUWPDQ(VT
                                                        Attorney for Plaintiff Christina W. Lovato
    





          
                                                      0(/$1'%8':,&.3$
                                                      
                                                        /s/ Michael S. Budwick              
                                                      0LFKDHO6%XGZLFN(VT
                                                        6RORPRQ%*HQHW(VT
                                                      *LO%HQ(]UD(VT
                                                      Attorneys for Plaintiff Christina W. Lovato
                                        
    
    
    
    
    
    
    
    



                                                           

                                                                                                          170
                                             
          Case
         Case  21-05072-gs
            Case
              21-05072-gs    Doc
                 3:22-cv-00257
                            Doc  36 Entered
                                     Entered
                                Document
                                100          01/14/22
                                         1-1 06/07/22  13:38:02
                                              Filed 06/07/22
                                                      12:02:03   Page
                                                              Page
                                                                 Page 19
                                                                   172172 of
                                                                           of26
                                                                       of 223 223




                                           &(57,),&$7(2)6(59,&(
                 ,FHUWLI\WKDWRQ-DQXDU\,FDXVHGWREHVHUYHGWKHDERYHQDPHGGRFXPHQWDV
         LQGLFDWHGEHORZ
     
                 ᤯D 9LD(&)WR
         
                  $/(;$1'(5(%52'<DEURG\#PHODQGEXGZLFNFRP
                 OWDQQHQEDXP#PHODQGEXGZLFNFRPOWDQQHQEDXP#HFIFRXUWGULYHFRP
                 PUEQHIV#\DKRRFRP
                  /28,60%8%$/$OEXEDOD#NFQYODZFRPFGURHVVOHU#NFQYODZFRP
                 EVKHHKDQ#NFQYODZFRP
                  0,&+$(/6%8':,&.PEXGZLFN#PHODQGEXGZLFNFRP
                 OWDQQHQEDXP#PHODQGEXGZLFNFRPOWDQQHQEDXP#HFIFRXUWGULYHFRP
                62/2021%*(1(7VJHQHW#PHODQGEXGZLFNFRP
                  OWDQQHQEDXP#PHODQGEXGZLFNFRPOWDQQHQEDXP#HFIFRXUWGULYHFRP
                -())5(</+$570$1QRWLFHV#EDQNUXSWF\UHQRFRPDEJ#EDQNUXSWF\UHQRFRP
                  &+5,67,1$:/29$72WUXVWHHORYDWR#DWWQHW19#HFIFELVFRP
    
                  
               ᤯E 'LUHFW(PDLOWR
                 
               /RXLV0%XEDOD(VTDWOEXEDOD#NFQYODZFRP
               (ULF0DFPLFKDHO(VTDWHPDFPLFKDHO#NHNHUFRP
                 (OOLRW53HWHUV(VTDWHSHWHUV#NHNHUFRP    





            
                 ᤯ F 9LD 0DLO6HUYLFH5HJXODUILUVWFODVV8QLWHG6WDWHVPDLOSRVWDJHIXOO\SUHSDLG
    
          DGGUHVVHGWR
                       
                 5REHUW1+&KULVWPDV(VT
               1L[RQ3HDERG\//3
               :HVW6WUHHWWK)ORRU
                 1HZ<RUN1<
               
                 (OOLRW53HWHUV(VT
               .HNHU9DQ1HVW 3HWHUV//3
               %DWWHU\6WUHHW
                 6DQ)UDQFLVFR&$
        
                 ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW
        
               '$7('-DQXDU\                                    
                                              /s/ Michael S. Budwick
                                              0LFKDHO6%XGZLFN(VT
                  


                                                          

                                                                                                         171
      Case
       Case
     Case  21-05072-gs
          21-05072-gs
             3:22-cv-00257Doc
             3:21-cv-00134-MMD
                        Doc   36 Document
                                  Entered
                            Document
                            100  Entered  01/14/22
                                           13 Filed
                                     1-1 06/07/22
                                          Filed    13:38:02
                                                     12/09/21
                                                06/07/22
                                                   12:02:03
                                                          PagePage
                                                               Page
                                                              Page 20
                                                                    of1 223
                                                                173173  of 26
                                                                         of7223






                                  81,7('67$7(6',675,&7&2857

                                          ',675,&72)1(9$'$

                                                         

      ,QUH'28%/(-803,1&                                    &DVH1RFY00'

                                          'HEWRU                             25'(5


       &+5,67,1$:/29$72                                    /HDG&DVH1R%.6JV

                                          3ODLQWLII             $GYHUVDU\&DVH1RJV
             Y

     /%$5($/7<)81',,&203$1<,//&

                                     'HIHQGDQW



    ,      6800$5<
            7KLV DFWLRQ LQYROYHV DQ DGYHUVDU\ SURFHHGLQJ UHODWHG WR D EDQNUXSWF\ FDVH
    'HIHQGDQW/%$5HDOW\)XQG,,&RPSDQ\,//& ³/%$´ PRYHVWRZLWKGUDZUHIHUHQFHRI
    WKHDGYHUVDU\SURFHHGLQJIURPWKHEDQNUXSWF\FRXUWVRWKDWWKLVDFWLRQPD\EHKHDUGE\
    WKHGLVWULFWFRXUW (&)1R ³0RWLRQ´  /%$IXUWKHUUHTXHVWVWKDWDIWHUZLWKGUDZLQJ WKH
    UHIHUHQFH WKLV &RXUW WUDQVIHU WKH DFWLRQ WR WKH (DVWHUQ 'LVWULFW RI &DOLIRUQLD IRU IXUWKHU
    SURFHHGLQJV Id. 3ODLQWLII&KULVWLQD/RYDWRWKH&KDSWHUEDQNUXSWF\WUXVWHH UHVSRQGHG
     (&) 1R  DQG /%$ UHSOLHG (&) 1R   $V H[SODLQHG EHORZ WKH &RXUW ZLOO GHQ\
    /%$¶VPRWLRQWRZLWKGUDZUHIHUHQFH$FFRUGLQJO\WKH&RXUWILQGVWKHUHTXHVWWRWUDQVIHU
    LVPRRWDVWKDWTXHVWLRQLVSURSHUO\EHIRUHWKHEDQNUXSWF\FRXUW
    ,,     %$&.*5281'
            7KHIROORZLQJIDFWVDUHDGDSWHGIURP/RYDWR¶VUHVSRQVHEULHI%HWZHHQDQG
    -HII&DUSRIISHUSHWUDWHGDELOOLRQGROODU3RQ]LVFKHPHWKURXJK'RXEOH-XPSDQG
    RWKHU FRPSDQLHV (&) 1R  DW   7KH VFKHPH RIIHUHG LQYHVWRUV WKH RSSRUWXQLW\ WR
    ³EX\´ PRELOH VRODU JHQHUDWRUV ³06*V´  LQ H[FKDQJH IRU DQ HLJKW RU QLQHILJXUH



                                                                                    EXHIBIT 1
                                                                                                            172
      Case
       Case
     Case  21-05072-gs
          21-05072-gs
             3:22-cv-00257Doc
             3:21-cv-00134-MMD
                        Doc   36 Document
                                  Entered
                            Document
                            100  Entered  01/14/22
                                           13 Filed
                                     1-1 06/07/22
                                          Filed    13:38:02
                                                     12/09/21
                                                06/07/22
                                                   12:02:03
                                                          PagePage
                                                               Page
                                                              Page 21
                                                                    of2 223
                                                                174174  of 26
                                                                         of7223


     LQYHVWPHQW Id. DW &DUSRIIVLSKRQHGIXQGVIURPWKHGHEWRUFRPSDQLHVIRUKLVSHUVRQDO

     EHQHILW Id.

            )ROORZLQJDODZHQIRUFHPHQWUDLGLQ'HFHPEHU'RXEOH-XPSDQGWKHRWKHU

     GHEWRUFRPSDQLHVILOHGYROXQWDU\&KDSWHUSHWLWLRQVIRUEDQNUXSWF\LQWKLV'LVWULFW Id.

     ,Q 0DUFK  WKH EDQNUXSWF\ FRXUW FRQYHUWHG WKH &KDSWHU  SHWLWLRQV WR &KDSWHU 

     SHWLWLRQVDQGDSSRLQWHG/RYDWRDVWKH7UXVWHH Id.

            /RYDWRILOHGDQDGYHUVDU\DFWLRQ ³$GYHUVDU\´ DJDLQVW/%$RQ-DQXDU\

     LQWKHEDQNUXSWF\FRXUW (&)1RDW ,QWKH$GYHUVDU\/RYDWRDVVHUWHGDIUDXGXOHQW

     FRQYH\DQFHFODLPDJDLQVW/%$XQGHUVHFWLRQVDQGRIWKH%DQNUXSWF\&RGH Id.

    /%$DQVZHUHGWKHFRPSODLQWDQGPRYHGWRZLWKGUDZWKHUHIHUHQFHRQ0DUFK

     Id. DW(&)1R 7KLVDFWLRQFRPPHQFHGLQWKLV&RXUWWKHIROORZLQJGD\ZLWK/%$¶V

    0RWLRQ (&) 1R  $W WKH WLPH /%$ PRYHG WR ZLWKGUDZ UHIHUHQFH RI WKH $GYHUVDU\

    /RYDWRKDGILOHGGLVWLQFWDGYHUVDU\SURFHHGLQJVEHIRUH WKHEDQNUXSWF\FRXUW (&)1R

     DW /RYDWRFRQWHQGVWKDWIUDXGXOHQWFRQYH\DQFHLVDQLVVXHLQQHDUO\DOORIWKRVH

    DGYHUVDULHV Id.  /RYDWR IXUWKHU DVVHUWV WKDW VKH FRQWHPSODWHV EULQJLQJ IXUWKHU

    DGYHUVDULHVDVGHDGOLQHVKDYHEHHQH[WHQGHGDQGFHUWDLQFODLPVDUHVXEMHFWWRWROOLQJ

    DJUHHPHQWV Id.

    ,,,   ',6&866,21

           /%$DUJXHVWKH&RXUWVKRXOGZLWKGUDZUHIHUHQFHRIWKH$GYHUVDU\EHFDXVH  WKH

    EDQNUXSWF\ FRXUW FDQQRW ILQDOO\ DGMXGLFDWH WKH IUDXGXOHQW FRQYH\DQFH FODLPV DV D

    FRQVWLWXWLRQDOPDWWHUDQG  ZLWKGUDZDOZRXOGVHUYHSUXGHQWLDOLQWHUHVWVVXFKDVMXGLFLDO

    HFRQRP\SUHVHUYDWLRQRIUHVRXUFHVDQGH[SHGLHQF\ (&)1RDW /RYDWRRSSRVHV

    WKH0RWLRQDUJXLQJWKDWWKRVHLQWHUHVWVDUHEHVWVHUYHGE\ZDLWLQJXQWLOWKH$GYHUVDU\LV

    WULDOUHDG\EHIRUHZLWKGUDZLQJWKHUHIHUHQFH (&)1RDW 7KH&RXUWDJUHHVZLWK

    /RYDWRDQGZLOOWKHUHIRUHGHQ\WKH0RWLRQ

           $       /HJDO6WDQGDUG

           'LVWULFWFRXUWVKDYHMXULVGLFWLRQRYHUPDWWHUVWKDWDULVHXQGHUWLWOHSee 86&

    +RZHYHUGLVWULFWFRXUWV³PD\SURYLGHWKDWDQ\RUDOOFDVHVXQGHUWLWOHDQGDQ\

                                                     


                                                                                                    173
      Case
       Case
     Case  21-05072-gs
          21-05072-gs
             3:22-cv-00257Doc
             3:21-cv-00134-MMD
                        Doc   36 Document
                                  Entered
                            Document
                            100  Entered  01/14/22
                                           13 Filed
                                     1-1 06/07/22
                                          Filed    13:38:02
                                                     12/09/21
                                                06/07/22
                                                   12:02:03
                                                          PagePage
                                                               Page
                                                              Page 22
                                                                    of3 223
                                                                175175  of 26
                                                                         of7223


     RUDOOSURFHHGLQJVDULVLQJXQGHUWLWOHRUDULVLQJLQRUUHODWHGWRDFDVH XQGHUWLWOH

     VKDOO EH UHIHUUHG WR WKH EDQNUXSWF\ MXGJHV IRU WKH GLVWULFW´  86&   D  $

     EDQNUXSWF\FRXUWLVDXWKRUL]HGE\VWDWXWHWR³KHDUDQGGHWHUPLQHDOOFDVHVXQGHUWLWOH

     DQGDOOFRUHSURFHHGLQJVDULVLQJXQGHUWLWOHRUDULVLQJLQDFDVHXQGHUWLWOHDQG

     PD\HQWHUDSSURSULDWHRUGHUVDQGMXGJPHQWV´VXEMHFWWRDSSHOODWHUHYLHZE\WKHGLVWULFW

     FRXUW86& E   $EDQNUXSWF\FRXUW¶VVWDWXWRU\DXWKRULW\WRHQWHUMXGJPHQWLQ

     D SDUWLFXODU SURFHHGLQJ GHSHQGV RQ ZKHWKHU WKDW SURFHHGLQJ LV D ³FRUH SURFHHGLQJ> @´

     XQGHU86& E  ³3XWVLPSO\,IDPDWWHULVFRUHWKHVWDWXWHHPSRZHUVWKH

     EDQNUXSWF\MXGJHWRHQWHUILQDOMXGJPHQWRQWKHFODLPVXEMHFWWRDSSHOODWHUHYLHZE\WKH

    GLVWULFWFRXUW´Exec. Benefits Ins. Agency v. Arkison86  

           ³,IDPDWWHULVQRQFRUHDQGWKHSDUWLHVKDYHQRWFRQVHQWHGWRILQDODGMXGLFDWLRQE\

    WKHEDQNUXSWF\FRXUWWKHEDQNUXSWF\MXGJHPXVWSURSRVHILQGLQJVRIIDFWDQGFRQFOXVLRQV

    RI ODZ 7KHQ WKH GLVWULFW FRXUW PXVW UHYLHZ WKH SURFHHGLQJ de novo DQG HQWHU ILQDO

    MXGJPHQW´Id. DWsee also 86& F  ,QVWHDGLQDQRQFRUHSURFHHGLQJWKH

    ³EDQNUXSWF\MXGJHVKDOOVXEPLWSURSRVHGILQGLQJVRIIDFWDQGFRQFOXVLRQVRIODZWRWKH

    GLVWULFWFRXUWDQGDQ\ILQDORUGHURUMXGJPHQWVKDOOEHHQWHUHGE\WKHGLVWULFWMXGJHDIWHU

    FRQVLGHULQJ WKH EDQNUXSWF\ MXGJH¶V SURSRVHG ILQGLQJV DQG FRQFOXVLRQV DQG DIWHU

    UHYLHZLQJGHQRYRWKRVHPDWWHUVWRZKLFKDQ\SDUW\KDVWLPHO\DQGVSHFLILFDOO\REMHFWHG´

    86&  F  

           +RZHYHU FHUWDLQFODLPVZKLFKDUHVWDWXWRULO\FRUHPD\QRWEHILQDOO\DGMXGLFDWHG

    E\ DEDQNUXSWF\FRXUWZLWKRXWFRQVHQWRIWKHSDUWLHVGXHWRFRQVWLWXWLRQDOFRQVWUDLQWVSee

    Stern v. Marshall86  ,QSternWKH6XSUHPH&RXUWKHOGWKDW

    EDQNUXSWF\FRXUWVFDQQRWPDNHDILQDOMXGJPHQWRQDFDXVHRIDFWLRQWUDGLWLRQDOO\ZLWKLQ

    WKHMXGLFLDOSRZHURIDQ$UWLFOH,,,FRXUWSee id. 7KH&RXUWUHDVRQHGWKDWLIDEDQNUXSWF\

    FRXUWZHUHWREHDVVLJQHGDPDWWHUWUDGLWLRQDOO\ZLWKLQWKHMXGLFLDOSRZHURIDQ$UWLFOH,,,

    FRXUW WKLV GHOHJDWLRQ ZRXOG FLUFXPYHQW WKH SURWHFWLRQV SURYLGHG E\ $UWLFOH ,,, ZKLFK

    HQVXUHWKDWSDUWLHVKDYHDFFHVVWRDQLQGHSHQGHQWMXGLFLDU\See id.

    

                                                      


                                                                                                     174
      Case
       Case
     Case  21-05072-gs
          21-05072-gs
             3:22-cv-00257Doc
             3:21-cv-00134-MMD
                        Doc   36 Document
                                  Entered
                            Document
                            100  Entered  01/14/22
                                           13 Filed
                                     1-1 06/07/22
                                          Filed    13:38:02
                                                     12/09/21
                                                06/07/22
                                                   12:02:03
                                                          PagePage
                                                               Page
                                                              Page 23
                                                                    of4 223
                                                                176176  of 26
                                                                         of7223


            %XW D Stern FODLP²D FRUH FODLP ZKLFK PD\ QRW EH ILQDOO\ DGMXGLFDWHG E\ D

     EDQNUXSWF\ FRXUW ZLWKRXW FRQVHQW²QHHG QRWEH KHDUG LQWKH ILUVW LQVWDQFHE\ DGLVWULFW

     FRXUWSee Exec. Benefits Ins. Agency86DW ³7KHVWDWXWHSHUPLWVStern FODLPV

     WRSURFHHGDVQRQFRUHZLWKLQWKHPHDQLQJRI F ´  7KH1LQWK&LUFXLWFODULILHGWKDW

     ³Stern GRHV QRW DIIHFW WKH VWDWXWRU\ GHVLJQDWLRQ RI PDWWHUV DV FRUH´ SURYLGHG WKDW WKH

     EDQNUXSWF\FRXUWGRHVQRWHQWHUILQDOMXGJPHQWIn re EPD Inv. Co., LLC)G

      WK &LU  IXUWKHUUHMHFWLQJWKHDGYHUVDU\GHIHQGDQW¶VDUJXPHQWWKDWEHFDXVH

     KHUDLVHGWKHULJKWWRMXU\WULDOWKHEDQNUXSWF\FRXUWFRXOGQRWSUHVLGHRYHUWKHDGYHUVDU\

     XQWLOILQDOMXGJPHQW 

           7KH GLVWULFWFRXUWUHWDLQVGLVFUHWLRQWR³ZLWKGUDZ >UHIHUUDO@LQZKROHRULQSDUWDQ\

    FDVHRUSURFHHGLQJUHIHUUHGXQGHUWKLVVHFWLRQIRUFDXVHVKRZQ´86& G 

    :KHQ GHWHUPLQLQJ ZKHWKHUWR ZLWKGUDZ UHIHUHQFH ³D GLVWULFW FRXUW VKRXOG FRQVLGHUWKH

    HIILFLHQWXVHRIMXGLFLDOUHVRXUFHVGHOD\DQGFRVWVWRWKHSDUWLHVXQLIRUPLW\RIEDQNUXSWF\

    DGPLQLVWUDWLRQWKHSUHYHQWLRQRIIRUXPVKRSSLQJDQGRWKHUUHODWHGIDFWRUV´Sec. Farms

    v. Int’l Bhd. of Teamsters, Chauffeurs, Warehousemen & Helpers)G

     WK&LU 

           %      $QDO\VLV

           /%$DUJXHVWKDW WKHIUDXGXOHQWFRQYH\DQFHFODLP/RYDWRDVVHUWV LQWKH$GYHUVDU\

    LV VWDWXWRULO\FRUHEXWFRQVWLWXWLRQDOO\OLPLWHGE\/%$¶V6HYHQWK$PHQGPHQWULJKWWRDMXU\

    WULDO²LQ RWKHU ZRUGV LW LV D Stern FODLP (&) 1R  DW   $ FRPPRQODZ IUDXGXOHQW

    FRQYH\DQFH FODLP ZDV VLPLODUO\ DW LVVXH LQ Executive Benefits Insurance Agency v.

    Arkison ZKHUH WKH 6XSUHPH &RXUW IRXQG WKDW Stern FODLPV QHHG QRW EH KHDUG E\ WKH

    GLVWULFWFRXUWLQWKHILUVWLQVWDQFHSee 86DW,QVWHDGWKHEDQNUXSWF\FRXUW

    PD\VXEPLWSURSRVHGILQGLQJVRIIDFWDQGFRQFOXVLRQVRIODZIRUde novo UHYLHZE\WKH


             ³>3@URFHHGLQJV    WR GHWHUPLQH DYRLG RU UHFRYHU IUDXGXOHQW FRQYH\DQFHV´ DUH
    VWDWXWRULO\ FRUH SURFHHGLQJV See  86&   E  +  ,QGHHG D IUDXGXOHQW
      FRQYH\DQFHFODLPUHPDLQVVWDWXWRULO\FRUHHYHQDIWHUDQDGYHUVDU\GHIHQGDQWDVVHUWVD
    MXU\WULDOULJKWSee In re EPD Inv. Co., LLC)G WK&LU  ³Stern
      DQG LWV SURJHQ\ VLPSO\ UHFRJQL]H WKDW VRPHWLPHV WKH EDQNUXSWF\ FRXUW¶V VWDWXWRU\
    DXWKRULW\WRGHFLGHDFRUHPDWWHUPXVWJLYHZD\ZKHQWKDWLQWHUHVWFRQIOLFWVZLWKDQRQ
      FUHGLWRU¶V FRQVWLWXWLRQDOULJKWWRHQWU\RIDILQDOMXGJPHQWE\DQ$UWLFOH,,,DGMXGLFDWRU´ 
                                                       


                                                                                                      175
      Case
       Case
     Case  21-05072-gs
          21-05072-gs
             3:22-cv-00257Doc
             3:21-cv-00134-MMD
                        Doc   36 Document
                                  Entered
                            Document
                            100  Entered  01/14/22
                                           13 Filed
                                     1-1 06/07/22
                                          Filed    13:38:02
                                                     12/09/21
                                                06/07/22
                                                   12:02:03
                                                          PagePage
                                                               Page
                                                              Page 24
                                                                    of5 223
                                                                177177  of 26
                                                                         of7223


     GLVWULFWFRXUWDVLWZRXOGIRUQRQFRUHFODLPVSee id. DW,QGHHG/RYDWRDGPLWVWKDW

     WKH EDQNUXSWF\ FRXUW ODFNV DXWKRULW\ WR HQWHU ILQDO MXGJPHQW RYHU WKH IUDXGXOHQW

     FRQYH\DQFH FODLPV EXW DUJXHV WKDW WKH &RXUW VKRXOG WKHUHIRUH GHQ\ WKH 0RWLRQ DQG

     LQVWHDGZLWKGUDZWKHUHIHUHQFHZKHQWKH$GYHUVDU\LVWULDOUHDG\ Id. DW

            /%$VWDWHVWKDWRWKHUMXGJHVLQWKLV'LVWULFWKDYHZLWKGUDZQUHIHUHQFHLQ ³VLPLODU

     VFHQDULRV´ ZKHUH ILQDO DGMXGLFDWLRQ E\ WKH EDQNUXSWF\ FRXUW ZRXOG HYHQWXDOO\ EH

     LPSRVVLEOH (&) 1R  DW  %XW WKH FDVHV /%$ FLWHV DUH GLVWLQJXLVKDEOH DQG

     XQSHUVXDVLYH5HIHUHQFHZDVZLWKGUDZQLQNelson v. XL America, Inc.DIWHUGLVFRYHU\

     KDG HQGHG DQG GLVSRVLWLYH PRWLRQV ZHUH SUHSDUHG DQG WKH FODLPV DW LVVXH ZHUH

    LQVXUDQFHFRYHUDJHFODLPVUDWKHUWKDQFRUHEDQNUXSWF\LVVXHV See &DVH1RFY

    -$'*:)86'LVW/(;,6 '1HY1RY ,QRWKHUFDVHV

    UHIHUHQFH ZDV ZLWKGUDZQ EHFDXVH FODLPV ZHUH QRQFRUH See, e.g. Bagley v. Beville

    &DVH 1R FY-&0&:+  86 'LVW /(;,6  ' 1HY -XO 

      7KH GLIIHUHQFH EHWZHHQ FRUH DQG QRQFRUH FODLPV LV QRW PHUHO\ IRUPDOLVWLF²

    EDQNUXSWF\MXGJHVDUHSDUWLFXODUO\DGHSWDWDGMXGLFDWLQJFRUHEDQNUXSWF\FODLPVDQGWKH

    $UWLFOH,,,FRXUWEHQHILWVIURPWKHLUH[SHUWLVHSee In re EPD Inv. Co. LLC&DVH1R&9

     6-2  :/  DW  &' &DO 6HSW    ³+DYLQJ WKH

    EDQNUXSWF\FRXUWVXEPLWSURSRVHGILQGLQJVRIIDFWDQGFRQFOXVLRQVRIODZLQIUDXGXOHQW

    FRQYH\DQFH FDVHV µSURPRWHV MXGLFLDO HFRQRP\ DQG HIILFLHQF\ E\ PDNLQJ XVH RI WKH

    EDQNUXSWF\ FRXUW¶V XQLTXH NQRZOHGJHRI 7LWOH DQG IDPLOLDULW\ ZLWK WKH DFWLRQV EHIRUH

    WKHP¶´ TXRWLQJIn reHeathcentral.com)G WK&LU :KLOH WKHUH

    PD\XOWLPDWHO\EHVRPHGXSOLFDWLRQRIHIIRUWVE\OHDYLQJWKHUHIHUHQFHLQSODFHXQWLOWKH

    $GYHUVDU\ LVUHDG\IRUILQDODGMXGLFDWLRQWKHUHDUHDOVRFRQVLGHUDEOHEHQHILWVIRUWKHIDLU

    DGPLQLVWUDWLRQRIWKH$GYHUVDU\IRUFRUHPDWWHUVWREHKDQGOHGLQWKHEDQNUXSWF\FRXUW

           7KHFLUFXPVWDQFHVRIWKLVFDVHOLNHZLVH FRXQVHOOHDYLQJWKH$GYHUVDU\UHIHUUHG

    $V /RYDWR VWDWHV²ZKLFK /%$ GRHV QRW GHQ\²VHYHUDO VLPLODU DGYHUVDULHV DUH DOUHDG\

    SURFHHGLQJ LQ WKH VDPH EDQNUXSWF\ SURFHHGLQJV (&) 1RV  DW   7KH &RXUW LV

    XQSHUVXDGHGE\/%$DUJXPHQWWKDWRWKHUDGYHUVDULHVKDYHQREHDULQJWKLV$GYHUVDU\¶V

                                                      


                                                                                                     176
      Case
       Case
     Case  21-05072-gs
          21-05072-gs
             3:22-cv-00257Doc
             3:21-cv-00134-MMD
                        Doc   36 Document
                                  Entered
                            Document
                            100  Entered  01/14/22
                                           13 Filed
                                     1-1 06/07/22
                                          Filed    13:38:02
                                                     12/09/21
                                                06/07/22
                                                   12:02:03
                                                          PagePage
                                                               Page
                                                              Page 25
                                                                    of6 223
                                                                178178  of 26
                                                                         of7223


     DGMXGLFDWLRQ (&)1RDW /RYDWRDUJXHVWKDWWKHDGYHUVDULHVVKHKDVILOHGUHODWH

     WRD3RQ]LVFKHPHDQGWKDWVKHVHHNVWRDYRLGDQGUHFRYHUIUDXGXOHQWFRQYH\DQFHVLQ

     DOPRVWDOORIWKHSURFHHGLQJV (&)1RDW 7KH&RXUWDJUHHVWKDWWKHUHPD\EH

     RYHUODSSLQJ OHJDO DQG IDFWXDO LVVXHV EHWZHHQ WKLV $GYHUVDU\ DQG RWKHU PDWWHUV

     SURFHHGLQJEHIRUHWKHEDQNUXSWF\FRXUW$WWKLVVWDJHLQWKHOLWLJDWLRQMXGLFLDOHFRQRP\

     IDYRUVOHDYLQJWKH$GYHUVDU\UHIHUUHG

            7KHRWKHUIDFWRUVFRXUWVFRQVLGHUZKHQFRQWHPSODWLQJZLWKGUDZLQJDUHIHUHQFHDUH

     HLWKHU QHXWUDO RU DOVR IDYRU UHIHUUDO $V H[SODLQHG DERYH WKH H[LVWHQFH RI UHODWHG

     DGYHUVDULHVPHDQVERWKWKHXQLIRUPLW\RIEDQNUXSWF\DGPLQLVWUDWLRQDQGWKHFHQWUDOL]DWLRQ

    RI GLVSXWHV ZHLJK LQ IDYRU RI NHHSLQJ WKH $GYHUVDU\ EHIRUH WKH EDQNUXSWF\ FRXUW 7KH

    &RXUW LV XQSHUVXDGHG WKDW /RYDWR LV IRUXPVKRSSLQJ E\ RSSRVLQJ ZLWKGUDZDO RI WKH

    UHIHUHQFH DV WKH $GYHUVDU\ ZDV LQLWLDWHG LQ WKH EDQNUXSWF\ FRXUW /RYDWR GRHV QRW

    FRQWHQG WKDW /%$ LV IRUXPVKRSSLQJ ZKLFK WKH &RXUW DFFHSWV DQG ILQGV WKLV IDFWRU LV

    QHXWUDO (&)1RDW

           8OWLPDWHO\ WKH &RXUW DJUHHV ZLWK /RYDWR WKDW ZLWKGUDZDO RI WKH UHIHUHQFH LV

    LQDSSURSULDWHDWWKLVVWDJH7KH&RXUWZLOOWKHUHIRUHGHQ\WKH0RWLRQZLWKRXWSUHMXGLFHDQG

    ZLOO SHUPLW /%$ WR VHHN ZLWKGUDZDO ZKHQ WKH $GYHUVDU\ LV UHDG\ IRU GLVSRVLWLYH

    DGMXGLFDWLRQRUILQDOMXGJPHQW%HFDXVHUHIHUHQFHZLOOQRWEHLPPHGLDWHO\ZLWKGUDZQWKH

    &RXUWDJUHHVZLWK/RYDWRWKDW WKHTXHVWLRQRI WUDQVIHULVSURSHUO\EHIRUHWKHEDQNUXSWF\

    MXGJH7KH&RXUWZLOOWKHUHIRUHGHQ\/%$¶VPRWLRQWRWUDQVIHUWKH$GYHUVDU\WRWKH(DVWHUQ

    'LVWULFWRI&DOLIRUQLDDVPRRW

    ,9    &21&/86,21

           7KH &RXUW QRWHV WKDW WKH SDUWLHV PDGH VHYHUDO DUJXPHQWV DQG FLWHG WR VHYHUDO

    FDVHV QRW GLVFXVVHG DERYH 7KH &RXUW KDV UHYLHZHG WKHVH DUJXPHQWV DQG FDVHV DQG

    GHWHUPLQHVWKDWWKH\GRQRWZDUUDQWGLVFXVVLRQDVWKH\GRQRWDIIHFWWKHRXWFRPHRIWKH

    LVVXHV EHIRUHWKH&RXUW


           See,  e.g. In re The Mortg. Store%5Q '+DZ  ILQGLQJ
      DPRWLRQWRWUDQVIHUPRRWDIWHUGHQ\LQJDPRWLRQWRZLWKGUDZUHIHUHQFH 
                                                   


                                                                                                      177
      Case
       Case
     Case  21-05072-gs
             3:21-cv-00134-MMD
          21-05072-gs
             3:22-cv-00257Doc
                        Doc   36 Document
                                  Entered
                            Document
                            100  Entered  01/14/22
                                           13 Filed
                                     1-1 06/07/22
                                          Filed    13:38:02
                                                     12/09/21
                                                06/07/22
                                                   12:02:03
                                                          PagePage
                                                               Page
                                                              Page 26
                                                                    of7 223
                                                                179179  of
                                                                         of7
                                                                           26
                                                                            223


           ,WLVWKHUHIRUHRUGHUHGWKDW'HIHQGDQW¶VPRWLRQWRZLWKGUDZUHIHUHQFH (&)1R 

     LV GHQLHGZLWKRXWSUHMXGLFH 7KH&RXUWIXUWKHUILQGVWKDW'HIHQGDQW¶VUHTXHVWIRUWUDQVIHU

     LVPRRW

           '$7('7+,6 WK 'D\RI'HFHPEHU 





                                              0,5$1'$ 0 '8
                                               0,5$1'$0'8
                                               0
                                               &+,()81,7('67$7(6',675,&7-8'*(








































                                                  


                                                                                              178
                 Case
               Case
                  Case21-05072-gs
                    21-05072-gs
                       3:22-cv-00257Doc
                                  Doc   52 Entered
                                            Entered
                                      Document
                                      100           02/04/22
                                               1-1 06/07/22
                                                    Filed     16:30:21
                                                          06/07/22
                                                            12:02:03PagePage
                                                                       Page  1 of
                                                                         180180
                                                                             of  of17
                                                                                223 223



           1     KEKER, VAN NEST & PETERS LLP                  KAEMPFER CROWELL
                 ELLIOT R. PETERS – Admitted PHV               LOUIS M. BUBALA III - # 8974
           2     epeters@keker.com                             lbubala@kcnvlaw.com
                 ERIC H. MACMICHAEL – Admitted PHV             50 W. Liberty St., Ste. 700
           3     emacmichael@keker.com                         Reno, NV 89501
                                                               Telephone: 775 852 3900
           4     633 Battery Street                            Facsimile: 777 327 2011
                 San Francisco, CA 94111-1809
           5     Telephone:     415 391 5400
                 Facsimile:     415 397 7188
           6

           7    Attorneys For Defendant Nixon Peabody LLP
           8                                UNITED STATES BANKRUPTCY COURT

           9                                        DISTRICT OF NEVADA

          10    In re                                            Lead Case No. BK-19-50102-gs
                                                                 (Chapter 7)
          11    DOUBLE JUMP, INC.
                                                                 Substantively Consolidated with:
          12                   Debtor,
                                                                 19-50130-gs DC Solar Solutions, Inc.
          13                                                     19-50131-gs DC Solar Distribution, Inc.
                X       Affects DC Solar Solutions, Inc.         19-50135-gs DC Solar Freedom, Inc.
          14    X       Affects DC Solar Distributions, Inc.
                X       Affects DC Solar Freedom, Inc.
          15    X       Affects Double Jump, Inc.
          16

          17
                CHRISTINA W. LOVATO,                             Adversary Case No.: 21-05072-gs
          18
                               Plaintiff,                        NIXON PEABODY’S REPLY TO
          19                                                     TRUSTEE’S OPPOSITION TO NIXON’S
                v.                                               MOTION TO WITHDRAW REFERENCE
          20
                NIXON PEABODY LLP,                               JURY TRIAL DEMANDED
          21
                               Defendant.                        Hearing Date: February 18, 2022
          22                                                     Hearing Time: 9:30 a.m.

          23

          24

          25

          26

          27

          28


                            REPLY TO TRUSTEE’S OPPOSITION TO MOTION TO WITHDRAW REFERENCE
                                    Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
1815282                                                                                                    179
                 Case
               Case
                  Case21-05072-gs
                    21-05072-gs
                       3:22-cv-00257Doc
                                  Doc   52 Entered
                                            Entered
                                      Document
                                      100           02/04/22
                                               1-1 06/07/22
                                                    Filed     16:30:21
                                                          06/07/22
                                                            12:02:03PagePage
                                                                       Page  2 of
                                                                         181181
                                                                             of  of17
                                                                                223 223



           1                                                   TABLE OF CONTENTS

           2                                                                                                                                        Page

           3    I.     INTRODUCTION ...............................................................................................................1

           4    II.    PROCEDURAL BACKGROUND......................................................................................2

           5    III.   ARGUMENT .......................................................................................................................2

           6           A.        The Trustee’s constitutionally non-core claims predominate in this
                                 Adversary Proceeding. .............................................................................................2
           7
                                 1.         Six of the Trustee’s eight claims must be finally decided by an
           8                                Article III court. ...........................................................................................4
           9                     2.         The Trustee’s two remaining claims do not predominate. ...........................7
          10           B.        Each remaining factor concerning withdrawal of the bankruptcy reference
                                 favors granting Nixon Peabody’s motion. ...............................................................7
          11
                       C.        The Court should withdraw the reference now. .....................................................11
          12
                IV.    CONCLUSION ..................................................................................................................13
          13

          14

          15

          16

          17

          18

          19

          20

          21

          22

          23

          24

          25

          26

          27

          28
                                                                                   i
                             REPLY TO TRUSTEE’S OPPOSITION TO MOTION TO WITHDRAW REFERENCE
                                     Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
1815282                                                                                                                                                 180
                 Case
               Case
                  Case21-05072-gs
                    21-05072-gs
                       3:22-cv-00257Doc
                                  Doc   52 Entered
                                            Entered
                                      Document
                                      100           02/04/22
                                               1-1 06/07/22
                                                    Filed     16:30:21
                                                          06/07/22
                                                            12:02:03PagePage
                                                                       Page  3 of
                                                                         182182
                                                                             of  of17
                                                                                223 223



           1
                                                                   TABLE OF AUTHORITIES
           2
                                                                                                                                                         Page(s)
           3
                Federal Cases
           4

           5    In re Bellingham Ins. Agency, Inc.,
                    702 F.3d 553 (9th Cir. 2012), aff’d sub nom. Exec. Benefits Ins. Agency v.
           6        Arkison, 573 U.S. 25 (2014) ..................................................................................................6, 7

           7    In re EPD Inv. Co., LLC,
                    821 F.3d 1146 (9th Cir. 2016) ...................................................................................................6
           8
                Everett v. Art Brand Studios, LLC,
           9       556 B.R. 437 (N.D. Cal. 2016) ................................................................................................10
          10
                In re FKF 3, LLC,
          11        No. 13-CV-3601 (KMK), 2016 WL 4540842 (S.D.N.Y. Aug. 30, 2016) .............................5, 6

          12    Nelson v. XL Am., Inc. (In re Ameri-Dream Realty, LLC),
                   No. 2:16-CV-00060-JAD-GWF, 2016 U.S. Dist. LEXIS 157788 (D. Nev. Nov.
          13       14, 2016) ..................................................................................................................................11
          14    Off. Comm.. of Unsecured Creditors v. Marini (In re Windspire Energy, Inc.),
          15        No. 3:13-cv-10-RCJ-WGC, 2013 U.S. Dist. LEXIS 46727 (D. Nev. April 1,
                    2013) ........................................................................................................................................11
          16
                In re Rhodes Companies, LLC,
          17        No. 2:12-CV-01272-MMD, 2012 WL 5456084 (D. Nev. Nov. 7, 2012) ..................................6

          18    In re Rosales,
                    No. 13-CV-01316-LHK, 2013 WL 5962007 (N.D. Cal. Nov. 7, 2013) ..................................10
          19
                Rosenberg v. Harvey A. Bookstein,
          20
                   479 B.R. 584 (D. Nev. 2012) ...................................................................................................11
          21
                Sec. Farms v. Int’l Brotherhood of Teamsters, Chauffeurs, Warehousemen &
          22       Helpers,
                   124 F.3d 999 (9th Cir. 1997) .....................................................................................................2
          23
                Shengdatech Liquidating Trust v. Hansen, Barnett, & Maxwell, P.C.,
          24       No. 3:13-CV-00563-RCJ, 2013 WL 6408518 (D. Nev. Nov. 26, 2013) .................................11
          25    Stern v. Marshall,
          26        564 U.S. 462 (2011) ......................................................................................................... passim

          27    In re Summers,
                    320 B.R. 630 (Bankr. E.D. Mich. 2005) ....................................................................................7
          28
                                                                                         ii
                                  REPLY TO TRUSTEE’S OPPOSITION TO MOTION TO WITHDRAW REFERENCE
                                          Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
1815282                                                                                                                                                          181
                 Case
               Case
                  Case21-05072-gs
                    21-05072-gs
                       3:22-cv-00257Doc
                                  Doc   52 Entered
                                            Entered
                                      Document
                                      100           02/04/22
                                               1-1 06/07/22
                                                    Filed     16:30:21
                                                          06/07/22
                                                            12:02:03PagePage
                                                                       Page  4 of
                                                                         183183
                                                                             of  of17
                                                                                223 223



           1    United States v. Anekwu,
                   695 F.3d 967 (9th Cir. 2012) .....................................................................................................6
           2
                USACM Liquidating Trust v. Compass USA SPE, LLC (In re USA Com. Mortg.
           3
                  Co.),
           4      No. 2:14-cv-00455-RCJ-PAL, U.S. Dist. LEXIS 72663 (D. Nev. May 28,
                  2014), Dkt. No. 4 .....................................................................................................................11
           5
                In re USDigital, Inc.,
           6        461 B.R. 276 (Bankr. D. Del. 2011) ..........................................................................................3
           7    Wellness Int’l Network, Ltd. v. Sharif,
                   575 U.S. 665 (2015) ...................................................................................................................5
           8

           9    In re Zante, Inc.,
                    No. 3:10-CV-00231-RCJ-RAM, 2010 WL 5477768 (D. Nev. Dec. 29, 2010).
          10        Bankruptcy .............................................................................................................................2, 7

          11    Federal Statutes
          12    11 U.S.C. § 548(a)(1)(A) .................................................................................................................9
          13    11 U.S.C. § 548(a)(1)(B) .................................................................................................................9
          14
                28 U.S.C. § 157(b) ...........................................................................................................................4
          15
                28 U.S.C. § 157(c) ...........................................................................................................................2
          16

          17

          18

          19

          20

          21

          22

          23

          24

          25

          26

          27

          28
                                                                                       iii
                                 REPLY TO TRUSTEE’S OPPOSITION TO MOTION TO WITHDRAW REFERENCE
                                         Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
1815282                                                                                                                                                      182
                 Case
               Case
                  Case21-05072-gs
                    21-05072-gs
                       3:22-cv-00257Doc
                                  Doc   52 Entered
                                            Entered
                                      Document
                                      100           02/04/22
                                               1-1 06/07/22
                                                    Filed     16:30:21
                                                          06/07/22
                                                            12:02:03PagePage
                                                                       Page  5 of
                                                                         184184
                                                                             of  of17
                                                                                223 223



           1    I.     INTRODUCTION

           2           The central premise of the Trustee’s opposition—that Nixon waived its right to a jury and

           3    consented to final adjudication in this Court simply because it filed a proof of claim back in

           4    2019—is wrong as a matter of law. As set forth at greater length in Nixon’s opposition to the

           5    Trustee’s motion to strike Nixon’s jury demand, Exhibit A (“MTS Opp.”), Dkt. 51, the Trustee’s

           6    state-law tort and fraudulent conveyance claims cannot be finally decided by the bankruptcy court

           7    because Nixon retains its right to a jury. Those claims may be “core” under the bankruptcy code,

           8    but the constitution requires that they be decided by an Article III court, unless Nixon has

           9    consented to proceed here. Nixon has not done so. The filing of a proof of claim cannot as a

          10    matter of law amount to consent. Consent instead turns on a litigant’s course of conduct in the

          11    adversary proceeding, and Nixon’s conduct here unambiguously reflects that it does not agree to

          12    adjudication outside of an Article III forum.

          13           Once that erroneous premise is removed, the Trustee’s remaining arguments against

          14    withdrawal of the reference fall away easily. The six claims that must be decided by an Article

          15    III court predominate in every sense of the word over the two remaining claims. Concerns of

          16    judicial efficiency, cost, and delay all favor withdrawing the reference too, and favor withdrawing

          17    it now. Unlike the Trustee’s other adversary proceedings, the claims against Nixon are

          18    predominantly state law tort claims that will be decided under California law. Further

          19    underscoring the need to withdraw the reference, the Eastern District of California—an Article III

          20    court empowered to oversee this proceeding—is already familiar with the facts, the claims, and

          21    the identical underlying transactions that predominate the Trustee’s complaint.1 As explained in

          22    Nixon’s concurrently filed motion to transfer, concentrating litigation there avoids the risk of
          23    inconsistent judgments—a risk that is more than theoretical, given the important legal questions
          24    surrounding duty, privilege, knowledge, causation, and in pari delicto that will be litigated in
          25    each of these actions. Each factor compels in favor of withdrawing the reference now and
          26
                1
          27     Because this is fundamentally an Eastern District of California case, Nixon Peabody respectfully
                suggests that the transfer motion be decided first. The transferee court can then consider the
          28    motion to withdraw the reference if necessary.

                                                                  1
                            REPLY TO TRUSTEE’S OPPOSITION TO MOTION TO WITHDRAW REFERENCE
                                    Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
1815282                                                                                                            183
                 Case
               Case
                  Case21-05072-gs
                    21-05072-gs
                       3:22-cv-00257Doc
                                  Doc   52 Entered
                                            Entered
                                      Document
                                      100           02/04/22
                                               1-1 06/07/22
                                                    Filed     16:30:21
                                                          06/07/22
                                                            12:02:03PagePage
                                                                       Page  6 of
                                                                         185185
                                                                             of  of17
                                                                                223 223



           1    transferring this matter.

           2    II.    PROCEDURAL BACKGROUND
           3           Much of the relevant factual background is offered in Nixon’s motion to withdraw the

           4    bankruptcy reference. See Lovato v. Nixon Peabody, No. 21-05072-GS, Dkt. 17 (“Mot.”) at 2–6.

           5    At the time Nixon filed this motion, it also filed a motion to transfer the adversary proceeding, see

           6    id., Dkt. 14, a jury demand, see id., Dkt. 16, and a motion to withdraw its proof of claim in the

           7    bankruptcy proceeding, see In re Double Jump, No. 19-50130-GS, Dkt. 2985. The Trustee

           8    opposed all three motions and then filed a motion to strike Nixon’s jury demand. See Lovato v.

           9    Nixon Peabody, Dkt. 37. Each of the Trustee’s briefs repackages her mistaken argument that

          10    Nixon waived its constitutional rights to a jury trial and adjudication before an Article III court

          11    merely by filing its proof of claim in the bankruptcy proceeding back in 2019. Because that

          12    argument is incorrect, the rest of the Trustee’s dependent arguments also fail.

          13    III.   ARGUMENT
          14           As set forth in Nixon’s motion, withdrawal is favored where claims that the bankruptcy

          15    court cannot finally decide predominate over other claims. Mot. 6–7. Courts also consider inter

          16    alia “[1] the efficient use of judicial resources, [2] delay and costs to the parties, [3] uniformity of

          17    bankruptcy administration, [4] the prevention of forum shopping, and [5] other related factors.”

          18    Sec. Farms v. Int’l Brotherhood of Teamsters, Chauffeurs, Warehousemen & Helpers, 124 F.3d

          19    999, 1008 (9th Cir. 1997). Here, all factors favor withdrawal.

          20           A.      The Trustee’s constitutionally non-core claims predominate in this Adversary
                               Proceeding.
          21

          22           The touchstone on a motion to withdraw the bankruptcy reference is, as the Trustee

          23    appears to concede, “whether the bankruptcy court has the constitutional authority to enter final

          24    judgment on the claim at issue.” Lovato v. Nixon Peabody, Dkt. 36 (“Opp.”) at 9; see also, e.g.,

          25    In re Zante, Inc., No. 3:10-CV-00231-RCJ-RAM, 2010 WL 5477768, at *6 (D. Nev. Dec. 29,

          26    2010). Bankruptcy courts lack the authority to enter final judgment on claims designated non-

          27    core under 28 U.S.C. § 157(c), as well as those designed “core” by the statute but required by the

          28
                                                                   2
                            REPLY TO TRUSTEE’S OPPOSITION TO MOTION TO WITHDRAW REFERENCE
                                    Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
1815282                                                                                                               184
                 Case
               Case
                  Case21-05072-gs
                    21-05072-gs
                       3:22-cv-00257Doc
                                  Doc   52 Entered
                                            Entered
                                      Document
                                      100           02/04/22
                                               1-1 06/07/22
                                                    Filed     16:30:21
                                                          06/07/22
                                                            12:02:03PagePage
                                                                       Page  7 of
                                                                         186186
                                                                             of  of17
                                                                                223 223



           1    Constitution to be finally decided by an Article III court—that is, Stern claims. 2 See, e.g., In re

           2    USDigital, Inc., 461 B.R. 276, 279 (Bankr. D. Del. 2011).

           3           The Trustee concedes that at least six of her eight claims are Stern claims. 3 Indeed, she

           4    calls her state law tort claims and her fraudulent conveyance claims “statutorily core” and then

           5    admits that “statutorily core claims” must ordinarily be finally decided by an Article III court.

           6    Opp. 9–10. She nevertheless argues that the bankruptcy court can finally decide the Stern claims

           7    because Nixon consented to adjudication here by filing a proof of claim in 2019. Not so. As set

           8    forth at considerable length in Nixon’s concurrently filed Opposition to the Trustee’s Motion to

           9    Strike Nixon’s Jury Demand, MTS Opp. 5–9, the Trustee was correct in conceding that these six

          10    claims are Stern claims, but she is wrong that Nixon consented to final adjudication by the

          11    bankruptcy court. Filing a proof of claim does not and cannot, as a matter of law, constitute

          12    consent, nor does it amount to a “forfeiture” of Nixon’s right to a jury as the Trustee contends.

          13    For the Court’s convenience, Nixon attaches that opposition as Exhibit A here but also provides a

          14    summary of that analysis in its argument below. The six claims that cannot be finally decided by

          15    the bankruptcy court predominate over the two that can.

          16

          17

          18

          19

          20

          21

          22

          23    2
                 Some courts refer to these claims as Stern claims, while others refer to them as constitutionally
                non-core. This brief adopts the term Stern claims for the purpose of consistency.
          24
                3
                 The Trustee actually concedes in her opposition that her “statutorily core claims for avoidance
          25    and tort are Stern claims,” thus including Claim VII for avoidance in the Stern analysis as well.
                Nixon agrees that The Trustee’s state-law tort claims (Claims I–IV) and fraudulent transfer claims
          26    (V–VI) are Stern claims. See Nixon’s Opposition to the Trustee’s Motion to Strike the Jury
          27    Demand (attached as Exhibit A). Nixon does not have a basis to conclude whether the Trustee’s
                avoidance claim—as opposed to the fraudulent transfer claims underlying it—would also
          28    constitute a Stern claim.

                                                                  3
                            REPLY TO TRUSTEE’S OPPOSITION TO MOTION TO WITHDRAW REFERENCE
                                    Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
1815282                                                                                                                185
                 Case
               Case
                  Case21-05072-gs
                    21-05072-gs
                       3:22-cv-00257Doc
                                  Doc   52 Entered
                                            Entered
                                      Document
                                      100           02/04/22
                                               1-1 06/07/22
                                                    Filed     16:30:21
                                                          06/07/22
                                                            12:02:03PagePage
                                                                       Page  8 of
                                                                         187187
                                                                             of  of17
                                                                                223 223



           1                   1.      Six of the Trustee’s eight claims must be finally decided by an Article
                                       III court.
           2
                                       a.      The state-law tort claims (Counts I–IV) at the heart of the
           3                                   Trustee’s Complaint are Stern claims.

           4            The Trustee is correct that her state law counterclaims are Stern claims. 4 Opp. 10. In

           5    Stern, the Supreme Court held that, even where 28 U.S.C. § 157(b) permits the Bankruptcy Court

           6    to enter final judgment on a particular claim, “Article III of the Constitution [may] not.” 564 U.S.

           7    at 482. Just as in Stern, Article III does not permit a bankruptcy court to finally decide the state

           8    law counterclaims at issue here. As set forth in Nixon’s MTS Opp., the public-rights exception to

           9    Article III does not apply here; the Trustee’s state-law counterclaims do not “assert[] a right of

          10    recovery created by federal bankruptcy law”; and the Trustee’s claims “seek ‘to augment the

          11    bankruptcy estate,’” not simply to allocate “‘a pro rata share of the bankruptcy res.’” Id. at 488–

          12    99. Nor is bankruptcy-court adjudication permissible on the ground that adjudicating Nixon’s

          13    entitlement to its proof of claim would necessarily resolve all the issues in the Trustee’s state law

          14    tort claims. The legal and factual differences between the two are manifest. See MTS Opp. 7–8.

          15    The Trustee’s concession on this point was thus unavoidable: it is beyond dispute that her state-

          16    law counterclaims are Stern claims that must be finally decided by an Article III court absent

          17    consent to final adjudication by the bankruptcy court.

          18                           b.      Nixon has not consented to final adjudication by the
                                               bankruptcy court of the Trustee’s state law tort claims.
          19

          20           Because the Trustee’s state-law counterclaims are Stern claims, the bankruptcy court can

          21    finally decide them only if Nixon has consented. As explained in Nixon’s MTS Opp., to protect

          22    Article III prerogatives, consent to final adjudication by the bankruptcy court must be “knowing[]

          23    4
                  The Trustee’s original basis for bankruptcy court jurisdiction was that the Complaint was “a
          24    core proceeding under 28 U.S.C. §§ 157(b)(2)(A), (H), and (O).” Adversary Compl., Lovato v.
                Nixon Peabody, Dkt. 1 at ¶ 13. Nixon’s motion explained in great detail how none of the
          25    Trustee’s initial justifications could transform her state-law claims into core claims. The Trustee
                now asserts that her state-law claims are “statutorily core” under two new sections: 28 U.S.C. §§
          26    157(b)(2)(B) and (C). Opp. at 9 & n.39. Although subsection (B) involves disallowance—and is
          27    inapplicable—the Trustee is correct that subsection (C) statutorily “permits the bankruptcy court
                to enter a final judgment on” counterclaims to a proof of claim in certain circumstances. Stern v.
          28    Marshall, 564 U.S. 462, 478 (2011).

                                                                  4
                            REPLY TO TRUSTEE’S OPPOSITION TO MOTION TO WITHDRAW REFERENCE
                                    Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
1815282                                                                                                              186
                 Case
               Case
                  Case21-05072-gs
                    21-05072-gs
                       3:22-cv-00257Doc
                                  Doc   52 Entered
                                            Entered
                                      Document
                                      100           02/04/22
                                               1-1 06/07/22
                                                    Filed     16:30:21
                                                          06/07/22
                                                            12:02:03PagePage
                                                                       Page  9 of
                                                                         188188
                                                                             of  of17
                                                                                223 223



           1    and voluntar[y].” Wellness Int’l Network, Ltd. v. Sharif, 575 U.S. 665, 668 (2015). “[T]he key

           2    inquiry is whether ‘the litigant or counsel was made aware of the need for consent and the right to

           3    refuse it, and still voluntarily appeared to try the case’ before the non-Article III adjudicator.” Id.

           4    at 684–85 (quoting Roell v. Withrow, 538 U.S. 580, 590 (2003)). Applying that test, Nixon has

           5    not consented to final bankruptcy-court adjudication of the Trustee’s state-law tort claims. See

           6    MTS Opp. 5.

           7           As an initial matter, notwithstanding the overwhelming emphasis that the Trustee places

           8    on it, Opp. 8–13, 15–16, Nixon’s 2019 proof of claim does not and cannot constitute consistent.

           9    Stern established that a proof of claim is never fully voluntary and therefore can never imply

          10    consent to bankruptcy-court jurisdiction. In Stern itself, Pierce Marshall had filed a proof of

          11    claim before the debtor, Vickie Marshall, filed her counterclaim against him, but the Court did

          12    not find that the bankruptcy court had authorization to hear Vickie’s counterclaim on that (or any)

          13    basis. 564 U.S. at 470. The Court instead explained that “Pierce did not truly consent to

          14    resolution of Vickie’s claim in the bankruptcy court proceedings” because Pierce “had nowhere

          15    else to go if he wished to recover from Vickie’s estate.” Id. at 493. A proof of claim, in other

          16    words, can never be deemed fully voluntary, because a bankrupt’s creditor has “nowhere else to

          17    go” but the bankruptcy court. 5 Indeed, the Court later recognized in Wellness International that

          18    “Stern was premised on nonconsent to adjudication by the Bankruptcy Court.” 575 U.S. at 682
          19    (emphasis added). Put simply, in light of Stern and Wellness International, “a creditor does
          20    not consent to final adjudication of a debtor’s common law counterclaim merely by filing
          21    a proof of claim.” In re FKF 3, LLC, No. 13-CV-3601 (KMK), 2016 WL 4540842, at *10
          22

          23

          24

          25

          26    5
                  The Trustee is therefore wrong in baldly declaring that “Nixon chose the Bankruptcy Court as
          27    the adjudicator and factfinder for the propriety of the Nixon-DC Solar attorney-client relationship
                and Nixon’s legal services.” Opp. 13. Nixon “had nowhere else to go if he wished to recover
          28    from [DC Solar’s] estate.” 564 U.S. at 493.

                                                                   5
                            REPLY TO TRUSTEE’S OPPOSITION TO MOTION TO WITHDRAW REFERENCE
                                    Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
1815282                                                                                                              187
                Case
               Case
                 Case21-05072-gs
                    21-05072-gs    Doc
                       3:22-cv-00257
                                  Doc  52 Entered
                                           Entered
                                      Document
                                      100          02/04/22
                                               1-1 06/07/22  16:30:21
                                                    Filed 06/07/22
                                                            12:02:03   Page
                                                                    Page
                                                                       Page 10
                                                                         189189 of
                                                                                 of17
                                                                             of 223 223



           1    (S.D.N.Y. Aug. 30, 2016). 6 Nixon has therefore not consented here. The Trustee has not cited a

           2    single case striking a jury demand on a Stern claim where the only alleged basis for consent was

           3    submission of a proof of claim. See MTS Opp. 10–11.

           4           Under the correct standard, it is abundantly clear that Nixon has not consented to final

           5    adjudication of the Trustee’s Stern claim in bankruptcy court. See id. Absent express consent

           6    (which no one argues occurred here), courts look to a litigant’s course of conduct in the

           7    adversary proceeding to ascertain implied consent. Stern, 564 U.S. at 462 In re FKF, 2016 WL

           8    4540842, at *10. Since the filing of this adversary proceeding, Nixon has consistently stated that

           9    it does not consent to final adjudication in bankruptcy court. Nixon highlighted its lack of
          10    consent in its first stipulation to extend time to respond, see Dkt. 10; its motion to transfer, Dkt.
          11    14; the instant motion to withdraw the bankruptcy reference, Mot., Dkt. 17; and its jury demand,
          12    Dkt. 16. As catalogued in the MTS Opp., Nixon’s conduct here is not in any way comparable to
          13    that which was at issue in prior cases in which courts have found consent. See MTS Opp. 11
          14    nn.4–5 (collecting cases).
          15                           c.      The Trustee’s fraudulent conveyance claims must also be
                                               decided by an Article III court.
          16

          17           As explained in greater detail in the MTS Opp., id. at 17–19, the Trustee’s fraudulent
          18    conveyance claims are Stern claims too—as she concedes. Opp. 10; see also In re Bellingham
          19    Ins. Agency, Inc., 702 F.3d 553, 562 (9th Cir. 2012), aff’d sub nom. Exec. Benefits Ins. Agency v.
          20    Arkison, 573 U.S. 25 (2014). 7 Just as with the Trustee’s state law tort claims, Nixon has not
          21    consented to final adjudication of the fraudulent conveyance claims in bankruptcy court. See
          22

          23    6
                  As explained in Nixon’s MTS Opp. (at 11 n.4), the Trustee’s reliance on In re EPD Inv. Co.,
                LLC, 821 F.3d 1146 (9th Cir. 2016) is unavailing. That decision’s footnote regarding consent
          24
                was not necessary to the court’s decision—the holding was that the bankruptcy court’s authority
          25    to finally decide the claims before it was irrelevant to the motion to compel arbitration at issue on
                appeal—and is therefore non-binding dicta. Id. at 1150–51 & n.2; see also Cf. United States v.
          26    Anekwu, 695 F.3d 967, 975 (9th Cir. 2012).
                7
          27      See also In re Rhodes Companies, LLC, No. 2:12-CV-01272-MMD, 2012 WL 5456084, at *4
                (D. Nev. Nov. 7, 2012) (“[A] court deciding a fraudulent conveyance action exercises its Article
          28    III judicial power, and the Seventh Amendment entitles a litigant to a jury trial on such claims.”).

                                                                   6
                            REPLY TO TRUSTEE’S OPPOSITION TO MOTION TO WITHDRAW REFERENCE
                                    Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
1815282                                                                                                                 188
                Case
               Case
                 Case21-05072-gs
                    21-05072-gs    Doc
                       3:22-cv-00257
                                  Doc  52 Entered
                                           Entered
                                      Document
                                      100          02/04/22
                                               1-1 06/07/22  16:30:21
                                                    Filed 06/07/22
                                                            12:02:03   Page
                                                                    Page
                                                                       Page 11
                                                                         190190 of
                                                                                 of17
                                                                             of 223 223



           1    MTS Opp. 17–19. The same standard of consent that applies to the state-law claims applies here,

           2    In re Bellingham, 702 F.3d at 568, and as explained above, supra Section III.A.1, and in the MTS

           3    Opp. 17–19, there is no basis to conclude that Nixon provided its knowing and voluntary consent.

           4    The fraudulent conveyance claims also must be decided by an Article III court.8

           5                   2.      The Trustee’s two remaining claims do not predominate.

           6           The Trustee does not dispute that the remaining claims do not predominate here. And

           7    practically speaking, the Trustee’s disallowance claim is already moot: Nixon has moved to

           8    withdraw its proof of claim with prejudice and will not pursue payment on it regardless of how

           9    that motion is resolved. The Trustee also fails to address the limited scope of her avoidance

          10    claim—DC Solar did not directly pay for most of these services and thus cannot recover for

          11    payments it did not make. See In re Summers, 320 B.R. 630, 648–49 (Bankr. E.D. Mich. 2005)

          12    (holding that no claim exists under 11 U.S.C. § 548 for fraudulent transfer of assets that never

          13    belonged to the debtor).

          14           Moreover, as explained above, the disallowance and avoidance claims do not cover the

          15    same scope—in breadth or depth—as the Trustee’s state-law tort claims. To resolve the state-law

          16    claims, the Court will need to conduct a completely different analysis, one spanning a much

          17    longer time period (over eight years) with entirely different causation and damages issues. The

          18    six constitutionally non-core claims predominate and must be tried to an Article III court, which

          19    “weighs very heavily in favor of withdrawal.” In re Zante, Inc., 2010 WL 5477768, at *6.

          20           B.      Each remaining factor concerning withdrawal of the bankruptcy reference
                               favors granting Nixon Peabody’s motion.
          21

          22           Nixon argued in its motion to withdraw that judicial efficiency, cost and delay,

          23    administration of the bankruptcy estate, and forum-shopping concerns all counsel in favor of

          24    withdrawing the bankruptcy reference now. See Mot. 10–15. As a preliminary matter, the

          25    Trustee’s arguments to the contrary, Opp. 13–17, all hinge upon the Trustee’s erroneous

          26    argument that the bankruptcy court has the authority to finally decide all of the Trustee’s claims.

          27    8
                 Nixon’s concurrently filed Reply to its Motion to Withdraw the Proof of Claim provides further
          28    detail on why the Court should allow withdrawal.

                                                                 7
                            REPLY TO TRUSTEE’S OPPOSITION TO MOTION TO WITHDRAW REFERENCE
                                    Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
1815282                                                                                                            189
                Case
               Case
                 Case21-05072-gs
                    21-05072-gs    Doc
                       3:22-cv-00257
                                  Doc  52 Entered
                                           Entered
                                      Document
                                      100          02/04/22
                                               1-1 06/07/22  16:30:21
                                                    Filed 06/07/22
                                                            12:02:03   Page
                                                                    Page
                                                                       Page 12
                                                                         191191 of
                                                                                 of17
                                                                             of 223 223



           1    If the Court disagrees with that premise and finds that the state law tort claims and fraudulent

           2    conveyance claims must be decided in an Article III forum, the Trustee’s remaining arguments

           3    are a dead letter.

           4            First, judicial efficiency, cost, and delay all favor withdrawal. As Nixon argued in its

           5    motion, multiple courts have recognized that it is a poor use of resources for both the bankruptcy

           6    court and the district court to consider each dispositive motion anew, especially where, as here, an

           7    Article III court will ultimately have to preside over the eventual trial. See Mot. 10–11. The

           8    Trustee has in fact acknowledged in her opposition to Nixon’s motion to withdraw its proof of

           9    claim that “de novo review would cause the Trustee to incur additional costs and delay.” Dkt.

          10    3108 at 15, In re Double Jump, Inc., No. BK-19-50102-GS.

          11            Other than repeating the incorrect argument that the bankruptcy court has “exclusive

          12    jurisdiction” over even Nixon’s Stern claims, the Trustee’s only argument on this factor is that

          13    “Nixon dismisses the time and resources invested by this Bankruptcy Court in these Bankruptcy

          14    Cases.” Opp. 14. That is false. Nixon appreciates the enormity of the task that is presiding over

          15    a bankruptcy of this scope. But this adversary case has just been filed and the bankruptcy court

          16    has not yet had to familiarize itself with the California state-law claims and defenses at issue or

          17    with the nine-year factual record that underlies them. Nixon has no doubt that the bankruptcy

          18    court is familiar with the DC Solar entities and their bankruptcy petitions, but this proceeding

          19    involves the pre-petition conduct of Nixon and numerous other third parties involved in over 30

          20    transactions, which the Bankruptcy Court has yet to address in depth.

          21            As for the other adversary proceedings, which the Trustee references as already within the

          22    bankruptcy court’s knowledge, see id. at 14, a review of those actions shows that they are

          23    fundamentally different from this one. None of the Trustee’s remaining adversary proceedings

          24    contain state-law tort claims that mirror the depth and the breadth of its claims against Nixon.

          25    Mot. 10–11. Only two of the other 40+ proceedings have any tort-based claims at all, and both

          26    proceedings differ significantly from this one, in which a nine-year relationship and 30

          27

          28
                                                                  8
                             REPLY TO TRUSTEE’S OPPOSITION TO MOTION TO WITHDRAW REFERENCE
                                     Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
1815282                                                                                                               190
                Case
               Case
                 Case21-05072-gs
                    21-05072-gs    Doc
                       3:22-cv-00257
                                  Doc  52 Entered
                                           Entered
                                      Document
                                      100          02/04/22
                                               1-1 06/07/22  16:30:21
                                                    Filed 06/07/22
                                                            12:02:03   Page
                                                                    Page
                                                                       Page 13
                                                                         192192 of
                                                                                 of17
                                                                             of 223 223



           1    transactions are at issue. 9 The Trustee misleadingly suggests that each of the 40+ proceedings at

           2    issue involves fraudulent transfer claims similar to those at issue here. See Opp. 14. But the

           3    Trustee’s fraudulent transfer claims against Nixon are brought under 11 U.S.C. § 548(a)(1)(B),

           4    while every other fraudulent transfer claim arises under 11 U.S.C. § 548(a)(1)(A). 10 This

           5    difference is significant. Claims under subsection (A) focus on DC Solar’s conduct and the

           6    applicability of the Ponzi scheme exception, both of which are surely within the bankruptcy

           7    court’s knowledge and expertise. The claims against Nixon under subsection (B), however,

           8    requires the Court to analyze Nixon Peabody’s conduct and determine whether DC Solar received

           9    “less than a reasonably equivalent value in exchange” for what DC Solar paid Nixon. 11 U.S.C.

          10    § 548(a)(1)(B)(i). These issues have not been raised before the Bankruptcy Court and will likely

          11    not be raised on any other occasion.

          12           Indeed, as set forth in Nixon’s transfer motion, the best use of resources would be for the

          13    case to proceed in the Eastern District of California, where two strikingly similar cases involving

          14    the knowledge and participation of third parties—including Nixon—are already pending. See

          15    Nixon’s Mot. to Transfer, Lovato v. Nixon Peabody, Dkt. 14 at 14. The Eastern District is already

          16    considering the specific issues in this proceeding, which will also require coordinating discovery

          17    with multiple third parties.

          18           Second, withdrawal will not harm the administration of the bankruptcy estate. See Opp.

          19    14–15. The Trustee’s primary argument here, again revolves around the other adversary

          20    proceedings she has brought. See id. As just explained, those actions are fundamentally different

          21    from this one. She also argues that her “avoidance claims would not exist absent the

          22    bankruptcy,” id. at 15, but fails to address how district-court adjudication would somehow harm

          23
                9
                 The individualized, tort-based claims against Nixon are unlike the two other proceedings the
          24
                Trustee cites as having tort-based claims. Adversary Case No. 21-5040-gs, which alleges a
          25    conversion claim, is about a post-petition transfer by the Carpoffs. Adversary Case No. 21-5031-
                gs is against Paulette and Jeff Carpoff’s children, who were employees of DC Solar.
          26    10
                   Subsection A primarily looks to the conduct of the debtor and whether the debtor had “actual
          27    intent to hinder, delay, or defraud any entity.” 11 U.S.C. § 548(a)(1)(A). Subsection B requires
                the Court to determine whether DC Solar received “less than a reasonably equivalent value in
          28    exchange” for what DC Solar paid Nixon. 11 U.S.C. § 548(a)(1)(B)(i).

                                                                 9
                            REPLY TO TRUSTEE’S OPPOSITION TO MOTION TO WITHDRAW REFERENCE
                                    Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
1815282                                                                                                          191
                Case
               Case
                 Case21-05072-gs
                    21-05072-gs    Doc
                       3:22-cv-00257
                                  Doc  52 Entered
                                           Entered
                                      Document
                                      100          02/04/22
                                               1-1 06/07/22  16:30:21
                                                    Filed 06/07/22
                                                            12:02:03   Page
                                                                    Page
                                                                       Page 14
                                                                         193193 of
                                                                                 of17
                                                                             of 223 223



           1    administration of the DC Solar estate. To the contrary, numerous cases after Stern have required

           2    district courts to finally adjudicate fraudulent transfer claims that undergird an avoidance action;

           3    the Trustee does cite to a single case where that adjudication harmed the administration of the

           4    estate. Ultimately, the Trustee also fails to address that any slight disruption to the

           5    administration of a bankruptcy estate “is outweighed by the efficiency that will result in

           6    withdrawing the Trustee’s non-core claims.” Everett v. Art Brand Studios, LLC, 556 B.R. 437,

           7    446 (N.D. Cal. 2016). 11

           8           Third, Nixon is not forum-shopping. See Opp. 15. As explained above, Nixon had

           9    nowhere else to go to file its proof of claim. And now that the Trustee cynically has seized upon

          10    that submission to attempt to deny Nixon its Seventh Amendment jury-trial right, Nixon has

          11    walked away from its proof of claim altogether. Nixon does not ultimately wish to be in any

          12    forum, but since it has been sued, Nixon wishes only (1) to preserve the rights guaranteed it by

          13    the Constitution and (2) to maximize efficiency and minimize costs. Those principles lead

          14    inexorably to the district court, particularly in the Eastern District of California. Taking the steps

          15    to accomplish those goals—goals which serve the judicial system too—is no more forum

          16    shopping than is any action declining magistrate jurisdiction, seeking to transfer a case, or

          17    moving to withdraw a reference. And the Trustee’s suggestion that “Nixon now strategically

          18    prefers to have this matter adjudicated elsewhere,” in apparent contrast to what Nixon

          19    “prefer[red]” when it filed its proof of claim, Opp. 15, makes no sense. Not only did Nixon have

          20    no choice where to file that proof of claim, but this action had not yet been filed and would not be

          21    filed for another 30 months. The insinuation that Nixon initially preferred to litigate this

          22    adversary proceeding here and later changed its mind belies reality. The Trustee’s forum-

          23    shopping arguments should be disregarded.

          24

          25    11
                  The Trustee does not address the possibility of severance. When “[u]niform administration of
                the bankruptcy estate is the sole factor that favors not withdrawing the reference,” courts have
          26
                severed non-core claims and allowed only core claims to proceed before the Bankruptcy Court.
          27    In re Rosales, No. 13-CV-01316-LHK, 2013 WL 5962007, at *7, (N.D. Cal. Nov. 7, 2013).
                Should the Court have concerns about administration of the estate, severance provides a feasible
          28    and practical alternative.

                                                                  10
                            REPLY TO TRUSTEE’S OPPOSITION TO MOTION TO WITHDRAW REFERENCE
                                    Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
1815282                                                                                                             192
                Case
               Case
                 Case21-05072-gs
                    21-05072-gs    Doc
                       3:22-cv-00257
                                  Doc  52 Entered
                                           Entered
                                      Document
                                      100          02/04/22
                                               1-1 06/07/22  16:30:21
                                                    Filed 06/07/22
                                                            12:02:03   Page
                                                                    Page
                                                                       Page 15
                                                                         194194 of
                                                                                 of17
                                                                             of 223 223



           1           C.      The Court should withdraw the reference now.

           2           Because each factor counsels in favor of withdrawing the bankruptcy reference, the only

           3    remaining question is whether the Court should withdraw the reference now or later. The

           4    interests of judicial efficiency, avoiding unnecessary cost and delay, and fairness all weigh

           5    heavily in favor of withdrawing the reference now.

           6           The Trustee’s argument that the Court should “withdraw the reference when the matter is

           7    trial-ready, not in its earlier stages” ignores the most analogous cases. Opp. at 16. Where the

           8    claims that predominate must be decided by an Article III court, courts within this district have

           9    repeatedly concluded that withdrawal at an earlier stage is preferable. See Shengdatech

          10    Liquidating Trust v. Hansen, Barnett, & Maxwell, P.C., No. 3:13-CV-00563-RCJ, 2013 WL

          11    6408518, at *2–3 (D. Nev. Nov. 26, 2013) (withdrawing reference where non-core issues

          12    predominated and adjudication would likely not impact the bankruptcy administration); see also

          13    Off. Comm.. of Unsecured Creditors v. Marini (In re Windspire Energy, Inc.), No. 3:13-cv-10-

          14    RCJ-WGC, 2013 U.S. Dist. LEXIS 46727, at *2–3 (D. Nev. April 1, 2013) (withdrawing

          15    reference in a case involving breach of fiduciary duty and fraudulent transfer because of judicial

          16    economy and on recommendation of the bankruptcy judge); Nelson v. XL Am., Inc. (In re Ameri-

          17    Dream Realty, LLC), No. 2:16-CV-00060-JAD-GWF, 2016 U.S. Dist. LEXIS 157788 (D. Nev.

          18    Nov. 14, 2016) (withdrawing reference to avoid duplicating efforts); see also Ex. F (USACM

          19    Liquidating Trust v. Compass USA SPE, LLC (In re USA Com. Mortg. Co.), No. 2:14-cv-00455-

          20    RCJ-PAL, U.S. Dist. LEXIS 72663 (D. Nev. May 28, 2014), Dkt. No. 4 (withdrawing reference

          21    on recommendation of the bankruptcy judge because the parties would be litigating the same

          22    issues related to another action pending before the District Court)).

          23           As Nixon noted in its Motion—and the Trustee does not refute—cases denying early

          24    withdrawal of the bankruptcy reference are easily distinguishable from this adversary proceeding.

          25    See Mot. at 12–13. First, many of those cases involve only fraudulent transfer claims, which may

          26    “routinely arise in the context of bankruptcy.” Rosenberg v. Harvey A. Bookstein, 479 B.R. 584,

          27    590 (D. Nev. 2012). Second, cases denying early withdrawal often have virtually identical

          28    adversary complaints already pending before the bankruptcy court for the same underlying

                                                                 11
                            REPLY TO TRUSTEE’S OPPOSITION TO MOTION TO WITHDRAW REFERENCE
                                    Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
1815282                                                                                                             193
                Case
               Case
                 Case21-05072-gs
                    21-05072-gs    Doc
                       3:22-cv-00257
                                  Doc  52 Entered
                                           Entered
                                      Document
                                      100          02/04/22
                                               1-1 06/07/22  16:30:21
                                                    Filed 06/07/22
                                                            12:02:03   Page
                                                                    Page
                                                                       Page 16
                                                                         195195 of
                                                                                 of17
                                                                             of 223 223



           1    fraudulent transfer claims. Third, cases denying early withdrawal typically conclude that the

           2    bankruptcy court is most familiar with the parties and issues. Here, the Trustee’s adversary

           3    complaint against Nixon Peabody is unique in its individualized, tort-based claims and

           4    allegations, which comprise almost the entirety of the Complaint. See supra Section III.A. And

           5    as Nixon’s motion to transfer explains, the Eastern District of California—not the bankruptcy

           6    court—is the court most familiar with the parties, the claims, and the underlying pre-petition

           7    conduct at issue. The very same claims and defenses will be litigated before that court, which

           8    already has familiarity with many of the criminal and civil cases related to DC Solar’s downfall.

           9           Although the Trustee argues that the order in LBA is “instructive” because it weighs “in

          10    favor of denying withdrawal of reference until the . . . adversary is trial ready,” LBA is

          11    distinguishable for the same reasons and instead supports withdrawing this reference

          12    immediately. Opp. at 4. The Trustee conceded in LBA—as she does here—that the adversary

          13    complaint involved Stern claims. See LBA Order at 5 (“Lovato admits that the bankruptcy court

          14    lacks authority to enter final judgment over the fraudulent conveyance claims.”). The Court

          15    denied early withdrawal because the Trustee seeks to “avoid and recover fraudulent conveyances

          16    in almost all of the [adversary] proceedings,” and “there may be overlapping legal and factual

          17    issues between this Adversary and other matters proceeding before the bankruptcy court.” Id. at

          18    6. As explained above, however, the Trustee’s fraudulent transfer claims against Nixon are

          19    significantly different—factually and legally—from any of the Trustee’s other adversary

          20    proceeding. None of the same elements or defenses will likely apply. And what the Trustee

          21    ignores is that, unlike this proceeding, LBA does not involve predominant state-law tort claims

          22    alleging hundreds of millions of dollars in damages entirely unrelated to the bankruptcy court’s

          23    core powers. LBA’s analysis also supports early withdrawal of this adversary proceeding.

          24           By not withdrawing the reference now, the Court risks upending each of the interests at

          25    stake in both this motion and in Nixon’s motion to transfer. Early withdrawal is the only way to

          26    further the interests of justice, ensure judicial efficiency, promote the convenience of the parties,

          27    and avoid unnecessary cost and delay.

          28    ///
                                                                  12
                            REPLY TO TRUSTEE’S OPPOSITION TO MOTION TO WITHDRAW REFERENCE
                                    Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
1815282                                                                                                             194
                Case
               Case
                 Case21-05072-gs
                    21-05072-gs    Doc
                       3:22-cv-00257
                                  Doc  52 Entered
                                           Entered
                                      Document
                                      100          02/04/22
                                               1-1 06/07/22  16:30:21
                                                    Filed 06/07/22
                                                            12:02:03   Page
                                                                    Page
                                                                       Page 17
                                                                         196196 of
                                                                                 of17
                                                                             of 223 223



           1    IV.    CONCLUSION

           2           For the foregoing reasons, this Court should withdraw the bankruptcy reference now.

           3    Dated: February 4, 2022                              KEKER, VAN NEST & PETERS LLP

           4
                                                              By:    s/Elliot R. Peters
           5
                                                                     ELLIOT R. PETERS
           6                                                         ERIC H. MACMICHAEL

           7

           8    Dated: February 4, 2022                       By:    KAEMPFER CROWELL

           9
                                                                     s/Louis M. Bubala III
          10                                                         LOUIS M. BUBALA III

          11                                                         Attorneys for Defendant Nixon Peabody
                                                                     LLP
          12

          13

          14

          15

          16

          17

          18

          19

          20

          21

          22

          23

          24

          25

          26

          27

          28
                                                              13
                           REPLY TO TRUSTEE’S OPPOSITION TO MOTION TO WITHDRAW REFERENCE
                                   Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
1815282                                                                                                      195
 Case
Case
  Case21-05072-gs
     21-05072-gs    DocDocument
        3:22-cv-00257
                   Doc  52-1 Entered
                       100     Entered 02/04/22
                                 1-1 06/07/22
                                      Filed     16:30:21
                                            06/07/22
                                              12:02:03
                                                     Page  Page
                                                         Page  of1223
                                                           197197 of
                                                                   of 27
                                                                      223




                   EXHIBIT A




                                                                            196
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                          Filed     15:31:39
                                                     16:30:21
                                                06/07/22
                                                  12:02:03Page Page
                                                                Page
                                                              Page  12of
                                                                198198
                                                                    of of
                                                                        of26
                                                                       223 27
                                                                           223



 1     KEKER, VAN NEST & PETERS LLP                    KAEMPFER CROWELL
       ELLIOT R. PETERS – Admitted PHV                 LOUIS M. BUBALA III - # 8974
 2     epeters@keker.com                               lbubala@kcnvlaw.com
       ERIC H. MACMICHAEL – Admitted PHV               50 W. Liberty St., Ste. 700
 3     emacmichael@keker.com                           Reno, NV 89501
       633 Battery Street                              Telephone: 775 852 3900
 4     San Francisco, CA 94111-1809                    Facsimile: 777 327 2011
       Telephone:     415 391 5400
 5     Facsimile:     415 397 7188
 6
      Attorneys for Defendant Nixon Peabody LLP
 7

 8                                  UNITED STATES BANKRUPTCY COURT

 9                                          DISTRICT OF NEVADA

10    In re                                              Lead Case No. BK-19-50102-gs
                                                         (Chapter 7)
11    DOUBLE JUMP, INC.
                                                         Substantively Consolidated with:
12                     Debtor,
                                                         19-50130-gs DC Solar Solutions, Inc.
13                                                       19-50131-gs DC Solar Distribution, Inc.
      X         Affects DC Solar Solutions, Inc.         19-50135-gs DC Solar Freedom, Inc.
14    X         Affects DC Solar Distributions, Inc.
      X         Affects DC Solar Freedom, Inc.
15    X         Affects Double Jump, Inc.
16
                                                         Adversary Case No.: 21-05072-gs
17
      CHRISTINA W. LOVATO,                               NIXON PEABODY’S OPPOSITION TO
18                                                       MOTION TO STRIKE JURY TRIAL
                       Plaintiff,                        DEMAND
19
      v.                                                 JURY TRIAL DEMANDED
20
      NIXON PEABODY LLP,                                 Hearing Date: February 18, 2022
21                                                       Hearing Time: 9:30 a.m.
                       Defendant.
22

23

24

25

26

27

28


                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                      197
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                          Filed     15:31:39
                                                     16:30:21
                                                06/07/22
                                                  12:02:03Page Page
                                                                Page
                                                              Page  23of
                                                                199199
                                                                    of of
                                                                        of26
                                                                       223 27
                                                                           223



 1                                                      TABLE OF CONTENTS

 2                                                                                                                                        Page
 3
      I.        INTRODUCTION ...............................................................................................................1
 4
      II.       BACKGROUND .................................................................................................................2
 5
      III.      ARGUMENT .......................................................................................................................4
 6
                A.        The Trustee’s state-law counterclaims must be decided by a jury in the
 7                        District Court absent Nixon’s consent, which Nixon has not provided. ..................4
 8                        1.         The Trustee concedes that her counterclaims are “Stern claims” that
                                     must be heard by an Article III court. ..........................................................5
 9
                          2.         As a matter of law, Nixon’s filing of a proof of claim has no
10                                   bearing whatsoever on whether it consented to adjudication in the
                                     Bankruptcy Court, which it did not............................................................10
11
                          3.         If the Court finds the question presented here even close, it must err
12                                   on the side of preserving Nixon’s jury-trial right. .....................................14
13                        4.         Nixon’s withdrawal of its proof of claim further undercuts the
                                     Trustee’s motion. .......................................................................................15
14
                B.        Nixon maintains a jury-trial right on the fraudulent-conveyance claims. .............17
15
                C.        Because the Trustee’s claims must be heard by an Article III court, the
16                        bankruptcy reference should be withdrawn. ..........................................................19
17    IV.       CONCLUSION ..................................................................................................................20
18

19

20

21

22

23

24

25

26

27

28
                                                           i
                     NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                              Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                                                                 198
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                          Filed     15:31:39
                                                     16:30:21
                                                06/07/22
                                                  12:02:03Page Page
                                                                Page
                                                              Page  34of
                                                                200200
                                                                    of of
                                                                        of26
                                                                       223 27
                                                                           223



 1                                                  TABLE OF AUTHORITIES

 2                                                                                                                                Page(s)
 3    Cases
 4    In re Adelphia Commc’ns Corp.,
          307 B.R. 404 (Bankr. S.D.N.Y. 2004) .....................................................................................11
 5

 6    In re Advanced Rods, Inc.,
          No. OR-04-1536-RKMo, 2005 WL 6960214 (B.A.P. 9th Cir. June 27, 2005) .................11, 12
 7
      In re AWTR Liquidation Inc.,
 8        547 B.R. 831 (Bankr. C.D. Cal. 2016) .......................................................................................9
 9    In re Bellingham Ins. Agency, Inc.,
          702 F.3d 553 (9th Cir. 2012), aff’d, 573 U.S. 25 (2014) ...................................................18, 19
10
      In re Bernard L. Madoff Inv. Sec. LLC,
11
          612 B.R. 257 (S.D.N.Y. 2020) .................................................................................................17
12
      In re Breland,
13        No. 09-11139-JCO, 2016 WL 3193819 (Bankr. S.D. Ala. May 27, 2016) .............................13

14    Carlson v. Gatestone & Co. Int’l Inc.,
         No. 17-CV-01818-BLF, 2017 WL 2615764 (N.D. Cal. June 16, 2017) .................................16
15
      In re CBI Holding Co., Inc.,
16
          529 F.3d 432 (2d Cir. 2008)...............................................................................................11, 12
17
      Ceriale v. Superior Ct.,
18       48 Cal. App. 4th 1629 (1996) ....................................................................................................4

19    In re Cinematronics, Inc.,
          916 F.2d 1444 (9th Cir. 1990) .................................................................................................19
20
      Cohen v. United States,
21       210 F.3d 382 (9th Cir. 2000) ...................................................................................................17
22
      In re Cole,
23        No. 16-30960, 2017 WL 486920 (Bankr. W.D.N.C. Feb. 6, 2017) ........................................13

24    Composite Res. Inc. v. Recon Med. LLC,
        No. 2:17-CV-01755-MMD-VCF, 2021 WL 4941991 (D. Nev. Oct. 22, 2021)......................14
25
      In re Cooper,
26        No. EDCV 18-02279 JGB, 2018 WL 11277403 (C.D. Cal. Nov. 28, 2018) ..........................19
27    In re Cty. of Orange,
28        784 F.3d 520 (9th Cir. 2015) ...................................................................................................14

                                                          ii
                    NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                             Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                                                            199
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                          Filed     15:31:39
                                                     16:30:21
                                                06/07/22
                                                  12:02:03Page Page
                                                                Page
                                                              Page  45of
                                                                201201
                                                                    of of
                                                                        of26
                                                                       223 27
                                                                           223



 1    In re Crystal Cascades Civ., LLC,
          415 B.R. 403, 408 n.8 (B.A.P. 9th Cir. 2009)..........................................................................16
 2
      DeFunis v. Odegaard,
 3
         416 U.S. 312 (1974) .................................................................................................................17
 4
      DePinto v. Provident Sec. Life Ins. Co.,
 5       323 F.2d 826 (9th Cir. 1963) .....................................................................................................4

 6    In re Digimarc Corp. Derivative Litig.,
          549 F.3d 1223 (9th Cir. 2008) .................................................................................................16
 7
      Double Eagle Energy Servs., L.L.C. v. MarkWest Utica EMG, L.L.C.,
 8       936 F.3d 260 (5th Cir. 2019) ...................................................................................................16
 9
      In re EPD Inv. Co., LLC,
10        821 F.3d 1146 (9th Cir. 2016) .................................................................................................11

11    Exec. Benefits Ins. Agency v. Arkison,
         573 U.S. 25 (2014) ...............................................................................................................6, 19
12
      In re FKF 3, LLC,
13        No. 13-CV-3601 (KMK), 2016 WL 4540842 (S.D.N.Y. Aug. 30, 2016) .............11, 12, 13, 16
14
      In re Frost, Inc.,
15        145 B.R. 878 (Bankr. W.D. Mich. 1992).................................................................................11

16    In re G.I. Indus., Inc.,
          204 F.3d 1276 (9th Cir. 2000) ...........................................................................................11, 12
17
      Germain v. Connecticut Nat. Bank,
18       988 F.2d 1323 (2d Cir. 1993).....................................................................................................6
19    Granite Rock Co. v. Int’l Bhd. of Teamsters, Freight, Constr., Gen. Drivers,
20       Warehousemen & Helpers, Loc. 287 (AFL-CIO),
         649 F.3d 1067 (9th Cir. 2011) .................................................................................................14
21
      Intell. Prop. Dev., Inc. v. TCI Cablevision of California, Inc.,
22        248 F.3d 1333 (Fed. Cir. 2001)................................................................................................17
23    Katchen v. Landy,
         382 U.S. 323 (1966) .................................................................................................................11
24
      Maring v. PG Alaska Crab Inv. Co., LLC,
25
        No. C05-0326-JCC, 2007 WL 9775428 (W.D. Wash. Oct. 2, 2007) ......................................11
26
      In re Maui Indus. Loan & Fin. Co.,
27        No. 10-00235, 2012 WL 405056 (Bankr. D. Haw. Feb. 8, 2012) ...........................................16

28
                                                          iii
                     NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                              Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                                                                200
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                          Filed     15:31:39
                                                     16:30:21
                                                06/07/22
                                                  12:02:03Page Page
                                                                Page
                                                              Page  56of
                                                                202202
                                                                    of of
                                                                        of26
                                                                       223 27
                                                                           223



 1    In re McClelland,
          332 B.R. 90 (Bankr. S.D.N.Y. 2005) .................................................................................11, 12
 2
      In re Nady,
 3
          138 B.R. 608 (D. Nev. 1992) ...................................................................................................19
 4
      Nat’l Equip. Rental, Ltd. v. Szukhent,
 5       375 U.S. 311 (1964) .................................................................................................................14

 6    Oil States Energy Servs., LLC v. Greene’s Energy Grp., LLC,
          138 S. Ct. 1365 (2018) .............................................................................................................15
 7
      Okura & Co. (Am.) v. Careau Grp.,
 8       783 F. Supp. 482 (C.D. Cal. 1991) ............................................................................................4
 9
      Pennhurst State Sch. & Hosp. v. Halderman,
10       465 U.S. 89 (1984) ...................................................................................................................15

11    In re PNP Holdings Corp.,
          184 B.R. 805 (B.A.P. 9th Cir. 1995), aff’d, 99 F.3d 910 (9th Cir. 1996) ................................11
12
      In re Rhodes Cos., LLC,
13        No. 2:12-CV-01272-MMD, 2012 WL 5456084 (D. Nev. Nov. 7, 2012) ................................18
14
      Securities Investor Protection Corporation v. Bernard L. Madoff Investment
15       Securities LLC,
         597 B.R. 466 (Bankr. S.D.N.Y. 2019) .....................................................................................17
16
      Stern v. Marshall,
17        564 U.S. 462 (2011) ......................................................................................................... passim
18    Ta Chong Bank Ltd. v. Hitachi High Techs. Am., Inc.,
         610 F.3d 1063 (9th Cir. 2010) ...........................................................................................11, 12
19

20    In re Tech. Licensing Corp.,
          423 F.3d 1286 (Fed. Cir. 2005)................................................................................................14
21
      Teutscher v. Woodson,
22       835 F.3d 936 (9th Cir. 2016) .....................................................................................................4
23    In re Toledo,
          170 F.3d 1340 (11th Cir. 1999) ...............................................................................................16
24
      In re Toys “R” Us, Inc.,
25
          615 B.R. 96 (Bankr. E.D. Va. 2020) ........................................................................................11
26
      True Traditions, LC v. Wu,
27       552 B.R. 826 (N.D. Cal. 2015) ................................................................................................13

28
                                                          iv
                     NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                              Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                                                                 201
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                          Filed     15:31:39
                                                     16:30:21
                                                06/07/22
                                                  12:02:03Page Page
                                                                Page
                                                              Page  67of
                                                                203203
                                                                    of of
                                                                        of26
                                                                       223 27
                                                                           223



 1    United States v. Anekwu,
         695 F.3d 967 (9th Cir. 2012) ...................................................................................................11
 2
      United States v. Bell,
 3
         158 F. Supp. 3d 906 (N.D. Cal. 2016) .....................................................................................12
 4
      United States v. Helstoski,
 5       442 U.S. 477 (1979) .................................................................................................................15

 6    United States v. Keen,
         104 F.3d 1111 (9th Cir. 1996), as amended on denial of reh’g (Jan. 2, 1997)........................14
 7
      United States v. Remolif,
 8       227 F. Supp. 420 (D. Nev. 1964) .............................................................................................15
 9
      United Steel, Paper & Forestry, Rubber, Mfg., Energy, Allied Indus. & Serv.
10       Workers Int’l Union, AFL-CIO, CLC v. Shell Oil Co.,
         602 F.3d 1087 (9th Cir. 2010) .................................................................................................16
11
      Wabakken v. California Dep’t of Corr. & Rehab.,
12      801 F.3d 1143 (9th Cir. 2015) ...................................................................................................9
13    Wellness International Network, Ltd. v. Sharif,
14       575 U.S. 665 (2015) ......................................................................................................... passim

15    Wilmington Tr. v. U.S. Dist. Ct. for Dist. of Hawaii,
         934 F.2d 1026 (9th Cir. 1991) .................................................................................................14
16
      In re Windstream Holdings, Inc.,
17        No. 19-22312 (RDD), 2020 WL 1304147 (Bankr. S.D.N.Y. Mar. 17, 2020) ...........................9
18    Statutes
19    11 U.S.C. § 544 ................................................................................................................................3
20
      11 U.S.C. § 548 ................................................................................................................................3
21
      11 U.S.C. § 550 ................................................................................................................................3
22
      28 U.S.C. § 157 ...................................................................................................................... passim
23
      28 U.S.C. § 1334 ............................................................................................................................16
24
      Other Authorities
25
      Fed. R. Bankr. P. 9015 .........................................................................................................4, 13, 20
26

27

28
                                                            v
                      NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                               Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                                                                       202
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                          Filed     15:31:39
                                                     16:30:21
                                                06/07/22
                                                  12:02:03Page Page
                                                                Page
                                                              Page  78of
                                                                204204
                                                                    of of
                                                                        of26
                                                                       223 27
                                                                           223



 1    I.        INTRODUCTION

 2              The Trustee advances the stunning proposition that when Defendant Nixon Peabody LLP

 3    (“Nixon”) filed a proof of claim for $110,000 in unpaid legal fees in early 2019, Nixon thereby

 4    knowingly and voluntarily waived its Seventh Amendment right to a jury trial on the Trustee’s

 5    state-law tort counterclaims, which were not filed until 30 months later and which dwarf Nixon’s

 6    claim by more than three orders of magnitude, seeking hundreds of millions of dollars in

 7    damages. The Trustee is incorrect.

 8              The Trustee does not dispute that, had she filed her legal-malpractice and breach-of-

 9    fiduciary-duty claims in an Article III court, Nixon would have a Seventh Amendment jury-trial

10    right. Nor does she dispute that her claims are Stern claims—claims designated as “core” by

11    statute but required by the Constitution to be decided by an Article III court, where Nixon would

12    have the right to a jury. Instead, she argues that Nixon should be deprived of its Seventh

13    Amendment right in this case solely because the proof of claim that Nixon filed in 2019

14    amounted to consent to final adjudication of her Stern claims by the bankruptcy court. That’s

15    wrong. The Trustee’s effort to deny Nixon its fundamental right to a jury trial runs headlong into

16    the Supreme Court’s holdings in Stern v. Marshall, 564 U.S. 462 (2011), and Wellness

17    International Network, Ltd. v. Sharif, 575 U.S. 665 (2015)—two cases that, tellingly, are hardly

18    addressed in the Trustee’s motion. Read together, those decisions hold that state tort-law

19    counterclaims implicating broader issues than those raised by a proof of claim must be heard by

20    an Article III court, absent the defendant’s knowing and voluntary consent. And as a matter of

21    law, that knowing and voluntary consent cannot be implied from the filing of a proof of claim,

22    because Stern held (and Wellness International reaffirmed) that proofs of claim never are fully

23    voluntary. The reason is simple: A creditor has “nowhere else to go” beside the bankruptcy court

24    if it hopes to recover anything against the debtor’s estate. 564 U.S. at 493.

25              Here it is plain both that the factual and legal issues raised by the Trustee’s counterclaims

26    are vastly broader in scope than those implicated by Nixon’s proof of claim and that Nixon has

27    never consented to adjudicating those counterclaims outside of an Article III tribunal. Nixon thus

28    retains its Seventh Amendment right. The cases that the Trustee relies on—nearly all of which
                                                          1
                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                              203
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                          Filed     15:31:39
                                                     16:30:21
                                                06/07/22
                                                  12:02:03Page Page
                                                                Page
                                                              Page  89of
                                                                205205
                                                                    of of
                                                                        of26
                                                                       223 27
                                                                           223



 1    pre-date Stern—do not indicate otherwise. In fact, the Trustee has not cited a single case in which

 2    a court struck a jury demand on a Stern claim on the ground that filing a proof of claim, without

 3    more, amounted to consent. At any rate, even if Nixon’s right to a jury trial were deemed to be a

 4    close question—which it isn’t—binding precedent requires that any doubt be resolved in favor of

 5    preserving Nixon’s constitutional rights. This is doubly so now that Nixon has sought to

 6    withdraw its proof of claim with prejudice.

 7              The same result should follow for the Trustee’s fraudulent-conveyance claims. Just like

 8    state-law tort claims, fraudulent-conveyance claims have traditionally carried a Seventh

 9    Amendment jury-trial right. The fraudulent-conveyance claims in this case are not so bound up in

10    the claims-allowance process that Article III permits them to be finally decided in bankruptcy

11    court; nor has Nixon consented to that result. It thus follows that these claims must be tried to a

12    jury in district court.

13              The Trustee’s motion to strike Nixon’s jury demand should be denied.

14    II.       BACKGROUND

15              The facts giving rise to this action are set forth at greater length elsewhere, including

16    Nixon’s recently filed motion to dismiss. Dkt. 43. Relevant here, DC Solar was a Ponzi scheme

17    launched by Jeff and Paulette Carpoff, who are both now convicted felons. See Adversary

18    Complaint, Dkt. 1 ¶¶ 1–2, 10, 16, 48 (“Compl.”). During the operation of their Ponzi scheme

19    from approximately 2010 through 2018, DC Solar retained Nixon to provide legal opinion letters

20    explaining the federal tax consequences of investing in DC Solar’s funds. Id. ¶¶ 50, 106. The

21    opinion letters were clearly and explicitly premised on management-provided factual assumptions

22    that later turned out to be false.

23              DC Solar’s scheme collapsed in December 2018 when federal law enforcement raided the

24    company’s headquarters in the Eastern District of California. Id. ¶ 39. Shortly after that raid, the

25    various DC Solar entities began filing for bankruptcy in the District of Nevada. Id. ¶ 42. Those

26    proceedings have been consolidated and converted from Chapter 11 to Chapter 7. See id. ¶ 43; In

27    re Double Jump, Inc., No. 19-50102-gs, Dkts. 390, 438. In March 2019, Nixon filed a proof of

28    claim arising out of three unpaid DC Solar invoices. See Claim 34-1, In re DC Solar Solutions,
                                                           2
                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                               204
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                  Entered
                            Document
                            100           02/04/22
                                          02/04/22
                                     1-1 06/07/22
                                          Filed     15:31:39
                                                    16:30:21
                                                06/07/22
                                                  12:02:03PagePage
                                                              Page
                                                             Page  910of
                                                               206206
                                                                   of   of26
                                                                      223
                                                                       of  27
                                                                           223



 1    Inc., No BK-19-50130-GS (“In re Double Jump, Inc.”). Those invoices, two dated January 14,

 2    2019 and another from February 13, 2019, totaled $111,223.95—a relatively small percentage of

 3    the approximately $3 million Nixon was paid over the course of its nine-year representation of

 4    DC Solar. Compl. ¶ 231.

 5              On October 25, 2021, the Chapter 7 Trustee filed this Adversary Complaint against Nixon

 6    alleging five claims under California law, including malpractice (Count I), breach of fiduciary

 7    duty (Count II), aiding and abetting (Count III), and conspiracy (Count IV), as well as fraudulent

 8    transfer under 11 U.S.C. § 544 and California state law (Count V); fraudulent transfer under 11

 9    U.S.C. §§ 548(a)(1)(B) (Count VI); avoidance under 11 U.S.C. § 550 (Count VII); and

10    disallowance (Count VIII). See generally Compl. ¶¶ 251-328. The Trustee alleges that DC Solar’s

11    bankruptcy estate should be able to recover “hundreds of millions” of dollars from Nixon on the

12    theory that Nixon failed to investigate and prevent DC Solar’s criminal misconduct. Nixon has

13    moved to dismiss the complaint as barred by the in pari delicto doctrine, which dictates that a

14    participant in an act of intentional fraud—or a bankruptcy trustee standing in that participant’s

15    shoes—cannot recover damages from another alleged participant. See Dkt. 43.

16              Since the filing of this adversary proceeding, Nixon has consistently stated that it does not

17    consent to final adjudication in bankruptcy court. Nixon’s first submission in this adversary

18    proceeding was a simple stipulation to extend its time to respond to the complaint. See Dkt. 10.

19    Nixon stated there that “by entering into this Stipulation, the Defendant does not intend to consent

20    to jurisdiction or venue in this court, or to waive any right to contest jurisdiction or venue, and the

21    Parties expressly reserve the right to move this court for an appropriate order as to jurisdiction or

22    venue.” Id. at 2. Nixon then filed a motion to transfer this case to the Eastern District of

23    California, where it is already being sued for its work relating to DC Solar. See Dkt. 14. In that

24    submission, too, Nixon stated that it “does not consent to the entry of final orders or judgments by

25    the bankruptcy judge on any and all claims on which the bankruptcy judge cannot enter final

26    orders or judgments consistent with Article III of the United States Constitution. Nixon Peabody

27    demands a jury trial on all issues so triable in the Adversary Proceeding . . . .” Id at 4. Nixon said

28    the same in its contemporaneously filed motion to withdraw the bankruptcy reference. Dkt. 17 at
                                                          3
                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                              205
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                           Filed    15:31:39
                                                     16:30:21
                                                 06/07/22
                                                   12:02:03   Page
                                                           PagePage
                                                              Page 10
                                                                    11223
                                                                207207
                                                                    of of
                                                                        of26
                                                                        of 27
                                                                           223



 1    4-5. Nixon also filed a jury demand (compliant with Local Rule 9015) that same day. Dkt. 16.

 2              And Nixon also has moved to withdraw its proof of claim. Nixon thus relinquished any

 3    claim to its unpaid fees, recognizing that (1) it no longer expects ever to recover those fees; (2) it

 4    would therefore waste the parties’ and the Court’s time and resources to litigate over fees; and (3)

 5    the Trustee has cynically seized upon Nixon’s filing of its relatively modest claim to argue that

 6    Nixon knowingly and voluntarily waived its right to a jury trial on the vastly larger counterclaims

 7    that the Trustee filed 30 months later—no matter how tangential those counterclaims are to

 8    Nixon’s unpaid-fees claim. See Dkt. 2985, In re Double Jump.

 9              Nevertheless, two months after Nixon irrevocably relinquished any right to seek payment

10    on its proof of claim, the Trustee filed the present motion to strike Nixon’s jury demand, relying

11    entirely on the proof of claim to establish Nixon’s purported “consent” to bankruptcy-court

12    jurisdiction.

13    III.      ARGUMENT

14              A.      The Trustee’s state-law counterclaims must be decided by a jury in the
                        District Court absent Nixon’s consent, which Nixon has not provided.
15

16              The Seventh Amendment to the United States Constitution provides that “[i]n Suits at

17    common law, where the value in controversy shall exceed twenty dollars, the right of trial by jury

18    shall be preserved . . . .” U.S. Const. amend. VII. “The Seventh Amendment thus secures the right

19    to a jury trial for suits in which legal rights are to be ascertained and determined, in

20    contradistinction to those where equitable rights alone are recognized, and equitable remedies are

21    administered.” Teutscher v. Woodson, 835 F.3d 936, 942-943 (9th Cir. 2016) (cleaned up). The

22    Trustee does not and cannot dispute that her state-law tort claims for professional malpractice and

23    breach of fiduciary duty involve legal, not equitable, rights and thus carry with them a jury trial

24    right. 1 Had this suit been brought in the absence of a bankruptcy, there is no question that Nixon

25
      1
26      Notwithstanding any equitable origins, breach-of-fiduciary duty claims like those at issue here
      are “legal” and trigger a jury-trial right. See California Civil Jury Instructions No. 4100 (defining
27    fiduciary duty for use in California jury trials); see also DePinto v. Provident Sec. Life Ins. Co.,
      323 F.2d 826, 837 (9th Cir. 1963); Okura & Co. (Am.) v. Careau Grp., 783 F. Supp. 482, 491
28    (C.D. Cal. 1991); Ceriale v. Superior Ct., 48 Cal. App. 4th 1629, 1634 (1996).
                                                         4
                     NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                              Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                               206
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                           Filed    15:31:39
                                                     16:30:21
                                                 06/07/22
                                                   12:02:03   Page
                                                           PagePage
                                                              Page 11
                                                                    12223
                                                                208208
                                                                    of of
                                                                        of26
                                                                        of 27
                                                                           223



 1    would have the right to a trial by jury.

 2              Instead, the Trustee maintains that, through the mere filing of a proof of claim in the

 3    bankruptcy proceeding, Nixon implicitly waived its right to have a jury trial in an Article III court

 4    regarding the Trustee’s counterclaims in this adversary proceeding. Not so. Nixon retains its

 5    Seventh Amendment jury trial right because the Constitution requires final adjudication by an

 6    Article III court absent the parties’ knowing and voluntary consent to bankruptcy-court

 7    jurisdiction, which has not been provided here either expressly or impliedly. Far from evincing

 8    consent, Nixon has stated since its very first submission in this case that it does not consent to

 9    final adjudication by the bankruptcy court. Even if this Court were to find the question close,

10    constitutional concerns require preserving Nixon’s right to a jury trial. Nixon’s request to

11    withdraw its proof of claim in the main case bolsters its argument that consent is absent here.

12              As detailed below, the Court’s analysis proceeds in two steps:

13              First, the Court must decide whether the Trustee’s counterclaims are so-called “Stern

14    claims”—claims assigned to the bankruptcy court by statute but barred from the bankruptcy court

15    by the constitutional scheme of separation of powers, as held in the Supreme Court’s Stern

16    decision. Here that inquiry is resolved by the Trustee’s express admission that her counterclaims

17    are Stern claims. We explain below why the law left the Trustee no choice but to concede this

18    critical point. See Part III.A.1., below.

19              Second, the Court must decide whether the Trustee’s Stern claims may nevertheless be

20    decided in bankruptcy court, without a jury, because Nixon impliedly consented to bankruptcy-

21    court jurisdiction when it filed a proof of claim. We explain below why the filing of a proof of

22    claim, while potentially bearing on the first (Stern-claim) inquiry, is completely irrelevant to this

23    second (consent) inquiry, as a matter of law. Accordingly, the Court must reject the Trustee’s

24    contention that Nixon’s filing of a proof of claim waived its constitutional right to have the

25    Trustee’s counterclaims adjudicated by a jury in an Article III court. See Part III.A.2., below.

26                     1.      The Trustee concedes that her counterclaims are “Stern claims” that
                               must be heard by an Article III court.
27

28              Title 28 U.S.C. § 157(b) authorizes bankruptcy courts to “hear and determine”—that is, to
                                                          5
                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                              207
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                           Filed    15:31:39
                                                     16:30:21
                                                 06/07/22
                                                   12:02:03   Page
                                                           PagePage
                                                              Page 12
                                                                    13223
                                                                209209
                                                                    of of
                                                                        of26
                                                                        of 27
                                                                           223



 1    enter final judgment on—“all core proceedings.” See Stern, 564 U.S. at 475-476. Section 157(b)

 2    lists 16 examples of core proceedings, one of which is “counterclaims by the estate against

 3    persons filing claims against the estate.” 28 U.S.C. § 157(b)(2)(C). But the Supreme Court held in

 4    Stern that, even where that provision permits the Bankruptcy Court to enter final judgment on a

 5    counterclaim, “Article III of the Constitution [may] not.” 564 U.S. at 482. 2 The Stern Court

 6    recognized that “Article III is an inseparable element of the constitutional system of checks and

 7    balances that both defines the power and protects the independence of the Judicial Branch.” Id. at

 8    482–83 (cleaned up). Article III, the Court instructed, “could neither serve its purpose in the

 9    system of checks and balances nor preserve the integrity of judicial decisionmaking if the other

10    branches of the Federal Government could confer the Government’s ‘judicial Power’ on entities

11    outside Article III.” Id. at 484. Because deciding the claims at issue in Stern entailed exercising

12    the judicial power of the United States, the Supreme Court held that the bankruptcy court “lacked

13    the constitutional authority to enter a final judgment.” Id. at 503. The Court recognized the

14    narrow scope of its decision, but nevertheless admonished:

15              If our decision today does not change all that much, then why the fuss? Is there
                really a threat to the separation of powers where Congress has conferred the
16
                judicial power outside Article III only over certain counterclaims in bankruptcy?
17              The short but emphatic answer is yes. A statute may no more lawfully chip away
                at the authority of the Judicial Branch than it may eliminate it entirely. “Slight
18              encroachments create new boundaries from which legions of power can seek new
                territory to capture.”
19

20    Stern, 564 U.S. at 502–03 (citation omitted).

21              In sum, under Stern, even where § 157(b)(2)(C) purports to authorize a bankruptcy court

22    to enter final judgment on a counterclaim, the Constitution forbids it if deciding the counterclaim

23    entails exercising the judicial power of the United States. Id. at 486–88. Such claims—ones

24

25    2
        See also Exec. Benefits Ins. Agency v. Arkison, 573 U.S. 25, 28 (2014) (“In Stern . . . this Court
      held that even though bankruptcy courts are statutorily authorized to enter final judgment on a
26
      class of bankruptcy-related claims, Article III of the Constitution prohibits bankruptcy courts
27    from finally adjudicating certain of those claims.”); Germain v. Connecticut Nat. Bank, 988 F.2d
      1323, 1327 (2d Cir. 1993) (“Neither Congress nor the courts may deprive litigants of their
28    constitutional rights simply by labeling a cause of action ‘core.’”).

                                                         6
                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                               208
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                           Filed    15:31:39
                                                     16:30:21
                                                 06/07/22
                                                   12:02:03   Page
                                                           PagePage
                                                              Page 13
                                                                    14223
                                                                210210
                                                                    of of
                                                                        of26
                                                                        of 27
                                                                           223



 1    designated by statute for final adjudication in the bankruptcy court but prohibited by the

 2    Constitution from proceeding in that way—have since come to be called “Stern claims.” See, e.g.,

 3    Wellness Int’l, 575 U.S. at 678.

 4              The Trustee has conceded, as she must, that her state-law counterclaims are Stern

 5    claims. 3 On this point, the Trustee is correct. The Stern court laid out four primary reasons why a

 6    non-Article III court could not decide debtor Vickie Marshall’s tortious-interference counterclaim

 7    against her stepson, Pierce Marshall: (1) the counterclaim did not fall within the “public rights

 8    exception” to Article III; (2) the trustee was not asserting a right of recovery created by federal

 9    bankruptcy law; (3) the trustee was “seek[ing] to augment the bankruptcy estate,” not simply to

10    handle the pro rata distribution of assets; and (4) ruling on Pierce Marshall’s proof of claim

11    would not “necessarily result in the resolution of Vickie’s counterclaim.” Id. at 488-499

12    (emphasis added).

13              Here, the same reasons require Article III adjudication.

14              a. The Trustee has never argued that the public-rights exception permits her claims to be

15    tried to an Article I court. That exception applies where a claim “can be pursued only by grace of

16    the other branches” or “historically could have been determined exclusively by those branches.”

17    564 U.S. at 493 (cleaned up). Here, as in Stern, the state-law tort claims “involve[] the most

18    prototypical exercise of judicial power: the entry of a final, binding judgment by a court with

19    broad substantive jurisdiction, on a common law cause of action, when the action neither derives

20    from nor depends upon any agency regulatory regime.” Id. at 494.

21              b. Nor can the Trustee argue that she is “asserting a right of recovery created by federal

22    bankruptcy law.” Stern, 564 U.S. at 498. The state-law counterclaims are “in no way derived

23    from or dependent upon bankruptcy law”; rather, they are “state tort action[s] that exist[] without

24    regard to any bankruptcy proceeding.” Id. at 499. This fact, too, indicates that Article III

25

26    3
        See, e.g., Dkt. 37 at 9 (“Mot.”) (explaining rule that “Article III to the Constitution permits
      bankruptcy courts to finally adjudicate Stern claims . . . with the parties’ consent”); see also Dkt.
27    36 (Trustee Opp. to Mot. to Withdraw Reference) at 10 (“As a constitutional matter, the Trustee’s
      statutorily core claims for avoidance and tort are Stern claims and may be finally adjudicated by
28    this Bankruptcy Court with consent.”).
                                                          7
                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                                209
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                           Filed    15:31:39
                                                     16:30:21
                                                 06/07/22
                                                   12:02:03   Page
                                                           PagePage
                                                              Page 14
                                                                    15223
                                                                211211
                                                                    of of
                                                                        of26
                                                                        of 27
                                                                           223



 1    adjudication is required.

 2              c. Stern distinguished between “actions that seek ‘to augment the bankruptcy estate’”—

 3    which require Article III adjudication—“and those that seek ‘a pro rata share of the bankruptcy

 4    res.’” Stern, 564 U.S. at 499 (quoting Granfinanciera v. Nordberg, 492 U.S.33. 56 (1989)). Here,

 5    the Trustee’s counterclaims fall into the first bucket. As explained above, the Trustee seeks

 6    hundreds of millions of dollars from Nixon. That is a paradigmatic example of a claim that seeks

 7    to augment the estate; indeed, the recovery that the Trustee seeks for her counterclaims is at least

 8    one thousand times greater than Nixon’s now-withdrawn proof of claim.

 9              d. In Stern, as here, the debtor argued that final adjudication by the bankruptcy court was

10    permissible because the counterclaim defendant filed a proof of claim in the bankruptcy

11    proceeding. 564 U.S. at 495-96. But the Court concluded that, although there was “some overlap

12    between Vickie’s counterclaim and Pierce’s . . . claim” against the estate, “there was never any

13    reason to believe that the process of adjudicating Pierce’s proof of claim would necessarily

14    resolve Vickie’s counterclaim.” Id. at 497. The same is true here:

15       x      The three invoices at issue in Nixon’s proof of claim total just over $100,000 and are

16              dated from early 2019. The Trustee’s state-law counterclaims, in contrast, deal with over

17              30 separate transactions, each of which was billed separately and for which Nixon had

18              already been paid $2.9 million by DC Solar. Compl. ¶¶ 3, 231.

19       x      The Trustee makes scores of factual allegations in her adversary complaint that are not

20              implicated by Nixon’s proof of claim. She alleges, for example, that Nixon had a conflict

21              of interest dating back to October 2010, see id. ¶ 50; committed malpractice in connection

22              with DC Solar’s first transaction, in late 2010 and early 2011, id. ¶¶ 76-82, “failed to

23              properly document its representation of Solutions and Distribution” in 2010, also at the

24              outset of its representation, id. ¶¶ 51, 55; wrote letters in 2014 and 2015 stating that some

25              of the DC Solar investment funds were also Nixon clients, id. ¶ 67 & Ex. 2; and received

26              payments from some of the DC Solar investment funds, id. ¶ 70. Finding whether the

27              Trustee has proven these allegations would play no role in deciding whether Nixon is

28              entitled to payment on its proof of claim.
                                                             8
                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                              210
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                           Filed    15:31:39
                                                     16:30:21
                                                 06/07/22
                                                   12:02:03   Page
                                                           PagePage
                                                              Page 15
                                                                    16223
                                                                212212
                                                                    of of
                                                                        of26
                                                                        of 27
                                                                           223



 1       x      The Trustee’s state-law counterclaims also require the Court to consider whether Nixon

 2              committed malpractice before March 2017, when the Trustee alleges Nixon obtained

 3              “actual knowledge” of DC Solar’s wrongdoing until March 2017. See id. ¶¶ intro., 183,

 4              281, 296. The DC Solar deals out of which the 2019 proof of claim arose would have

 5              closed after March 2017. But 25 of the 32 transactions in which the Trustee alleges Nixon

 6              was involved closed before March 2, 2017. See id. ¶ 122. Importantly, the Trustee never

 7              asked Nixon partner Forrest Milder about the firm’s proof of claim in the Rule 2004

 8              examination she took while investigating her counterclaims.

 9       x      Ultimately, the Court need look no further than the fact that Nixon’s proof of claim sought

10              about $100,000 in unpaid fees and the Trustee seeks “hundreds of millions of dollars in

11              damages.” Id. ¶ intro. It cannot be the case that resolving whether Nixon was entitled to

12              $100,000 in early 2019 “would necessarily result in the resolution of [the Trustee’s]

13              counterclaim[s].” Stern, 564 U.S. at 497.

14              Courts analyzing the extent of intertwinement between a counterclaim and a proof of

15    claim sometimes apply the test for collateral estoppel and res judicata to inform their decision.

16    See, e.g., In re Windstream Holdings, Inc., No. 19-22312 (RDD), 2020 WL 1304147, at *8

17    (Bankr. S.D.N.Y. Mar. 17, 2020); In re AWTR Liquidation Inc., 547 B.R. 831, 837 (Bankr. C.D.

18    Cal. 2016). Here, those principles cut decisively in favor of requiring Article III adjudication.

19    Collateral estoppel in the Ninth Circuit requires, among other things, that “the issue necessarily

20    decided at the previous proceeding is identical to the one which is sought to be relitigated.”

21    Wabakken v. California Dep’t of Corr. & Rehab., 801 F.3d 1143, 1148 (9th Cir. 2015) (emphasis

22    added and citation omitted). Not even the Trustee has argued that Nixon’s proof of claim and the

23    Trustee’s state-law counterclaims raise identical issues—nor could she. See Mot. 15.

24              It is thus both undisputed and indisputable that the Trustee’s state-law counterclaims are

25    Stern claims. Accordingly, they must be heard by the jury in an Article III court—unless Nixon

26    has consented to final adjudication by the bankruptcy court. As explained next, Nixon has not

27    done so.

28
                                                            9
                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                               211
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                           Filed    15:31:39
                                                     16:30:21
                                                 06/07/22
                                                   12:02:03   Page
                                                           PagePage
                                                              Page 16
                                                                    17223
                                                                213213
                                                                    of of
                                                                        of26
                                                                        of 27
                                                                           223



 1                     2.      As a matter of law, Nixon’s filing of a proof of claim has no bearing
                               whatsoever on whether it consented to adjudication in the Bankruptcy
 2                             Court, which it did not.

 3              Because the Trustee’s state-law counterclaims are Stern claims, the bankruptcy court can

 4    finally decide them only if Nixon has consented. Recognizing that Article III protections “help to

 5    ensure the integrity and independence of the Judiciary,” the Supreme Court held in Wellness

 6    International that a litigant’s consent to final adjudication by the bankruptcy court must be

 7    “knowing[] and voluntar[y].” 575 U.S. at 668-669. “[T]he key inquiry is whether ‘the litigant or

 8    counsel was made aware of the need for consent and the right to refuse it, and still voluntarily

 9    appeared to try the case’ before the non-Article III adjudicator.” Id. at 685 (quoting Roell v.

10    Withrow, 538 U.S. 580, 590 (2003)). This rigorous test of voluntariness ensures that “the Article

11    III right is substantially honored.” Id. at 684. Under that test, it is clear that Nixon has not

12    consented to final bankruptcy-court adjudication of the Trustee’s state-law tort claims.

13              a. The Trustee’s one and only basis for arguing consent is the fact that Nixon filed a proof

14    of claim in the bankruptcy proceedings. That argument fails as a matter of law because Stern

15    established that a proof of claim is never fully voluntary and therefore can never imply consent

16    to bankruptcy-court jurisdiction. At most, a proof of claim may have some bearing on the

17    threshold question whether the claim at issue is a Stern claim. But in the subsequent “consent”

18    inquiry, a proof of claim carries no weight.

19              In Stern, Pierce Marshall had filed a proof of claim before the debtor, Vickie Marshall,

20    filed her counterclaim. 564 U.S. at 470. If that had been enough to prove Pierce’s consent to

21    bankruptcy-court jurisdiction, the remainder of the Court’s analysis would have been superfluous:

22    The Supreme Court’s discussion would have begun and ended with the proof of claim. But it did

23    not. The Court in fact stated that “Pierce did not truly consent to resolution of Vickie’s claim in

24    the bankruptcy court proceedings.” Id. at 493. This was so without regard to the contents of

25    Pierce’s proof of claim. Rather, the Court reached that conclusion on the ground that Pierce “had

26    nowhere else to go if he wished to recover from Vickie’s estate.” Id. A proof of claim, in other

27    words, can never be deemed fully voluntary, because a bankrupt’s creditor has “nowhere else to

28    go” but the bankruptcy court. Indeed, the Court later recognized in Wellness International that

                                                         10
                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                               212
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                           Filed    15:31:39
                                                     16:30:21
                                                 06/07/22
                                                   12:02:03   Page
                                                           PagePage
                                                              Page 17
                                                                    18223
                                                                214214
                                                                    of of
                                                                        of26
                                                                        of 27
                                                                           223



 1    “Stern was premised on nonconsent to adjudication by the Bankruptcy Court.” 575 U.S. at 682

 2    (emphasis added). Put simply, in light of Stern and Wellness International, “a creditor does

 3    not consent to final adjudication of a debtor’s common law counterclaim merely by filing

 4    a proof of claim.” In re FKF 3, LLC, No. 13-CV-3601 (KMK), 2016 WL 4540842, at *10 n.4

 5    (S.D.N.Y. Aug. 30, 2016). 4 By simply filing a proof of claim, Nixon likewise has not consented

 6    here.

 7              Unsurprisingly, therefore, the Trustee finds herself unable to cite even one decision

 8    striking a jury demand on a Stern claim where the only alleged basis for consent was submission

 9    of a proof of claim. And the cases that the Trustee does cite are far afield. Remarkably, every

10    single case on which the Trustee relies predates Stern and Wellness International. 5 That alone is

11

12

13

14

15    4
        The Trustee relies on In re EPD Inv. Co., LLC, 821 F.3d 1146 (9th Cir. 2016), for its
      observation that one of the defendants, Poshow Ann Kirkland, had consented to bankruptcy-court
16
      jurisdiction by filing a proof of claim. Id. at 1150 n.2. But EPD is inapposite. Poshow was not the
17    party challenging jurisdiction on appeal; thus, the parties were not litigating whether she had
      consented. Id. at 1150. Rather, they were litigating another defendant’s motion to compel
18    arbitration. The court’s holding was that, for purposes of the motion to compel, it did not matter
      whether the bankruptcy court could render a final judgment, which makes the footnote about
19    consent dicta. Id. at 1150-51. The statement that Poshow consented to bankruptcy court
      jurisdiction was “unnecessary” to the court’s judgment (and apparently not even litigated) and is
20
      therefore not binding. Cf. United States v. Anekwu, 695 F.3d 967, 975 (9th Cir. 2012).
21    5
        See In re PNP Holdings Corp., 184 B.R. 805, 806 (B.A.P. 9th Cir. 1995), aff’d, 99 F.3d 910
      (9th Cir. 1996) (cited at 12); Katchen v. Landy, 382 U.S. 323 (1966) (cited at 12); In re G.I.
22    Indus., Inc., 204 F.3d 1276 (9th Cir. 2000) (cited as 12); Ta Chong Bank Ltd. v. Hitachi High
23    Techs. Am., Inc., 610 F.3d 1063 (9th Cir. 2010) (cited at 12); Maring v. PG Alaska Crab Inv. Co.,
      LLC, No. C05-0326-JCC, 2007 WL 9775428 (W.D. Wash. Oct. 2, 2007) (cited at 13); In re
24    Advanced Rods, Inc., No. OR-04-1536-RKMo, 2005 WL 6960214 (B.A.P. 9th Cir. June 27,
      2005) (cited at 13); In re Frost, Inc., 145 B.R. 878 (Bankr. W.D. Mich. 1992) (cited at 13); In re
25    McClelland, 332 B.R. 90 (Bankr. S.D.N.Y. 2005) (cited at 14); In re CBI Holding Co., Inc., 529
      F.3d 432 (2d Cir. 2008) (cited at 14). The Trustee quotes (at 13 n.44) a single 2020 case from the
26
      bankruptcy court in the Eastern District of Virginia, see In re Toys "R" Us, Inc., 615 B.R. 96, 102
27    (Bankr. E.D. Va. 2020), but that decision was merely quoting a 2004 opinion by another court,
      see In re Adelphia Commc’ns Corp., 307 B.R. 404, 419 (Bankr. S.D.N.Y. 2004), amid a personal
28    jurisdiction discussion. It has no persuasive value here.

                                                         11
                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                           213
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                           Filed    15:31:39
                                                     16:30:21
                                                 06/07/22
                                                   12:02:03   Page
                                                           PagePage
                                                              Page  18
                                                                     19223
                                                                215215
                                                                    of of
                                                                        of26
                                                                        of 27
                                                                           223



 1    reason enough to discount those authorities as reliable statements of current law. 6 But even taken

 2    at face value, the Trustee’s cases establish only the unremarkable proposition that a bankruptcy

 3    court can finally decide Stern claims where they “are integral to, and directly affect the allowance

 4    of, the proof of claim.” In re CBI, 529 F.3d at 468; see also Ta Chong Bank, 610 F.3d at 1069; In

 5    re G.I. Indus., 204 F.3d at 1279-80; In re Advanced Rods, 2005 WL 6960214, at *5; In re

 6    McClelland, 332 B.R. at 94-95. As explained above, that is not so here.

 7              In short, as a matter of law, Nixon’s proof of claim is simply irrelevant to the question

 8    whether it consented to final adjudication by the bankruptcy court.

 9              b. Absent express consent (which no one argues occurred here), courts look to a litigant’s

10    course of conduct in the adversary proceeding to ascertain implied consent. Stern, 564 U.S. at

11    480-481; In re FKF, 2016 WL 4540842, at *10 n.4. Stern provides a useful illustration of what

12    consent looks like. In that matter, not only did Vickie Marshall, the debtor, file a state-law tort

13    claim against Pierce Marshall, but Pierce also filed a state-law defamation claim against Vickie.

14    564 U.S. at 481. The Supreme Court held that Pierce had consented to the bankruptcy court’s

15    final adjudication of that claim—not simply because he had filed a proof of claim, but because he

16    had advised the bankruptcy court that he agreed with Vickie that the bankruptcy court should

17    determine the value of his claim. Id. Moreover, the Supreme Court observed that “Pierce

18    identifie[d] no point in the record where he argued to the Bankruptcy Court that it lacked the

19    authority to adjudicate his proof of claim because the claim sought recompense for a personal

20    injury tort.” Id. In fact, “Pierce repeatedly stated to the Bankruptcy Court that he was happy to

21    litigate there,” so the Supreme Court concluded that it would “not consider his claim to the

22    contrary, now that he is sad.” Id. at 482.

23              Other decisions have found implied consent where, for example, the defendant (1)

24

25    6
        “In the Ninth Circuit, where intervening Supreme Court authority ‘undercut[s] the theory or
      reasoning underlying a prior circuit precedent in such a way that the cases are clearly
26
      irreconcilable,’ a district court ‘should consider itself bound by the intervening higher authority
27    and reject the prior circuit precedent as having been effectively overruled.’” United States v. Bell,
      158 F. Supp. 3d 906, 914–15 (N.D. Cal. 2016) (quoting Miller v. Gammie, 335 F.3d 889, 900 (9th
28    Cir. 2003)).

                                                         12
                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                               214
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                           Filed    15:31:39
                                                     16:30:21
                                                 06/07/22
                                                   12:02:03   Page
                                                           PagePage
                                                              Page 19
                                                                    20223
                                                                216216
                                                                    of of
                                                                        of26
                                                                        of 27
                                                                           223



 1    sandbagged the court, first “s[eeking] affirmative relief from the bankruptcy court believing it

 2    might win and then cr[ying] foul over the court’s entry of final judgment when it los[t],” True

 3    Traditions, LC v. Wu, 552 B.R. 826, 837 (N.D. Cal. 2015); or (2) “actively appear[ed] before the

 4    Court at various hearings” without “rais[ing] a proper objection,” In re Breland, No. 09-11139-

 5    JCO, 2016 WL 3193819, at *2 (Bankr. S.D. Ala. May 27, 2016); or (3) failed to file a motion,

 6    required by the local rules, asking the bankruptcy court to determine that the adversary

 7    proceeding was not finally decidable by the bankruptcy court, In re Cole, No. 16-30960, 2017

 8    WL 486920, at *2 (Bankr. W.D.N.C. Feb. 6, 2017).

 9              Nixon’s conduct here stands in stark contrast to that of Pierce Marshall and the other

10    litigants who gave their implied consent to bankruptcy-court adjudication of Stern claims. Since

11    the filing of this adversary proceeding, Nixon has clearly and consistently maintained that it does

12    not consent to final adjudication in bankruptcy court, taking care to say so in its initial scheduling

13    stipulation, in its motions to withdraw the reference and to transfer, and in its jury demand filed in

14    compliance with Local Rule 9015. See supra 3. Nixon’s actions here have been neither dilatory

15    nor motivated by gamesmanship. Its conduct far more closely resembles that at issue in In re

16    FKF, where the court found a lack of consent because the defendant’s “amended answer

17    demanded a jury trial and raised the Court’s lack of constitutional authority as an affirmative

18    defense, . . . and where he filed his initial motion to withdraw the reference less than two months

19    after filing the amended answer.” 2016 WL 4540842, at *10 n.4.

20              Here, therefore, the Trustee cannot seriously contend that Nixon consented to entry of

21    final judgment in this Court. Nixon’s conduct since the filing of this matter is unequivocal: It has

22    not consented to final adjudication outside of an Article III forum. Finding consent here would

23    eviscerate the requirement that consent be “knowing and voluntary”—i.e., that “the litigant or

24    counsel was made aware of the need for consent and the right to refuse it, and still voluntarily

25    appeared to try the case before the non-Article III adjudicator.” Wellness Int’l, 575 U.S. at 674

26    (citation omitted).

27

28
                                                         13
                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                             215
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                           Filed    15:31:39
                                                     16:30:21
                                                 06/07/22
                                                   12:02:03   Page
                                                           PagePage
                                                              Page  20
                                                                     21223
                                                                217217
                                                                    of of
                                                                        of26
                                                                        of 27
                                                                           223



 1                     3.      If the Court finds the question presented here even close, it must err
                               on the side of preserving Nixon’s jury-trial right.
 2

 3              If the Court determines that the question presented here is close—which it isn’t—

 4    precedent requires it to err on the side of denying the Trustee’s motion. At least three principles

 5    support this conclusion.

 6              First, the Ninth Circuit has admonished that “[i]n close cases, a court should err on the

 7    side of preserving the right to a jury trial.” Granite Rock Co. v. Int’l Bhd. of Teamsters, Freight,

 8    Constr., Gen. Drivers, Warehousemen & Helpers, Loc. 287 (AFL-CIO), 649 F.3d 1067, 1069 (9th

 9    Cir. 2011); see also see also Composite Res. Inc. v. Recon Med. LLC, No. 2:17-CV-01755-MMD-

10    VCF, 2021 WL 4941991, at *2 (D. Nev. Oct. 22, 2021) (same). The right to a jury trial “has

11    occupied an exceptional place in the history of the law.” Wilmington Tr. v. U.S. Dist. Ct. for Dist.

12    of Hawaii, 934 F.2d 1026, 1028 (9th Cir. 1991). Accordingly, “the right to grant mandamus to

13    require jury trial where it has been improperly denied is settled.” In re Tech. Licensing Corp., 423

14    F.3d 1286, 1288 (Fed. Cir. 2005) (quoting Beacon Theatres, Inc. v. Westover, 359 U.S. 500, 511

15    (1959)); see also In re Cty. of Orange, 784 F.3d 520, 526 (9th Cir. 2015); Wilmington, 934 F.2d

16    at 1028 (9th Cir. 1991). A court in this district recently resolved a close question regarding a

17    party’s entitlement to a jury trial in favor of preserving that right, because the court did “not wish

18    to invite mandamus proceedings” by declaring that the trial would be a bench trial. Composite

19    Res., 2021 WL 4941991, at *2.

20              Second, similar tie-breaking principles govern in other contexts in which waiver or

21    forfeiture of constitutional rights are at issue. The Supreme Court has explained that, for

22    “[w]aivers of constitutional rights to be effective . . . [they] must be deliberately and

23    understandingly made and can be established only by clear, unequivocal, and unambiguous

24    language.” Nat’l Equip. Rental, Ltd. v. Szukhent, 375 U.S. 311, 332 (1964). Thus, for example,

25    waivers of the right to counsel in favor of self-representation, 7 Fourth Amendment protections

26

27    7
       United States v. Keen, 104 F.3d 1111, 1114 (9th Cir. 1996), as amended on denial of reh’g (Jan.
28    2, 1997).

                                                         14
                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                               216
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                           Filed    15:31:39
                                                     16:30:21
                                                 06/07/22
                                                   12:02:03   Page
                                                           PagePage
                                                              Page 21
                                                                    22223
                                                                218218
                                                                    of of
                                                                        of26
                                                                        of 27
                                                                           223



 1    from warrantless searches, 8 and the protections offered by the Speech or Debate Clause 9 must all

 2    be unequivocal. The high bar for finding relinquishment of a constitutional right is not just for

 3    individuals, either. A state’s waiver of sovereign immunity must also be unequivocal. 10 Here,

 4    where the Trustee rests her waiver argument entirely on the 2019 proof of claim, there is no

 5    sound basis to conclude that Nixon waived its right to a jury trial.

 6              Third, the Supreme Court has long insisted that even modest usurpations of Article III

 7    powers are to be guarded against assiduously. That comes not just from Stern and its insistence

 8    that Congress not “chip away at the authority of the Judicial Branch,” 564 U.S. at 502–03, but

 9    also from its earlier decision in Northern Pipeline Construction Company v. Marathon Pipe Line

10    Company, where it rejected an argument that “would require that we replace the [separation-of-

11    powers] principles delineated in our precedents, rooted in history and the Constitution, with a rule

12    of broad legislative discretion that could effectively eviscerate the constitutional guarantee of an

13    independent Judicial Branch of the Federal Government.” 458 U.S. 50, 74 (1982). The Court

14    recently reiterated the point that “Congress cannot ‘confer the Government’s ‘judicial Power’ on

15    entities outside Article III,” Oil States Energy Servs., LLC v. Greene’s Energy Grp., LLC, 138 S.

16    Ct. 1365, 1372–73 (2018) (citing Stern, 564 U.S. at 484)). Thus, absent clear indication that the

17    Trustee’s claims do not require Article III adjudication, or that Nixon consented to adjudication

18    outside of an Article III court, the Court should preserve Article III adjudication and Nixon’s

19    right to a jury trial.

20                     4.      Nixon’s withdrawal of its proof of claim further undercuts the
                               Trustee’s motion.
21

22              As set forth at greater length in the motion filed in the main case, Nixon has sought to

23    withdraw its proof of claim. Dkt. 2985, In re Double Jump. The Trustee thus devotes the final two

24    pages of her motion to arguing that “a claimant’s withdrawal of a proof of claim after the trustee

25    files an adversary proceeding (counterclaim) against that claimant has no effect on this

26
      8
27      United States v. Remolif, 227 F. Supp. 420, 422–23 (D. Nev. 1964).
      9
        United States v. Helstoski, 442 U.S. 477, 492 (1979).
      10
28       Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 99 (1984).

                                                         15
                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                              217
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                           Filed    15:31:39
                                                     16:30:21
                                                 06/07/22
                                                   12:02:03   Page
                                                           PagePage
                                                              Page 22
                                                                    23223
                                                                219219
                                                                    of of
                                                                        of26
                                                                        of 27
                                                                           223



 1    Bankruptcy Court’s jurisdiction.” Mot. 16-17. As an initial matter, the Court need not reach that

 2    argument because, for the reasons discussed above, the bankruptcy court never had the authority

 3    to finally decide the Trustee’s state-law tort claims, since they are Stern claims and Nixon has not

 4    consented to have them adjudicated in this Court. That would be so even if the proof-of-claim had

 5    not been withdrawn.

 6              The Trustee’s argument is also wrong. “Stern suggests that the relevance of filing a proof

 7    of claim to the Article III analysis is limited by its practical implications for the claims resolution

 8    process.” In re FKF, 2016 WL 4540842, at *8 n.3. That is, “the justification for the ‘necessarily

 9    resolved’ rule is practical: where a Trustee’s counterclaims are resolved by the bankruptcy court

10    in the process of adjudicating a creditor’s proof of claim, the creditor has ‘no basis’ for

11    demanding a second adjudication of those claims in an Article III court.” Id. (citing Stern, 564

12    U.S. at 496). But here, like in In re FKF, Nixon’s decision to abandon its proof of claim means

13    that nothing will be resolved in the claims-allowance process. Id. That process simply is not

14    going to happen. It follows that Nixon’s initial filing of a proof of claim cannot and should not

15    affect Nixon’s entitlement to Article III adjudication. See also In re Maui Indus. Loan & Fin. Co.,

16    No. 10-00235, 2012 WL 405056, at *2 (Bankr. D. Haw. Feb. 8, 2012) (“Mr. Albright should be

17    permitted to withdraw his proof of claim and preserve his right to a jury trial.”).

18              The Trustee relies almost exclusively on subject-matter-jurisdiction cases for the

19    proposition that the time of filing “is the only time that matters” for jurisdictional purposes. See

20    Mot. 16-17 (citing In re Crystal Cascades Civ., LLC, 415 B.R. 403, 408 n.8 (B.A.P. 9th Cir.

21    2009)); Double Eagle Energy Servs., L.L.C. v. MarkWest Utica EMG, L.L.C., 936 F.3d 260, 263

22    (5th Cir. 2019); In re Toledo, 170 F.3d 1340, 1346 n.8 (11th Cir. 1999)). 11 But subject-matter

23    jurisdiction is not the issue here: Neither party disputes that 28 U.S.C. § 1334 authorizes a federal
24

25    11
        The Trustee also cites in passing several other decisions that are equally inapplicable here.
      United Steel, Paper & Forestry, Rubber, Mfg., Energy, Allied Indus. & Serv. Workers Int’l Union,
26
      AFL-CIO, CLC v. Shell Oil Co., 602 F.3d 1087, 1091 (9th Cir. 2010) (CAFA jurisdiction); In re
27    Digimarc Corp. Derivative Litig., 549 F.3d 1223, 1236–37 (9th Cir. 2008) (diversity jurisdiction);
      Carlson v. Gatestone & Co. Int’l Inc., No. 17-CV-01818-BLF, 2017 WL 2615764, at *2 (N.D.
28    Cal. June 16, 2017) (attorney’s fees in removed actions).

                                                         16
                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                                218
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                           Filed    15:31:39
                                                     16:30:21
                                                 06/07/22
                                                   12:02:03   Page
                                                           PagePage
                                                              Page 23
                                                                    24223
                                                                220220
                                                                    of of
                                                                        of26
                                                                        of 27
                                                                           223



 1    court to hear the Trustee’s state-law counterclaims. Rather, the question before the Court is

 2    whether Nixon’s 2019 proof of claim affected its right to final adjudication by an Article III court.

 3    The requirements of Article III differ in material ways from statutory subject-matter jurisdiction.

 4    “Article III jurisdiction . . . must be present throughout all stages of the proceedings.” Cohen v.

 5    United States, 210 F.3d 382 (9th Cir. 2000) (TABLE). The time of filing is therefore not “the

 6    only time that matters” for purposes of Article III. DeFunis v. Odegaard, 416 U.S. 312, 319-320

 7    (1974) (mootness deprives court of Article III jurisdiction); Intell. Prop. Dev., Inc. v. TCI

 8    Cablevision of California, Inc., 248 F.3d 1333, 1342 (Fed. Cir. 2001) (district court “divested” of

 9    Article III jurisdiction by subsequent events).

10              Apparently recognizing that authority for her position is scant, the Trustee places great

11    weight upon Securities Investor Protection Corporation v. Bernard L. Madoff Investment

12    Securities LLC, 597 B.R. 466 (Bankr. S.D.N.Y. 2019), where a bankruptcy court concluded that

13    “the withdrawal of the Defendants’ Claims did not strip the Court of its equitable jurisdiction that

14    attached at the time-of-filing.” Id. at 486. But there, the Trustee’s claims were not Stern claims—

15    just claims to avoid and recover excess transfers—well within the bankruptcy court’s

16    constitutionally permissible jurisdiction. 597 B.R. at 473-476; see also In re Bernard L. Madoff

17    Inv. Sec. LLC, 612 B.R. 257, 267 (S.D.N.Y. 2020). As a result, the bankruptcy court’s retention

18    of jurisdiction, even once the defendant sought to withdraw its proof of claim, did not present

19    “constitutional concerns regarding Congress’s reallocation of the judicial power,” because “the

20    Trustee’s rights ar[o]se from Congress’s exercise of its own constitutional role in the

21    administration of bankruptcy.” Id. at 270. That is not the case here, where, just as in Stern, state-

22    law tort claims outside the bankruptcy court’s jurisdiction are at issue.

23              In sum, the bankruptcy court never had authority to finally decide the Trustee’s state law

24    counterclaims, but now that Nixon has abandoned its proof of claim, it should be especially clear

25    that an Article III court must preside.

26              B.      Nixon maintains a jury-trial right on the fraudulent-conveyance claims.

27              Besides her common-law tort claims, the Trustee includes two fraudulent-conveyance

28    claims. See Compl. counts V-VI. Like the Trustee’s state-law counterclaims, fraudulent-
                                                         17
                     NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                              Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                               219
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                           Filed    15:31:39
                                                     16:30:21
                                                 06/07/22
                                                   12:02:03   Page
                                                           PagePage
                                                              Page 24
                                                                    25223
                                                                221221
                                                                    of of
                                                                        of26
                                                                        of 27
                                                                           223



 1    conveyance actions are designated “core” proceedings by the statute. 28 U.S.C. § 157(b)(2)(H).

 2    But, also like the Trustee’s counterclaims, fraudulent-conveyance claims “cannot be decided

 3    outside the Article III courts.” In re Bellingham Ins. Agency, Inc., 702 F.3d 553, 562 (9th Cir.

 4    2012) (assuming without deciding that fraudulent-conveyance claims are Stern claims), aff’d, 573

 5    U.S. 25 (2014); see also In re Rhodes Cos., LLC, No. 2:12-CV-01272-MMD, 2012 WL 5456084,

 6    at *4 (D. Nev. Nov. 7, 2012) (“[A] court deciding a fraudulent conveyance action exercises its

 7    Article III judicial power, and the Seventh Amendment entitles a litigant to a jury trial on such

 8    claims.”). The Ninth Circuit so concluded in Bellingham even though the “source” of the

 9    fraudulent conveyance claim was the Bankruptcy Code. 702 F.3d at 564.

10              The filing of a proof of claim, despite all the great weight placed upon it by the Trustee (at

11    11), does not alter the conclusion. The Ninth Circuit in In re Bellingham indicated that Stern

12    required treating fraudulent-conveyance claims against a creditor no differently than state-law

13    counterclaims: Only in the event that the fraudulent-conveyance claims “necessarily ha[ve] to be

14    resolved in the course of the claims-allowance process” does Article III permit bankruptcy courts

15    to finally decide them. Bellingham, 702 F.3d at 564. Just as with the Trustee’s state-law tort

16    claims, her fraudulent-transfer claims would not necessarily be decided in determining whether to

17    allow Nixon’s proof of claim. Exhibit 7 to the Trustee’s Complaint lists certain transfers that she

18    wishes to avoid. But they are, by definition, different payments for different legal work than the

19    unpaid invoices that gave rise to Nixon’s proof of claim. It thus cannot be the case that an inquiry

20    into whether Nixon is entitled to payment of those unpaid invoices will necessarily resolve

21    whether the transfers listed in Exhibit 7 were fraudulent.

22              Nixon has not consented to final adjudication of the fraudulent-conveyance claims in

23    bankruptcy court. The same consent standard that applies to the state-law counterclaims applies

24    here. See, e.g., In re Bellingham, 702 F.3d at 568. Cases finding that a fraudulent-transfer

25    defendant consented to bankruptcy-court jurisdiction have involved far clearer indicia of consent

26    than are present in this case. In In re Bellingham, for instance, the challenger “did not simply fail

27    to object to the bankruptcy judge’s authority to enter final judgment in the fraudulent conveyance

28    action; it affirmatively assented to suspend its demand for a jury trial in district court to give the
                                                          18
                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                              220
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                           Filed    15:31:39
                                                     16:30:21
                                                 06/07/22
                                                   12:02:03   Page
                                                           PagePage
                                                              Page 25
                                                                    26223
                                                                222222
                                                                    of of
                                                                        of26
                                                                        of 27
                                                                           223



 1    bankruptcy judge an opportunity to adjudicate the claim.” 702 F.3d at 568. That party in fact “did

 2    not raise a constitutional objection to the bankruptcy court’s entry of final judgment in favor of

 3    the Trustee until after the briefing in this appeal was complete, when it filed a motion to vacate

 4    the bankruptcy court’s judgment on the eve of oral argument.” Id. Similarly, in In re Pringle, the

 5    defendant “actively participated in the fraudulent transfer proceeding” by “answering the

 6    complaint, participating in discovery, [and] contesting issues at trial.” 495 B.R. 447, 457–58

 7    (B.A.P. 9th Cir. 2013). And in In re Beshmada, LLC, defendant “did not object to the bankruptcy

 8    court’s jurisdiction, even though he was actively engaged in litigating the matter” until more than

 9    a year after the proceeding was filed. CV 13-8342 GAF, 2014 WL 4060262, at *4 (C.D. Cal.

10    Aug. 18, 2014). In this case, as explained above (at 3), Nixon has “consistently expressed [its]

11    objection to the Bankruptcy Court’s jurisdiction and challenged its authority to enter a final

12    judgment before it issued any decision.” In re Cooper, No. EDCV 18-02279 JGB, 2018 WL

13    11277403, at *2 (C.D. Cal. Nov. 28, 2018) (finding no express or implied consent).

14              In short, because Article III does not grant the bankruptcy court authorization to finally

15    decide the Trustee’s fraudulent-conveyance claims, and Nixon has not consented to this Court’s

16    doing so, those claims, like the state-law counterclaims, must be decided by an Article III court.12

17              C.      Because the Trustee’s claims must be heard by an Article III court, the
                        bankruptcy reference should be withdrawn.
18

19              The Supreme Court has held that the appropriate procedure for Stern claims is that set
20    forth in 28 U.S.C. § 157(c)(1). Exec. Benefits, 573 U.S. at 37–38. Section 157(c)(1) permits
21    parties to “submit proposed findings of fact and conclusions of law to the district court” for de
22    novo review. Id. But “where a jury trial is required and the parties refuse to consent to bankruptcy
23    jurisdiction, withdrawal of the case to the district court is appropriate.” In re Cinematronics, Inc.,
24    916 F.2d 1444, 1451 (9th Cir. 1990); In re Nady, 138 B.R. 608, 610 (D. Nev. 1992) (recognizing
25    that bankruptcy courts cannot preside of jury trials without consent). The procedure set forth by
26
      12
27      Because Nixon no longer intends to pursue its proof of claim, Count VIII in the Trustee’s
      complaint, for disallowance, is moot. The Court therefore need not reach the question whether
28    Nixon has a jury-trial right on that claim for relief.

                                                         19
                     NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                              Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                                221
      Case
       Case
     Case  21-05072-gs
        Case21-05072-gs
          21-05072-gs    Doc
             3:22-cv-00257Doc
                        Doc  52-1
                              51 Entered
                                  Entered
                                   Entered
                            Document
                            100           02/04/22
                                           02/04/22
                                     1-1 06/07/22
                                           Filed    15:31:39
                                                     16:30:21
                                                 06/07/22
                                                   12:02:03   Page
                                                           PagePage
                                                              Page 26
                                                                    27223
                                                                223223
                                                                    of of
                                                                        of26
                                                                        of 27
                                                                           223



 1    § 157(c)(1) is also subject to § 157(d), which allows the district court to withdraw the bankruptcy

 2    reference at any time “for cause shown.”

 3              Thus, if the Court agrees that the Trustee’s state-law counterclaims and fraudulent-

 4    conveyance claims are Stern claims and that Nixon has not consented to final adjudication in the

 5    bankruptcy court, it must withdraw the reference and certify the matter for the district court. L.R.

 6    9015(e). And for the reasons set forth in the pending motion to withdraw the reference, rather

 7    than waiting until “the matter is ready for trial,” id., the most prudent course is to withdraw the

 8    reference now.

 9    IV.       CONCLUSION
10              For the foregoing reasons, the Court should deny the Trustee’s motion to strike Nixon’s

11    jury demand.

12    Dated: February 4, 2022                                  KEKER, VAN NEST & PETERS LLP
13

14                                                       By:   s/Elliot R. Peters
                                                               ELLIOT R. PETERS
15                                                             ERIC H. MACMICHAEL

16
      Dated: February 4, 2022                            By:   KAEMPFER CROWELL
17

18
                                                               s/Louis M. Bubala III
19                                                             LOUIS M. BUBALA III

20                                                             Attorneys for Defendant Nixon Peabody
                                                               LLP
21

22

23

24

25

26

27

28
                                                        20
                   NIXON PEABODY’S OPPOSITION TO MOTION TO STRIKE JURY TRIAL DEMAND
                            Lead Case No. BK-19-50102-gs; Adversary Case No. 21-05072-gs
      1817383                                                                                               222
